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RICO EVENT      PROVIDER                    CLAIM NUMBER       DATE OF ACCIDENT   DOCUMENT MAILED   APPROXIMATE DATE OF MAILING   CPT CODE BILLED   CHARGE
              1 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97110                   63.30
              2 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97140                  118.60
              3 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97010                   10.00
              4 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97012                   31.90
              5 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     G0283                   27.14
              6 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97035                   25.22
              7 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97140                  118.60
              8 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97530                   64.18
              9 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97010                   10.00
             10 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97012                   31.90
             11 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     G0283                   27.14
             12 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97139                   25.00
             13 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97110                   63.30
             14 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97140                  118.60
             15 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97010                   10.00
             16 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97012                   31.90
             17 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     G0283                   27.14
             18 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97035                   25.22
             19 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97110                   63.30
             20 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97140                  118.60
             21 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97010                   10.00
             22 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97012                   31.90
             23 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     G0283                   27.14
             24 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97035                   25.22
             25 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97110                   63.30
             26 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97140                  118.60
             27 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     99213                  145.86
             28 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     98941                   73.98
             29 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97010                   10.00
             30 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97012                   31.90
             31 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     G0283                   27.14
             32 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97139                   25.00
             33 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97140                  118.60
             34 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97530                   64.18
             35 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97010                   10.00
             36 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97012                   31.90
             37 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     G0283                   27.14
             38 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97035                   25.22
             39 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97139                   25.00
             40 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97140                  118.60
             41 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97010                   10.00
             42 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97012                   31.90
             43 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     G0283                   27.14
             44 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97035                   25.22
             45 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97139                   25.00
             46 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     97140                  118.60
             47 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     99213                  145.86
             48 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014         Bill              1/14/2015                     98941                   73.98
             49 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97010                   10.00
             50 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97012                   31.90
             51 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     G0283                   27.14
             52 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97035                   25.22
             53 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97140                  118.60
             54 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97530                   64.18
             55 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97010                   10.00
             56 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97012                   31.90
             57 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     G0283                   27.14
             58 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97035                   25.22
             59 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97110                   63.30
             60 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97140                  118.60
             61 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97010                   10.00
             62 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97012                   31.90
             63 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     G0283                   27.14
             64 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97035                   25.22
             65 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97110                   63.30
             66 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014          Bill              1/14/2015                     97140                  118.60
             67 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     99213                  145.86
             68 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     98941                   73.98
             69 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     98943                   32.95
             70 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97010                   10.00
             71 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97012                   31.90
             72 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     G0283                   27.14
             73 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97139                   25.00
             74 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97110                   63.30
             75 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97140                  118.60
             76 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97010                   10.00
             77 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97012                   31.90
             78 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     G0283                   27.14
             79 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014          Bill              1/14/2015                     97035                   25.22
             80 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97140                  118.60
             81 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97010                   10.00
             82 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97012                   31.90
             83 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     G0283                   27.14
             84 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97139                   25.00
             85 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97110                   63.30
             86 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97140                  118.60
             87 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97010                   10.00
             88 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97012                   31.90
             89 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     G0283                   27.14
             90 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97035                   25.22
             91 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97110                   63.30
             92 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97140                  118.60
             93 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014         Bill              1/17/2015                     97010                   10.00
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     94 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97012    31.90
     95 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   G0283    27.14
     96 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97035    25.22
     97 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97139    25.00
     98 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97140   118.60
     99 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97010    10.00
    100 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97012    31.90
    101 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   G0283    27.14
    102 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97139    25.00
    103 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97140   118.60
    104 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97530    64.18
    105 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97010    10.00
    106 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97012    31.90
    107 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   G0283    27.14
    108 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97035    25.22
    109 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97139    25.00
    110 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97140   118.60
    111 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97010    10.00
    112 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97012    31.90
    113 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   G0283    27.14
    114 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97139    25.00
    115 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97110    63.30
    116 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97140   118.60
    117 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97010    10.00
    118 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97012    31.90
    119 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   G0283    27.14
    120 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97139    25.00
    121 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97140   118.60
    122 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97530    64.18
    123 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97010    10.00
    124 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97012    31.90
    125 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   G0283    27.14
    126 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97139    25.00
    127 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97140   118.60
    128 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97530    64.18
    129 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97010    10.00
    130 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97012    31.90
    131 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   G0283    27.14
    132 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97035    25.22
    133 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97139    25.00
    134 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97140   118.60
    135 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97010    10.00
    136 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97012    31.90
    137 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   G0283    27.14
    138 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97035    25.22
    139 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97110    63.30
    140 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/17/2015   97140   118.60
    141 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97010    10.00
    142 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97012    31.90
    143 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   G0283    27.14
    144 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97139    25.00
    145 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97110    63.30
    146 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97140   118.60
    147 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97010    10.00
    148 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97012    31.90
    149 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   G0283    27.14
    150 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97035    25.22
    151 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97140   118.60
    152 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97530    64.18
    153 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97010    10.00
    154 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97012    31.90
    155 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   G0283    27.14
    156 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97139    25.00
    157 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97140   118.60
    158 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/17/2015   97530    64.18
    159 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97010    10.00
    160 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97012    31.90
    161 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   G0283    27.14
    162 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97035    25.22
    163 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/17/2015   97139    25.00
    164 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97010    10.00
    165 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97012    31.90
    166 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   G0283    27.14
    167 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97035    25.22
    168 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97110    63.30
    169 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97140   118.60
    170 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97010    10.00
    171 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97012    31.90
    172 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   G0283    27.14
    173 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97139    25.00
    174 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97110    63.30
    175 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97140   118.60
    176 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97010    10.00
    177 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97012    31.90
    178 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   G0283    27.14
    179 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97035    25.22
    180 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97140   118.60
    181 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/24/2015   97530    64.18
    182 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97010    10.00
    183 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97012    31.90
    184 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   G0283    27.14
    185 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97139    25.00
    186 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97140   118.60
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    188 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97010    10.00
    189 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97012    31.90
    190 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   G0283    27.14
    191 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97035    25.22
    192 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97110    63.30
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    194 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97010    10.00
    195 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97012    31.90
    196 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   G0283    27.14
    197 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97139    25.00
    198 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97110    63.30
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    200 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97010    10.00
    201 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97012    31.90
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    203 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97035    25.22
    204 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97140   118.60
    205 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   97530    64.18
    206 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/26/2015   99211    39.20
    207 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97140   118.60
    208 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97010    10.00
    209 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97035    25.22
    210 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97140   118.60
    211 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97530    64.18
    212 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97010    10.00
    213 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97012    31.90
    214 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   G0283    27.14
    215 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97035    25.22
    216 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97110    63.30
    217 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97140   118.60
    218 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97010    10.00
    219 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97012    31.90
    220 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   G0283    27.14
    221 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97035    25.22
    222 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97140   118.60
    223 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97530    64.18
    224 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97010    10.00
    225 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97012    31.90
    226 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   G0283    27.14
    227 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97035    25.22
    228 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97140   118.60
    229 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   1/31/2015   97530    64.18
    230 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97010    10.00
    231 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97012    31.90
    232 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   G0283    27.14
    233 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97035    25.22
    234 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97140   118.60
    235 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97530    64.18
    236 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97010    10.00
    237 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97012    31.90
    238 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   G0283    27.14
    239 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97035    25.22
    240 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97110    63.30
    241 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97140   118.60
    242 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97010    10.00
    243 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97012    31.90
    244 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   G0283    27.14
    245 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97035    25.22
    246 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97140   118.60
    247 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   1/31/2015   97530    64.18
    248 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97139    25.00
    249 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97140   118.60
    250 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97010    10.00
    251 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97012    31.90
    252 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   G0283    27.14
    253 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97035    25.22
    254 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97110    63.30
    255 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97140   118.60
    256 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97010    10.00
    257 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97012    31.90
    258 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   G0283    27.14
    259 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97035    25.22
    260 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97140   118.60
    261 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97530    64.18
    262 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97010    10.00
    263 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97012    31.90
    264 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   G0283    27.14
    265 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97035    25.22
    266 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97110    63.30
    267 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97140   118.60
    268 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97010    10.00
    269 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97012    31.90
    270 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   G0283    27.14
    271 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97035    25.22
    272 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97140   118.60
    273 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97530    64.18
    274 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97010    10.00
    275 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97012    31.90
    276 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   G0283    27.14
    277 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97035    25.22
    278 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97140   118.60
    279 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97530    64.18
    280 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97010    10.00
    281 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97012    31.90
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    282 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   G0283    27.14
    283 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97035    25.22
    284 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97110    63.30
    285 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97140   118.60
    286 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   99212    87.60
    287 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   98940    52.38
    288 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   98943    32.95
    289 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97010    10.00
    290 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97012    31.90
    291 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   G0283    27.14
    292 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97035    25.22
    293 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97110    63.30
    294 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97140   118.60
    295 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97010    10.00
    296 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97012    31.90
    297 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   G0283    27.14
    298 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97035    25.22
    299 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97140   118.60
    300 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97530    64.18
    301 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97010    10.00
    302 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97012    31.90
    303 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   G0283    27.14
    304 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97035    25.22
    305 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97140   118.60
    306 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97530    64.18
    307 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97010    10.00
    308 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97012    31.90
    309 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   G0283    27.14
    310 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97035    25.22
    311 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97110    63.30
    312 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97140   118.60
    313 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97010    10.00
    314 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97012    31.90
    315 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   G0283    27.14
    316 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97035    25.22
    317 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97140   118.60
    318 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97530    64.18
    319 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97010    10.00
    320 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97012    31.90
    321 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   G0283    27.14
    322 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97035    25.22
    323 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97110    63.30
    324 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97140   118.60
    325 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97010    10.00
    326 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   97012    31.90
    327 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   1/31/2015   G0283    27.14
    328 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   G0283    27.14
    329 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97035    25.22
    330 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97140   118.60
    331 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97530    64.18
    332 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97010    10.00
    333 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97012    31.90
    334 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   G0283    27.14
    335 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97035    25.22
    336 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97110    63.30
    337 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97140   118.60
    338 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97010    10.00
    339 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97012    31.90
    340 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   G0283    27.14
    341 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97035    25.22
    342 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97140   118.60
    343 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97530    64.18
    344 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97010    10.00
    345 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97012    31.90
    346 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   G0283    27.14
    347 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97035    25.22
    348 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97110    63.30
    349 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97140   118.60
    350 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97010    10.00
    351 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97012    31.90
    352 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   G0283    27.14
    353 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97035    25.22
    354 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97110    63.30
    355 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97140   118.60
    356 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97010    10.00
    357 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97012    31.90
    358 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   G0283    27.14
    359 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97035    25.22
    360 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97110    63.30
    361 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97140   118.60
    362 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97010    10.00
    363 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97012    31.90
    364 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   G0283    27.14
    365 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97035    25.22
    366 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97110    63.30
    367 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97140   118.60
    368 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97010    10.00
    369 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97012    31.90
    370 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   G0283    27.14
    371 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97035    25.22
    372 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97140   118.60
    373 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97530    64.18
    374 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97010    10.00
    375 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97012    31.90
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5 of 9287 PageID 139


    376 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    377 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97139    25.00
    378 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    379 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97535    68.56
    380 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    381 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    382 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    383 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97139    25.00
    384 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    385 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97530    64.18
    386 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    387 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    388 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    389 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97139    25.00
    390 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    391 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97530    64.18
    392 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    393 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    394 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    395 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    396 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97139    25.00
    397 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    398 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    399 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    400 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    401 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    402 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    403 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97530    64.18
    404 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    405 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    406 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    407 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    408 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    409 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    410 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    411 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    412 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97530    64.18
    413 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    414 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    415 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    416 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    417 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97110    63.30
    418 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    419 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    420 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    421 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    422 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    423 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97110    63.30
    424 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    425 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    426 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    427 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    428 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    429 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    430 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97530    64.18
    431 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    432 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    433 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    434 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    435 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97139    25.00
    436 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    437 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    438 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    439 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    440 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    441 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    442 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97110    63.30
    443 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    444 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    445 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    446 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    447 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    448 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97139    25.00
    449 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97530    64.18
    450 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    451 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    452 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    453 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97139    25.00
    454 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97110    63.30
    455 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    456 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    457 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    458 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    459 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    460 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97140   118.60
    461 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97530    64.18
    462 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    463 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
    464 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   G0283    27.14
    465 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97035    25.22
    466 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97110    63.30
    467 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97535    68.56
    468 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97010    10.00
    469 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015   Bill   1/31/2015   97012    31.90
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    470 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   G0283    27.14
    471 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97035    25.22
    472 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   97140   118.60
    473 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   1/31/2015   99204   333.26
    474 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97010    10.00
    475 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97012    31.90
    476 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   G0283    27.14
    477 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97139    25.00
    478 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97110    63.30
    479 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97140   118.60
    480 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97010    10.00
    481 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97012    31.90
    482 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   G0283    27.14
    483 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97035    25.22
    484 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97110    63.30
    485 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97140   118.60
    486 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97010    10.00
    487 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   1/31/2015   97012    31.90
    488 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    489 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97530    64.18
    490 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    491 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    492 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    493 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    494 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97110    63.30
    495 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    496 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    497 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    498 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    499 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    500 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    501 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97530    64.18
    502 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    503 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    504 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    505 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    506 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97110    63.30
    507 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    508 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    509 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    510 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    511 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    512 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97110    63.30
    513 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    514 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    515 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    516 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    517 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    518 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97110    63.30
    519 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    520 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    521 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    522 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    523 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    524 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97110    63.30
    525 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    526 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    527 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    528 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    529 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    530 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97110    63.30
    531 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    532 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    533 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    534 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    535 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    536 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97110    63.30
    537 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    538 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    539 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    540 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    541 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    542 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97110    63.30
    543 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    544 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    545 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    546 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    547 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    548 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    549 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97530    64.18
    550 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97035    25.22
    551 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97110    63.30
    552 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97140   118.60
    553 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97010    10.00
    554 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97012    31.90
    555 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    G0283    27.14
    556 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97035    25.22
    557 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97110    63.30
    558 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97140   118.60
    559 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97010    10.00
    560 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97012    31.90
    561 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    G0283    27.14
    562 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97035    25.22
    563 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97110    63.30
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    564 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97140   118.60
    565 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97010    10.00
    566 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97012    31.90
    567 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   G0283    27.14
    568 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97035    25.22
    569 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97140   118.60
    570 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97530    64.18
    571 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97010    10.00
    572 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97012    31.90
    573 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   G0283    27.14
    574 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97035    25.22
    575 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97110    63.30
    576 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97140   118.60
    577 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97010    10.00
    578 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97012    31.90
    579 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   G0283    27.14
    580 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97035    25.22
    581 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97140   118.60
    582 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97530    64.18
    583 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97010    10.00
    584 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97012    31.90
    585 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   G0283    27.14
    586 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97035    25.22
    587 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97110    63.30
    588 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   97140   118.60
    589 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   99213   145.86
    590 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   99213   145.86
    591 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   98941    73.98
    592 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97010    10.00
    593 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97012    31.90
    594 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   G0283    27.14
    595 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97035    25.22
    596 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97110    63.30
    597 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97140   118.60
    598 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97010    10.00
    599 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97012    31.90
    600 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   G0283    27.14
    601 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97035    25.22
    602 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97110    63.30
    603 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97140   118.60
    604 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97010    10.00
    605 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97012    31.90
    606 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   G0283    27.14
    607 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97035    25.22
    608 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97110    63.30
    609 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97140   118.60
    610 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97010    10.00
    611 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97012    31.90
    612 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   G0283    27.14
    613 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97035    25.22
    614 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97140   118.60
    615 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015   97530    64.18
    616 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/9/2015   99213   145.86
    617 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   99213   145.86
    618 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   98941    73.98
    619 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97010    10.00
    620 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97012    31.90
    621 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   G0283    27.14
    622 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97035    25.22
    623 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97110    63.30
    624 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97140   118.60
    625 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97010    10.00
    626 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97012    31.90
    627 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   G0283    27.14
    628 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97035    25.22
    629 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97110    63.30
    630 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97140   118.60
    631 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97010    10.00
    632 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97012    31.90
    633 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   G0283    27.14
    634 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97035    25.22
    635 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   97010    10.00
    636 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   97012    31.90
    637 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   G0283    27.14
    638 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   97035    25.22
    639 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   97110    63.30
    640 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   97140   118.60
    641 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   97010    10.00
    642 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   97012    31.90
    643 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   G0283    27.14
    644 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   97035    25.22
    645 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   97140   118.60
    646 Himes Walk In Clinic, LLC   0506064100101018   10/9/2014    Bill   2/9/2015   97530    64.18
    647 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97010    10.00
    648 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97012    31.90
    649 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   G0283    27.14
    650 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97035    25.22
    651 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97110    63.30
    652 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97140   118.60
    653 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97010    10.00
    654 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97012    31.90
    655 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   G0283    27.14
    656 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97035    25.22
    657 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015   97140   118.60
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    658 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97530    64.18
    659 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97010    10.00
    660 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97012    31.90
    661 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    G0283    27.14
    662 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97035    25.22
    663 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97110    63.30
    664 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/9/2015    97140   118.60
    665 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97010    10.00
    666 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97012    31.90
    667 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    G0283    27.14
    668 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97035    25.22
    669 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97110    63.30
    670 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97140   118.60
    671 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97010    10.00
    672 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97012    31.90
    673 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    G0283    27.14
    674 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97035    25.22
    675 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97140   118.60
    676 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97530    64.18
    677 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97010    10.00
    678 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97012    31.90
    679 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    G0283    27.14
    680 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97035    25.22
    681 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97110    63.30
    682 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/9/2015    97140   118.60
    683 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97010    10.00
    684 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    97012    31.90
    685 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/9/2015    G0283    27.14
    686 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97530    64.18
    687 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97010    10.00
    688 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97012    31.90
    689 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   G0283    27.14
    690 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97035    25.22
    691 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97110    63.30
    692 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97140   118.60
    693 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   99213   145.86
    694 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   99204   333.26
    695 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97010    10.00
    696 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97012    31.90
    697 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   G0283    27.14
    698 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97035    25.22
    699 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97140   118.60
    700 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97535    68.56
    701 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97010    10.00
    702 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97012    31.90
    703 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   G0283    27.14
    704 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97035    25.22
    705 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97140   118.60
    706 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97530    64.18
    707 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97010    10.00
    708 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97012    31.90
    709 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   G0283    27.14
    710 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97035    25.22
    711 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97140   118.60
    712 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97530    64.18
    713 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97010    10.00
    714 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97012    31.90
    715 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   G0283    27.14
    716 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97035    25.22
    717 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97110    63.30
    718 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97140   118.60
    719 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97010    10.00
    720 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97012    31.90
    721 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   G0283    27.14
    722 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97035    25.22
    723 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97110    63.30
    724 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97140   118.60
    725 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97010    10.00
    726 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97012    31.90
    727 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   G0283    27.14
    728 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97035    25.22
    729 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97110    63.30
    730 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97140   118.60
    731 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97010    10.00
    732 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97012    31.90
    733 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   G0283    27.14
    734 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97035    25.22
    735 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97140   118.60
    736 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97530    64.18
    737 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97010    10.00
    738 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97012    31.90
    739 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   G0283    27.14
    740 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97035    25.22
    741 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97140   118.60
    742 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/16/2015   97530    64.18
    743 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97035    25.22
    744 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97140   118.60
    745 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97530    64.18
    746 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97010    10.00
    747 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97012    31.90
    748 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   G0283    27.14
    749 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97035    25.22
    750 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97110    63.30
    751 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97140   118.60
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    752 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97010    10.00
    753 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97012    31.90
    754 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   G0283    27.14
    755 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97035    25.22
    756 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97110    63.30
    757 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97140   118.60
    758 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97010    10.00
    759 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97012    31.90
    760 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   G0283    27.14
    761 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97035    25.22
    762 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97140   118.60
    763 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97530    64.18
    764 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97010    10.00
    765 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97012    31.90
    766 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   G0283    27.14
    767 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97035    25.22
    768 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97110    63.30
    769 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97140   118.60
    770 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97010    10.00
    771 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97012    31.90
    772 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   G0283    27.14
    773 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97035    25.22
    774 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97140   118.60
    775 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97530    64.18
    776 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97010    10.00
    777 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97012    31.90
    778 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   G0283    27.14
    779 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97035    25.22
    780 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97110    63.30
    781 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97140   118.60
    782 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97010    10.00
    783 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97012    31.90
    784 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   G0283    27.14
    785 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97035    25.22
    786 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97140   118.60
    787 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97530    64.18
    788 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97010    10.00
    789 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97012    31.90
    790 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   G0283    27.14
    791 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97035    25.22
    792 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97110    63.30
    793 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97140   118.60
    794 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97010    10.00
    795 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97012    31.90
    796 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   G0283    27.14
    797 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97035    25.22
    798 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97110    63.30
    799 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97140   118.60
    800 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97010    10.00
    801 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97012    31.90
    802 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   G0283    27.14
    803 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97035    25.22
    804 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97110    63.30
    805 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97140   118.60
    806 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97010    10.00
    807 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97012    31.90
    808 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   G0283    27.14
    809 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97035    25.22
    810 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97140   118.60
    811 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/16/2015   97530    64.18
    812 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97010    10.00
    813 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97012    31.90
    814 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   G0283    27.14
    815 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97035    25.22
    816 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97110    63.30
    817 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97140   118.60
    818 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97010    10.00
    819 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97012    31.90
    820 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   G0283    27.14
    821 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97035    25.22
    822 Himes Walk In Clinic, LLC   0499380340101017   11/18/2014   Bill   2/16/2015   97140   118.60
    823 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   97010    10.00
    824 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   97012    31.90
    825 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   G0283    27.14
    826 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   97035    25.22
    827 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   97110    63.30
    828 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   97140   118.60
    829 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   97010    10.00
    830 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   97012    31.90
    831 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   G0283    27.14
    832 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   97035    25.22
    833 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   97110    63.30
    834 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014    Bill   2/16/2015   97140   118.60
    835 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97010    10.00
    836 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97012    31.90
    837 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   G0283    27.14
    838 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97035    25.22
    839 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97140   118.60
    840 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97530    64.18
    841 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97010    10.00
    842 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   97012    31.90
    843 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/16/2015   G0283    27.14
    844 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   99204   333.26
    845 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97010    10.00
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    846 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97012    31.90
    847 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   G0283    27.14
    848 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97035    25.22
    849 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97140   118.60
    850 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97535    68.56
    851 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97010    10.00
    852 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97012    31.90
    853 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   G0283    27.14
    854 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97035    25.22
    855 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97110    63.30
    856 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97140   118.60
    857 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97010    10.00
    858 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97012    31.90
    859 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   G0283    27.14
    860 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97035    25.22
    861 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97140   118.60
    862 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97530    64.18
    863 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97010    10.00
    864 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97012    31.90
    865 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   G0283    27.14
    866 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97035    25.22
    867 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97140   118.60
    868 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97530    64.18
    869 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97010    10.00
    870 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97012    31.90
    871 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   G0283    27.14
    872 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97035    25.22
    873 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97110    63.30
    874 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97140   118.60
    875 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97010    10.00
    876 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97012    31.90
    877 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   G0283    27.14
    878 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97035    25.22
    879 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97140   118.60
    880 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97530    64.18
    881 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97010    10.00
    882 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97012    31.90
    883 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   G0283    27.14
    884 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97035    25.22
    885 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97110    63.30
    886 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/16/2015   97140   118.60
    887 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97010    10.00
    888 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97012    31.90
    889 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   G0283    27.14
    890 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97035    25.22
    891 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97110    63.30
    892 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97140   118.60
    893 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97010    10.00
    894 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97012    31.90
    895 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   G0283    27.14
    896 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97035    25.22
    897 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97140   118.60
    898 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97530    64.18
    899 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97010    10.00
    900 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97012    31.90
    901 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   G0283    27.14
    902 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97035    25.22
    903 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97110    63.30
    904 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97140   118.60
    905 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97010    10.00
    906 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97012    31.90
    907 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   G0283    27.14
    908 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97035    25.22
    909 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97110    63.30
    910 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   98941    73.98
    911 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   98943    32.95
    912 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97140   118.60
    913 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97010    10.00
    914 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97012    31.90
    915 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   G0283    27.14
    916 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97035    25.22
    917 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97140   118.60
    918 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97530    64.18
    919 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   99213   145.86
    920 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97010    10.00
    921 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97012    31.90
    922 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   G0283    27.14
    923 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97035    25.22
    924 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97110    63.30
    925 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97140   118.60
    926 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97010    10.00
    927 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97012    31.90
    928 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   G0283    27.14
    929 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97035    25.22
    930 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97140   118.60
    931 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97530    64.18
    932 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97010    10.00
    933 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97012    31.90
    934 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   G0283    27.14
    935 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97035    25.22
    936 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97110    63.30
    937 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   2/23/2015   97140   118.60
    938 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97010    10.00
    939 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97012    31.90
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     940 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   G0283    27.14
     941 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97035    25.22
     942 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97140   118.60
     943 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97530    64.18
     944 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97010    10.00
     945 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97012    31.90
     946 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   G0283    27.14
     947 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97035    25.22
     948 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97110    63.30
     949 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   2/23/2015   97140   118.60
     950 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97010    10.00
     951 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97012    31.90
     952 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   G0283    27.14
     953 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97035    25.22
     954 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97110    63.30
     955 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97140   118.60
     956 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97010    10.00
     957 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97012    31.90
     958 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   G0283    27.14
     959 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97035    25.22
     960 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97140   118.60
     961 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97530    64.18
     962 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97010    10.00
     963 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97012    31.90
     964 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   G0283    27.14
     965 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97035    25.22
     966 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97110    63.30
     967 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97140   118.60
     968 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97010    10.00
     969 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97012    31.90
     970 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   G0283    27.14
     971 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97035    25.22
     972 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97140   118.60
     973 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97530    64.18
     974 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97010    10.00
     975 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97012    31.90
     976 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   G0283    27.14
     977 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97035    25.22
     978 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97110    63.30
     979 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   2/23/2015   97140   118.60
     980 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97010    10.00
     981 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97012    31.90
     982 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   G0283    27.14
     983 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97035    25.22
     984 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97110    63.30
     985 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97140   118.60
     986 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97010    10.00
     987 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97012    31.90
     988 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   G0283    27.14
     989 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97035    25.22
     990 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97110    63.30
     991 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97140   118.60
     992 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97010    10.00
     993 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97012    31.90
     994 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   G0283    27.14
     995 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97035    25.22
     996 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97140   118.60
     997 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   97530    64.18
     998 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   2/23/2015   99213   145.86
     999 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97010    10.00
    1000 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97012    31.90
    1001 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   G0283    27.14
    1002 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97035    25.22
    1003 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97110    63.30
    1004 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97140   118.60
    1005 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97010    10.00
    1006 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97012    31.90
    1007 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   G0283    27.14
    1008 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97035    25.22
    1009 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97140   118.60
    1010 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97530    64.18
    1011 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97010    10.00
    1012 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97012    31.90
    1013 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   G0283    27.14
    1014 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97035    25.22
    1015 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97110    63.30
    1016 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97140   118.60
    1017 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97010    10.00
    1018 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97012    31.90
    1019 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   G0283    27.14
    1020 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97035    25.22
    1021 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97140   118.60
    1022 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97530    64.18
    1023 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97010    10.00
    1024 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97012    31.90
    1025 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   G0283    27.14
    1026 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97035    25.22
    1027 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97110    63.30
    1028 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015    Bill   2/23/2015   97140   118.60
    1029 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015    97140   118.60
    1030 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015    97010    10.00
    1031 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015    97012    31.90
    1032 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015    G0283    27.14
    1033 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015    97035    25.22
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    1034 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97140   118.60
    1035 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97530    64.18
    1036 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97010    10.00
    1037 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97012    31.90
    1038 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   G0283    27.14
    1039 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97035    25.22
    1040 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97110    63.30
    1041 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97140   118.60
    1042 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97010    10.00
    1043 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97012    31.90
    1044 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   G0283    27.14
    1045 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97035    25.22
    1046 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97140   118.60
    1047 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97530    64.18
    1048 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97010    10.00
    1049 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97012    31.90
    1050 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   G0283    27.14
    1051 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97035    25.22
    1052 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97140   118.60
    1053 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97530    64.18
    1054 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97010    10.00
    1055 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97012    31.90
    1056 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   G0283    27.14
    1057 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97035    25.22
    1058 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97110    63.30
    1059 Himes Walk In Clinic, LLC   0457411050101010   11/13/2014   Bill   3/2/2015   97140   118.60
    1060 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97010    10.00
    1061 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97012    31.90
    1062 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   G0283    27.14
    1063 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97035    25.22
    1064 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97110    63.30
    1065 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97140   118.60
    1066 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97010    10.00
    1067 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97012    31.90
    1068 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   G0283    27.14
    1069 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97035    25.22
    1070 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97110    63.30
    1071 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97140   118.60
    1072 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97010    10.00
    1073 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97012    31.90
    1074 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   G0283    27.14
    1075 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97035    25.22
    1076 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97140   118.60
    1077 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97530    64.18
    1078 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97010    10.00
    1079 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97012    31.90
    1080 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   G0283    27.14
    1081 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97035    25.22
    1082 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97140   118.60
    1083 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97530    64.18
    1084 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97010    10.00
    1085 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97012    31.90
    1086 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   G0283    27.14
    1087 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97035    25.22
    1088 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97110    63.30
    1089 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97140   118.60
    1090 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97010    10.00
    1091 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97012    31.90
    1092 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   G0283    27.14
    1093 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97035    25.22
    1094 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97140   118.60
    1095 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97530    64.18
    1096 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97010    10.00
    1097 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97012    31.90
    1098 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   G0283    27.14
    1099 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97035    25.22
    1100 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97110    63.30
    1101 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015    Bill   3/2/2015   97140   118.60
    1102 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97010    10.00
    1103 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97012    31.90
    1104 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   G0283    27.14
    1105 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97035    25.22
    1106 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97110    63.30
    1107 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97140   118.60
    1108 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97010    10.00
    1109 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97012    31.90
    1110 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   G0283    27.14
    1111 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97035    25.22
    1112 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97110    63.30
    1113 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97140   118.60
    1114 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97010    10.00
    1115 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97012    31.90
    1116 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   G0283    27.14
    1117 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97035    25.22
    1118 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97110    63.30
    1119 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97140   118.60
    1120 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97010    10.00
    1121 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97012    31.90
    1122 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   G0283    27.14
    1123 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97035    25.22
    1124 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97140   118.60
    1125 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015    Bill   3/2/2015   97530    64.18
    1126 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97010    10.00
    1127 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015     Bill   3/2/2015   97012    31.90
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 13 of 9287 PageID 147


    1128 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    G0283    27.14
    1129 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97035    25.22
    1130 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97110    63.30
    1131 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97140   118.60
    1132 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97010    10.00
    1133 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97012    31.90
    1134 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    G0283    27.14
    1135 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97035    25.22
    1136 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97110    63.30
    1137 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97140   118.60
    1138 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97010    10.00
    1139 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97012    31.90
    1140 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    G0283    27.14
    1141 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97035    25.22
    1142 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/2/2015    97110    63.30
    1143 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97010    10.00
    1144 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97012    31.90
    1145 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    G0283    27.14
    1146 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97035    25.22
    1147 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97140   118.60
    1148 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97530    64.18
    1149 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97010    10.00
    1150 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97012    31.90
    1151 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    G0283    27.14
    1152 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97035    25.22
    1153 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97110    63.30
    1154 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97140   118.60
    1155 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97010    10.00
    1156 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97012    31.90
    1157 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    G0283    27.14
    1158 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97035    25.22
    1159 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97140   118.60
    1160 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97530    64.18
    1161 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97010    10.00
    1162 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97012    31.90
    1163 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    G0283    27.14
    1164 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97035    25.22
    1165 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97110    63.30
    1166 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/2/2015    97140   118.60
    1167 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/9/2015    99211    39.20
    1168 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/9/2015    98941    73.98
    1169 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97010    10.00
    1170 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97012    31.90
    1171 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   G0283    27.14
    1172 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97035    25.22
    1173 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97140   118.60
    1174 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97530    64.18
    1175 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97010    10.00
    1176 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97012    31.90
    1177 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   G0283    27.14
    1178 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97035    25.22
    1179 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97110    63.30
    1180 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97140   118.60
    1181 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97010    10.00
    1182 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97012    31.90
    1183 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   G0283    27.14
    1184 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97035    25.22
    1185 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97140   118.60
    1186 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97530    64.18
    1187 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97010    10.00
    1188 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97012    31.90
    1189 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   G0283    27.14
    1190 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97035    25.22
    1191 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97110    63.30
    1192 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97140   118.60
    1193 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97010    10.00
    1194 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97012    31.90
    1195 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   G0283    27.14
    1196 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97035    25.22
    1197 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97110    63.30
    1198 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97140   118.60
    1199 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97010    10.00
    1200 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97012    31.90
    1201 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   G0283    27.14
    1202 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97035    25.22
    1203 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97140   118.60
    1204 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97530    64.18
    1205 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97010    10.00
    1206 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97012    31.90
    1207 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   G0283    27.14
    1208 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97035    25.22
    1209 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97110    63.30
    1210 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/10/2015   97140   118.60
    1211 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97010    10.00
    1212 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97012    31.90
    1213 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   G0283    27.14
    1214 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97035    25.22
    1215 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97110    63.30
    1216 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97140   118.60
    1217 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97010    10.00
    1218 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97012    31.90
    1219 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   G0283    27.14
    1220 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97035    25.22
    1221 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97140   118.60
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    1222 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97530    64.18
    1223 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97010    10.00
    1224 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97012    31.90
    1225 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   G0283    27.14
    1226 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97035    25.22
    1227 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97110    63.30
    1228 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/10/2015   97140   118.60
    1229 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   97010    10.00
    1230 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   97012    31.90
    1231 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   G0283    27.14
    1232 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   97035    25.22
    1233 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   97110    63.30
    1234 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   97140   118.60
    1235 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   97010    10.00
    1236 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   97012    31.90
    1237 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   G0283    27.14
    1238 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   97035    25.22
    1239 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   97110    63.30
    1240 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/10/2015   97140   118.60
    1241 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97010    10.00
    1242 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97012    31.90
    1243 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   G0283    27.14
    1244 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97035    25.22
    1245 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97110    63.30
    1246 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97140   118.60
    1247 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97010    10.00
    1248 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97012    31.90
    1249 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   G0283    27.14
    1250 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97035    25.22
    1251 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97140   118.60
    1252 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97530    64.18
    1253 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97010    10.00
    1254 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97012    31.90
    1255 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   G0283    27.14
    1256 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97035    25.22
    1257 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97110    63.30
    1258 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97140   118.60
    1259 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97010    10.00
    1260 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97012    31.90
    1261 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   G0283    27.14
    1262 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97035    25.22
    1263 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97140   118.60
    1264 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97530    64.18
    1265 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97010    10.00
    1266 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97012    31.90
    1267 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   G0283    27.14
    1268 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97035    25.22
    1269 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97110    63.30
    1270 Himes Walk In Clinic, LLC   0410863050101018   11/3/2014   Bill   3/10/2015   97140   118.60
    1271 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   97010    10.00
    1272 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   97012    31.90
    1273 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   G0283    27.14
    1274 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   97035    25.22
    1275 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   97110    63.30
    1276 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   97140   118.60
    1277 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   97010    10.00
    1278 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   97012    31.90
    1279 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   G0283    27.14
    1280 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   97035    25.22
    1281 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   97110    63.30
    1282 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   3/10/2015   97140   118.60
    1283 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97140   118.60
    1284 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97010    10.00
    1285 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97012    31.90
    1286 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   G0283    27.14
    1287 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97035    25.22
    1288 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97110    63.30
    1289 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97140   118.60
    1290 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97010    10.00
    1291 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97012    31.90
    1292 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   G0283    27.14
    1293 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97035    25.22
    1294 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97140   118.60
    1295 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97530    64.18
    1296 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   99204   333.26
    1297 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97010    10.00
    1298 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97012    31.90
    1299 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   G0283    27.14
    1300 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97035    25.22
    1301 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97140   118.60
    1302 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97535    68.56
    1303 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97010    10.00
    1304 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97012    31.90
    1305 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   G0283    27.14
    1306 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97035    25.22
    1307 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97110    63.30
    1308 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97140   118.60
    1309 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97010    10.00
    1310 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97012    31.90
    1311 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   G0283    27.14
    1312 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97035    25.22
    1313 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97140    59.30
    1314 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97530    64.18
    1315 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97010    10.00
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 15 of 9287 PageID 149


    1316 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97012    31.90
    1317 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   G0283    27.14
    1318 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97035    25.22
    1319 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97110    63.30
    1320 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97140   118.60
    1321 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97010    10.00
    1322 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97012    31.90
    1323 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   G0283    27.14
    1324 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97035    25.22
    1325 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97140   118.60
    1326 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97530    64.18
    1327 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97010    10.00
    1328 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97012    31.90
    1329 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   G0283    27.14
    1330 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97035    25.22
    1331 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97140   118.60
    1332 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/14/2015   97530    64.18
    1333 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/14/2015   99213   145.86
    1334 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/14/2015   98941    73.98
    1335 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97010    10.00
    1336 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97012    31.90
    1337 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   G0283    27.14
    1338 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97035    25.22
    1339 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97140   118.60
    1340 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97530    64.18
    1341 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97010    10.00
    1342 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97012    31.90
    1343 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   G0283    27.14
    1344 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97035    25.22
    1345 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97110    63.30
    1346 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97140   118.60
    1347 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97010    10.00
    1348 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97012    31.90
    1349 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   G0283    27.14
    1350 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97035    25.22
    1351 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97140   118.60
    1352 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   97530    64.18
    1353 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   99213   145.86
    1354 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/14/2015   98941    73.98
    1355 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97010    10.00
    1356 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97012    31.90
    1357 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   G0283    27.14
    1358 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97035    25.22
    1359 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97140   118.60
    1360 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97530    64.18
    1361 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97010    10.00
    1362 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97012    31.90
    1363 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   G0283    27.14
    1364 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97035    25.22
    1365 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97110    63.30
    1366 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97140   118.60
    1367 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97010    10.00
    1368 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97012    31.90
    1369 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   G0283    27.14
    1370 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97035    25.22
    1371 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97110    63.30
    1372 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97140   118.60
    1373 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97010    10.00
    1374 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97012    31.90
    1375 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   G0283    27.14
    1376 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97035    25.22
    1377 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/14/2015   97110    63.30
    1378 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97530    64.18
    1379 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97010    10.00
    1380 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97012    31.90
    1381 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   G0283    27.14
    1382 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97035    25.22
    1383 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97110    63.30
    1384 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97140   118.60
    1385 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97010    10.00
    1386 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97012    31.90
    1387 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   G0283    27.14
    1388 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97035    25.22
    1389 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97110    63.30
    1390 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97140   118.60
    1391 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97010    10.00
    1392 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97012    31.90
    1393 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   G0283    27.14
    1394 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97035    25.22
    1395 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97140   118.60
    1396 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97530    64.18
    1397 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97010    10.00
    1398 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97012    31.90
    1399 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   G0283    27.14
    1400 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97035    25.22
    1401 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97110    63.30
    1402 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97140   118.60
    1403 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97010    10.00
    1404 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97012    31.90
    1405 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   G0283    27.14
    1406 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97035    25.22
    1407 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97110    63.30
    1408 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97140   118.60
    1409 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97010    10.00
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    1410 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97012    31.90
    1411 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   G0283    27.14
    1412 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97035    25.22
    1413 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97110    63.30
    1414 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97140   118.60
    1415 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97010    10.00
    1416 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97012    31.90
    1417 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   G0283    27.14
    1418 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97035    25.22
    1419 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97140   118.60
    1420 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97530    64.18
    1421 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97010    10.00
    1422 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97012    31.90
    1423 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   G0283    27.14
    1424 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97035    25.22
    1425 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97110    63.30
    1426 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/25/2015   97140   118.60
    1427 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97010    10.00
    1428 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97012    31.90
    1429 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   G0283    27.14
    1430 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97035    25.22
    1431 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97110    63.30
    1432 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97140   118.60
    1433 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97010    10.00
    1434 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97012    31.90
    1435 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   G0283    27.14
    1436 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97035    25.22
    1437 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97140   118.60
    1438 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97530    64.18
    1439 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97010    10.00
    1440 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97012    31.90
    1441 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   G0283    27.14
    1442 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97035    25.22
    1443 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97110    63.30
    1444 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/25/2015   97140   118.60
    1445 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97010    10.00
    1446 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97012    31.90
    1447 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   G0283    27.14
    1448 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97035    25.22
    1449 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97110    63.30
    1450 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97140   118.60
    1451 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97010    10.00
    1452 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97012    31.90
    1453 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   G0283    27.14
    1454 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97035    25.22
    1455 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97140   118.60
    1456 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97530    64.18
    1457 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97010    10.00
    1458 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97012    31.90
    1459 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   G0283    27.14
    1460 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97035    25.22
    1461 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97110    63.30
    1462 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97140   118.60
    1463 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97010    10.00
    1464 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97012    31.90
    1465 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   G0283    27.14
    1466 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97035    25.22
    1467 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97110    63.30
    1468 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/25/2015   97140   118.60
    1469 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97010    10.00
    1470 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97012    31.90
    1471 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   G0283    27.14
    1472 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97035    25.22
    1473 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97140   118.60
    1474 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97530    64.18
    1475 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97010    10.00
    1476 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97012    31.90
    1477 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   G0283    27.14
    1478 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97035    25.22
    1479 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97110    63.30
    1480 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97140   118.60
    1481 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97010    10.00
    1482 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97012    31.90
    1483 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   G0283    27.14
    1484 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97035    25.22
    1485 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   3/25/2015   97140   118.60
    1486 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97110    63.30
    1487 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97140   118.60
    1488 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97010    10.00
    1489 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97012    31.90
    1490 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   G0283    27.14
    1491 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97035    25.22
    1492 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97140   118.60
    1493 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97530    64.18
    1494 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97010    10.00
    1495 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97012    31.90
    1496 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   G0283    27.14
    1497 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97035    25.22
    1498 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97110    63.30
    1499 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97140   118.60
    1500 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   99213   145.86
    1501 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   98941    73.98
    1502 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   99213   145.86
    1503 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97010    10.00
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    1504 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97012    31.90
    1505 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   G0283    27.14
    1506 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97035    25.22
    1507 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97140   118.60
    1508 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97530    64.18
    1509 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97010    10.00
    1510 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97012    31.90
    1511 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   G0283    27.14
    1512 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97035    25.22
    1513 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97110    63.30
    1514 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97140   118.60
    1515 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97010    10.00
    1516 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97012    31.90
    1517 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   G0283    27.14
    1518 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97035    25.22
    1519 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97110    63.30
    1520 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   3/28/2015   97140   118.60
    1521 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97010    10.00
    1522 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97012    31.90
    1523 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   G0283    27.14
    1524 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97035    25.22
    1525 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97140   118.60
    1526 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97530    64.18
    1527 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97010    10.00
    1528 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97012    31.90
    1529 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   G0283    27.14
    1530 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97035    25.22
    1531 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97140   118.60
    1532 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97530    64.18
    1533 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97010    10.00
    1534 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97012    31.90
    1535 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   G0283    27.14
    1536 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97035    25.22
    1537 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97110    63.30
    1538 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97140   118.60
    1539 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97010    10.00
    1540 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97012    31.90
    1541 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   G0283    27.14
    1542 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97035    25.22
    1543 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97140   118.60
    1544 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97530    64.18
    1545 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97010    10.00
    1546 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97012    31.90
    1547 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   G0283    27.14
    1548 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97035    25.22
    1549 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97110    63.30
    1550 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   3/28/2015   97140   118.60
    1551 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97010    10.00
    1552 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97012    31.90
    1553 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   G0283    27.14
    1554 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97035    25.22
    1555 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97110    63.30
    1556 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97140   118.60
    1557 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97010    10.00
    1558 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97012    31.90
    1559 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   G0283    27.14
    1560 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97035    25.22
    1561 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97140   118.60
    1562 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97530    64.18
    1563 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97010    10.00
    1564 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97012    31.90
    1565 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   G0283    27.14
    1566 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97035    25.22
    1567 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97110    63.30
    1568 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97140   118.60
    1569 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97010    10.00
    1570 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97012    31.90
    1571 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   G0283    27.14
    1572 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   3/28/2015   97035    25.22
    1573 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97035    25.22
    1574 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97110    63.30
    1575 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97140   118.60
    1576 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97010    10.00
    1577 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97012    31.90
    1578 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    G0283    27.14
    1579 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97035    25.22
    1580 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97140   118.60
    1581 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97530    64.18
    1582 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97010    10.00
    1583 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97012    31.90
    1584 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    G0283    27.14
    1585 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97035    25.22
    1586 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97110    63.30
    1587 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97140   118.60
    1588 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97010    10.00
    1589 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97012    31.90
    1590 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    G0283    27.14
    1591 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97035    25.22
    1592 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97140   118.60
    1593 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97530    64.18
    1594 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97010    10.00
    1595 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97012    31.90
    1596 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    G0283    27.14
    1597 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015    97035    25.22
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    1598 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97110    63.30
    1599 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97140   118.60
    1600 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   99204   333.26
    1601 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1602 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1603 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1604 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1605 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140    59.30
    1606 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97535    68.56
    1607 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1608 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1609 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1610 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1611 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97110    63.30
    1612 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1613 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1614 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1615 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1616 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1617 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1618 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97530    64.18
    1619 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1620 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1621 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1622 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1623 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97110    63.30
    1624 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1625 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1626 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1627 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1628 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1629 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1630 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97530    64.18
    1631 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1632 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1633 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1634 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1635 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97110    63.30
    1636 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1637 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1638 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1639 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1640 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1641 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1642 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97530    64.18
    1643 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1644 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1645 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1646 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1647 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97110    63.30
    1648 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1649 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   99204   333.26
    1650 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1651 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1652 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1653 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1654 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140    59.30
    1655 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97535    68.56
    1656 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1657 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1658 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1659 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1660 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   99204   333.26
    1661 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97010    10.00
    1662 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97012    31.90
    1663 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   G0283    27.14
    1664 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97035    25.22
    1665 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97140    59.30
    1666 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97535    68.56
    1667 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97010    10.00
    1668 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97012    31.90
    1669 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   G0283    27.14
    1670 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97035    25.22
    1671 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97110    63.30
    1672 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97140   118.60
    1673 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97010    10.00
    1674 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97012    31.90
    1675 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   G0283    27.14
    1676 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97035    25.22
    1677 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97140   118.60
    1678 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97530    64.18
    1679 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97010    10.00
    1680 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   97012    31.90
    1681 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   G0283    27.14
    1682 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97110    63.30
    1683 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1684 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1685 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1686 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1687 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1688 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1689 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97530    64.18
    1690 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1691 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
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    1692 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1693 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1694 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1695 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97530    64.18
    1696 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1697 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1698 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1699 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1700 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97110    63.30
    1701 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1702 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1703 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1704 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1705 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1706 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97110    63.30
    1707 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1708 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1709 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1710 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1711 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1712 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1713 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97530    64.18
    1714 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97010    10.00
    1715 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97012    31.90
    1716 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   G0283    27.14
    1717 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97035    25.22
    1718 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97110    63.30
    1719 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/4/2015   97140   118.60
    1720 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   99211    39.20
    1721 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   98941    73.98
    1722 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/4/2015   98943    32.95
    1723 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97010    10.00
    1724 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97012    31.90
    1725 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   G0283    27.14
    1726 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97035    25.22
    1727 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97140   118.60
    1728 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97530    64.18
    1729 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97010    10.00
    1730 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97012    31.90
    1731 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   G0283    27.14
    1732 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97035    25.22
    1733 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97110    63.30
    1734 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97140   118.60
    1735 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97010    10.00
    1736 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97012    31.90
    1737 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   G0283    27.14
    1738 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97035    25.22
    1739 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97110    63.30
    1740 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97140   118.60
    1741 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97010    10.00
    1742 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97012    31.90
    1743 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   G0283    27.14
    1744 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97035    25.22
    1745 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97140   118.60
    1746 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97530    64.18
    1747 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97010    10.00
    1748 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97012    31.90
    1749 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   G0283    27.14
    1750 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97035    25.22
    1751 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97140   118.60
    1752 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97530    64.18
    1753 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97010    10.00
    1754 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97012    31.90
    1755 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   G0283    27.14
    1756 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97035    25.22
    1757 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97110    63.30
    1758 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/4/2015   97140   118.60
    1759 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015   97530    64.18
    1760 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97010    10.00
    1761 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97012    31.90
    1762 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   G0283    27.14
    1763 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97035    25.22
    1764 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97140   118.60
    1765 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97530    64.18
    1766 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97010    10.00
    1767 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97012    31.90
    1768 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   G0283    27.14
    1769 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97035    25.22
    1770 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97110    63.30
    1771 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97140   118.60
    1772 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97010    10.00
    1773 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97012    31.90
    1774 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   G0283    27.14
    1775 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97035    25.22
    1776 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97140   118.60
    1777 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97530    64.18
    1778 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97010    10.00
    1779 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97012    31.90
    1780 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   G0283    27.14
    1781 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97035    25.22
    1782 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97110    63.30
    1783 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/6/2015   97140   118.60
    1784 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015   97010    10.00
    1785 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015   97012    31.90
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    1786 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    G0283    27.14
    1787 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97035    25.22
    1788 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97110    63.30
    1789 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97140   118.60
    1790 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97010    10.00
    1791 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97012    31.90
    1792 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    G0283    27.14
    1793 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97035    25.22
    1794 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97140   118.60
    1795 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97530    64.18
    1796 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97010    10.00
    1797 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97012    31.90
    1798 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    G0283    27.14
    1799 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97035    25.22
    1800 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97110    63.30
    1801 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97140   118.60
    1802 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97010    10.00
    1803 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97012    31.90
    1804 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    G0283    27.14
    1805 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97035    25.22
    1806 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/6/2015    97140   118.60
    1807 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97010    10.00
    1808 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97012    31.90
    1809 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    G0283    27.14
    1810 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97035    25.22
    1811 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97110    63.30
    1812 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97140   118.60
    1813 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97010    10.00
    1814 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97012    31.90
    1815 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    G0283    27.14
    1816 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97035    25.22
    1817 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97140   118.60
    1818 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97530    64.18
    1819 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97010    10.00
    1820 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97012    31.90
    1821 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    G0283    27.14
    1822 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97035    25.22
    1823 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97110    63.30
    1824 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/9/2015    97140   118.60
    1825 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97010    10.00
    1826 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97012    31.90
    1827 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   G0283    27.14
    1828 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97035    25.22
    1829 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97140   118.60
    1830 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97530    64.18
    1831 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97010    10.00
    1832 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97012    31.90
    1833 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   G0283    27.14
    1834 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97035    25.22
    1835 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97110    63.30
    1836 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97140   118.60
    1837 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97010    10.00
    1838 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97012    31.90
    1839 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   G0283    27.14
    1840 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97035    25.22
    1841 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97110    63.30
    1842 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   97140   118.60
    1843 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/15/2015   99213   145.86
    1844 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97010    10.00
    1845 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97012    31.90
    1846 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   G0283    27.14
    1847 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97035    25.22
    1848 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97110    63.30
    1849 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97140   118.60
    1850 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97010    10.00
    1851 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97012    31.90
    1852 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   G0283    27.14
    1853 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97035    25.22
    1854 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97110    63.30
    1855 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97140   118.60
    1856 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97010    10.00
    1857 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97012    31.90
    1858 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   G0283    27.14
    1859 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97035    25.22
    1860 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97140   118.60
    1861 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97530    64.18
    1862 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97010    10.00
    1863 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97012    31.90
    1864 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   G0283    27.14
    1865 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97035    25.22
    1866 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97110    63.30
    1867 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97140   118.60
    1868 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97010    10.00
    1869 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97012    31.90
    1870 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   G0283    27.14
    1871 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97035    25.22
    1872 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97110    63.30
    1873 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97140   118.60
    1874 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97010    10.00
    1875 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97012    31.90
    1876 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   G0283    27.14
    1877 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97035    25.22
    1878 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97140   118.60
    1879 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97530    64.18
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    1880 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97010    10.00
    1881 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97012    31.90
    1882 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   G0283    27.14
    1883 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97035    25.22
    1884 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97110    63.30
    1885 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/15/2015   97140   118.60
    1886 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97010    10.00
    1887 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97012    31.90
    1888 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   G0283    27.14
    1889 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97035    25.22
    1890 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97110    63.30
    1891 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97140   118.60
    1892 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97010    10.00
    1893 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97012    31.90
    1894 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   G0283    27.14
    1895 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97035    25.22
    1896 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97140   118.60
    1897 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97530    64.18
    1898 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97010    10.00
    1899 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97012    31.90
    1900 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   G0283    27.14
    1901 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97035    25.22
    1902 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97110    63.30
    1903 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97140   118.60
    1904 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97010    10.00
    1905 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97012    31.90
    1906 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   G0283    27.14
    1907 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97035    25.22
    1908 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97110    63.30
    1909 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/15/2015   97140   118.60
    1910 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97010    10.00
    1911 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97012    31.90
    1912 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   G0283    27.14
    1913 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97035    25.22
    1914 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97110    63.30
    1915 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97140   118.60
    1916 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97010    10.00
    1917 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97012    31.90
    1918 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   G0283    27.14
    1919 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97035    25.22
    1920 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97140   118.60
    1921 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97530    64.18
    1922 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97010    10.00
    1923 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97012    31.90
    1924 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   G0283    27.14
    1925 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97035    25.22
    1926 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97110    63.30
    1927 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/16/2015   97140   118.60
    1928 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97035    25.22
    1929 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97110    63.30
    1930 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97140   118.60
    1931 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97530    64.18
    1932 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1933 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1934 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1935 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1936 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97110    63.30
    1937 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    1938 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1939 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1940 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1941 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1942 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97110    63.30
    1943 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    1944 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1945 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1946 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1947 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1948 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    1949 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97530    64.18
    1950 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1951 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1952 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1953 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1954 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    1955 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97530    64.18
    1956 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1957 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1958 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1959 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1960 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97110    63.30
    1961 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    1962 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1963 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1964 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1965 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1966 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    1967 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97530    64.18
    1968 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   99204   333.26
    1969 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1970 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1971 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1972 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1973 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140    59.30
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    1974 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97535    68.56
    1975 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1976 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1977 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1978 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1979 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97110    63.30
    1980 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    1981 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1982 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1983 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1984 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1985 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97110    63.30
    1986 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    1987 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1988 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1989 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1990 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1991 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97110    63.30
    1992 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    1993 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    1994 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    1995 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    1996 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    1997 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    1998 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97530    64.18
    1999 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    2000 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    2001 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    2002 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    2003 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97110    63.30
    2004 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    2005 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    2006 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    2007 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    2008 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    2009 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    2010 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97530    64.18
    2011 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    2012 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    2013 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    2014 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    2015 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97110    63.30
    2016 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    2017 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97010    10.00
    2018 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97012    31.90
    2019 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   G0283    27.14
    2020 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97035    25.22
    2021 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97140   118.60
    2022 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97530    64.18
    2023 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97010    10.00
    2024 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97012    31.90
    2025 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   G0283    27.14
    2026 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97035    25.22
    2027 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97110    63.30
    2028 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97140   118.60
    2029 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97010    10.00
    2030 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   97012    31.90
    2031 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   4/20/2015   G0283    27.14
    2032 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97110    63.30
    2033 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97140    59.30
    2034 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97010    10.00
    2035 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97012    31.90
    2036 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   G0283    27.14
    2037 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97035    25.22
    2038 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97140   118.60
    2039 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97530    64.18
    2040 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   99213   145.86
    2041 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97010    10.00
    2042 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97012    31.90
    2043 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   G0283    27.14
    2044 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97035    25.22
    2045 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97110    63.30
    2046 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97140   118.60
    2047 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97010    10.00
    2048 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97012    31.90
    2049 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   G0283    27.14
    2050 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97035    25.22
    2051 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97140   118.60
    2052 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97530    64.18
    2053 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97010    10.00
    2054 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97012    31.90
    2055 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   G0283    27.14
    2056 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97035    25.22
    2057 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97110    63.30
    2058 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   97140   118.60
    2059 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   99213   145.86
    2060 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   4/20/2015   98941    73.98
    2061 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97010    10.00
    2062 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97012    31.90
    2063 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   G0283    27.14
    2064 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97035    25.22
    2065 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97110    63.30
    2066 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97140   118.60
    2067 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97010    10.00
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    2068 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97012    31.90
    2069 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   G0283    27.14
    2070 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97035    25.22
    2071 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97140   118.60
    2072 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97530    64.18
    2073 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97010    10.00
    2074 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97012    31.90
    2075 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   G0283    27.14
    2076 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97035    25.22
    2077 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97110    63.30
    2078 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97140   118.60
    2079 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97010    10.00
    2080 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97012    31.90
    2081 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   G0283    27.14
    2082 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97035    25.22
    2083 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97140   118.60
    2084 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97530    64.18
    2085 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97010    10.00
    2086 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97012    31.90
    2087 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   G0283    27.14
    2088 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97035    25.22
    2089 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97110    63.30
    2090 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97140    59.30
    2091 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97010    10.00
    2092 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97012    31.90
    2093 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   G0283    27.14
    2094 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97035    25.22
    2095 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97110    63.30
    2096 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97140   118.60
    2097 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97010    10.00
    2098 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97012    31.90
    2099 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   G0283    27.14
    2100 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97035    25.22
    2101 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97140   118.60
    2102 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97530    64.18
    2103 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97010    10.00
    2104 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97012    31.90
    2105 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   G0283    27.14
    2106 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97035    25.22
    2107 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97110    63.30
    2108 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   4/20/2015   97140   118.60
    2109 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   99204   333.26
    2110 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    2111 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    2112 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    2113 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    2114 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140    59.30
    2115 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97535    68.56
    2116 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97010    10.00
    2117 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97012    31.90
    2118 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   G0283    27.14
    2119 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97035    25.22
    2120 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   4/20/2015   97140   118.60
    2121 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   G0283    27.14
    2122 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97035    25.22
    2123 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97110    63.30
    2124 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97140   118.60
    2125 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97010    10.00
    2126 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97012    31.90
    2127 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   G0283    27.14
    2128 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97035    25.22
    2129 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97140   118.60
    2130 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97530    64.18
    2131 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97010    10.00
    2132 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97012    31.90
    2133 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   G0283    27.14
    2134 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97035    25.22
    2135 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97110    63.30
    2136 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97140   118.60
    2137 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97010    10.00
    2138 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97012    31.90
    2139 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   G0283    27.14
    2140 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97035    25.22
    2141 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97110    63.30
    2142 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97140   118.60
    2143 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97010    10.00
    2144 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97012    31.90
    2145 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   G0283    27.14
    2146 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97035    25.22
    2147 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97110    63.30
    2148 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97140   118.60
    2149 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97010    10.00
    2150 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97012    31.90
    2151 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   G0283    27.14
    2152 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97035    25.22
    2153 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97140   118.60
    2154 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97530    64.18
    2155 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97010    10.00
    2156 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97012    31.90
    2157 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   G0283    27.14
    2158 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97035    25.22
    2159 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97110    63.30
    2160 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97140   118.60
    2161 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97010    10.00
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    2162 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97012    31.90
    2163 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   G0283    27.14
    2164 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97035    25.22
    2165 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97110    63.30
    2166 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97140   118.60
    2167 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97010    10.00
    2168 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97012    31.90
    2169 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   G0283    27.14
    2170 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97035    25.22
    2171 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97110    63.30
    2172 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97140   118.60
    2173 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97010    10.00
    2174 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97012    31.90
    2175 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   G0283    27.14
    2176 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97035    25.22
    2177 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97140   118.60
    2178 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97530    64.18
    2179 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97010    10.00
    2180 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97012    31.90
    2181 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   G0283    27.14
    2182 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97035    25.22
    2183 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97110    63.30
    2184 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97140   118.60
    2185 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97010    10.00
    2186 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97012    31.90
    2187 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   G0283    27.14
    2188 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97035    25.22
    2189 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97140    59.30
    2190 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97530    64.18
    2191 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97010    10.00
    2192 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97012    31.90
    2193 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   G0283    27.14
    2194 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97035    25.22
    2195 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97140   118.60
    2196 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97530    64.18
    2197 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97010    10.00
    2198 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97012    31.90
    2199 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   G0283    27.14
    2200 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97035    25.22
    2201 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97110    63.30
    2202 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97140   118.60
    2203 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97010    10.00
    2204 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97012    31.90
    2205 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   G0283    27.14
    2206 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   4/20/2015   97035    25.22
    2207 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97010    10.00
    2208 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   4/20/2015   97012    31.90
    2209 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97010    10.00
    2210 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97012    31.90
    2211 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   G0283    27.14
    2212 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97035    25.22
    2213 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97140   118.60
    2214 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97530    64.18
    2215 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97010    10.00
    2216 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97012    31.90
    2217 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   G0283    27.14
    2218 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97035    25.22
    2219 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97140   118.60
    2220 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97530    64.18
    2221 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97010    10.00
    2222 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97012    31.90
    2223 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   G0283    27.14
    2224 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97035    25.22
    2225 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97110    63.30
    2226 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   97140   118.60
    2227 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   99213   145.86
    2228 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   4/22/2015   98941    73.98
    2229 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    99213   145.86
    2230 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97010    10.00
    2231 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97012    31.90
    2232 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    G0283    27.14
    2233 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97035    25.22
    2234 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97110    63.30
    2235 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97140   118.60
    2236 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97010    10.00
    2237 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97012    31.90
    2238 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    G0283    27.14
    2239 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97035    25.22
    2240 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97110    63.30
    2241 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97140   118.60
    2242 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97010    10.00
    2243 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97012    31.90
    2244 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    G0283    27.14
    2245 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97035    25.22
    2246 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97140   118.60
    2247 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97530    64.18
    2248 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97010    10.00
    2249 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97012    31.90
    2250 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    G0283    27.14
    2251 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97035    25.22
    2252 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97110    63.30
    2253 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97140   118.60
    2254 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97010    10.00
    2255 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015    97012    31.90
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    2256 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   G0283    27.14
    2257 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97035    25.22
    2258 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97110    63.30
    2259 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97140   118.60
    2260 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97010    10.00
    2261 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97012    31.90
    2262 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   G0283    27.14
    2263 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97035    25.22
    2264 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97140   118.60
    2265 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97530    64.18
    2266 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97010    10.00
    2267 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97012    31.90
    2268 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   G0283    27.14
    2269 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97035    25.22
    2270 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97110    63.30
    2271 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97140   118.60
    2272 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97010    10.00
    2273 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97012    31.90
    2274 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   G0283    27.14
    2275 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97035    25.22
    2276 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97140   118.60
    2277 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97530    64.18
    2278 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97010    10.00
    2279 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97012    31.90
    2280 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   G0283    27.14
    2281 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97035    25.22
    2282 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97110    63.30
    2283 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97140   118.60
    2284 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97010    10.00
    2285 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97012    31.90
    2286 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   G0283    27.14
    2287 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97035    25.22
    2288 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97110    63.30
    2289 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97140   118.60
    2290 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97010    10.00
    2291 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97012    31.90
    2292 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   G0283    27.14
    2293 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97035    25.22
    2294 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97110    63.30
    2295 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/4/2015   97140   118.60
    2296 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97010    10.00
    2297 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97012    31.90
    2298 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   G0283    27.14
    2299 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97035    25.22
    2300 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97110    63.30
    2301 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97140   118.60
    2302 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97010    10.00
    2303 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97012    31.90
    2304 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   G0283    27.14
    2305 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97035    25.22
    2306 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97110    63.30
    2307 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97140   118.60
    2308 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97010    10.00
    2309 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97012    31.90
    2310 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   G0283    27.14
    2311 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97035    25.22
    2312 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97140   118.60
    2313 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97530    64.18
    2314 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97010    10.00
    2315 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97012    31.90
    2316 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   G0283    27.14
    2317 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97012    31.90
    2318 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   G0283    27.14
    2319 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97035    25.22
    2320 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97110    63.30
    2321 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97140   118.60
    2322 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97010    10.00
    2323 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97012    31.90
    2324 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   G0283    27.14
    2325 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97035    25.22
    2326 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97140   118.60
    2327 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97530    64.18
    2328 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97010    10.00
    2329 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97012    31.90
    2330 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   G0283    27.14
    2331 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97035    25.22
    2332 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97140   118.60
    2333 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97530    64.18
    2334 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97010    10.00
    2335 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97012    31.90
    2336 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   G0283    27.14
    2337 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97035    25.22
    2338 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97110    63.30
    2339 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97140   118.60
    2340 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97010    10.00
    2341 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97012    31.90
    2342 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   G0283    27.14
    2343 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97035    25.22
    2344 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97110    63.30
    2345 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97140   118.60
    2346 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   99212    87.60
    2347 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   98941    73.98
    2348 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97010    10.00
    2349 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97012    31.90
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    2350 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   G0283    27.14
    2351 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97035    25.22
    2352 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97110    63.30
    2353 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97140   118.60
    2354 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97010    10.00
    2355 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97012    31.90
    2356 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   G0283    27.14
    2357 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97035    25.22
    2358 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97140   118.60
    2359 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97530    64.18
    2360 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   99213   145.86
    2361 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2362 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2363 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2364 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2365 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2366 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97530    64.18
    2367 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2368 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2369 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2370 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2371 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2372 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97530    64.18
    2373 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2374 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2375 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2376 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2377 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97110    63.30
    2378 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2379 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2380 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2381 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2382 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2383 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97110    63.30
    2384 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2385 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2386 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2387 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2388 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2389 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97110    63.30
    2390 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2391 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2392 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2393 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2394 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2395 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2396 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97530    64.18
    2397 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2398 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2399 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2400 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2401 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2402 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97530    64.18
    2403 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2404 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2405 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2406 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2407 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97110    63.30
    2408 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2409 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   99212    87.60
    2410 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   98941    73.98
    2411 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   99213   145.86
    2412 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   99213   145.86
    2413 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2414 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2415 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2416 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2417 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97110    63.30
    2418 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2419 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2420 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2421 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2422 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2423 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97110    63.30
    2424 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2425 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2426 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2427 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2428 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2429 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2430 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97530    64.18
    2431 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2432 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2433 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2434 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2435 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97110    63.30
    2436 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2437 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2438 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2439 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2440 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2441 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97110    63.30
    2442 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2443 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
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    2444 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2445 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2446 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2447 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97110    63.30
    2448 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2449 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2450 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2451 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2452 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2453 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2454 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97530    64.18
    2455 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97010    10.00
    2456 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97012    31.90
    2457 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   G0283    27.14
    2458 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97035    25.22
    2459 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97110    63.30
    2460 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/4/2015   97140   118.60
    2461 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97010    10.00
    2462 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97012    31.90
    2463 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   G0283    27.14
    2464 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97035    25.22
    2465 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97140   118.60
    2466 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97530    64.18
    2467 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97010    10.00
    2468 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97012    31.90
    2469 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   G0283    27.14
    2470 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97035    25.22
    2471 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97110    63.30
    2472 Himes Walk In Clinic, LLC   0365171270101031   1/2/2015    Bill   5/4/2015   97140   118.60
    2473 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97010    10.00
    2474 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97012    31.90
    2475 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   G0283    27.14
    2476 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97035    25.22
    2477 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97110    63.30
    2478 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97140   118.60
    2479 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97010    10.00
    2480 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97012    31.90
    2481 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   G0283    27.14
    2482 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97035    25.22
    2483 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97140   118.60
    2484 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97530    64.18
    2485 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/4/2015   97010    10.00
    2486 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97010    10.00
    2487 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97012    31.90
    2488 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   G0283    27.14
    2489 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97035    25.22
    2490 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97140   118.60
    2491 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97530    64.18
    2492 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97010    10.00
    2493 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97012    31.90
    2494 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   G0283    27.14
    2495 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97035    25.22
    2496 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97110    63.30
    2497 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97140   118.60
    2498 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97010    10.00
    2499 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97012    31.90
    2500 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   G0283    27.14
    2501 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97035    25.22
    2502 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97110    63.30
    2503 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97140   118.60
    2504 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97010    10.00
    2505 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97012    31.90
    2506 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   G0283    27.14
    2507 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97035    25.22
    2508 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97140   118.60
    2509 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97530    64.18
    2510 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97010    10.00
    2511 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97012    31.90
    2512 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   G0283    27.14
    2513 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97035    25.22
    2514 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97140   118.60
    2515 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97530    64.18
    2516 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97010    10.00
    2517 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97012    31.90
    2518 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   G0283    27.14
    2519 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97110    63.30
    2520 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/4/2015   97140   118.60
    2521 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97035    25.22
    2522 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97110    63.30
    2523 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97140   118.60
    2524 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97010    10.00
    2525 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97012    31.90
    2526 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   G0283    27.14
    2527 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97035    25.22
    2528 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97110    63.30
    2529 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97140   118.60
    2530 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97010    10.00
    2531 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97012    31.90
    2532 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   G0283    27.14
    2533 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97035    25.22
    2534 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97140   118.60
    2535 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/4/2015   97530    64.18
    2536 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015   97010    10.00
    2537 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015   97012    31.90
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    2538 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    G0283    27.14
    2539 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97035    25.22
    2540 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97110    63.30
    2541 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97140   118.60
    2542 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97010    10.00
    2543 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97012    31.90
    2544 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    G0283    27.14
    2545 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97035    25.22
    2546 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97110    63.30
    2547 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97140   118.60
    2548 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97010    10.00
    2549 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97012    31.90
    2550 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    G0283    27.14
    2551 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97035    25.22
    2552 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97530    64.18
    2553 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97140   118.60
    2554 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97010    10.00
    2555 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97012    31.90
    2556 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    G0283    27.14
    2557 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97035    25.22
    2558 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97110    63.30
    2559 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   5/6/2015    97140   118.60
    2560 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   G0283    27.14
    2561 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97035    25.22
    2562 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97110    63.30
    2563 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97140   118.60
    2564 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97010    10.00
    2565 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97012    31.90
    2566 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   G0283    27.14
    2567 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97035    25.22
    2568 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97110    63.30
    2569 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97140   118.60
    2570 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   99213   145.86
    2571 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   98941    73.98
    2572 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97010    10.00
    2573 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97012    31.90
    2574 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   G0283    27.14
    2575 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97035    25.22
    2576 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97110    63.30
    2577 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97140   118.60
    2578 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97010    10.00
    2579 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97012    31.90
    2580 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   G0283    27.14
    2581 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97035    25.22
    2582 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97140   118.60
    2583 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97530    64.18
    2584 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97010    10.00
    2585 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97012    31.90
    2586 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   G0283    27.14
    2587 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97035    25.22
    2588 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97110    63.30
    2589 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/11/2015   97140   118.60
    2590 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97010    10.00
    2591 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97012    31.90
    2592 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   G0283    27.14
    2593 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97035    25.22
    2594 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97110    63.30
    2595 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97140   118.60
    2596 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97010    10.00
    2597 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97012    31.90
    2598 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   G0283    27.14
    2599 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97035    25.22
    2600 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97140   118.60
    2601 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97530    64.18
    2602 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97010    10.00
    2603 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97012    31.90
    2604 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   G0283    27.14
    2605 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97035    25.22
    2606 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97110    63.30
    2607 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97140   118.60
    2608 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97010    10.00
    2609 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97012    31.90
    2610 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   G0283    27.14
    2611 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97035    25.22
    2612 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97140   118.60
    2613 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97530    64.18
    2614 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   99213   145.86
    2615 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   98941    73.98
    2616 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97010    10.00
    2617 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97012    31.90
    2618 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   G0283    27.14
    2619 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97035    25.22
    2620 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97140   118.60
    2621 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97530    64.18
    2622 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97010    10.00
    2623 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97012    31.90
    2624 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   G0283    27.14
    2625 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97035    25.22
    2626 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97140   118.60
    2627 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97530    64.18
    2628 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97010    10.00
    2629 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97012    31.90
    2630 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   G0283    27.14
    2631 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97035    25.22
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    2632 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97110    63.30
    2633 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97140   118.60
    2634 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97010    10.00
    2635 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97012    31.90
    2636 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   G0283    27.14
    2637 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97035    25.22
    2638 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97110    63.30
    2639 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97140   118.60
    2640 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97010    10.00
    2641 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97012    31.90
    2642 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   G0283    27.14
    2643 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97035    25.22
    2644 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97110    63.30
    2645 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97140   118.60
    2646 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97010    10.00
    2647 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97012    31.90
    2648 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   G0283    27.14
    2649 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97035    25.22
    2650 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97140   118.60
    2651 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97530    64.18
    2652 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97010    10.00
    2653 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97012    31.90
    2654 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   G0283    27.14
    2655 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97035    25.22
    2656 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97140   118.60
    2657 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/11/2015   97530    64.18
    2658 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97010    10.00
    2659 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97012    31.90
    2660 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   G0283    27.14
    2661 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97035    25.22
    2662 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97110    63.30
    2663 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97140   118.60
    2664 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97010    10.00
    2665 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/11/2015   97012    31.90
    2666 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97010    10.00
    2667 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97012    31.90
    2668 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   G0283    27.14
    2669 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97035    25.22
    2670 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97110    63.30
    2671 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97140   118.60
    2672 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97010    10.00
    2673 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97012    31.90
    2674 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   G0283    27.14
    2675 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97035    25.22
    2676 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97140   118.60
    2677 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97530    64.18
    2678 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97010    10.00
    2679 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97012    31.90
    2680 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   G0283    27.14
    2681 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97035    25.22
    2682 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97140   118.60
    2683 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97530    64.18
    2684 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97010    10.00
    2685 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97012    31.90
    2686 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   G0283    27.14
    2687 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97035    25.22
    2688 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97110    63.30
    2689 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97140   118.60
    2690 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97010    10.00
    2691 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97012    31.90
    2692 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   G0283    27.14
    2693 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97035    25.22
    2694 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97110    63.30
    2695 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97140   118.60
    2696 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   99213   145.86
    2697 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   99213   145.86
    2698 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   98941    73.98
    2699 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97012    31.90
    2700 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   G0283    27.14
    2701 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97035    25.22
    2702 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97140   118.60
    2703 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97530    64.18
    2704 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97010    10.00
    2705 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97012    31.90
    2706 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   G0283    27.14
    2707 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97035    25.22
    2708 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97110    63.30
    2709 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97140   118.60
    2710 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97010    10.00
    2711 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97012    31.90
    2712 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   G0283    27.14
    2713 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97035    25.22
    2714 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97110    63.30
    2715 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97140   118.60
    2716 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97010    10.00
    2717 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97012    31.90
    2718 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   G0283    27.14
    2719 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97035    25.22
    2720 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97140   118.60
    2721 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97530    64.18
    2722 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97010    10.00
    2723 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97012    31.90
    2724 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   G0283    27.14
    2725 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97035    25.22
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    2726 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97110    63.30
    2727 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/16/2015   97140   118.60
    2728 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97010    10.00
    2729 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97012    31.90
    2730 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   G0283    27.14
    2731 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97035    25.22
    2732 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97110    63.30
    2733 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97140   118.60
    2734 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97010    10.00
    2735 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97012    31.90
    2736 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   G0283    27.14
    2737 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97035    25.22
    2738 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97140   118.60
    2739 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97530    64.18
    2740 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97010    10.00
    2741 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97012    31.90
    2742 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   G0283    27.14
    2743 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97035    25.22
    2744 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97110    63.30
    2745 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97140   118.60
    2746 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97010    10.00
    2747 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97012    31.90
    2748 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   G0283    27.14
    2749 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97035    25.22
    2750 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97140   118.60
    2751 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97530    64.18
    2752 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97010    10.00
    2753 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97012    31.90
    2754 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   G0283    27.14
    2755 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97035    25.22
    2756 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97110    63.30
    2757 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97140   118.60
    2758 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97010    10.00
    2759 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97012    31.90
    2760 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   G0283    27.14
    2761 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97035    25.22
    2762 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97110    63.30
    2763 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/16/2015   97140   118.60
    2764 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97010    10.00
    2765 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97012    31.90
    2766 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   G0283    27.14
    2767 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97035    25.22
    2768 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97110    63.30
    2769 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97140   118.60
    2770 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97010    10.00
    2771 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97012    31.90
    2772 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   G0283    27.14
    2773 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97035    25.22
    2774 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97110    63.30
    2775 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97140   118.60
    2776 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97110    10.00
    2777 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97012    31.90
    2778 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   G0283    27.14
    2779 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97035    25.22
    2780 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97140   118.60
    2781 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97530    64.18
    2782 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97010    10.00
    2783 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97012    31.90
    2784 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   G0283    27.14
    2785 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97035    25.22
    2786 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97110    63.30
    2787 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97140   118.60
    2788 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97010    10.00
    2789 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97012    31.90
    2790 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   G0283    27.14
    2791 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97035    25.22
    2792 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97140   118.60
    2793 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97530    64.18
    2794 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97010    10.00
    2795 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97012    31.90
    2796 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   G0283    27.14
    2797 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97035    25.22
    2798 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97110    63.30
    2799 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97140   118.60
    2800 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97010    10.00
    2801 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97012    31.90
    2802 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   G0283    27.14
    2803 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97035    25.22
    2804 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97110    63.30
    2805 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97140   118.60
    2806 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97010    10.00
    2807 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97012    31.90
    2808 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   G0283    27.14
    2809 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97035    25.22
    2810 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97140   118.60
    2811 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97530    64.18
    2812 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97010    10.00
    2813 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97012    31.90
    2814 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   G0283    27.14
    2815 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97035    25.22
    2816 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97140   118.60
    2817 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97530    64.18
    2818 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97010    10.00
    2819 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97012    31.90
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    2820 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   G0283    27.14
    2821 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97035    25.22
    2822 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97110    63.30
    2823 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97140   118.60
    2824 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97010    10.00
    2825 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97012    31.90
    2826 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   G0283    27.14
    2827 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97035    25.22
    2828 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97110    63.30
    2829 Himes Walk In Clinic, LLC   0379088570101061   1/25/2015   Bill   5/16/2015   97140   118.60
    2830 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97010    10.00
    2831 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97012    31.90
    2832 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   G0283    27.14
    2833 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97035    25.22
    2834 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97140   118.60
    2835 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97530    64.18
    2836 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97010    10.00
    2837 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97012    31.90
    2838 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   G0283    27.14
    2839 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97035    25.22
    2840 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97140   118.60
    2841 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97530    64.18
    2842 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97010    10.00
    2843 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97012    31.90
    2844 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   G0283    27.14
    2845 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97035    25.22
    2846 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97110    63.30
    2847 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   5/16/2015   97140   118.60
    2848 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97010    10.00
    2849 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97012    31.90
    2850 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   G0283    27.14
    2851 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97035    25.22
    2852 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97140   118.60
    2853 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97530    64.18
    2854 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/16/2015   97010    10.00
    2855 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97535    68.56
    2856 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97010    10.00
    2857 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97012    31.90
    2858 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   G0283    27.14
    2859 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97035    25.22
    2860 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97140   118.60
    2861 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97530    64.18
    2862 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97010    10.00
    2863 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97012    31.90
    2864 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   G0283    27.14
    2865 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97035    25.22
    2866 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97110    63.30
    2867 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97140   118.60
    2868 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97010    10.00
    2869 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97012    31.90
    2870 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   G0283    27.14
    2871 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97035    25.22
    2872 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97110    63.30
    2873 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97140   118.60
    2874 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97010    10.00
    2875 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97012    31.90
    2876 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   G0283    27.14
    2877 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97035    25.22
    2878 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97110    63.30
    2879 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97140   118.60
    2880 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97010    10.00
    2881 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97012    31.90
    2882 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   G0283    27.14
    2883 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97035    25.22
    2884 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97110    63.30
    2885 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97140   118.60
    2886 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97010    10.00
    2887 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97012    31.90
    2888 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   G0283    27.14
    2889 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97035    25.22
    2890 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97140   118.60
    2891 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97530    64.18
    2892 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   99204   333.26
    2893 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   99203   218.12
    2894 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97010    10.00
    2895 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97012    31.90
    2896 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   G0283    27.14
    2897 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97035    25.22
    2898 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/18/2015   97140    59.30
    2899 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   99213   145.86
    2900 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97010    10.00
    2901 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97012    31.90
    2902 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   G0283    27.14
    2903 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97035    25.22
    2904 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97110    63.30
    2905 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97140   118.60
    2906 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97010    10.00
    2907 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97012    31.90
    2908 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   G0283    27.14
    2909 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97035    25.22
    2910 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97140   118.60
    2911 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97530    64.18
    2912 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97010    10.00
    2913 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97012    31.90
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    2914 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   G0283    27.14
    2915 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97035    25.22
    2916 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97140    59.30
    2917 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97530    64.18
    2918 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97010    10.00
    2919 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97012    31.90
    2920 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   G0283    27.14
    2921 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97035    25.22
    2922 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97110    63.30
    2923 Himes Walk In Clinic, LLC   0489440270101031   1/23/2015   Bill   5/19/2015   97140   118.60
    2924 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   G0283    27.14
    2925 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97035    25.22
    2926 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97110    63.30
    2927 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97140   118.60
    2928 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   G0283    27.14
    2929 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97035    25.22
    2930 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97110    63.30
    2931 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97140   118.60
    2932 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97010    10.00
    2933 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97012    31.90
    2934 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   G0283    27.14
    2935 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97035    25.22
    2936 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97110    63.30
    2937 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97140   118.60
    2938 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97010    10.00
    2939 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97012    31.90
    2940 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   G0283    27.14
    2941 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97035    25.22
    2942 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97140   118.60
    2943 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97530    64.18
    2944 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   97010    10.00
    2945 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   97012    31.90
    2946 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   G0283    27.14
    2947 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   97035    25.22
    2948 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   97110    63.30
    2949 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   97140   118.60
    2950 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   97010    10.00
    2951 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   97012    31.90
    2952 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   G0283    27.14
    2953 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   97035    25.22
    2954 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   97140   118.60
    2955 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   5/26/2015   97530    64.18
    2956 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97010    10.00
    2957 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97012    31.90
    2958 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   G0283    27.14
    2959 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97035    25.22
    2960 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97110    63.30
    2961 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97140   118.60
    2962 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97010    10.00
    2963 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97012    31.90
    2964 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   G0283    27.14
    2965 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97035    25.22
    2966 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97110    63.30
    2967 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97140   118.60
    2968 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97010    10.00
    2969 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97012    31.90
    2970 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   G0283    27.14
    2971 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97035    25.22
    2972 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97110    63.30
    2973 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97140   118.60
    2974 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   99213   145.86
    2975 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97010    10.00
    2976 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97012    31.90
    2977 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   G0283    27.14
    2978 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97035    25.22
    2979 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97110    63.30
    2980 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97140   118.60
    2981 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97010    10.00
    2982 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97012    31.90
    2983 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   G0283    27.14
    2984 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97035    25.22
    2985 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97110    63.30
    2986 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97140   118.60
    2987 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97010    10.00
    2988 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97012    31.90
    2989 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   G0283    27.14
    2990 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97035    25.22
    2991 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97110    63.30
    2992 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97140   118.60
    2993 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97010    10.00
    2994 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97012    31.90
    2995 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   G0283    27.14
    2996 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97035    25.22
    2997 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97110    63.30
    2998 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97140   118.60
    2999 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97010    10.00
    3000 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97012    31.90
    3001 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   G0283    27.14
    3002 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97035    25.22
    3003 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97140   118.60
    3004 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97530    64.18
    3005 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97010    10.00
    3006 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97012    31.90
    3007 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   G0283    27.14
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    3008 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97035    25.22
    3009 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97110    63.30
    3010 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97140   118.60
    3011 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97010    10.00
    3012 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97012    31.90
    3013 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   G0283    27.14
    3014 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97035    25.22
    3015 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97140   118.60
    3016 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97530    64.18
    3017 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97010    10.00
    3018 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   5/26/2015   97012    31.90
    3019 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97010    10.00
    3020 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   5/26/2015   97012    31.90
    3021 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3022 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3023 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3024 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3025 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97110    63.30
    3026 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3027 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3028 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3029 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3030 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3031 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3032 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97530    64.18
    3033 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3034 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3035 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3036 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3037 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97110    63.30
    3038 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3039 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3040 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3041 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3042 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3043 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97110    63.30
    3044 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3045 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3046 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3047 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3048 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3049 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3050 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97530    64.18
    3051 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97010    10.00
    3052 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97012    31.90
    3053 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    G0283    27.14
    3054 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97035    25.22
    3055 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97140   118.60
    3056 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97530    64.18
    3057 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97010    10.00
    3058 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97012    31.90
    3059 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    G0283    27.14
    3060 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97035    25.22
    3061 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97110    63.30
    3062 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97140   118.60
    3063 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97010    10.00
    3064 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97012    31.90
    3065 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    G0283    27.14
    3066 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97035    25.22
    3067 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97140   118.60
    3068 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97530    64.18
    3069 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97010    10.00
    3070 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97012    31.90
    3071 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    G0283    27.14
    3072 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97035    25.22
    3073 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97110    63.30
    3074 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97140   118.60
    3075 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97010    10.00
    3076 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    98940    52.38
    3077 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97010    10.00
    3078 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97012    31.90
    3079 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    G0283    27.14
    3080 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97035    25.22
    3081 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97110    63.30
    3082 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97140   118.60
    3083 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97010    10.00
    3084 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97012    31.90
    3085 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    G0283    27.14
    3086 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97035    25.22
    3087 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97110    63.30
    3088 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97140   118.60
    3089 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97010    10.00
    3090 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97012    31.90
    3091 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    G0283    27.14
    3092 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97035    25.22
    3093 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97110    63.30
    3094 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97140   118.60
    3095 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97010    10.00
    3096 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97012    31.90
    3097 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    G0283    27.14
    3098 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97035    25.22
    3099 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97140   118.60
    3100 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/8/2015    97530    64.18
    3101 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
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    3102 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3103 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3104 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3105 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3106 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97530    64.18
    3107 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3108 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3109 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3110 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3111 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97110    63.30
    3112 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3113 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3114 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3115 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3116 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3117 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3118 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97530    64.18
    3119 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3120 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3121 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3122 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3123 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97110    63.30
    3124 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3125 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3126 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3127 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3128 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3129 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3130 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97530    64.18
    3131 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3132 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3133 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3134 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3135 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97110    63.30
    3136 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3137 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97010    10.00
    3138 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97012    31.90
    3139 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    G0283    27.14
    3140 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97035    25.22
    3141 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97140   118.60
    3142 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97530    64.18
    3143 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97010    10.00
    3144 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97012    31.90
    3145 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    G0283    27.14
    3146 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97035    25.22
    3147 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97140   118.60
    3148 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97110    63.30
    3149 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    99213   145.86
    3150 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    98941    73.98
    3151 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97010    10.00
    3152 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97012    31.90
    3153 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    G0283    27.14
    3154 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97035    25.22
    3155 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97110    63.30
    3156 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97140   118.60
    3157 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97010    10.00
    3158 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97012    31.90
    3159 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97035    25.22
    3160 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97140   118.60
    3161 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    97530    64.18
    3162 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    99213   145.86
    3163 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/8/2015    98941    73.98
    3164 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97010    10.00
    3165 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97012    31.90
    3166 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    G0283    27.14
    3167 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97035    25.22
    3168 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97110    63.30
    3169 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/8/2015    97140   118.60
    3170 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97012    31.90
    3171 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    G0283    27.14
    3172 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97035    25.22
    3173 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97140   118.60
    3174 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97530    64.18
    3175 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97010    10.00
    3176 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97012    31.90
    3177 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    G0283    27.14
    3178 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97035    25.22
    3179 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97110    63.30
    3180 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97140   118.60
    3181 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97010    10.00
    3182 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97012    31.90
    3183 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    G0283    27.14
    3184 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97035    25.22
    3185 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97140   118.60
    3186 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97530    64.18
    3187 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97010    10.00
    3188 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97012    31.90
    3189 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    G0283    27.14
    3190 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97035    25.22
    3191 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97110    63.30
    3192 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/8/2015    97140   118.60
    3193 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97010    10.00
    3194 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97012    31.90
    3195 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   G0283    27.14
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    3196 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97035    25.22
    3197 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97110    63.30
    3198 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97140   118.60
    3199 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97010    10.00
    3200 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97012    31.90
    3201 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   G0283    27.14
    3202 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97035    25.22
    3203 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97110    63.30
    3204 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97140   118.60
    3205 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97010    10.00
    3206 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97012    31.90
    3207 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   G0283    27.14
    3208 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97035    25.22
    3209 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97140   118.60
    3210 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97530    64.18
    3211 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97010    10.00
    3212 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97012    31.90
    3213 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   G0283    27.14
    3214 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97035    25.22
    3215 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97110    63.30
    3216 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97140   118.60
    3217 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97010    10.00
    3218 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97012    31.90
    3219 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   G0283    27.14
    3220 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97035    25.22
    3221 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97140   118.60
    3222 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97530    64.18
    3223 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97010    10.00
    3224 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97012    31.90
    3225 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   G0283    27.14
    3226 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97035    25.22
    3227 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97110    63.30
    3228 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/10/2015   97140   118.60
    3229 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97530    64.18
    3230 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97010    10.00
    3231 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97012    31.90
    3232 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   G0283    27.14
    3233 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97035    25.22
    3234 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97110    63.30
    3235 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97140   118.60
    3236 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97010    10.00
    3237 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97012    31.90
    3238 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   G0283    27.14
    3239 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97035    25.22
    3240 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97140   118.60
    3241 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97530    64.18
    3242 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/15/2015   99213   145.86
    3243 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/15/2015   98941    73.98
    3244 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/15/2015   98943    32.95
    3245 Himes Walk In Clinic, LLC   0358149760101066   3/16/2015   Bill   6/15/2015   99213   145.86
    3246 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97010    10.00
    3247 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97012    31.90
    3248 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   G0283    27.14
    3249 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97035    25.22
    3250 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97110    63.30
    3251 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97140   118.60
    3252 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97010    10.00
    3253 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97012    31.90
    3254 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   G0283    27.14
    3255 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97035    25.22
    3256 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97140   118.60
    3257 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97530    64.18
    3258 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97010    10.00
    3259 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97012    31.90
    3260 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   G0283    27.14
    3261 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97035    25.22
    3262 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97110    63.30
    3263 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/15/2015   97140   118.60
    3264 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97010    10.00
    3265 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97012    31.90
    3266 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   G0283    27.14
    3267 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97035    25.22
    3268 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97110    63.30
    3269 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97140   118.60
    3270 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97010    10.00
    3271 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97012    31.90
    3272 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   G0283    27.14
    3273 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97035    25.22
    3274 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97140   118.60
    3275 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97530    64.18
    3276 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97010    10.00
    3277 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97012    31.90
    3278 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   G0283    27.14
    3279 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97035    25.22
    3280 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97110    63.30
    3281 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97140   118.60
    3282 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   99213   145.86
    3283 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   98940    52.38
    3284 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97010    10.00
    3285 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97012    31.90
    3286 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   G0283    27.14
    3287 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97035    25.22
    3288 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97110    63.30
    3289 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97140   118.60
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    3290 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97010    10.00
    3291 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97012    31.90
    3292 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   G0283    27.14
    3293 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97035    25.22
    3294 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97110    63.30
    3295 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97140   118.60
    3296 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97010    10.00
    3297 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97012    31.90
    3298 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   G0283    27.14
    3299 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97035    25.22
    3300 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97140   118.60
    3301 Himes Walk In Clinic, LLC   0367071180101030   2/21/2015   Bill   6/15/2015   97530    64.18
    3302 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97010    10.00
    3303 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97012    31.90
    3304 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   G0283    27.14
    3305 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97035    25.22
    3306 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97110    63.30
    3307 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97140   118.60
    3308 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97010    10.00
    3309 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97012    31.90
    3310 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   G0283    27.14
    3311 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97035    25.22
    3312 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/15/2015   97140   118.60
    3313 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   G0283    27.14
    3314 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97035    25.22
    3315 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97140   118.60
    3316 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97530    64.18
    3317 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97010    10.00
    3318 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97012    31.90
    3319 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   G0283    27.14
    3320 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97035    25.22
    3321 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97140   118.60
    3322 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97530    64.18
    3323 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97010    10.00
    3324 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97012    31.90
    3325 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   G0283    27.14
    3326 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97035    25.22
    3327 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97110    63.30
    3328 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97140   118.60
    3329 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97010    10.00
    3330 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97012    31.90
    3331 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   G0283    27.14
    3332 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97035    25.22
    3333 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97110    63.30
    3334 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97140   118.60
    3335 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97010    10.00
    3336 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97012    31.90
    3337 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   G0283    27.14
    3338 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97035    25.22
    3339 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97110    63.30
    3340 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97140   118.60
    3341 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97010    10.00
    3342 Himes Walk In Clinic, LLC   0800550770108013   1/23/2015   Bill   6/17/2015   97012    31.90
    3343 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97530    64.18
    3344 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3345 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3346 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3347 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3348 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3349 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3350 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3351 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3352 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3353 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3354 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3355 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3356 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3357 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3358 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3359 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3360 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3361 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3362 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3363 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3364 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3365 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3366 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3367 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97530    64.18
    3368 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3369 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3370 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3371 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3372 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3373 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3374 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3375 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3376 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3377 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3378 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3379 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97530    64.18
    3380 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3381 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3382 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3383 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
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    3384 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3385 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3386 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3387 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3388 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3389 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3390 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3391 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97530    64.18
    3392 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3393 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3394 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3395 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3396 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3397 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3398 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3399 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3400 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3401 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3402 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3403 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3404 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3405 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3406 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3407 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3408 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3409 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97530    64.18
    3410 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3411 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3412 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3413 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3414 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97110    63.30
    3415 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3416 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3417 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3418 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3419 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3420 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3421 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97530    64.18
    3422 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3423 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3424 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3425 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3426 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97110    63.30
    3427 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3428 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3429 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3430 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3431 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3432 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3433 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97530    64.18
    3434 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3435 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3436 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3437 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3438 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97110    63.30
    3439 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3440 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   99213   145.86
    3441 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3442 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3443 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97530    64.18
    3444 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3445 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3446 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3447 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3448 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97110    63.30
    3449 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3450 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3451 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3452 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3453 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3454 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97110    63.30
    3455 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3456 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   99213   145.86
    3457 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   99204   333.26
    3458 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3459 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3460 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3461 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3462 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3463 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97535    68.56
    3464 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3465 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3466 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3467 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3468 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3469 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3470 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3471 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3472 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3473 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3474 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3475 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3476 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3477 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
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    3478 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3479 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3480 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3481 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3482 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3483 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3484 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3485 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3486 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97530    64.18
    3487 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3488 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3489 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3490 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3491 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3492 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3493 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3494 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3495 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3496 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3497 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3498 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3499 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3500 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3501 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3502 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3503 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3504 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3505 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3506 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3507 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3508 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3509 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3510 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97530    64.18
    3511 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3512 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3513 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3514 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3515 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97110    63.30
    3516 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3517 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3518 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3519 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3520 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3521 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3522 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97530    64.18
    3523 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3524 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3525 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3526 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3527 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3528 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97530    64.18
    3529 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   98941    73.98
    3530 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   99204   333.26
    3531 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3532 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3533 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3534 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3535 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3536 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97535    68.56
    3537 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97010    10.00
    3538 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97012    31.90
    3539 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   G0283    27.14
    3540 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97035    25.22
    3541 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   6/29/2015   97140   118.60
    3542 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   99213   145.86
    3543 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   98941    73.98
    3544 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   99213   145.86
    3545 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   98941    73.98
    3546 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97010    10.00
    3547 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97012    31.90
    3548 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   G0283    27.14
    3549 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97035    25.22
    3550 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97110    63.30
    3551 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97140   118.60
    3552 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97010    10.00
    3553 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97012    31.90
    3554 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   G0283    27.14
    3555 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97035    25.22
    3556 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97110    63.30
    3557 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97140   118.60
    3558 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97010    10.00
    3559 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97012    31.90
    3560 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   G0283    27.14
    3561 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97035    25.22
    3562 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97140   118.60
    3563 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97530    64.18
    3564 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97010    10.00
    3565 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97012    31.90
    3566 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   G0283    27.14
    3567 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97035    25.22
    3568 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97140   118.60
    3569 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97530    64.18
    3570 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97010    10.00
    3571 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97012    31.90
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    3572 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   G0283    27.14
    3573 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97035    25.22
    3574 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97110    63.30
    3575 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97140   118.60
    3576 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97010    10.00
    3577 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97012    31.90
    3578 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   G0283    27.14
    3579 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97035    25.22
    3580 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97140   118.60
    3581 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97530    64.18
    3582 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97010    10.00
    3583 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97012    31.90
    3584 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   G0283    27.14
    3585 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97035    25.22
    3586 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97110    63.30
    3587 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97140   118.60
    3588 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97010    10.00
    3589 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97012    31.90
    3590 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   G0283    27.14
    3591 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97035    25.22
    3592 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97140   118.60
    3593 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97530    64.18
    3594 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97010    10.00
    3595 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97012    31.90
    3596 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   G0283    27.14
    3597 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97035    25.22
    3598 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97140   118.60
    3599 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97530    64.18
    3600 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97010    10.00
    3601 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97012    31.90
    3602 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   G0283    27.14
    3603 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97035    25.22
    3604 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97110    63.30
    3605 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   6/29/2015   97140   118.60
    3606 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3607 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3608 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3609 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3610 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97110    63.30
    3611 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3612 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3613 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3614 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3615 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3616 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3617 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97530    64.18
    3618 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3619 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3620 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3621 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97035    25.22
    3622 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97110    63.30
    3623 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97140   118.60
    3624 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97010    10.00
    3625 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   97012    31.90
    3626 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   6/29/2015   G0283    27.14
    3627 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    97010    10.00
    3628 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    97012    31.90
    3629 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    G0283    27.14
    3630 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    97035    25.22
    3631 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    97140   118.60
    3632 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    97530    64.18
    3633 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    97010    10.00
    3634 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    97012    31.90
    3635 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    G0283    27.14
    3636 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    97035    25.22
    3637 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    97110    63.30
    3638 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/6/2015    97140   118.60
    3639 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97535    68.56
    3640 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97010    10.00
    3641 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97012    31.90
    3642 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    G0283    27.14
    3643 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97035    25.22
    3644 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97110    63.30
    3645 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97140   118.60
    3646 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97010    10.00
    3647 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97012    31.90
    3648 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    G0283    27.14
    3649 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97035    25.22
    3650 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97140   118.60
    3651 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97530    64.18
    3652 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97010    10.00
    3653 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97012    31.90
    3654 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    G0283    27.14
    3655 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97035    25.22
    3656 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97110    63.30
    3657 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97140   118.60
    3658 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97010    10.00
    3659 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97012    31.90
    3660 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    G0283    27.14
    3661 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97035    25.22
    3662 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97140   118.60
    3663 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97530    64.18
    3664 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97010    10.00
    3665 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97012    31.90
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    3666 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    G0283    27.14
    3667 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97035    25.22
    3668 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97110    63.30
    3669 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97140   118.60
    3670 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97010    10.00
    3671 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97012    31.90
    3672 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    G0283    27.14
    3673 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97035    25.22
    3674 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97140   118.60
    3675 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97530    64.18
    3676 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97010    10.00
    3677 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97012    31.90
    3678 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    G0283    27.14
    3679 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97035    25.22
    3680 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97110    63.30
    3681 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97140   118.60
    3682 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97010    10.00
    3683 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97012    31.90
    3684 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    G0283    27.14
    3685 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97035    25.22
    3686 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97140   118.60
    3687 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97530    64.18
    3688 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97010    10.00
    3689 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97012    31.90
    3690 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    G0283    27.14
    3691 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97035    25.22
    3692 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97110    63.30
    3693 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97140   118.60
    3694 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    98941    73.98
    3695 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97010    10.00
    3696 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97012    31.90
    3697 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    G0283    27.14
    3698 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97035    25.22
    3699 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97140   118.60
    3700 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97530    64.18
    3701 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97010    10.00
    3702 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97012    31.90
    3703 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    G0283    27.14
    3704 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97035    25.22
    3705 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97110    63.30
    3706 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97140   118.60
    3707 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97010    10.00
    3708 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97012    31.90
    3709 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    G0283    27.14
    3710 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97035    25.22
    3711 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97110    63.30
    3712 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97140   118.60
    3713 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97010    10.00
    3714 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97012    31.90
    3715 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    G0283    27.14
    3716 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97035    25.22
    3717 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97140   118.60
    3718 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97530    64.18
    3719 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97010    10.00
    3720 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97012    31.90
    3721 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    G0283    27.14
    3722 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97035    25.22
    3723 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97110    63.30
    3724 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97140   118.60
    3725 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97010    10.00
    3726 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97012    31.90
    3727 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    G0283    27.14
    3728 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97035    25.22
    3729 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97110    63.30
    3730 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97140   118.60
    3731 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97010    10.00
    3732 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97012    31.90
    3733 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    G0283    27.14
    3734 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97035    25.22
    3735 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97140   118.60
    3736 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97530    64.18
    3737 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97010    10.00
    3738 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97012    31.90
    3739 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    G0283    27.14
    3740 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97035    25.22
    3741 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97140   118.60
    3742 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/6/2015    97530    64.18
    3743 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    99204   333.26
    3744 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97010    10.00
    3745 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97012    31.90
    3746 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    G0283    27.14
    3747 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97035    25.22
    3748 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/6/2015    97140   118.60
    3749 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97010    10.00
    3750 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97012    31.90
    3751 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   G0283    27.14
    3752 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97035    25.22
    3753 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97110    63.30
    3754 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97140   118.60
    3755 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97010    10.00
    3756 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97012    31.90
    3757 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   G0283    27.14
    3758 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97035    25.22
    3759 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97140   118.60
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    3760 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97530    64.18
    3761 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97010    10.00
    3762 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97012    31.90
    3763 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   G0283    27.14
    3764 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97035    25.22
    3765 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97110    63.30
    3766 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/16/2015   97140   118.60
    3767 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97010    10.00
    3768 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97012    31.90
    3769 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   G0283    27.14
    3770 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97035    25.22
    3771 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97110    63.30
    3772 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97140   118.60
    3773 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97010    10.00
    3774 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97012    31.90
    3775 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   G0283    27.14
    3776 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97035    25.22
    3777 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97110    63.30
    3778 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97140   118.60
    3779 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97010    10.00
    3780 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97012    31.90
    3781 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   G0283    27.14
    3782 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97035    25.22
    3783 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97140   118.60
    3784 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97530    64.18
    3785 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97010    10.00
    3786 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97012    31.90
    3787 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   G0283    27.14
    3788 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97035    25.22
    3789 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97140   118.60
    3790 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97530    64.18
    3791 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97010    10.00
    3792 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97012    31.90
    3793 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   G0283    27.14
    3794 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97035    25.22
    3795 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97110    63.30
    3796 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97140   118.60
    3797 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97010    10.00
    3798 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97012    31.90
    3799 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   G0283    27.14
    3800 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97035    25.22
    3801 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97110    63.30
    3802 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97140   118.60
    3803 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97010    10.00
    3804 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97012    31.90
    3805 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   G0283    27.14
    3806 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97035    25.22
    3807 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97140   118.60
    3808 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97530    64.18
    3809 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97010    10.00
    3810 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97012    31.90
    3811 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   G0283    27.14
    3812 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97035    25.22
    3813 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97110    63.30
    3814 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/16/2015   97140   118.60
    3815 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97010    10.00
    3816 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97012    31.90
    3817 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   G0283    27.14
    3818 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97035    25.22
    3819 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97110    63.30
    3820 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97140   118.60
    3821 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97010    10.00
    3822 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97012    31.90
    3823 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   G0283    27.14
    3824 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97035    25.22
    3825 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97110    63.30
    3826 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97140   118.60
    3827 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97010    10.00
    3828 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97012    31.90
    3829 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   G0283    27.14
    3830 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97035    25.22
    3831 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97110    63.30
    3832 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97140   118.60
    3833 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97010    10.00
    3834 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97012    31.90
    3835 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   G0283    27.14
    3836 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97035    25.22
    3837 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97140   118.60
    3838 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/16/2015   97530    64.18
    3839 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97035    25.22
    3840 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97110    63.30
    3841 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97140   118.60
    3842 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97010    10.00
    3843 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97012    31.90
    3844 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   G0283    27.14
    3845 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97035    25.22
    3846 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97110    63.30
    3847 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97140   118.60
    3848 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97010    10.00
    3849 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97012    31.90
    3850 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   G0283    27.14
    3851 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97035    25.22
    3852 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97140   118.60
    3853 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97530    64.18
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    3854 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97010    10.00
    3855 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97012    31.90
    3856 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   G0283    27.14
    3857 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97035    25.22
    3858 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97140   118.60
    3859 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97530    64.18
    3860 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   99213   145.86
    3861 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   99213   145.86
    3862 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   98940    52.38
    3863 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97010    10.00
    3864 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97012    31.90
    3865 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   G0283    27.14
    3866 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97035    25.22
    3867 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97110    63.30
    3868 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97140   118.60
    3869 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97010    10.00
    3870 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97012    31.90
    3871 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   G0283    27.14
    3872 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97035    25.22
    3873 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97140   118.60
    3874 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97530    64.18
    3875 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97010    10.00
    3876 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97012    31.90
    3877 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   G0283    27.14
    3878 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97035    25.22
    3879 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97110    63.30
    3880 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97140   118.60
    3881 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97010    10.00
    3882 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   97012    31.90
    3883 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/18/2015   G0283    27.14
    3884 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97035    25.22
    3885 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97110    63.30
    3886 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97140   118.60
    3887 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97010    10.00
    3888 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97012    31.90
    3889 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   G0283    27.14
    3890 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97035    25.22
    3891 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97140   118.60
    3892 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97530    64.18
    3893 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97010    10.00
    3894 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97012    31.90
    3895 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   G0283    27.14
    3896 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97035    25.22
    3897 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97140   118.60
    3898 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97530    64.18
    3899 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97010    10.00
    3900 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97012    31.90
    3901 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   G0283    27.14
    3902 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97035    25.22
    3903 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97140   118.60
    3904 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97530    64.18
    3905 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97010    10.00
    3906 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97012    31.90
    3907 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   G0283    27.14
    3908 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97035    25.22
    3909 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97110    63.30
    3910 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97140   118.60
    3911 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97010    10.00
    3912 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97012    31.90
    3913 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   G0283    27.14
    3914 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97035    25.22
    3915 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97140   118.60
    3916 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97530    64.18
    3917 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97010    10.00
    3918 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97012    31.90
    3919 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   G0283    27.14
    3920 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97035    25.22
    3921 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97140   118.60
    3922 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97530    64.18
    3923 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97010    10.00
    3924 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97012    31.90
    3925 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   G0283    27.14
    3926 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97035    25.22
    3927 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97140   118.60
    3928 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97530    64.18
    3929 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97010    10.00
    3930 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97012    31.90
    3931 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   G0283    27.14
    3932 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97035    25.22
    3933 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97140   118.60
    3934 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97530    64.18
    3935 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97010    10.00
    3936 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97012    31.90
    3937 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   G0283    27.14
    3938 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97035    25.22
    3939 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97110    63.30
    3940 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   7/20/2015   97140   118.60
    3941 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97010    10.00
    3942 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97012    31.90
    3943 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   G0283    27.14
    3944 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97035    25.22
    3945 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97110    63.30
    3946 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97140   118.60
    3947 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97010    10.00
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    3948 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97012    31.90
    3949 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   G0283    27.14
    3950 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97035    25.22
    3951 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97140   118.60
    3952 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97530    64.18
    3953 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97010    10.00
    3954 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   97012    31.90
    3955 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   7/20/2015   G0283    27.14
    3956 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97010    10.00
    3957 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97012    31.90
    3958 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   G0283    27.14
    3959 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97035    25.22
    3960 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97140   118.60
    3961 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97530    64.18
    3962 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97010    10.00
    3963 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97012    31.90
    3964 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   G0283    27.14
    3965 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97035    25.22
    3966 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97110    63.30
    3967 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97140   118.60
    3968 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97010    10.00
    3969 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97012    31.90
    3970 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   G0283    27.14
    3971 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97035    25.22
    3972 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97110    63.30
    3973 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/21/2015   97140   118.60
    3974 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    3975 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    3976 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    3977 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    3978 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    3979 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97530    64.18
    3980 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    3981 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    3982 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    3983 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    3984 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97110    63.30
    3985 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    3986 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    3987 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    3988 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    3989 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    3990 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    3991 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97530    64.18
    3992 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    3993 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    3994 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    3995 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    3996 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97110    63.30
    3997 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    3998 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    3999 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    4000 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    4001 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    4002 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    4003 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97530    64.18
    4004 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    4005 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    4006 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    4007 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    4008 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97110    63.30
    4009 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    4010 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    4011 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    4012 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    4013 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    4014 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    4015 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97530    64.18
    4016 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    4017 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    4018 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    4019 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    4020 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97110    63.30
    4021 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    4022 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    4023 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    4024 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    4025 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    4026 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97110    63.30
    4027 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    4028 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    4029 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    4030 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    4031 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    4032 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    4033 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97530    64.18
    4034 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    4035 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
    4036 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    4037 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    4038 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97110    63.30
    4039 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    4040 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97010    10.00
    4041 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97012    31.90
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    4042 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   G0283    27.14
    4043 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97035    25.22
    4044 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97110    63.30
    4045 Himes Walk In Clinic, LLC   0491822030101011   3/30/2015   Bill   7/25/2015   97140   118.60
    4046 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97010    10.00
    4047 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97012    31.90
    4048 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   G0283    27.14
    4049 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97035    25.22
    4050 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97110    63.30
    4051 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97140   118.60
    4052 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97010    10.00
    4053 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97012    31.90
    4054 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   G0283    27.14
    4055 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97035    25.22
    4056 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97140   118.60
    4057 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97010    10.00
    4058 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97012    31.90
    4059 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   G0283    27.14
    4060 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97035    25.22
    4061 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97140   118.60
    4062 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97530    64.18
    4063 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97010    10.00
    4064 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97012    31.90
    4065 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   G0283    27.14
    4066 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97035    25.22
    4067 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97110    63.30
    4068 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97140   118.60
    4069 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97010    10.00
    4070 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97012    31.90
    4071 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   G0283    27.14
    4072 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97035    25.22
    4073 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97140   118.60
    4074 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97530    64.18
    4075 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97010    10.00
    4076 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97012    31.90
    4077 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   G0283    27.14
    4078 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97035    25.22
    4079 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97110    63.30
    4080 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97140   118.60
    4081 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97010    10.00
    4082 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97012    31.90
    4083 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   G0283    27.14
    4084 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97035    25.22
    4085 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97140   118.60
    4086 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97530    64.18
    4087 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97010    10.00
    4088 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97012    31.90
    4089 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   G0283    27.14
    4090 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97035    25.22
    4091 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97110    63.30
    4092 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97140   118.60
    4093 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97010    10.00
    4094 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97012    31.90
    4095 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   G0283    27.14
    4096 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97035    25.22
    4097 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97110    63.30
    4098 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97140   118.60
    4099 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97010    10.00
    4100 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97012    31.90
    4101 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   G0283    27.14
    4102 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97035    25.22
    4103 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97140   118.60
    4104 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97535    68.56
    4105 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   99204   333.26
    4106 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97010    10.00
    4107 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97012    31.90
    4108 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   G0283    27.14
    4109 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97035    25.22
    4110 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   7/25/2015   97110    63.30
    4111 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97140   118.60
    4112 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97530    64.18
    4113 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97010    10.00
    4114 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97012    31.90
    4115 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   G0283    27.14
    4116 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97035    25.22
    4117 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97110    63.30
    4118 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   7/25/2015   97140   118.60
    4119 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97012    31.90
    4120 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    G0283    27.14
    4121 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97035    25.22
    4122 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97140   118.60
    4123 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97530    64.18
    4124 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97010    10.00
    4125 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97012    31.90
    4126 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    G0283    27.14
    4127 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97035    25.22
    4128 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97110    63.30
    4129 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97140   118.60
    4130 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97010    10.00
    4131 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97012    31.90
    4132 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    G0283    27.14
    4133 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97035    25.22
    4134 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97110    63.30
    4135 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015    97140   118.60
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    4136 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97010    10.00
    4137 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97012    31.90
    4138 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   G0283    27.14
    4139 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97035    25.22
    4140 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97140   118.60
    4141 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97530    64.18
    4142 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97010    10.00
    4143 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97012    31.90
    4144 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   G0283    27.14
    4145 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97035    25.22
    4146 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97110    63.30
    4147 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97140   118.60
    4148 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   99213   145.86
    4149 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97010    10.00
    4150 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97012    31.90
    4151 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   G0283    27.14
    4152 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97035    25.22
    4153 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97110    63.30
    4154 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97140   118.60
    4155 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97010    10.00
    4156 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97012    31.90
    4157 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   G0283    27.14
    4158 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97035    25.22
    4159 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97110    63.30
    4160 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97140   118.60
    4161 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97010    10.00
    4162 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97012    31.90
    4163 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   G0283    27.14
    4164 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97035    25.22
    4165 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97140   118.60
    4166 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97530    64.18
    4167 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   99213   145.86
    4168 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   98941    73.98
    4169 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   98943    32.95
    4170 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97010    10.00
    4171 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97012    31.90
    4172 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   G0283    27.14
    4173 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97035    25.22
    4174 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97110    63.30
    4175 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97140   118.60
    4176 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97010    10.00
    4177 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97012    31.90
    4178 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   G0283    27.14
    4179 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97035    25.22
    4180 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97140   118.60
    4181 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97530    64.18
    4182 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97010    10.00
    4183 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97012    31.90
    4184 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   G0283    27.14
    4185 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97035    25.22
    4186 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97110    63.30
    4187 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/1/2015   97140   118.60
    4188 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97010    10.00
    4189 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97012    31.90
    4190 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   G0283    27.14
    4191 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97035    25.22
    4192 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97110    63.30
    4193 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97140   118.60
    4194 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97010    10.00
    4195 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97012    31.90
    4196 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   G0283    27.14
    4197 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97035    25.22
    4198 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97140   118.60
    4199 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97530    64.18
    4200 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97010    10.00
    4201 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97012    31.90
    4202 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   G0283    27.14
    4203 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97035    25.22
    4204 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97140   118.60
    4205 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97530    64.18
    4206 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97010    10.00
    4207 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97012    31.90
    4208 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   G0283    27.14
    4209 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97035    25.22
    4210 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97110    63.30
    4211 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97140   118.60
    4212 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97010    10.00
    4213 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97012    31.90
    4214 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   G0283    27.14
    4215 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97035    25.22
    4216 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97140   118.60
    4217 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97530    64.18
    4218 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97010    10.00
    4219 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97012    31.90
    4220 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   G0283    27.14
    4221 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97035    25.22
    4222 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97140   118.60
    4223 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/1/2015   97530    64.18
    4224 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97010    10.00
    4225 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97012    31.90
    4226 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   G0283    27.14
    4227 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97035    25.22
    4228 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97110    63.30
    4229 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97140   118.60
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    4230 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97010    10.00
    4231 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97012    31.90
    4232 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   G0283    27.14
    4233 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97035    25.22
    4234 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97140   118.60
    4235 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97530    64.18
    4236 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97010    10.00
    4237 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97012    31.90
    4238 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   G0283    27.14
    4239 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97035    25.22
    4240 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97140   118.60
    4241 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97530    64.18
    4242 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97010    10.00
    4243 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97012    31.90
    4244 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   G0283    27.14
    4245 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97035    25.22
    4246 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97140   118.60
    4247 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97530    64.18
    4248 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97010    10.00
    4249 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97012    31.90
    4250 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   G0283    27.14
    4251 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97035    25.22
    4252 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97140   118.60
    4253 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97530    64.18
    4254 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97010    10.00
    4255 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97012    31.90
    4256 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   G0283    27.14
    4257 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97035    25.22
    4258 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97140   118.60
    4259 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97530    64.18
    4260 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97010    10.00
    4261 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97012    31.90
    4262 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   G0283    27.14
    4263 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97035    25.22
    4264 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97140   118.60
    4265 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/1/2015   97530    64.18
    4266 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97010    10.00
    4267 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97012    31.90
    4268 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   G0283    27.14
    4269 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97035    25.22
    4270 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97140   118.60
    4271 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97530    64.18
    4272 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97010    10.00
    4273 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97012    31.90
    4274 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   G0283    27.14
    4275 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97035    25.22
    4276 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97140   118.60
    4277 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97530    64.18
    4278 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97010    10.00
    4279 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97012    31.90
    4280 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   G0283    27.14
    4281 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97035    25.22
    4282 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97110    63.30
    4283 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97140   118.60
    4284 Himes Walk In Clinic, LLC   0406340540101011   3/17/2015   Bill   8/1/2015   97010    10.00
    4285 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97035    25.22
    4286 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97110    63.30
    4287 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97140   118.60
    4288 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97010    10.00
    4289 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97012    31.90
    4290 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   G0283    27.14
    4291 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97035    25.22
    4292 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97140   118.60
    4293 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97530    64.18
    4294 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97010    10.00
    4295 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97012    31.90
    4296 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   G0283    27.14
    4297 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97035    25.22
    4298 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97140   118.60
    4299 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97530    64.18
    4300 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97010    10.00
    4301 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97012    31.90
    4302 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   G0283    27.14
    4303 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97035    25.22
    4304 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97110    63.30
    4305 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015   97140   118.60
    4306 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97010    10.00
    4307 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97012    31.90
    4308 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   G0283    27.14
    4309 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97035    25.22
    4310 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97110    63.30
    4311 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97140   118.60
    4312 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97010    10.00
    4313 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97012    31.90
    4314 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   G0283    27.14
    4315 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97035    25.22
    4316 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97140   118.60
    4317 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97530    64.18
    4318 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97010    10.00
    4319 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97012    31.90
    4320 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   G0283    27.14
    4321 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97035    25.22
    4322 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97110    63.30
    4323 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015   97140   118.60
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    4324 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015    99213   145.86
    4325 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/8/2015    98941    73.98
    4326 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97010    10.00
    4327 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97012    31.90
    4328 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    G0283    27.14
    4329 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97035    25.22
    4330 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97110    63.30
    4331 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97140   118.60
    4332 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97010    10.00
    4333 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97012    31.90
    4334 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    G0283    27.14
    4335 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97035    25.22
    4336 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97110    63.30
    4337 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97140   118.60
    4338 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97010    10.00
    4339 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97012    31.90
    4340 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    G0283    27.14
    4341 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97035    25.22
    4342 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97140   118.60
    4343 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/8/2015    97530    64.18
    4344 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    98941    73.98
    4345 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97010    10.00
    4346 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97012    31.90
    4347 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    G0283    27.14
    4348 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97035    25.22
    4349 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97110    63.30
    4350 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97140   118.60
    4351 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97010    10.00
    4352 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97012    31.90
    4353 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    G0283    27.14
    4354 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97035    25.22
    4355 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97110    63.30
    4356 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97140   118.60
    4357 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97010    10.00
    4358 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97012    31.90
    4359 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    G0283    27.14
    4360 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97035    25.22
    4361 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97140   118.60
    4362 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97530    64.18
    4363 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97010    10.00
    4364 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97012    31.90
    4365 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    G0283    27.14
    4366 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97035    25.22
    4367 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97110    63.30
    4368 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/8/2015    97140   118.60
    4369 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97010    10.00
    4370 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97012    31.90
    4371 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    G0283    27.14
    4372 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97035    25.22
    4373 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97110    63.30
    4374 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97140   118.60
    4375 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97010    10.00
    4376 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97012    31.90
    4377 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    G0283    27.14
    4378 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97035    25.22
    4379 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97140   118.60
    4380 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97530    64.18
    4381 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97010    10.00
    4382 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97012    31.90
    4383 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    G0283    27.14
    4384 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97035    25.22
    4385 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97110    63.30
    4386 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97140   118.60
    4387 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97010    10.00
    4388 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97012    31.90
    4389 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    G0283    27.14
    4390 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97035    25.22
    4391 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97140   118.60
    4392 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97530    64.18
    4393 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97010    10.00
    4394 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    97012    31.90
    4395 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/8/2015    G0283    27.14
    4396 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97010    10.00
    4397 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97012    31.90
    4398 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   G0283    27.14
    4399 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97035    25.22
    4400 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97140   118.60
    4401 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97530    64.18
    4402 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97010    10.00
    4403 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97012    31.90
    4404 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   G0283    27.14
    4405 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97035    25.22
    4406 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97110    63.30
    4407 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97140   118.60
    4408 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97010    10.00
    4409 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97012    31.90
    4410 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   G0283    27.14
    4411 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97035    25.22
    4412 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97140   118.60
    4413 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97530    64.18
    4414 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97010    10.00
    4415 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97012    31.90
    4416 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   G0283    27.14
    4417 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97035    25.22
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    4418 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97110    63.30
    4419 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97140   118.60
    4420 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97010    10.00
    4421 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97012    31.90
    4422 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   G0283    27.14
    4423 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97035    25.22
    4424 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97140   118.60
    4425 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97530    64.18
    4426 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97010    10.00
    4427 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97012    31.90
    4428 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   G0283    27.14
    4429 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97035    25.22
    4430 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97140   118.60
    4431 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/17/2015   97530    64.18
    4432 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97035    25.22
    4433 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97140   118.60
    4434 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97530    64.18
    4435 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97010    10.00
    4436 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97012    31.90
    4437 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   G0283    27.14
    4438 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97035    25.22
    4439 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97140   118.60
    4440 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97530    64.18
    4441 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97010    10.00
    4442 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97012    31.90
    4443 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   G0283    27.14
    4444 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97035    25.22
    4445 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97140   118.60
    4446 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97530    64.18
    4447 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97010    10.00
    4448 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97012    31.90
    4449 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   G0283    27.14
    4450 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97035    25.22
    4451 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97140   118.60
    4452 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97530    64.18
    4453 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97010    10.00
    4454 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   97012    31.90
    4455 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/18/2015   G0283    27.14
    4456 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97140   118.60
    4457 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97530    64.18
    4458 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97010    10.00
    4459 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97012    31.90
    4460 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   G0283    27.14
    4461 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97035    25.22
    4462 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97140   118.60
    4463 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97530    64.18
    4464 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97010    10.00
    4465 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97012    31.90
    4466 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   G0283    27.14
    4467 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97035    25.22
    4468 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97110    63.30
    4469 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97140   118.60
    4470 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   G0283    27.14
    4471 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97035    25.22
    4472 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97140   118.60
    4473 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97530    64.18
    4474 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   99213   145.86
    4475 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97010    10.00
    4476 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97012    31.90
    4477 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   G0283    27.14
    4478 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97035    25.22
    4479 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97140   118.60
    4480 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97530    64.18
    4481 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97010    10.00
    4482 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97012    31.90
    4483 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   G0283    27.14
    4484 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97035    25.22
    4485 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97110    63.30
    4486 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97140   118.60
    4487 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97010    10.00
    4488 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97012    31.90
    4489 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   G0283    27.14
    4490 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97035    25.22
    4491 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97140   118.60
    4492 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97530    64.18
    4493 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97010    10.00
    4494 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97012    31.90
    4495 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   G0283    27.14
    4496 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97035    25.22
    4497 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97140   118.60
    4498 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97530    64.18
    4499 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97010    10.00
    4500 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97012    31.90
    4501 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   G0283    27.14
    4502 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97035    25.22
    4503 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97110    63.30
    4504 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97140   118.60
    4505 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97010    10.00
    4506 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97012    31.90
    4507 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   G0283    27.14
    4508 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97035    25.22
    4509 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97140   118.60
    4510 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97530    64.18
    4511 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97010    10.00
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 49 of 9287 PageID 183


    4512 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97012    31.90
    4513 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   G0283    27.14
    4514 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97035    25.22
    4515 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97110    63.30
    4516 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97140   118.60
    4517 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97010    10.00
    4518 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97012    31.90
    4519 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   G0283    27.14
    4520 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97035    25.22
    4521 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97110    63.30
    4522 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97140   118.60
    4523 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97010    10.00
    4524 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97012    31.90
    4525 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   G0283    27.14
    4526 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97035    25.22
    4527 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97110    63.30
    4528 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97140   118.60
    4529 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97010    10.00
    4530 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97012    31.90
    4531 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   G0283    27.14
    4532 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97035    25.22
    4533 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97140   118.60
    4534 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97530    64.18
    4535 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97010    10.00
    4536 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97012    31.90
    4537 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   G0283    27.14
    4538 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97035    25.22
    4539 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97140   118.60
    4540 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   8/25/2015   97530    64.18
    4541 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97010    10.00
    4542 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97012    31.90
    4543 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   G0283    27.14
    4544 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97035    25.22
    4545 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97110    63.30
    4546 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97140   118.60
    4547 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97010    10.00
    4548 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97012    31.90
    4549 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   G0283    27.14
    4550 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97035    25.22
    4551 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97140   118.60
    4552 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97530    64.18
    4553 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97010    10.00
    4554 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97012    31.90
    4555 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   G0283    27.14
    4556 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97035    25.22
    4557 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97110    63.30
    4558 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97140   118.60
    4559 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97010    10.00
    4560 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97012    31.90
    4561 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   G0283    27.14
    4562 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   8/25/2015   97035    25.22
    4563 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97010    10.00
    4564 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97012    31.90
    4565 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   G0283    27.14
    4566 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97035    25.22
    4567 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97110    63.30
    4568 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97140   118.60
    4569 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97010    10.00
    4570 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97012    31.90
    4571 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   G0283    27.14
    4572 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97035    25.22
    4573 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97140   118.60
    4574 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97530    64.18
    4575 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97010    10.00
    4576 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97012    31.90
    4577 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   G0283    27.14
    4578 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97035    25.22
    4579 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97110    63.30
    4580 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97140   118.60
    4581 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97010    10.00
    4582 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97012    31.90
    4583 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   G0283    27.14
    4584 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97035    25.22
    4585 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97140   118.60
    4586 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   97530    64.18
    4587 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   99213   145.86
    4588 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   98941    73.98
    4589 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   99213   145.86
    4590 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   8/25/2015   98941    73.98
    4591 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97010    10.00
    4592 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97012    31.90
    4593 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   G0283    27.14
    4594 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97035    25.22
    4595 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97140   118.60
    4596 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97530    64.18
    4597 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97010    10.00
    4598 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97012    31.90
    4599 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   G0283    27.14
    4600 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97035    25.22
    4601 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97110    63.30
    4602 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97140   118.60
    4603 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97010    10.00
    4604 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   8/25/2015   97012    31.90
    4605 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/1/2015    98941    73.98
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    4606 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   G0283    27.14
    4607 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97035    25.22
    4608 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97110    63.30
    4609 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97140   118.60
    4610 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97010    10.00
    4611 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97012    31.90
    4612 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   G0283    27.14
    4613 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97035    25.22
    4614 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97140   118.60
    4615 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97530    64.18
    4616 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97010    10.00
    4617 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97012    31.90
    4618 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   G0283    27.14
    4619 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97035    25.22
    4620 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97110    63.30
    4621 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97140   118.60
    4622 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97010    10.00
    4623 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97012    31.90
    4624 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   G0283    27.14
    4625 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97035    25.22
    4626 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97140   118.60
    4627 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97530    64.18
    4628 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   98941    73.98
    4629 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   99204   333.26
    4630 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97010    10.00
    4631 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97012    31.90
    4632 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   G0283    27.14
    4633 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97035    25.22
    4634 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97140   118.60
    4635 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97535    68.56
    4636 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97010    10.00
    4637 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97012    31.90
    4638 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   G0283    27.14
    4639 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97035    25.22
    4640 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97140   118.60
    4641 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97530    64.18
    4642 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97010    10.00
    4643 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97012    31.90
    4644 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   G0283    27.14
    4645 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97035    25.22
    4646 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97110    63.30
    4647 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97140   118.60
    4648 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97010    10.00
    4649 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97012    31.90
    4650 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   G0283    27.14
    4651 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97035    25.22
    4652 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97140   118.60
    4653 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97530    64.18
    4654 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97010    10.00
    4655 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   9/1/2015   97012    31.90
    4656 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97010    10.00
    4657 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97012    31.90
    4658 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   G0283    27.14
    4659 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97035    25.22
    4660 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97110    63.30
    4661 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97140   118.60
    4662 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97010    10.00
    4663 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97012    31.90
    4664 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   G0283    27.14
    4665 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97035    25.22
    4666 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97140   118.60
    4667 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97530    64.18
    4668 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97010    10.00
    4669 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97012    31.90
    4670 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   G0283    27.14
    4671 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97035    25.22
    4672 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97140   118.60
    4673 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97530    64.18
    4674 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97010    10.00
    4675 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97012    31.90
    4676 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   G0283    27.14
    4677 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97035    25.22
    4678 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97110    63.30
    4679 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/5/2015   97140   118.60
    4680 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97010    10.00
    4681 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97012    31.90
    4682 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   G0283    27.14
    4683 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97035    25.22
    4684 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97140   118.60
    4685 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97530    64.18
    4686 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97010    10.00
    4687 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97012    31.90
    4688 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   G0283    27.14
    4689 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97035    25.22
    4690 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97110    63.30
    4691 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97140   118.60
    4692 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97010    10.00
    4693 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97012    31.90
    4694 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   G0283    27.14
    4695 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97035    25.22
    4696 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97110    63.30
    4697 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97140   118.60
    4698 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97010    10.00
    4699 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/5/2015   97012    31.90
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    4700 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    G0283    27.14
    4701 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97035    25.22
    4702 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97110    63.30
    4703 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97140   118.60
    4704 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97010    10.00
    4705 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97012    31.90
    4706 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    G0283    27.14
    4707 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97035    25.22
    4708 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97140   118.60
    4709 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97530    64.18
    4710 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97010    10.00
    4711 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97012    31.90
    4712 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    G0283    27.14
    4713 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97035    25.22
    4714 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97110    63.30
    4715 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97140   118.60
    4716 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97010    10.00
    4717 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97012    31.90
    4718 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    G0283    27.14
    4719 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97035    25.22
    4720 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97140   118.60
    4721 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97530    64.18
    4722 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97010    10.00
    4723 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97012    31.90
    4724 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    G0283    27.14
    4725 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97035    25.22
    4726 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97110    63.30
    4727 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/5/2015    97140   118.60
    4728 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97035    25.22
    4729 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97140   118.60
    4730 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97530    64.18
    4731 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97010    10.00
    4732 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97012    31.90
    4733 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   G0283    27.14
    4734 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97035    25.22
    4735 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97110    63.30
    4736 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97140   118.60
    4737 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97010    10.00
    4738 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97012    31.90
    4739 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   G0283    27.14
    4740 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97035    25.22
    4741 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97110    63.30
    4742 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97140   118.60
    4743 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97010    10.00
    4744 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97012    31.90
    4745 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   G0283    27.14
    4746 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97035    25.22
    4747 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97110    63.30
    4748 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97140   118.60
    4749 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97010    10.00
    4750 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97012    31.90
    4751 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   G0283    27.14
    4752 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97035    25.22
    4753 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97140   118.60
    4754 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97530    64.18
    4755 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97010    10.00
    4756 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97012    31.90
    4757 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   G0283    27.14
    4758 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97035    25.22
    4759 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97140   118.60
    4760 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97010    10.00
    4761 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97012    31.90
    4762 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   G0283    27.14
    4763 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97035    25.22
    4764 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97140   118.60
    4765 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97530    64.18
    4766 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97010    10.00
    4767 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97012    31.90
    4768 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   G0283    27.14
    4769 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97035    25.22
    4770 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97140   118.60
    4771 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97530    64.18
    4772 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97010    10.00
    4773 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97012    31.90
    4774 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   G0283    27.14
    4775 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97035    25.22
    4776 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97110    63.30
    4777 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015   Bill   9/17/2015   97140   118.60
    4778 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   99213   145.86
    4779 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97010    10.00
    4780 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97012    31.90
    4781 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   G0283    27.14
    4782 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97035    25.22
    4783 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97140   118.60
    4784 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97530    64.18
    4785 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97010    10.00
    4786 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97012    31.90
    4787 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   G0283    27.14
    4788 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97035    25.22
    4789 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97110    63.30
    4790 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97140   118.60
    4791 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97010    10.00
    4792 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   97012    31.90
    4793 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015   Bill   9/17/2015   G0283    27.14
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    4794 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/17/2015   97035    25.22
    4795 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/17/2015   97110    63.30
    4796 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/17/2015   97140   118.60
    4797 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/17/2015   97010    10.00
    4798 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/17/2015   97012    31.90
    4799 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/17/2015   G0283    27.14
    4800 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97010    10.00
    4801 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97012    31.90
    4802 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   G0283    27.14
    4803 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97035    25.22
    4804 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97110    63.30
    4805 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97140   118.60
    4806 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97010    10.00
    4807 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97012    31.90
    4808 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   G0283    27.14
    4809 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97035    25.22
    4810 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97140   118.60
    4811 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97530    64.18
    4812 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97010    10.00
    4813 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97012    31.90
    4814 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   G0283    27.14
    4815 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97035    25.22
    4816 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97110    63.30
    4817 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   9/19/2015   97140   118.60
    4818 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97010    10.00
    4819 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97012    31.90
    4820 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   G0283    27.14
    4821 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97035    25.22
    4822 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97140   118.60
    4823 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97530    64.18
    4824 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97010    10.00
    4825 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97012    31.90
    4826 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   G0283    27.14
    4827 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97035    25.22
    4828 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97110    63.30
    4829 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97140   118.60
    4830 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97010    10.00
    4831 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97012    31.90
    4832 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   G0283    27.14
    4833 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97035    25.22
    4834 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97140   118.60
    4835 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97530    64.18
    4836 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97010    10.00
    4837 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97012    31.90
    4838 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   G0283    27.14
    4839 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97035    25.22
    4840 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97140   118.60
    4841 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97530    64.18
    4842 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97010    10.00
    4843 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97012    31.90
    4844 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   G0283    27.14
    4845 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97035    25.22
    4846 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97110    63.30
    4847 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97140   118.60
    4848 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97010    10.00
    4849 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97012    31.90
    4850 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   G0283    27.14
    4851 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97035    25.22
    4852 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97140   118.60
    4853 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97530    64.18
    4854 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97010    10.00
    4855 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97012    31.90
    4856 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   G0283    27.14
    4857 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97035    25.22
    4858 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97110    63.30
    4859 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/19/2015   97140   118.60
    4860 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97010    10.00
    4861 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97012    31.90
    4862 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   G0283    27.14
    4863 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97035    25.22
    4864 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97110    63.30
    4865 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97140   118.60
    4866 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97010    10.00
    4867 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97012    31.90
    4868 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   G0283    27.14
    4869 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97035    25.22
    4870 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97140   118.60
    4871 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97530    64.18
    4872 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97010    10.00
    4873 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97012    31.90
    4874 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   G0283    27.14
    4875 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97035    25.22
    4876 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97110    63.30
    4877 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97140   118.60
    4878 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97010    10.00
    4879 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97012    31.90
    4880 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   G0283    27.14
    4881 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97035    25.22
    4882 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97110    63.30
    4883 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97140   118.60
    4884 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97010    10.00
    4885 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97012    31.90
    4886 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   G0283    27.14
    4887 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97035    25.22
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    4888 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97140   118.60
    4889 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97530    64.18
    4890 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97010    10.00
    4891 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97012    31.90
    4892 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   G0283    27.14
    4893 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97035    25.22
    4894 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97110    63.30
    4895 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97140   118.60
    4896 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97010    10.00
    4897 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97012    31.90
    4898 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   G0283    27.14
    4899 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97035    25.22
    4900 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97110    63.30
    4901 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/19/2015   97140   118.60
    4902 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   97010    10.00
    4903 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   97012    31.90
    4904 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   G0283    27.14
    4905 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   97035    25.22
    4906 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   97140   118.60
    4907 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   97530    64.18
    4908 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   97010    10.00
    4909 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   97012    31.90
    4910 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   G0283    27.14
    4911 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   97035    25.22
    4912 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   97110    63.30
    4913 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   9/21/2015   97140   118.60
    4914 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97010    10.00
    4915 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97012    31.90
    4916 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   G0283    27.14
    4917 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97035    25.22
    4918 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97110    63.30
    4919 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97140   118.60
    4920 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97010    10.00
    4921 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97012    31.90
    4922 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   G0283    27.14
    4923 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97035    25.22
    4924 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97140   118.60
    4925 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97530    64.18
    4926 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97010    10.00
    4927 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97012    31.90
    4928 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   G0283    27.14
    4929 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97035    25.22
    4930 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97110    63.30
    4931 Himes Walk In Clinic, LLC   0286643750101042   6/1/2015    Bill   9/30/2015   97140   118.60
    4932 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   97010    10.00
    4933 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   97012    31.90
    4934 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   G0283    27.14
    4935 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   97035    25.22
    4936 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   97110    63.30
    4937 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   97140   118.60
    4938 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   97010    10.00
    4939 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   97012    31.90
    4940 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   G0283    27.14
    4941 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   97035    25.22
    4942 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   97110    63.30
    4943 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/2/2015   97140   118.60
    4944 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97110    63.30
    4945 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97140   118.60
    4946 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97010    10.00
    4947 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97012    31.90
    4948 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   G0283    27.14
    4949 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97035    25.22
    4950 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97140   118.60
    4951 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97530    64.18
    4952 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97010    10.00
    4953 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97012    31.90
    4954 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   G0283    27.14
    4955 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97035    25.22
    4956 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97140   118.60
    4957 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97530    64.18
    4958 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97010    10.00
    4959 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97012    31.90
    4960 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   G0283    27.14
    4961 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97035    25.22
    4962 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97110    63.30
    4963 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97140   118.60
    4964 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97530    64.18
    4965 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    4966 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    4967 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    4968 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    4969 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97110    63.30
    4970 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    4971 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    4972 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    4973 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    4974 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    4975 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97110    63.30
    4976 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    4977 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    4978 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    4979 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    4980 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    4981 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97110    63.30
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    4982 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    4983 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    4984 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    4985 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    4986 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    4987 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    4988 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97530    64.18
    4989 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    4990 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    4991 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    4992 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    4993 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97110    63.30
    4994 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    4995 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    4996 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    4997 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    4998 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    4999 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    5000 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97530    64.18
    5001 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    5002 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    5003 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    5004 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    5005 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    5006 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97530    64.18
    5007 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    5008 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    5009 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    5010 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    5011 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97110    63.30
    5012 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    5013 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    5014 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    5015 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    5016 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    5017 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    5018 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97530    64.18
    5019 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97010    10.00
    5020 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97012    31.90
    5021 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   G0283    27.14
    5022 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97034    25.22
    5023 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97140   118.60
    5024 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97530    64.18
    5025 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97010    10.00
    5026 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97012    31.90
    5027 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   G0283    27.14
    5028 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97035    25.22
    5029 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97140   118.60
    5030 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97530    64.18
    5031 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97010    10.00
    5032 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97012    31.90
    5033 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   G0283    27.14
    5034 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97035    25.22
    5035 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97140   118.60
    5036 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97530    64.18
    5037 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97010    10.00
    5038 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97012    31.90
    5039 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   G0283    27.14
    5040 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97035    25.22
    5041 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97110    63.30
    5042 Himes Walk In Clinic, LLC   0406340540101037   6/11/2015   Bill   10/8/2015   97140   118.60
    5043 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97010    10.00
    5044 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97012    31.90
    5045 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   G0283    27.14
    5046 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97035    25.22
    5047 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97110    63.30
    5048 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97140   118.60
    5049 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97010    10.00
    5050 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97012    31.90
    5051 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   G0283    27.14
    5052 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/8/2015   97035    25.22
    5053 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    5054 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    5055 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    5056 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    5057 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    5058 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97535    68.56
    5059 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    5060 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    5061 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    5062 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    5063 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97110    63.30
    5064 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    5065 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    5066 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    5067 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    5068 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    5069 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
    5070 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97530    64.18
    5071 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97010    10.00
    5072 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97012    31.90
    5073 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   G0283    27.14
    5074 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97035    25.22
    5075 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/8/2015   97140   118.60
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    5076 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97010    10.00
    5077 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97012    31.90
    5078 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   G0283    27.14
    5079 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97035    25.22
    5080 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97110    63.30
    5081 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97140   118.60
    5082 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97010    10.00
    5083 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97012    31.90
    5084 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   G0283    27.14
    5085 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97035    25.22
    5086 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97140   118.60
    5087 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97530    64.18
    5088 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97010    10.00
    5089 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97012    31.90
    5090 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   G0283    27.14
    5091 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97035    25.22
    5092 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97110    63.30
    5093 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/12/2015   97140   118.60
    5094 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97010    10.00
    5095 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97012    31.90
    5096 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   G0283    27.14
    5097 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97035    25.22
    5098 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97140   118.60
    5099 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97530    64.18
    5100 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97010    10.00
    5101 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97012    31.90
    5102 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   G0283    27.14
    5103 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97035    25.22
    5104 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97110    63.30
    5105 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97140   118.60
    5106 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97010    10.00
    5107 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97012    31.90
    5108 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   G0283    27.14
    5109 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97035    25.22
    5110 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97110    63.30
    5111 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97140   118.60
    5112 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97010    10.00
    5113 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97012    31.90
    5114 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   G0283    27.14
    5115 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97035    25.22
    5116 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97110    63.30
    5117 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/12/2015   97140   118.60
    5118 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   97010    10.00
    5119 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   97012    31.90
    5120 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   G0283    27.14
    5121 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   97035    25.22
    5122 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   97110    63.30
    5123 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   97140   118.60
    5124 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   97010    10.00
    5125 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   97012    31.90
    5126 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   G0283    27.14
    5127 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   97035    25.22
    5128 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   97140   118.60
    5129 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   97530    64.18
    5130 Himes Walk In Clinic, LLC   0336224490101038   7/2/2015    Bill   10/17/2015   99213   145.86
    5131 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   98941    73.98
    5132 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97010    10.00
    5133 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97012    31.90
    5134 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   G0283    27.14
    5135 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97035    25.22
    5136 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97110    63.30
    5137 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97140   118.60
    5138 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97010    10.00
    5139 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97012    31.90
    5140 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   G0283    27.14
    5141 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97035    25.22
    5142 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97110    63.30
    5143 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97140   118.60
    5144 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97010    10.00
    5145 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97012    31.90
    5146 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   G0283    27.14
    5147 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97035    25.22
    5148 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97140   118.60
    5149 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97530    64.18
    5150 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97010    10.00
    5151 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97012    31.90
    5152 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   G0283    27.14
    5153 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97035    25.22
    5154 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97140   118.60
    5155 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97530    64.18
    5156 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   99204   333.26
    5157 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97010    10.00
    5158 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97012    31.90
    5159 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   G0283    27.14
    5160 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97035    25.22
    5161 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97140   118.60
    5162 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97535    68.56
    5163 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97010    10.00
    5164 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97012    31.90
    5165 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   G0283    27.14
    5166 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97035    25.22
    5167 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97110    63.30
    5168 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97140   118.60
    5169 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97010    10.00
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    5170 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97012    31.90
    5171 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   G0283    27.14
    5172 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97035    25.22
    5173 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97140   118.60
    5174 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97530    64.18
    5175 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97010    10.00
    5176 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97012    31.90
    5177 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   G0283    27.14
    5178 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97035    25.22
    5179 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97140   118.60
    5180 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   10/24/2015   97530    64.18
    5181 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97010    10.00
    5182 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97012    31.90
    5183 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   G0283    27.14
    5184 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97035    25.22
    5185 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97110    63.30
    5186 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97140   118.60
    5187 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97010    10.00
    5188 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97012    31.90
    5189 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   G0283    27.14
    5190 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97035    25.22
    5191 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97140   118.60
    5192 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97530    64.18
    5193 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97010    10.00
    5194 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97012    31.90
    5195 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   G0283    27.14
    5196 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97035    25.22
    5197 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97110    63.30
    5198 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97140   118.60
    5199 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97010    10.00
    5200 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97012    31.90
    5201 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   G0283    27.14
    5202 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97035    25.22
    5203 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97110    63.30
    5204 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   10/24/2015   97140   118.60
    5205 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97035    25.22
    5206 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97140   118.60
    5207 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97530    64.18
    5208 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97010    10.00
    5209 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97012    31.90
    5210 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   G0283    27.14
    5211 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97035    25.22
    5212 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97110    63.30
    5213 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97140   118.60
    5214 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97010    10.00
    5215 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97012    31.90
    5216 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   G0283    27.14
    5217 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97035    25.22
    5218 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97140   118.60
    5219 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97530    64.18
    5220 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97010    10.00
    5221 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97012    31.90
    5222 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   G0283    27.14
    5223 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97035    25.22
    5224 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97110    63.30
    5225 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97140   118.60
    5226 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97010    10.00
    5227 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97012    31.90
    5228 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   G0283    27.14
    5229 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97035    25.22
    5230 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97140   118.60
    5231 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97530    64.18
    5232 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97010    10.00
    5233 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97012    31.90
    5234 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   G0283    27.14
    5235 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97035    25.22
    5236 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97110    63.30
    5237 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97140   118.60
    5238 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   99213   145.86
    5239 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   98941    73.98
    5240 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97010    10.00
    5241 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97012    31.90
    5242 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   G0283    27.14
    5243 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97035    25.22
    5244 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97140   118.60
    5245 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97530    64.18
    5246 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97010    10.00
    5247 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97012    31.90
    5248 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   G0283    27.14
    5249 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97035    25.22
    5250 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97110    63.30
    5251 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97140   118.60
    5252 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97010    10.00
    5253 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97012    31.90
    5254 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   G0283    27.14
    5255 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97035    25.22
    5256 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97140   118.60
    5257 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97530    64.18
    5258 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97010    10.00
    5259 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97012    31.90
    5260 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   G0283    27.14
    5261 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97035    25.22
    5262 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97110    63.30
    5263 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97140   118.60
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    5264 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97010    10.00
    5265 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   97012    31.90
    5266 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   10/27/2015   G0283    27.14
    5267 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    97010    10.00
    5268 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    97012    31.90
    5269 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    G0283    27.14
    5270 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    97035    25.22
    5271 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    97140   118.60
    5272 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    97530    64.18
    5273 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    97010    10.00
    5274 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    97012    31.90
    5275 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    G0283    27.14
    5276 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    97035    25.22
    5277 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    97110    63.30
    5278 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/5/2015    97140   118.60
    5279 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97010    10.00
    5280 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97012    31.90
    5281 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   G0283    27.14
    5282 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97035    25.22
    5283 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97140   118.60
    5284 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97530    64.18
    5285 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97010    10.00
    5286 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97012    31.90
    5287 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   G0283    27.14
    5288 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97035    25.22
    5289 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97140   118.60
    5290 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97530    64.18
    5291 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97010    10.00
    5292 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97012    31.90
    5293 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   G0283    27.14
    5294 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97035    25.22
    5295 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97140   118.60
    5296 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97530    64.18
    5297 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97010    10.00
    5298 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97012    31.90
    5299 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   G0283    27.14
    5300 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97035    25.22
    5301 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97110    63.30
    5302 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97140   118.60
    5303 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97010    10.00
    5304 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97012    31.90
    5305 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   G0283    27.14
    5306 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97035    25.22
    5307 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97110    63.30
    5308 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97140   118.60
    5309 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97010    10.00
    5310 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97012    31.90
    5311 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   G0283    27.14
    5312 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97035    25.22
    5313 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97140   118.60
    5314 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97530    64.18
    5315 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97010    10.00
    5316 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97012    31.90
    5317 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   G0283    27.14
    5318 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97035    25.22
    5319 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97110    63.30
    5320 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97140   118.60
    5321 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97010    10.00
    5322 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97012    31.90
    5323 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   G0283    27.14
    5324 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97035    25.22
    5325 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97140   118.60
    5326 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/12/2015   97530    64.18
    5327 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97010    10.00
    5328 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97012    31.90
    5329 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   G0283    27.14
    5330 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97035    25.22
    5331 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97110    63.30
    5332 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97140   118.60
    5333 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97010    10.00
    5334 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97012    31.90
    5335 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   G0283    27.14
    5336 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97035    25.22
    5337 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97140   118.60
    5338 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97530    64.18
    5339 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97010    10.00
    5340 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97012    31.90
    5341 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   G0283    27.14
    5342 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97035    25.22
    5343 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97140   118.60
    5344 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97530    64.18
    5345 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97010    10.00
    5346 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97012    31.90
    5347 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   G0283    27.14
    5348 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97035    25.22
    5349 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97110    63.30
    5350 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   11/12/2015   97140   118.60
    5351 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97530    64.18
    5352 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97010    10.00
    5353 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97012    31.90
    5354 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   G0283    27.14
    5355 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97035    25.22
    5356 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97110    63.30
    5357 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97140   118.60
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    5358 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97010    10.00
    5359 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97012    31.90
    5360 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   G0283    27.14
    5361 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97035    25.22
    5362 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97140   118.60
    5363 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97530    64.18
    5364 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97010    10.00
    5365 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97012    31.90
    5366 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   G0283    27.14
    5367 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97035    25.22
    5368 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97140   118.60
    5369 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97530    64.18
    5370 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97010    10.00
    5371 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97012    31.90
    5372 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   G0283    27.14
    5373 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97035    25.22
    5374 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97140   118.60
    5375 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97530    64.18
    5376 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97010    10.00
    5377 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97012    31.90
    5378 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   G0283    27.14
    5379 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97035    25.22
    5380 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/14/2015   97140   118.60
    5381 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97010    10.00
    5382 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97012    31.90
    5383 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   G0283    27.14
    5384 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97035    25.22
    5385 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97110    63.30
    5386 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97140   118.60
    5387 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97010    10.00
    5388 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97012    31.90
    5389 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   G0283    27.14
    5390 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97035    25.22
    5391 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97140   118.60
    5392 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97530    64.18
    5393 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97010    10.00
    5394 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97012    31.90
    5395 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   G0283    27.14
    5396 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97035    25.22
    5397 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97140   118.60
    5398 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   97530    64.18
    5399 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   99213   145.86
    5400 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   11/23/2015   98941    73.98
    5401 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97010    10.00
    5402 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97012    31.90
    5403 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    G0283    27.14
    5404 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97035    25.22
    5405 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97140   118.60
    5406 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97530    64.18
    5407 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97010    10.00
    5408 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97012    31.90
    5409 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    G0283    27.14
    5410 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97035    25.22
    5411 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97140   118.60
    5412 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97530    64.18
    5413 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97010    10.00
    5414 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97012    31.90
    5415 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    G0283    27.14
    5416 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97035    25.22
    5417 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97140   118.60
    5418 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97530    64.18
    5419 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97010    10.00
    5420 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97012    31.90
    5421 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    G0283    27.14
    5422 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97035    25.22
    5423 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97140   118.60
    5424 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015   Bill   12/5/2015    97530    64.18
    5425 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97010    10.00
    5426 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97012    31.90
    5427 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    G0283    27.14
    5428 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97035    25.22
    5429 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97140   118.60
    5430 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97530    64.18
    5431 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97010    10.00
    5432 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97012    31.90
    5433 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    G0283    27.14
    5434 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97035    25.22
    5435 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97110    63.30
    5436 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97140   118.60
    5437 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97010    10.00
    5438 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97012    31.90
    5439 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    G0283    27.14
    5440 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97035    25.22
    5441 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97140   118.60
    5442 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97530    64.18
    5443 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97010    10.00
    5444 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97012    31.90
    5445 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    G0283    27.14
    5446 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97035    25.22
    5447 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97110    63.30
    5448 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97140   118.60
    5449 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97010    10.00
    5450 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    97012    31.90
    5451 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015    Bill   12/5/2015    G0283    27.14
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    5452 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97035    25.22
    5453 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97140   118.60
    5454 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97530    64.18
    5455 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97010    10.00
    5456 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97012    31.90
    5457 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    G0283    27.14
    5458 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97035    25.22
    5459 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97110    63.30
    5460 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97140   118.60
    5461 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97010    10.00
    5462 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97012    31.90
    5463 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    G0283    27.14
    5464 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97035    25.22
    5465 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97140   118.60
    5466 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97530    64.18
    5467 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97010    10.00
    5468 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97012    31.90
    5469 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    G0283    27.14
    5470 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97035    25.22
    5471 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97110    63.30
    5472 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97140   118.60
    5473 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97010    10.00
    5474 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97012    31.90
    5475 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    G0283    27.14
    5476 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97035    25.22
    5477 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97140   118.60
    5478 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/5/2015    97530    64.18
    5479 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    97010    10.00
    5480 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    97012    31.90
    5481 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    G0283    27.14
    5482 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    97035    25.22
    5483 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    97110    63.30
    5484 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    97140   118.60
    5485 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    97010    10.00
    5486 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    97012    31.90
    5487 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    G0283    27.14
    5488 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    97035    25.22
    5489 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    97140   118.60
    5490 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/5/2015    97530    64.18
    5491 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   99204   333.26
    5492 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97010    10.00
    5493 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97012    31.90
    5494 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97035    25.22
    5495 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97110    63.30
    5496 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97140   118.60
    5497 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97010    10.00
    5498 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97012    31.90
    5499 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97035    25.22
    5500 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97110    63.30
    5501 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97140   118.60
    5502 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97010    10.00
    5503 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97012    31.90
    5504 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97035    25.22
    5505 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97140   118.60
    5506 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97530    64.18
    5507 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97010    10.00
    5508 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97012    31.90
    5509 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97035    25.22
    5510 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97140   118.60
    5511 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97530    64.18
    5512 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97010    10.00
    5513 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97012    31.90
    5514 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97110    63.30
    5515 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97140   118.60
    5516 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97010    10.00
    5517 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97012    31.90
    5518 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97140    59.30
    5519 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97530    64.18
    5520 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97010    10.00
    5521 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97012    31.90
    5522 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97140    59.30
    5523 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97530    64.18
    5524 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97010    10.00
    5525 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97012    31.90
    5526 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97110    63.30
    5527 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97140    59.30
    5528 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97010    10.00
    5529 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97012    31.90
    5530 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97140    59.30
    5531 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97530    64.18
    5532 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97010    10.00
    5533 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97012    31.90
    5534 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97110    63.30
    5535 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/12/2015   97140    59.30
    5536 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5537 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5538 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5539 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97110    63.30
    5540 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5541 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5542 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5543 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5544 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5545 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
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    5546 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97530    64.18
    5547 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5548 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5549 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5550 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5551 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97110    63.30
    5552 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5553 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5554 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5555 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5556 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5557 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   G0283    27.14
    5558 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97035    25.22
    5559 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97110    63.30
    5560 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97140   118.60
    5561 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97110    63.30
    5562 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5563 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5564 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5565 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5566 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5567 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5568 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97530    64.18
    5569 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5570 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5571 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5572 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5573 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5574 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97530    64.18
    5575 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5576 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5577 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5578 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5579 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97110    63.30
    5580 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5581 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5582 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5583 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5584 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5585 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5586 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97530    64.18
    5587 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5588 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   99204   333.26
    5589 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5590 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5591 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5592 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5593 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5594 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5595 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5596 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5597 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5598 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5599 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97530    64.18
    5600 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5601 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5602 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5603 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5604 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5605 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97530    64.18
    5606 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97010    10.00
    5607 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97012    31.90
    5608 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   G0283    27.14
    5609 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97035    25.22
    5610 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97110    63.30
    5611 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/15/2015   97140   118.60
    5612 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97010    10.00
    5613 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97012    31.90
    5614 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   G0283    27.14
    5615 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97035    25.22
    5616 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97110    63.30
    5617 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97140   118.60
    5618 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97010    10.00
    5619 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97012    31.90
    5620 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   G0283    27.14
    5621 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97035    25.22
    5622 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97140   118.60
    5623 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97530    64.18
    5624 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97010    10.00
    5625 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97012    31.90
    5626 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   G0283    27.14
    5627 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97035    25.22
    5628 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97110    63.30
    5629 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97140   118.60
    5630 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97010    10.00
    5631 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97012    31.90
    5632 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   G0283    27.14
    5633 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97035    25.22
    5634 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97140   118.60
    5635 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/15/2015   97530    64.18
    5636 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97010    10.00
    5637 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97012    31.90
    5638 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   G0283    27.14
    5639 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97035    25.22
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    5640 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97140   118.60
    5641 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97530    64.18
    5642 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97010    10.00
    5643 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97012    31.90
    5644 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   G0283    27.14
    5645 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97035    25.22
    5646 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97110    63.30
    5647 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97140   118.60
    5648 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97010    10.00
    5649 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/15/2015   97012    31.90
    5650 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   99213   145.86
    5651 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97010    10.00
    5652 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97012    31.90
    5653 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   G0283    27.14
    5654 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97035    25.22
    5655 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97140   118.60
    5656 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97530    64.18
    5657 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97010    10.00
    5658 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97012    31.90
    5659 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   G0283    27.14
    5660 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97035    25.22
    5661 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97110    63.30
    5662 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97140   118.60
    5663 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97010    10.00
    5664 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97012    31.90
    5665 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   G0283    27.14
    5666 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97035    25.22
    5667 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97140   118.60
    5668 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/19/2015   97530    64.18
    5669 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   99213   145.86
    5670 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97010    10.00
    5671 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97012    31.90
    5672 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   G0283    27.14
    5673 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97035    25.22
    5674 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97140   118.60
    5675 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97530    64.18
    5676 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97010    10.00
    5677 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97012    31.90
    5678 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   G0283    27.14
    5679 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97035    25.22
    5680 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97110    63.30
    5681 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97140   118.60
    5682 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97010    10.00
    5683 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97012    31.90
    5684 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   G0283    27.14
    5685 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97035    25.22
    5686 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97140   118.60
    5687 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97530    64.18
    5688 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97010    10.00
    5689 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97012    31.90
    5690 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   G0283    27.14
    5691 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97035    25.22
    5692 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97110    63.30
    5693 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97140   118.60
    5694 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97010    10.00
    5695 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97012    31.90
    5696 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   G0283    27.14
    5697 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97035    25.22
    5698 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97140   118.60
    5699 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97530    64.18
    5700 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   99212    87.60
    5701 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97010    10.00
    5702 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97012    31.90
    5703 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97110    63.30
    5704 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97140    59.30
    5705 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97010    10.00
    5706 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97012    31.90
    5707 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97110    63.30
    5708 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97140   118.60
    5709 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97010    10.00
    5710 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97012    31.90
    5711 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97140    59.30
    5712 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97530    64.18
    5713 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97010    10.00
    5714 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97012    31.90
    5715 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97110    63.30
    5716 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/19/2015   97140    59.30
    5717 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97010    10.00
    5718 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97012    31.90
    5719 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   G0283    27.14
    5720 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97035    25.22
    5721 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97140   118.60
    5722 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97530    64.18
    5723 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97110    63.30
    5724 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97140    59.30
    5725 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97010    10.00
    5726 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97012    31.90
    5727 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97110    63.30
    5728 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97140    59.30
    5729 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97010    10.00
    5730 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97012    31.90
    5731 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97010    10.00
    5732 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97012    31.90
    5733 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   G0283    27.14
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    5734 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97035    25.22
    5735 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97140   118.60
    5736 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97530    64.18
    5737 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97010    10.00
    5738 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97012    31.90
    5739 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   G0283    27.14
    5740 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97035    25.22
    5741 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97110    63.30
    5742 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97140   118.60
    5743 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97010    10.00
    5744 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97012    31.90
    5745 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   G0283    27.14
    5746 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97035    25.22
    5747 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97140   118.60
    5748 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   12/28/2015   97530    64.18
    5749 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97010    10.00
    5750 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97012    31.90
    5751 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   G0283    27.14
    5752 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97035    25.22
    5753 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97140   118.60
    5754 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97530    64.18
    5755 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97010    10.00
    5756 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97012    31.90
    5757 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   G0283    27.14
    5758 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97035    25.22
    5759 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97140   118.60
    5760 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97530    64.18
    5761 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97010    10.00
    5762 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97012    31.90
    5763 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   G0283    27.14
    5764 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97035    25.22
    5765 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97110    63.30
    5766 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97140   118.60
    5767 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97010    10.00
    5768 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97012    31.90
    5769 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   G0283    27.14
    5770 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97035    25.22
    5771 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97140   118.60
    5772 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97530    64.18
    5773 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97010    10.00
    5774 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97012    31.90
    5775 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   G0283    27.14
    5776 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97035    25.22
    5777 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97110    63.30
    5778 Himes Walk In Clinic, LLC   0528963060101013   9/3/2015     Bill   12/28/2015   97140   118.60
    5779 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97010    10.00
    5780 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97012    31.90
    5781 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   G0283    27.14
    5782 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97035    25.22
    5783 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97110    63.30
    5784 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97140   118.60
    5785 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97010    10.00
    5786 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97012    31.90
    5787 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   G0283    27.14
    5788 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97035    25.22
    5789 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97140   118.60
    5790 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97530    64.18
    5791 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97010    10.00
    5792 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97012    31.90
    5793 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   G0283    27.14
    5794 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97035    25.22
    5795 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97140   118.60
    5796 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   12/28/2015   97530    64.18
    5797 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016    97035    25.22
    5798 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016    97110    63.30
    5799 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016    97140   118.60
    5800 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016    97010    10.00
    5801 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016    97012    31.90
    5802 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016    G0283    27.14
    5803 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016    97035    25.22
    5804 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016    97140   118.60
    5805 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016    97530    64.18
    5806 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97010    10.00
    5807 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97012    31.90
    5808 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97140   118.60
    5809 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97530    64.18
    5810 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97010    10.00
    5811 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97012    31.90
    5812 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97110    63.30
    5813 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97140    59.30
    5814 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97010    10.00
    5815 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97012    31.90
    5816 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    G0283    27.14
    5817 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97035    25.22
    5818 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97140   118.60
    5819 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97530    64.18
    5820 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97010    10.00
    5821 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97012    31.90
    5822 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    G0283    27.14
    5823 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97035    25.22
    5824 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97140   118.60
    5825 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97110    63.30
    5826 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97010    10.00
    5827 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016    97012    31.90
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    5828 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016   G0283    27.14
    5829 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016   97035    25.22
    5830 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016   97140   118.60
    5831 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/11/2016   97530    64.18
    5832 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016   97010    10.00
    5833 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016   97012    31.90
    5834 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016   G0283    27.14
    5835 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016   97035    25.22
    5836 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016   97140   118.60
    5837 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016   97530    64.18
    5838 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016   97010    10.00
    5839 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016   97012    31.90
    5840 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/11/2016   G0283    27.14
    5841 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97010    10.00
    5842 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97012    31.90
    5843 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97140    59.30
    5844 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97530    64.18
    5845 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97010    10.00
    5846 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97012    31.90
    5847 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97110    63.30
    5848 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97140    59.30
    5849 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97010    10.00
    5850 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97012    31.90
    5851 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   G0283    27.14
    5852 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97035    25.22
    5853 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97140   118.60
    5854 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97530    64.18
    5855 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97010    10.00
    5856 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97012    31.90
    5857 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   G0283    27.14
    5858 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97035    25.22
    5859 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97140   118.60
    5860 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97530    64.18
    5861 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97010    10.00
    5862 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97012    31.90
    5863 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   G0283    27.14
    5864 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97035    25.22
    5865 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97110    63.30
    5866 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   1/16/2016   97140   118.60
    5867 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97010    10.00
    5868 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97012    31.90
    5869 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   G0283    27.14
    5870 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97035    25.22
    5871 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97140   118.60
    5872 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97530    64.18
    5873 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97010    10.00
    5874 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97012    31.90
    5875 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   G0283    27.14
    5876 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97035    25.22
    5877 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97140   118.60
    5878 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97530    64.18
    5879 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97010    10.00
    5880 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97012    31.90
    5881 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   G0283    27.14
    5882 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97035    25.22
    5883 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97110    63.30
    5884 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/16/2016   97140   118.60
    5885 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   97010    10.00
    5886 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   97012    31.90
    5887 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   G0283    27.14
    5888 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   97035    25.22
    5889 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   97110    63.30
    5890 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   97140   118.60
    5891 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   97010    10.00
    5892 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   97012    31.90
    5893 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   G0283    27.14
    5894 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   97035    25.22
    5895 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   97140   118.60
    5896 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   1/25/2016   97530    64.18
    5897 Himes Walk In Clinic, LLC   0400098210101036   9/23/2015    Bill   2/1/2016    99213   145.86
    5898 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97010    10.00
    5899 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97012    31.90
    5900 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97110    63.30
    5901 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97140    59.30
    5902 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97010    10.00
    5903 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97012    31.90
    5904 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97140    59.30
    5905 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97530    64.18
    5906 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97010    10.00
    5907 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97012    31.90
    5908 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97110    63.30
    5909 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97140    59.30
    5910 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97010    10.00
    5911 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97012    31.90
    5912 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97140    59.30
    5913 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    97530    64.18
    5914 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/5/2016    99213   145.86
    5915 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97110    63.30
    5916 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97140   118.60
    5917 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97010    10.00
    5918 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97012    31.90
    5919 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    G0283    27.14
    5920 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97035    25.22
    5921 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97110    63.30
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    5922 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97140   118.60
    5923 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97010    10.00
    5924 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97012    31.90
    5925 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    G0283    27.14
    5926 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97035    25.22
    5927 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97140   118.60
    5928 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97530    64.18
    5929 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97010    10.00
    5930 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97012    31.90
    5931 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    G0283    27.14
    5932 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97035    25.22
    5933 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97110    63.30
    5934 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97140   118.60
    5935 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97010    10.00
    5936 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97012    31.90
    5937 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    G0283    27.14
    5938 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97035    25.22
    5939 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97140   118.60
    5940 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97530    64.18
    5941 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    99213   145.86
    5942 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97010    10.00
    5943 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97012    31.90
    5944 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    G0283    27.14
    5945 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97035    25.22
    5946 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97140   118.60
    5947 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97530    64.18
    5948 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97010    10.00
    5949 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97012    31.90
    5950 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    G0283    27.14
    5951 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/6/2016    97035    25.22
    5952 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97035    25.22
    5953 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97140   118.60
    5954 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97530    64.18
    5955 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97010    10.00
    5956 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97012    31.90
    5957 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   G0283    27.14
    5958 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97035    25.22
    5959 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97140   118.60
    5960 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97530    64.18
    5961 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97010    10.00
    5962 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97012    31.90
    5963 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   G0283    27.14
    5964 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97035    25.22
    5965 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97140   118.60
    5966 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97530    64.18
    5967 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97010    10.00
    5968 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97012    31.90
    5969 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   G0283    27.14
    5970 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97035    25.22
    5971 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97140   118.60
    5972 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   97530    64.18
    5973 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   2/15/2016   99204   333.26
    5974 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    5975 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    5976 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97110    63.30
    5977 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    5978 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    5979 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    5980 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    5981 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    5982 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97110    63.30
    5983 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    5984 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   99204   333.26
    5985 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97010    10.00
    5986 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97012    31.90
    5987 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   G0283    27.14
    5988 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97035    25.22
    5989 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97140   118.60
    5990 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97535    68.56
    5991 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97010    10.00
    5992 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97012    31.90
    5993 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   G0283    27.14
    5994 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97035    25.22
    5995 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97140   118.60
    5996 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97530    64.18
    5997 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97010    10.00
    5998 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97012    31.90
    5999 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   G0283    27.14
    6000 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97035    25.22
    6001 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97140   118.60
    6002 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97530    64.18
    6003 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97010    10.00
    6004 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97012    31.90
    6005 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   G0283    27.14
    6006 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97035    25.22
    6007 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97110    63.30
    6008 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97140   118.60
    6009 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97010    10.00
    6010 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97012    31.90
    6011 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   G0283    27.14
    6012 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97035    25.22
    6013 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97140   118.60
    6014 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97530    64.18
    6015 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/15/2016   97010    10.00
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    6016 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97012    31.90
    6017 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   G0283    27.14
    6018 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97035    25.22
    6019 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97110    63.30
    6020 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97140   118.60
    6021 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97010    10.00
    6022 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97012    31.90
    6023 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   G0283    27.14
    6024 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97035    25.22
    6025 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97140   118.60
    6026 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97530    64.18
    6027 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97010    10.00
    6028 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97012    31.90
    6029 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   G0283    27.14
    6030 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97035    25.22
    6031 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97110    63.30
    6032 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97140   118.60
    6033 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97010    10.00
    6034 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97012    31.90
    6035 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   G0283    27.14
    6036 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97035    25.22
    6037 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97140   118.60
    6038 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97530    64.18
    6039 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97010    10.00
    6040 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97012    31.90
    6041 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   G0283    27.14
    6042 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97035    25.22
    6043 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97110    63.30
    6044 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97140   118.60
    6045 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97010    10.00
    6046 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97012    31.90
    6047 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   G0283    27.14
    6048 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97035    25.22
    6049 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97110    63.30
    6050 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   2/15/2016   97140   118.60
    6051 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97010    10.00
    6052 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97012    31.90
    6053 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   G0283    27.14
    6054 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97035    25.22
    6055 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97140   118.60
    6056 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97535    68.56
    6057 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97010    10.00
    6058 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97012    31.90
    6059 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   G0283    27.14
    6060 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97035    25.22
    6061 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97140   118.60
    6062 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97530    64.18
    6063 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97010    10.00
    6064 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97012    31.90
    6065 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   G0283    27.14
    6066 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97035    25.22
    6067 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97140   118.60
    6068 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97530    64.18
    6069 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97010    10.00
    6070 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   97012    31.90
    6071 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   2/15/2016   G0283    27.14
    6072 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   G0283    27.14
    6073 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97035    25.22
    6074 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97140   118.60
    6075 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97530    64.18
    6076 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97010    10.00
    6077 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97012    31.90
    6078 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   G0283    27.14
    6079 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97035    25.22
    6080 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97110    63.30
    6081 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97140   118.60
    6082 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97010    10.00
    6083 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97012    31.90
    6084 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   G0283    27.14
    6085 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97035    25.22
    6086 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97110    63.30
    6087 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97140   118.60
    6088 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97010    10.00
    6089 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97012    31.90
    6090 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   G0283    27.14
    6091 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97035    25.22
    6092 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97110    63.30
    6093 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97140   118.60
    6094 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97010    10.00
    6095 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97012    31.90
    6096 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   G0283    27.14
    6097 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97035    25.22
    6098 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97140   118.60
    6099 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97530    64.18
    6100 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97010    10.00
    6101 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97012    31.90
    6102 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   G0283    27.14
    6103 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97035    25.22
    6104 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97110    63.30
    6105 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97140   118.60
    6106 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97010    10.00
    6107 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97012    31.90
    6108 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   G0283    27.14
    6109 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015   Bill   2/15/2016   97035    25.22
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 66 of 9287 PageID 200


    6110 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    6111 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97530    64.18
    6112 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6113 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6114 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    6115 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    6116 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    6117 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97530    64.18
    6118 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6119 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6120 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    6121 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    6122 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    6123 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97530    64.18
    6124 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6125 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6126 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    6127 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    6128 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97110    63.30
    6129 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    6130 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6131 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6132 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    6133 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    6134 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    6135 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97530    64.18
    6136 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6137 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6138 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    6139 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    6140 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    6141 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97530    64.18
    6142 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6143 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6144 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    6145 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    6146 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97110    63.30
    6147 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    6148 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6149 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6150 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    6151 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    6152 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    6153 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97530    64.18
    6154 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6155 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6156 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97010    10.00
    6157 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97012    31.90
    6158 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   G0283    27.14
    6159 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97035    25.22
    6160 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97140   118.60
    6161 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97530    64.18
    6162 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97010    10.00
    6163 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97012    31.90
    6164 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   G0283    27.14
    6165 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97035    25.22
    6166 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97140   118.60
    6167 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97530    64.18
    6168 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97010    10.00
    6169 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97012    31.90
    6170 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   G0283    27.14
    6171 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97035    25.22
    6172 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97110    63.30
    6173 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97140   118.60
    6174 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97010    10.00
    6175 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97012    31.90
    6176 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   G0283    27.14
    6177 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97035    25.22
    6178 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97140   118.60
    6179 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97530    64.18
    6180 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97010    10.00
    6181 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97012    31.90
    6182 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   G0283    27.14
    6183 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97035    25.22
    6184 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97110    63.30
    6185 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97140   118.60
    6186 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97010    10.00
    6187 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97012    31.90
    6188 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   G0283    27.14
    6189 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97035    25.22
    6190 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97110    63.30
    6191 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/15/2016   97140   118.60
    6192 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6193 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6194 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    6195 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    6196 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    6197 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97530    64.18
    6198 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6199 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6200 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    6201 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    6202 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97110    63.30
    6203 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 67 of 9287 PageID 201


    6204 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6205 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6206 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   G0283    27.14
    6207 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97035    25.22
    6208 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97110    63.30
    6209 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97140   118.60
    6210 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   99213   145.86
    6211 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   98940    52.38
    6212 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   98943    32.95
    6213 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97010    10.00
    6214 Himes Walk In Clinic, LLC   0529484950101020   6/26/2015    Bill   2/15/2016   97012    31.90
    6215 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97010    10.00
    6216 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97012    31.90
    6217 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   G0283    27.14
    6218 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97035    25.22
    6219 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97140   118.60
    6220 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97530    64.18
    6221 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97010    10.00
    6222 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97012    31.90
    6223 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   G0283    27.14
    6224 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97035    25.22
    6225 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97110    63.30
    6226 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97140   118.60
    6227 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97010    10.00
    6228 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97012    31.90
    6229 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   G0283    27.14
    6230 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97035    25.22
    6231 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97140   118.60
    6232 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   2/22/2016   97530    64.18
    6233 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97010    10.00
    6234 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97012    31.90
    6235 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   G0283    27.14
    6236 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97035    25.22
    6237 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97140   118.60
    6238 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97530    64.18
    6239 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97010    10.00
    6240 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97012    31.90
    6241 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   G0283    27.14
    6242 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97035    25.22
    6243 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97110    63.30
    6244 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97140   118.60
    6245 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97010    10.00
    6246 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97012    31.90
    6247 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   G0283    27.14
    6248 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97035    25.22
    6249 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97110    63.30
    6250 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97140   118.60
    6251 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97010    10.00
    6252 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97012    31.90
    6253 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   G0283    27.14
    6254 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97035    25.22
    6255 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97110    63.30
    6256 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97140   118.60
    6257 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97010    10.00
    6258 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97012    31.90
    6259 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   G0283    27.14
    6260 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97035    25.22
    6261 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97140   118.60
    6262 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97530    64.18
    6263 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97010    10.00
    6264 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97012    31.90
    6265 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   G0283    27.14
    6266 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97035    25.22
    6267 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97140   118.60
    6268 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97530    64.18
    6269 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97010    10.00
    6270 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97012    31.90
    6271 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   G0283    27.14
    6272 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97035    25.22
    6273 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97140   118.60
    6274 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   2/27/2016   97530    64.18
    6275 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97010    10.00
    6276 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97012    31.90
    6277 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    G0283    27.14
    6278 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97035    25.22
    6279 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97110    63.30
    6280 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97140   118.60
    6281 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97010    10.00
    6282 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97012    31.90
    6283 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    G0283    27.14
    6284 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97035    25.22
    6285 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97140   118.60
    6286 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97530    64.18
    6287 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97010    10.00
    6288 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97012    31.90
    6289 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    G0283    27.14
    6290 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97035    25.22
    6291 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97110    63.30
    6292 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97140   118.60
    6293 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97010    10.00
    6294 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97012    31.90
    6295 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    G0283    27.14
    6296 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97035    25.22
    6297 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97140   118.60
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 68 of 9287 PageID 202


    6298 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/5/2016    97530    64.18
    6299 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97010    10.00
    6300 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97012    31.90
    6301 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    G0283    27.14
    6302 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97035    25.22
    6303 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97140   118.60
    6304 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97530    64.18
    6305 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97010    10.00
    6306 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97012    31.90
    6307 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    G0283    27.14
    6308 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97035    25.22
    6309 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97110    63.30
    6310 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97140   118.60
    6311 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97010    10.00
    6312 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97012    31.90
    6313 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    G0283    27.14
    6314 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97035    25.22
    6315 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97140   118.60
    6316 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/5/2016    97530    64.18
    6317 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6318 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6319 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6320 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6321 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6322 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97530    64.18
    6323 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6324 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6325 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6326 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6327 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97110    63.30
    6328 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6329 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6330 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6331 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6332 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6333 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6334 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97530    64.18
    6335 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    99204   333.26
    6336 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6337 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6338 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6339 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6340 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6341 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97535    68.56
    6342 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6343 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6344 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6345 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6346 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6347 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97530    64.18
    6348 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6349 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6350 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6351 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6352 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6353 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97530    64.18
    6354 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6355 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6356 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6357 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6358 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97110    63.30
    6359 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6360 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6361 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6362 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6363 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6364 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6365 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97530    64.18
    6366 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6367 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6368 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6369 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6370 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6371 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97530    64.18
    6372 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6373 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6374 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6375 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6376 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97110    63.30
    6377 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6378 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6379 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6380 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6381 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6382 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6383 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97530    64.18
    6384 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97010    10.00
    6385 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97012    31.90
    6386 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    G0283    27.14
    6387 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97035    25.22
    6388 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97110    63.30
    6389 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/7/2016    97140   118.60
    6390 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97010    10.00
    6391 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97012    31.90
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    6392 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   G0283    27.14
    6393 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97035    25.22
    6394 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97110    63.30
    6395 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97140   118.60
    6396 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97010    10.00
    6397 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97012    31.90
    6398 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   G0283    27.14
    6399 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97035    25.22
    6400 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97140   118.60
    6401 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97530    64.18
    6402 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97010    10.00
    6403 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97012    31.90
    6404 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   G0283    27.14
    6405 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97035    25.22
    6406 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97110    63.30
    6407 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   97140   118.60
    6408 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/14/2016   99213   145.86
    6409 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   97010    10.00
    6410 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   97012    31.90
    6411 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   G0283    27.14
    6412 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   97035    25.22
    6413 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   97140   118.60
    6414 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   97530    64.18
    6415 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   97010    10.00
    6416 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   97012    31.90
    6417 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   G0283    27.14
    6418 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   97035    25.22
    6419 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   97110    63.30
    6420 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   97140   118.60
    6421 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/14/2016   99213   145.86
    6422 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97010    10.00
    6423 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97012    31.90
    6424 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   G0283    27.14
    6425 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97035    25.22
    6426 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97140   118.60
    6427 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97530    64.18
    6428 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97010    10.00
    6429 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97012    31.90
    6430 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   G0283    27.14
    6431 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97035    25.22
    6432 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97110    63.30
    6433 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97140   118.60
    6434 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97010    10.00
    6435 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97012    31.90
    6436 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   G0283    27.14
    6437 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97035    25.22
    6438 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97140   118.60
    6439 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   97530    64.18
    6440 Himes Walk In Clinic, LLC   0384670540101025   11/10/2015   Bill   3/14/2016   99213   145.86
    6441 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97010    10.00
    6442 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97012    31.90
    6443 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   G0283    27.14
    6444 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97035    25.22
    6445 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97110    63.30
    6446 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97140   118.60
    6447 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97010    10.00
    6448 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97012    31.90
    6449 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   G0283    27.14
    6450 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97035    25.22
    6451 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97140   118.60
    6452 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97530    64.18
    6453 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97010    10.00
    6454 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97012    31.90
    6455 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   G0283    27.14
    6456 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97035    25.22
    6457 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97110    63.30
    6458 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97140   118.60
    6459 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97010    10.00
    6460 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97012    31.90
    6461 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   G0283    27.14
    6462 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97035    25.22
    6463 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97140   118.60
    6464 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016    Bill   3/14/2016   97530    64.18
    6465 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   G0283    27.14
    6466 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97035    25.22
    6467 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97140   118.60
    6468 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97530    64.18
    6469 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97010    10.00
    6470 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97012    31.90
    6471 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   G0283    27.14
    6472 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97035    25.22
    6473 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97110    63.30
    6474 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97140   118.60
    6475 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97010    10.00
    6476 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97012    31.90
    6477 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   G0283    27.14
    6478 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97035    25.22
    6479 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97140   118.60
    6480 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97530    64.18
    6481 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97010    10.00
    6482 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016    Bill   3/19/2016   97012    31.90
    6483 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/21/2016   97010    10.00
    6484 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/21/2016   97012    31.90
    6485 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016    Bill   3/21/2016   G0283    27.14
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 70 of 9287 PageID 204


    6486 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97035    25.22
    6487 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97140   118.60
    6488 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97530    64.18
    6489 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97010    10.00
    6490 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97012    31.90
    6491 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   G0283    27.14
    6492 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97035    25.22
    6493 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97110    63.30
    6494 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97140   118.60
    6495 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97010    10.00
    6496 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97012    31.90
    6497 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   G0283    27.14
    6498 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97035    25.22
    6499 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97140   118.60
    6500 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/21/2016   97530    64.18
    6501 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97010    10.00
    6502 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97012    31.90
    6503 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   G0283    27.14
    6504 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97035    25.22
    6505 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97110    63.30
    6506 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97140   118.60
    6507 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97010    10.00
    6508 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97012    31.90
    6509 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   G0283    27.14
    6510 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97035    25.22
    6511 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97140   118.60
    6512 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97530    64.18
    6513 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97010    10.00
    6514 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97012    31.90
    6515 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   G0283    27.14
    6516 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97035    25.22
    6517 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97140   118.60
    6518 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97530    64.18
    6519 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97010    10.00
    6520 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97012    31.90
    6521 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   G0283    27.14
    6522 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97035    25.22
    6523 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97110    63.30
    6524 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/21/2016   97140   118.60
    6525 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97140   118.60
    6526 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97530    64.18
    6527 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97010    10.00
    6528 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97012    31.90
    6529 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   G0283    27.14
    6530 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97035    25.22
    6531 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97110    63.30
    6532 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97140   118.60
    6533 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97010    10.00
    6534 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97012    31.90
    6535 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   G0283    27.14
    6536 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97035    25.22
    6537 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97140   118.60
    6538 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97530    64.18
    6539 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97010    10.00
    6540 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97012    31.90
    6541 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   G0283    27.14
    6542 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97035    25.22
    6543 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97110    63.30
    6544 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97140   118.60
    6545 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97010    10.00
    6546 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97012    31.90
    6547 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   G0283    27.14
    6548 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97035    25.22
    6549 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97140   118.60
    6550 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97530    64.18
    6551 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97010    10.00
    6552 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97012    31.90
    6553 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   G0283    27.14
    6554 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97035    25.22
    6555 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97110    63.30
    6556 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   97140   118.60
    6557 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97010    10.00
    6558 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97012    31.90
    6559 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   G0283    27.14
    6560 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97035    25.22
    6561 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97140   118.60
    6562 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97530    64.18
    6563 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97010    10.00
    6564 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97012    31.90
    6565 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   G0283    27.14
    6566 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97035    25.22
    6567 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97110    63.30
    6568 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97140   118.60
    6569 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97010    10.00
    6570 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97012    31.90
    6571 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   G0283    27.14
    6572 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97035    25.22
    6573 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97140   118.60
    6574 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97530    64.18
    6575 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97010    10.00
    6576 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97012    31.90
    6577 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   G0283    27.14
    6578 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97035    25.22
    6579 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97110    63.30
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    6580 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   3/28/2016   97140   118.60
    6581 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   99213   145.86
    6582 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   3/28/2016   98941    73.98
    6583 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   99213   145.86
    6584 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   98941    73.98
    6585 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97010    10.00
    6586 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97012    31.90
    6587 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   G0283    27.14
    6588 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   3/28/2016   97035    25.22
    6589 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97010    10.00
    6590 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97012    31.90
    6591 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    G0283    27.14
    6592 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97035    25.22
    6593 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97140   118.60
    6594 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97530    64.18
    6595 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97010    10.00
    6596 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97012    31.90
    6597 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    G0283    27.14
    6598 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97035    25.22
    6599 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97110    63.30
    6600 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97140   118.60
    6601 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97010    10.00
    6602 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97012    31.90
    6603 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    G0283    27.14
    6604 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97035    25.22
    6605 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97140   118.60
    6606 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/6/2016    97530    64.18
    6607 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97010    10.00
    6608 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97012    31.90
    6609 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    G0283    27.14
    6610 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97035    25.22
    6611 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97110    63.30
    6612 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97140   118.60
    6613 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97010    10.00
    6614 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97012    31.90
    6615 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    G0283    27.14
    6616 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97035    25.22
    6617 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97110    63.30
    6618 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97140   118.60
    6619 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97010    10.00
    6620 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97012    31.90
    6621 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    G0283    27.14
    6622 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97035    25.22
    6623 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97140   118.60
    6624 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97530    64.18
    6625 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97010    10.00
    6626 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97012    31.90
    6627 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    G0283    27.14
    6628 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97035    25.22
    6629 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97140   118.60
    6630 Himes Walk In Clinic, LLC   0301124660101035   1/18/2016   Bill   4/6/2016    97530    64.18
    6631 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97530    64.18
    6632 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97010    10.00
    6633 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97012    31.90
    6634 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    G0283    27.14
    6635 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97035    25.22
    6636 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97140   118.60
    6637 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97530    64.18
    6638 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97010    10.00
    6639 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97012    31.90
    6640 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    G0283    27.14
    6641 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97035    25.22
    6642 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97140   118.60
    6643 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97530    64.18
    6644 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97010    10.00
    6645 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97012    31.90
    6646 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    G0283    27.14
    6647 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97035    25.22
    6648 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97110    63.30
    6649 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97140   118.60
    6650 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97010    10.00
    6651 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97012    31.90
    6652 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    G0283    27.14
    6653 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97035    25.22
    6654 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97110    63.30
    6655 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97140   118.60
    6656 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97010    10.00
    6657 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97012    31.90
    6658 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    G0283    27.14
    6659 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97035    25.22
    6660 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97140   118.60
    6661 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97530    64.18
    6662 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97010    10.00
    6663 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97012    31.90
    6664 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    G0283    27.14
    6665 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97035    25.22
    6666 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97110    63.30
    6667 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/9/2016    97140   118.60
    6668 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97010    10.00
    6669 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97012    31.90
    6670 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    G0283    27.14
    6671 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97035    25.22
    6672 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97140   118.60
    6673 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97530    64.18
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 72 of 9287 PageID 206


    6674 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97010    10.00
    6675 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97012    31.90
    6676 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    G0283    27.14
    6677 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97035    25.22
    6678 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97110    63.30
    6679 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97140   118.60
    6680 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97010    10.00
    6681 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97012    31.90
    6682 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    G0283    27.14
    6683 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97035    25.22
    6684 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/9/2016    97140   118.60
    6685 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   G0283    27.14
    6686 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97035    25.22
    6687 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97110    63.30
    6688 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97140   118.60
    6689 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97010    10.00
    6690 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97012    31.90
    6691 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   G0283    27.14
    6692 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97035    25.22
    6693 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97140   118.60
    6694 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97530    64.18
    6695 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97010    10.00
    6696 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97012    31.90
    6697 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   G0283    27.14
    6698 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97035    25.22
    6699 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97110    63.30
    6700 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97140   118.60
    6701 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   99213   145.86
    6702 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97010    10.00
    6703 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/18/2016   97012    31.90
    6704 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97010    10.00
    6705 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97012    31.90
    6706 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   G0283    27.14
    6707 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97035    25.22
    6708 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97110    63.30
    6709 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97140   118.60
    6710 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97010    10.00
    6711 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97012    31.90
    6712 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   G0283    27.14
    6713 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97035    25.22
    6714 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97140   118.60
    6715 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97530    64.18
    6716 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97010    10.00
    6717 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97012    31.90
    6718 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   G0283    27.14
    6719 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97035    25.22
    6720 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97140   118.60
    6721 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/18/2016   97530    64.18
    6722 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6723 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6724 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6725 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6726 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97110    63.30
    6727 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6728 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6729 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6730 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6731 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6732 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6733 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97530    64.18
    6734 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6735 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6736 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6737 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6738 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97110    63.30
    6739 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6740 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6741 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6742 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6743 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6744 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6745 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97530    64.18
    6746 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   99204   333.26
    6747 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6748 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6749 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6750 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6751 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6752 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97535    68.56
    6753 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6754 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6755 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6756 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6757 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97110    63.30
    6758 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6759 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6760 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6761 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6762 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6763 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97110    63.30
    6764 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6765 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6766 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6767 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
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    6768 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6769 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6770 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97530    64.18
    6771 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6772 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6773 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6774 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6775 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6776 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97530    64.18
    6777 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6778 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6779 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6780 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6781 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97110    63.30
    6782 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6783 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6784 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6785 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6786 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6787 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6788 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97530    64.18
    6789 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6790 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6791 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6792 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6793 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6794 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97530    64.18
    6795 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6796 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6797 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6798 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6799 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97110    63.30
    6800 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6801 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6802 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6803 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6804 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6805 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6806 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97530    64.18
    6807 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   99204   333.26
    6808 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6809 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6810 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6811 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6812 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6813 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97535    68.56
    6814 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6815 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6816 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6817 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6818 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97110    63.30
    6819 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6820 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6821 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6822 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6823 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6824 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97110    63.30
    6825 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6826 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6827 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6828 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6829 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6830 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6831 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97530    64.18
    6832 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6833 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6834 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6835 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6836 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97110    63.30
    6837 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6838 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97010    10.00
    6839 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97012    31.90
    6840 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   G0283    27.14
    6841 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97035    25.22
    6842 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97140   118.60
    6843 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/22/2016   97530    64.18
    6844 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   G0283    27.14
    6845 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97035    25.22
    6846 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97110    63.30
    6847 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97140   118.60
    6848 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97010    10.00
    6849 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97012    31.90
    6850 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   G0283    27.14
    6851 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97035    25.22
    6852 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97140   118.60
    6853 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97530    64.18
    6854 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97010    10.00
    6855 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97012    31.90
    6856 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   G0283    27.14
    6857 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97035    25.22
    6858 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97110    63.30
    6859 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97140   118.60
    6860 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97010    10.00
    6861 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97012    31.90
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    6862 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   G0283    27.14
    6863 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97035    25.22
    6864 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97140   118.60
    6865 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97530    64.18
    6866 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97010    10.00
    6867 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97012    31.90
    6868 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   G0283    27.14
    6869 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97035    25.22
    6870 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97110    63.30
    6871 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97140   118.60
    6872 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97010    10.00
    6873 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97012    31.90
    6874 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   G0283    27.14
    6875 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97035    25.22
    6876 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97140   118.60
    6877 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97530    64.18
    6878 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97010    10.00
    6879 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97012    31.90
    6880 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   G0283    27.14
    6881 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97035    25.22
    6882 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97140   118.60
    6883 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   4/29/2016   97530    64.18
    6884 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97010    10.00
    6885 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97012    31.90
    6886 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   G0283    27.14
    6887 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97035    25.22
    6888 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97140   118.60
    6889 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97530    64.18
    6890 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97010    10.00
    6891 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97012    31.90
    6892 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   G0283    27.14
    6893 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97035    25.22
    6894 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97110    63.30
    6895 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97140   118.60
    6896 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97010    10.00
    6897 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97012    31.90
    6898 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   G0283    27.14
    6899 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97035    25.22
    6900 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97140   118.60
    6901 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97530    64.18
    6902 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97010    10.00
    6903 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97012    31.90
    6904 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   G0283    27.14
    6905 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97035    25.22
    6906 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97140   118.60
    6907 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97530    64.18
    6908 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97010    10.00
    6909 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97012    31.90
    6910 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   G0283    27.14
    6911 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97035    25.22
    6912 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97140   118.60
    6913 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97530    64.18
    6914 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97010    10.00
    6915 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97012    31.90
    6916 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   G0283    27.14
    6917 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97035    25.22
    6918 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97110    63.30
    6919 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97140   118.60
    6920 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97010    10.00
    6921 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97012    31.90
    6922 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   G0283    27.14
    6923 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97035    25.22
    6924 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97140   118.60
    6925 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97530    64.18
    6926 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97010    10.00
    6927 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97012    31.90
    6928 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   G0283    27.14
    6929 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97035    25.22
    6930 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97140   118.60
    6931 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97530    64.18
    6932 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97010    10.00
    6933 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97012    31.90
    6934 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   G0283    27.14
    6935 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97035    25.22
    6936 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97110    63.30
    6937 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97140   118.60
    6938 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97010    10.00
    6939 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97012    31.90
    6940 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   G0283    27.14
    6941 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97035    25.22
    6942 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97110    63.30
    6943 Himes Walk In Clinic, LLC   0501322610101042   1/18/2016   Bill   4/29/2016   97140   118.60
    6944 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97010    10.00
    6945 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97012    31.90
    6946 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   G0283    27.14
    6947 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97035    25.22
    6948 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97140   118.60
    6949 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97530    64.18
    6950 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97010    10.00
    6951 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97012    31.90
    6952 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   G0283    27.14
    6953 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97035    25.22
    6954 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97140   118.60
    6955 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97530    64.18
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    6956 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97010    10.00
    6957 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97012    31.90
    6958 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   G0283    27.14
    6959 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97035    25.22
    6960 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97140   118.60
    6961 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97530    64.18
    6962 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97010    10.00
    6963 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   4/29/2016   97012    31.90
    6964 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    99204   333.26
    6965 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    6966 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    6967 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    6968 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    6969 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    6970 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97535    68.56
    6971 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    6972 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    6973 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    6974 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    6975 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    6976 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    6977 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    6978 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    6979 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    6980 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    6981 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    6982 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    6983 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    6984 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    6985 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    6986 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    6987 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97110    63.30
    6988 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    6989 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    6990 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    6991 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    6992 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    6993 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    6994 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    6995 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    6996 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    6997 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    6998 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    6999 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7000 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    7001 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7002 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7003 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7004 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7005 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97110    63.30
    7006 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7007 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7008 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7009 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7010 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7011 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    7012 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7013 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7014 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7015 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7016 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97110    63.30
    7017 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7018 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7019 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7020 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7021 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7022 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7023 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    7024 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    99204   333.26
    7025 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7026 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7027 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7028 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7029 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7030 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97535    68.56
    7031 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7032 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7033 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7034 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7035 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7036 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    7037 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7038 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7039 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7040 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7041 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7042 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    7043 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7044 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7045 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7046 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7047 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7048 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97110    63.30
    7049 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
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    7050 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7051 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7052 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7053 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7054 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97530    64.18
    7055 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7056 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7057 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7058 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7059 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7060 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97530    64.18
    7061 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7062 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7063 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7064 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7065 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7066 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97530    64.18
    7067 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7068 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7069 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7070 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7071 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97110    63.30
    7072 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7073 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7074 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7075 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7076 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7077 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97110    63.30
    7078 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7079 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7080 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7081 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7082 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7083 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7084 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97530    64.18
    7085 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7086 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7087 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7088 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7089 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97110    63.30
    7090 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7091 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7092 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7093 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7094 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7095 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7096 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97530    64.18
    7097 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7098 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97110    63.30
    7099 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7100 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7101 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7102 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7103 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7104 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97110    63.30
    7105 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7106 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7107 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7108 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7109 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7110 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7111 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97530    64.18
    7112 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7113 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7114 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7115 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7116 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7117 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97530    64.18
    7118 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7119 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7120 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7121 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7122 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97110    63.30
    7123 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7124 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7125 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7126 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7127 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7128 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7129 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97530    64.18
    7130 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   99204   333.26
    7131 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7132 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7133 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7134 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7135 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7136 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97535    68.56
    7137 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
    7138 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97012    31.90
    7139 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   G0283    27.14
    7140 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97035    25.22
    7141 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97140   118.60
    7142 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97530    64.18
    7143 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   5/9/2016   97010    10.00
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    7144 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7145 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7146 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7147 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7148 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    7149 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7150 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7151 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7152 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7153 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7154 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    7155 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7156 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7157 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7158 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7159 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97110    63.30
    7160 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7161 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7162 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7163 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7164 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7165 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7166 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    7167 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7168 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7169 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7170 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7171 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7172 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    7173 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7174 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7175 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7176 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7177 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97110    63.30
    7178 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7179 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7180 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7181 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7182 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7183 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7184 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97530    64.18
    7185 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7186 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7187 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7188 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7189 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97110    63.30
    7190 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97140   118.60
    7191 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97010    10.00
    7192 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97012    31.90
    7193 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    G0283    27.14
    7194 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/9/2016    97035    25.22
    7195 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7196 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7197 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7198 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7199 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97530    64.18
    7200 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7201 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7202 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7203 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7204 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97110    63.30
    7205 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7206 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7207 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7208 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7209 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7210 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97110    63.30
    7211 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7212 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7213 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7214 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7215 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7216 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7217 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97530    64.18
    7218 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   99204   333.26
    7219 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97010    10.00
    7220 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97012    31.90
    7221 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   G0283    27.14
    7222 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97035    25.22
    7223 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97110    63.30
    7224 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97140   118.60
    7225 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97010    10.00
    7226 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97012    31.90
    7227 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   G0283    27.14
    7228 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97035    25.22
    7229 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97140   118.60
    7230 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97530    64.18
    7231 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97010    10.00
    7232 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97012    31.90
    7233 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   G0283    27.14
    7234 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97035    25.22
    7235 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97110    63.30
    7236 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97140   118.60
    7237 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97010    10.00
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    7238 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97012    31.90
    7239 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   G0283    27.14
    7240 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97035    25.22
    7241 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97110    63.30
    7242 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97140   118.60
    7243 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97010    10.00
    7244 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97012    31.90
    7245 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   G0283    27.14
    7246 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97035    25.22
    7247 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97140   118.60
    7248 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97530    64.18
    7249 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97010    10.00
    7250 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97012    31.90
    7251 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   G0283    27.14
    7252 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97035    25.22
    7253 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97110    63.30
    7254 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97140   118.60
    7255 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97010    10.00
    7256 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97012    31.90
    7257 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   G0283    27.14
    7258 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97035    25.22
    7259 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97110    63.30
    7260 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97140   118.60
    7261 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97010    10.00
    7262 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97012    31.90
    7263 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   G0283    27.14
    7264 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97035    25.22
    7265 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97140   118.60
    7266 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97530    64.18
    7267 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97010    10.00
    7268 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97012    31.90
    7269 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   G0283    27.14
    7270 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97035    25.22
    7271 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97140   118.60
    7272 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97530    64.18
    7273 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97010    10.00
    7274 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97012    31.90
    7275 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   G0283    27.14
    7276 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97035    25.22
    7277 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97110    63.30
    7278 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   5/16/2016   97140   118.60
    7279 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97010    10.00
    7280 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97012    31.90
    7281 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   G0283    27.14
    7282 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97035    25.22
    7283 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97140   118.60
    7284 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97530    64.18
    7285 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97010    10.00
    7286 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97012    31.90
    7287 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   G0283    27.14
    7288 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97035    25.22
    7289 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97140   118.60
    7290 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97530    64.18
    7291 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97010    10.00
    7292 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97012    31.90
    7293 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   G0283    27.14
    7294 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97035    25.22
    7295 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97110    63.30
    7296 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97140   118.60
    7297 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97010    10.00
    7298 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97012    31.90
    7299 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   G0283    27.14
    7300 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97035    25.22
    7301 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97110    63.30
    7302 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97140   118.60
    7303 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97010    10.00
    7304 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97012    31.90
    7305 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   G0283    27.14
    7306 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97035    25.22
    7307 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97140   118.60
    7308 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97530    64.18
    7309 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97010    10.00
    7310 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97012    31.90
    7311 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   G0283    27.14
    7312 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97035    25.22
    7313 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97110    63.30
    7314 Himes Walk In Clinic, LLC   0425297150101045   2/10/2016   Bill   5/16/2016   97140   118.60
    7315 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   99213   145.86
    7316 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   98941    73.98
    7317 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7318 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7319 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7320 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7321 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7322 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97530    64.18
    7323 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7324 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7325 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7326 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7327 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97110    63.30
    7328 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7329 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7330 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7331 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
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    7332 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7333 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7334 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97530    64.18
    7335 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7336 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7337 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7338 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7339 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97110    63.30
    7340 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7341 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7342 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7343 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7344 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7345 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7346 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97530    64.18
    7347 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7348 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7349 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7350 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7351 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7352 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97530    64.18
    7353 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7354 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7355 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7356 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7357 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7358 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97530    64.18
    7359 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7360 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7361 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7362 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7363 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97110    63.30
    7364 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7365 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7366 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7367 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7368 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7369 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97530    64.18
    7370 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7371 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7372 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7373 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7374 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97110    63.30
    7375 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7376 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7377 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7378 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7379 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7380 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7381 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97530    64.18
    7382 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7383 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7384 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7385 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7386 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7387 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97530    64.18
    7388 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7389 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7390 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7391 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7392 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97110    63.30
    7393 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7394 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7395 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7396 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7397 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7398 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97110    63.30
    7399 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7400 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7401 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7402 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   G0283    27.14
    7403 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97035    25.22
    7404 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97140   118.60
    7405 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97530    64.18
    7406 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   99213   145.86
    7407 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   98941    73.98
    7408 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7409 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7410 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7411 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7412 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97110    63.30
    7413 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7414 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7415 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7416 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7417 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7418 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7419 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97530    64.18
    7420 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7421 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7422 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7423 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7424 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97110    63.30
    7425 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
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    7426 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7427 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7428 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7429 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7430 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7431 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97530    64.18
    7432 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7433 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7434 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7435 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7436 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97110    63.30
    7437 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7438 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7439 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7440 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7441 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7442 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97110    63.30
    7443 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7444 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7445 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7446 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7447 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7448 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7449 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97530    64.18
    7450 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97010    10.00
    7451 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97012    31.90
    7452 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   G0283    27.14
    7453 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97035    25.22
    7454 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97140   118.60
    7455 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   5/16/2016   97530    64.18
    7456 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97010    10.00
    7457 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/16/2016   97012    31.90
    7458 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97010    10.00
    7459 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97012    31.90
    7460 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   G0283    27.14
    7461 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97035    25.22
    7462 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97140   118.60
    7463 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97530    64.18
    7464 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97010    10.00
    7465 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97012    31.90
    7466 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   G0283    27.14
    7467 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97035    25.22
    7468 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97110    63.30
    7469 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97140   118.60
    7470 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97010    10.00
    7471 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97012    31.90
    7472 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   G0283    27.14
    7473 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97035    25.22
    7474 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97140   118.60
    7475 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97530    64.18
    7476 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97010    10.00
    7477 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97012    31.90
    7478 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   G0283    27.14
    7479 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97035    25.22
    7480 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97110    63.30
    7481 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97140   118.60
    7482 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97010    10.00
    7483 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97012    31.90
    7484 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   G0283    27.14
    7485 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97035    25.22
    7486 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97140   118.60
    7487 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97530    64.18
    7488 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97010    10.00
    7489 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97012    31.90
    7490 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   G0283    27.14
    7491 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97035    25.22
    7492 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97110    63.30
    7493 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   5/21/2016   97140   118.60
    7494 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97012    31.90
    7495 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   G0283    27.14
    7496 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97035    25.22
    7497 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97110    63.30
    7498 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97140   118.60
    7499 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   98941    73.98
    7500 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97010    10.00
    7501 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97012    31.90
    7502 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   G0283    27.14
    7503 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97035    25.22
    7504 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97140   118.60
    7505 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97530    64.18
    7506 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97010    10.00
    7507 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97012    31.90
    7508 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   G0283    27.14
    7509 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97035    25.22
    7510 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97140   118.60
    7511 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97530    64.18
    7512 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   99204   333.26
    7513 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97010    10.00
    7514 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97012    31.90
    7515 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   G0283    27.14
    7516 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97035    25.22
    7517 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97140   118.60
    7518 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97530    64.18
    7519 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97010    10.00
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    7520 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97012    31.90
    7521 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   G0283    27.14
    7522 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97035    25.22
    7523 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97140   118.60
    7524 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97530    64.18
    7525 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97010    10.00
    7526 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97012    31.90
    7527 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   G0283    27.14
    7528 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97035    25.22
    7529 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97110    63.30
    7530 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97140   118.60
    7531 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97010    10.00
    7532 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97012    31.90
    7533 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   G0283    27.14
    7534 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97035    25.22
    7535 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97140   118.60
    7536 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97530    64.18
    7537 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97010    10.00
    7538 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97012    31.90
    7539 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   G0283    27.14
    7540 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97035    25.22
    7541 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97110    63.30
    7542 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97140   118.60
    7543 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97010    10.00
    7544 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97012    31.90
    7545 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   G0283    27.14
    7546 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97035    25.22
    7547 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97140   118.60
    7548 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97530    64.18
    7549 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97010    10.00
    7550 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97012    31.90
    7551 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   G0283    27.14
    7552 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97035    25.22
    7553 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97140   118.60
    7554 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97530    64.18
    7555 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   5/23/2016   97010    10.00
    7556 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016    97140   118.60
    7557 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016    97530    64.18
    7558 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016    97010    10.00
    7559 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016    97012    31.90
    7560 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016    G0283    27.14
    7561 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016    97035    25.22
    7562 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016    97110    63.30
    7563 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016    97140   118.60
    7564 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97010    10.00
    7565 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97012    31.90
    7566 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    G0283    27.14
    7567 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97035    25.22
    7568 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97110    63.30
    7569 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97140   118.60
    7570 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97010    10.00
    7571 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97012    31.90
    7572 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    G0283    27.14
    7573 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97035    25.22
    7574 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97140   118.60
    7575 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97530    64.18
    7576 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97010    10.00
    7577 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97012    31.90
    7578 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    G0283    27.14
    7579 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97035    25.22
    7580 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97140   118.60
    7581 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016    97530    64.18
    7582 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97010    10.00
    7583 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97012    31.90
    7584 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    G0283    27.14
    7585 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97035    25.22
    7586 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97110    63.30
    7587 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97140   118.60
    7588 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97010    10.00
    7589 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97012    31.90
    7590 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    G0283    27.14
    7591 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97035    25.22
    7592 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97140   118.60
    7593 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97530    64.18
    7594 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97010    10.00
    7595 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97012    31.90
    7596 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    G0283    27.14
    7597 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97035    25.22
    7598 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97110    63.30
    7599 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97140   118.60
    7600 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97010    10.00
    7601 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97012    31.90
    7602 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    G0283    27.14
    7603 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97035    25.22
    7604 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97110    63.30
    7605 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97140   118.60
    7606 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97010    10.00
    7607 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97012    31.90
    7608 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    G0283    27.14
    7609 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97035    25.22
    7610 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97140   118.60
    7611 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97530    64.18
    7612 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97010    10.00
    7613 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016    97012    31.90
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    7614 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7615 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7616 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7617 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97530    64.18
    7618 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7619 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7620 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7621 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7622 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7623 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97530    64.18
    7624 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   99213   145.86
    7625 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   99213   145.86
    7626 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7627 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7628 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7629 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7630 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97110    63.30
    7631 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7632 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7633 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7634 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7635 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7636 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7637 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97530    64.18
    7638 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7639 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7640 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7641 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7642 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97110    63.30
    7643 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7644 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7645 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7646 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7647 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7648 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7649 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97530    64.18
    7650 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7651 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7652 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7653 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7654 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97110    63.30
    7655 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97010    10.00
    7656 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97012    31.90
    7657 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   G0283    27.14
    7658 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97035    25.22
    7659 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97140   118.60
    7660 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97530    64.18
    7661 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97010    10.00
    7662 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97012    31.90
    7663 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   G0283    27.14
    7664 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97035    25.22
    7665 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97110    63.30
    7666 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97140   118.60
    7667 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97010    10.00
    7668 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97012    31.90
    7669 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   G0283    27.14
    7670 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97035    25.22
    7671 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97140   118.60
    7672 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97530    64.18
    7673 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97010    10.00
    7674 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97012    31.90
    7675 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   G0283    27.14
    7676 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97035    25.22
    7677 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97110    63.30
    7678 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/2/2016   97140   118.60
    7679 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97010    10.00
    7680 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97012    31.90
    7681 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   G0283    27.14
    7682 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97035    25.22
    7683 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97110    63.30
    7684 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97140   118.60
    7685 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97010    10.00
    7686 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97012    31.90
    7687 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   G0283    27.14
    7688 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97035    25.22
    7689 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97140   118.60
    7690 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97530    64.18
    7691 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97010    10.00
    7692 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97012    31.90
    7693 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   G0283    27.14
    7694 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97035    25.22
    7695 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97110    63.30
    7696 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/2/2016   97140   118.60
    7697 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97010    10.00
    7698 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97012    31.90
    7699 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   G0283    27.14
    7700 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97035    25.22
    7701 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97140   118.60
    7702 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97530    64.18
    7703 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97010    10.00
    7704 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97012    31.90
    7705 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   G0283    27.14
    7706 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97035    25.22
    7707 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97110    63.30
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    7708 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97140   118.60
    7709 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97010    10.00
    7710 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97012    31.90
    7711 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   G0283    27.14
    7712 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97035    25.22
    7713 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97140   118.60
    7714 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97530    64.18
    7715 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97010    10.00
    7716 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97012    31.90
    7717 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   G0283    27.14
    7718 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97035    25.22
    7719 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97140   118.60
    7720 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97530    64.18
    7721 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97010    10.00
    7722 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97012    31.90
    7723 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   G0283    27.14
    7724 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97035    25.22
    7725 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97140   118.60
    7726 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97530    64.18
    7727 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97010    10.00
    7728 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97012    31.90
    7729 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   G0283    27.14
    7730 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97035    25.22
    7731 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97110    63.30
    7732 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97140   118.60
    7733 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97010    10.00
    7734 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97012    31.90
    7735 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   G0283    27.14
    7736 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/2/2016   97035    25.22
    7737 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7738 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7739 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7740 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7741 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7742 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7743 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97530    64.18
    7744 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7745 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7746 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7747 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7748 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7749 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97530    64.18
    7750 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   99213   145.86
    7751 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7752 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7753 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7754 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7755 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7756 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97530    64.18
    7757 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7758 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7759 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7760 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7761 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7762 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97530    64.18
    7763 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7764 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7765 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7766 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7767 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97110    63.30
    7768 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7769 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7770 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7771 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7772 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7773 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97110    63.30
    7774 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7775 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7776 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7777 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7778 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7779 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7780 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97530    64.18
    7781 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7782 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7783 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7784 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7785 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7786 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97530    64.18
    7787 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97010    10.00
    7788 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97012    31.90
    7789 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   G0283    27.14
    7790 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97035    25.22
    7791 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97110    63.30
    7792 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/2/2016   97140   118.60
    7793 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016   97035    25.22
    7794 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016   97110    63.30
    7795 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016   97140   118.60
    7796 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016   97010    10.00
    7797 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016   97012    31.90
    7798 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016   G0283    27.14
    7799 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016   97035    25.22
    7800 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016   97140   118.60
    7801 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016   97530    64.18
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    7802 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   97010    10.00
    7803 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   97012    31.90
    7804 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   G0283    27.14
    7805 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   97035    25.22
    7806 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   97110    63.30
    7807 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   97140   118.60
    7808 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97010    10.00
    7809 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97012    31.90
    7810 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   G0283    27.14
    7811 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97035    25.22
    7812 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97110    63.30
    7813 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97140   118.60
    7814 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97010    10.00
    7815 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97012    31.90
    7816 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   G0283    27.14
    7817 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97035    25.22
    7818 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97140   118.60
    7819 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97530    64.18
    7820 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97010    10.00
    7821 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97012    31.90
    7822 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   G0283    27.14
    7823 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97035    25.22
    7824 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97140   118.60
    7825 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97530    64.18
    7826 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97010    10.00
    7827 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97012    31.90
    7828 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   G0283    27.14
    7829 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97035    25.22
    7830 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97140   118.60
    7831 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97530    64.18
    7832 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97010    10.00
    7833 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97012    31.90
    7834 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   G0283    27.14
    7835 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97035    25.22
    7836 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97110    63.30
    7837 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97140   118.60
    7838 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97010    10.00
    7839 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97012    31.90
    7840 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   G0283    27.14
    7841 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97035    25.22
    7842 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97140   118.60
    7843 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97530    64.18
    7844 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97010    10.00
    7845 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97012    31.90
    7846 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   G0283    27.14
    7847 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97035    25.22
    7848 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97140   118.60
    7849 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97530    64.18
    7850 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97010    10.00
    7851 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97012    31.90
    7852 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   G0283    27.14
    7853 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97035    25.22
    7854 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97110    63.30
    7855 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97140   118.60
    7856 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97010    10.00
    7857 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97012    31.90
    7858 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   G0283    27.14
    7859 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97035    25.22
    7860 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97140   118.60
    7861 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016   Bill   6/6/2016   97530    64.18
    7862 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97035    25.22
    7863 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97140   118.60
    7864 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97530    64.18
    7865 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97010    10.00
    7866 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97012    31.90
    7867 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   G0283    27.14
    7868 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97035    25.22
    7869 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97110    63.30
    7870 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97140   118.60
    7871 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97010    10.00
    7872 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97012    31.90
    7873 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   G0283    27.14
    7874 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97035    25.22
    7875 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97140   118.60
    7876 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97530    64.18
    7877 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97010    10.00
    7878 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97012    31.90
    7879 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   G0283    27.14
    7880 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97035    25.22
    7881 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97110    63.30
    7882 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97140   118.60
    7883 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97010    10.00
    7884 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97012    31.90
    7885 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   G0283    27.14
    7886 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97035    25.22
    7887 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97140   118.60
    7888 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   6/6/2016   97530    64.18
    7889 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   99204   333.26
    7890 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   97010    10.00
    7891 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   97012    31.90
    7892 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   G0283    27.14
    7893 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   97035    25.22
    7894 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   97140   118.60
    7895 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016   Bill   6/6/2016   97535    68.56
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    7896 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97010    10.00
    7897 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97012    31.90
    7898 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    G0283    27.14
    7899 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97035    25.22
    7900 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97140   118.60
    7901 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97530    64.18
    7902 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97010    10.00
    7903 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97012    31.90
    7904 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    G0283    27.14
    7905 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97035    25.22
    7906 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97140   118.60
    7907 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97530    64.18
    7908 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97010    10.00
    7909 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97012    31.90
    7910 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    G0283    27.14
    7911 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97035    25.22
    7912 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97110    63.30
    7913 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97140   118.60
    7914 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97010    10.00
    7915 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97012    31.90
    7916 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    G0283    27.14
    7917 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97035    25.22
    7918 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97110    63.30
    7919 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97140   118.60
    7920 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97010    10.00
    7921 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97012    31.90
    7922 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    G0283    27.14
    7923 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97035    25.22
    7924 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97140   118.60
    7925 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97530    64.18
    7926 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97010    10.00
    7927 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97012    31.90
    7928 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    G0283    27.14
    7929 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97035    25.22
    7930 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97140   118.60
    7931 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97530    64.18
    7932 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97010    10.00
    7933 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97012    31.90
    7934 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    G0283    27.14
    7935 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97035    25.22
    7936 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97140   118.60
    7937 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97530    64.18
    7938 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97010    10.00
    7939 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97012    31.90
    7940 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    G0283    27.14
    7941 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97035    25.22
    7942 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97140   118.60
    7943 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97530    64.18
    7944 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97010    10.00
    7945 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    97012    31.90
    7946 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   6/6/2016    G0283    27.14
    7947 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    99204   333.26
    7948 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97010    10.00
    7949 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97012    31.90
    7950 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    G0283    27.14
    7951 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97035    25.22
    7952 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97140   118.60
    7953 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97535    68.56
    7954 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97010    10.00
    7955 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97012    31.90
    7956 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    G0283    27.14
    7957 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97035    25.22
    7958 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97140   118.60
    7959 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97530    64.18
    7960 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97010    10.00
    7961 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97012    31.90
    7962 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    G0283    27.14
    7963 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97035    25.22
    7964 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97140   118.60
    7965 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97530    64.18
    7966 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97010    10.00
    7967 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97012    31.90
    7968 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    G0283    27.14
    7969 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97035    25.22
    7970 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97110    63.30
    7971 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97140   118.60
    7972 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97010    10.00
    7973 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97012    31.90
    7974 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    G0283    27.14
    7975 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97035    25.22
    7976 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97110    63.30
    7977 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97140   118.60
    7978 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97010    10.00
    7979 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    97012    31.90
    7980 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/6/2016    G0283    27.14
    7981 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    7982 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    7983 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    7984 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    7985 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    7986 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97530    64.18
    7987 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    7988 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    7989 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
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    7990 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    7991 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97110    63.30
    7992 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    7993 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    7994 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    7995 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    7996 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    7997 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    7998 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97530    64.18
    7999 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    8000 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    8001 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    8002 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    8003 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97110    63.30
    8004 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    8005 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    8006 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    8007 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    8008 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    8009 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97110    63.30
    8010 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    8011 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    8012 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    8013 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    8014 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    8015 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97110    63.30
    8016 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    8017 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   98941    73.98
    8018 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97010    10.00
    8019 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97012    31.90
    8020 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   G0283    27.14
    8021 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97035    25.22
    8022 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97140   118.60
    8023 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97530    64.18
    8024 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97010    10.00
    8025 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97012    31.90
    8026 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   G0283    27.14
    8027 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97035    25.22
    8028 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97110    63.30
    8029 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97140   118.60
    8030 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97010    10.00
    8031 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97012    31.90
    8032 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   G0283    27.14
    8033 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97035    25.22
    8034 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97140   118.60
    8035 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/15/2016   97530    64.18
    8036 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97530    64.18
    8037 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   98941    73.98
    8038 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    8039 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    8040 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    8041 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    8042 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    8043 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97530    64.18
    8044 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    8045 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    8046 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    8047 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    8048 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97110    63.30
    8049 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    8050 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    8051 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    8052 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    8053 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    8054 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97110    63.30
    8055 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    8056 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    8057 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    8058 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    8059 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    8060 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    8061 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97530    64.18
    8062 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    8063 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    8064 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    8065 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    8066 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97110    63.30
    8067 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    8068 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97010    10.00
    8069 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97012    31.90
    8070 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   G0283    27.14
    8071 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97035    25.22
    8072 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97140   118.60
    8073 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/15/2016   97530    64.18
    8074 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97010    10.00
    8075 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97012    31.90
    8076 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   G0283    27.14
    8077 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97035    25.22
    8078 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97140   118.60
    8079 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97530    64.18
    8080 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97010    10.00
    8081 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97012    31.90
    8082 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   G0283    27.14
    8083 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97035    25.22
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    8084 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97110    63.30
    8085 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97140   118.60
    8086 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97010    10.00
    8087 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97012    31.90
    8088 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   G0283    27.14
    8089 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97035    25.22
    8090 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97140   118.60
    8091 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97530    64.18
    8092 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97010    10.00
    8093 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97012    31.90
    8094 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   G0283    27.14
    8095 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97035    25.22
    8096 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97140   118.60
    8097 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97530    64.18
    8098 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97010    10.00
    8099 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97012    31.90
    8100 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   G0283    27.14
    8101 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97035    25.22
    8102 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97110    63.30
    8103 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97140   118.60
    8104 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97010    10.00
    8105 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97012    31.90
    8106 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   G0283    27.14
    8107 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97035    25.22
    8108 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97110    63.30
    8109 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97140   118.60
    8110 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97010    10.00
    8111 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97012    31.90
    8112 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   G0283    27.14
    8113 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97035    25.22
    8114 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97140   118.60
    8115 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97530    64.18
    8116 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97010    10.00
    8117 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97012    31.90
    8118 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   G0283    27.14
    8119 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97035    25.22
    8120 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97110    63.30
    8121 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97140   118.60
    8122 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97010    10.00
    8123 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97012    31.90
    8124 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   G0283    27.14
    8125 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97035    25.22
    8126 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97140   118.60
    8127 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/15/2016   97530    64.18
    8128 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97010    10.00
    8129 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97012    31.90
    8130 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   G0283    27.14
    8131 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97035    25.22
    8132 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97140   118.60
    8133 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97530    64.18
    8134 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97010    10.00
    8135 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97012    31.90
    8136 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   G0283    27.14
    8137 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97035    25.22
    8138 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97110    63.30
    8139 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97140   118.60
    8140 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97010    10.00
    8141 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97012    31.90
    8142 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   G0283    27.14
    8143 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97035    25.22
    8144 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97140   118.60
    8145 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97530    64.18
    8146 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97010    10.00
    8147 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97012    31.90
    8148 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   G0283    27.14
    8149 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97035    25.22
    8150 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97110    63.30
    8151 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97140   118.60
    8152 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97010    10.00
    8153 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97012    31.90
    8154 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   G0283    27.14
    8155 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97035    25.22
    8156 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97140   118.60
    8157 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97530    64.18
    8158 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97010    10.00
    8159 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97012    31.90
    8160 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   G0283    27.14
    8161 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97035    25.22
    8162 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97110    63.30
    8163 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   97140   118.60
    8164 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   99213   145.86
    8165 Himes Walk In Clinic, LLC   0489951670101058   4/18/2016   Bill   6/15/2016   98941    73.98
    8166 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97010    10.00
    8167 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97012    31.90
    8168 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   G0283    27.14
    8169 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97035    25.22
    8170 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97140   118.60
    8171 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97530    64.18
    8172 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97010    10.00
    8173 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97012    31.90
    8174 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   G0283    27.14
    8175 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97035    25.22
    8176 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97110    63.30
    8177 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97140   118.60
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    8178 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97010    10.00
    8179 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97012    31.90
    8180 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   G0283    27.14
    8181 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97035    25.22
    8182 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97110    63.30
    8183 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97140   118.60
    8184 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97010    10.00
    8185 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97012    31.90
    8186 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   G0283    27.14
    8187 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97035    25.22
    8188 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97110    63.30
    8189 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97140   118.60
    8190 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97010    10.00
    8191 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97012    31.90
    8192 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   G0283    27.14
    8193 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97035    25.22
    8194 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/15/2016   97140   118.60
    8195 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97010    10.00
    8196 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97012    31.90
    8197 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   G0283    27.14
    8198 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97035    25.22
    8199 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97140   118.60
    8200 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97530    64.18
    8201 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97010    10.00
    8202 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97012    31.90
    8203 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   G0283    27.14
    8204 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97035    25.22
    8205 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97140   118.60
    8206 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97530    64.18
    8207 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97010    10.00
    8208 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97012    31.90
    8209 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   G0283    27.14
    8210 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97035    25.22
    8211 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97110    63.30
    8212 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97140   118.60
    8213 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97010    10.00
    8214 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97012    31.90
    8215 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   G0283    27.14
    8216 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97035    25.22
    8217 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97110    63.30
    8218 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   97140   118.60
    8219 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/18/2016   99213   145.86
    8220 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97035    25.22
    8221 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97110    63.30
    8222 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97140   118.60
    8223 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97010    10.00
    8224 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97012    31.90
    8225 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   G0283    27.14
    8226 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97035    25.22
    8227 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97140   118.60
    8228 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97530    64.18
    8229 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   99213   145.86
    8230 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   98941    73.98
    8231 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97010    10.00
    8232 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97012    31.90
    8233 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   G0283    27.14
    8234 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97035    25.22
    8235 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97140   118.60
    8236 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97530    64.18
    8237 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97010    10.00
    8238 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97012    31.90
    8239 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   G0283    27.14
    8240 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97035    25.22
    8241 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97110    63.30
    8242 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97140   118.60
    8243 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97010    10.00
    8244 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97012    31.90
    8245 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   G0283    27.14
    8246 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97035    25.22
    8247 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97140   118.60
    8248 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97530    64.18
    8249 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   99213   145.86
    8250 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   98941    73.98
    8251 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97010    10.00
    8252 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97012    31.90
    8253 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   G0283    27.14
    8254 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97035    25.22
    8255 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97140   118.60
    8256 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97530    64.18
    8257 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97010    10.00
    8258 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   97012    31.90
    8259 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/18/2016   G0283    27.14
    8260 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   G0283    27.14
    8261 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97035    25.22
    8262 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97140   118.60
    8263 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97530    64.18
    8264 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97010    10.00
    8265 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97012    31.90
    8266 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   G0283    27.14
    8267 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97035    25.22
    8268 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97140   118.60
    8269 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97530    64.18
    8270 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97010    10.00
    8271 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97012    31.90
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    8272 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   G0283    27.14
    8273 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97035    25.22
    8274 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97110    63.30
    8275 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97140   118.60
    8276 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97010    10.00
    8277 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97012    31.90
    8278 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   G0283    27.14
    8279 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97035    25.22
    8280 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97140   118.60
    8281 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97530    64.18
    8282 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97010    10.00
    8283 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97012    31.90
    8284 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   G0283    27.14
    8285 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97035    25.22
    8286 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97110    63.30
    8287 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97140   118.60
    8288 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97010    10.00
    8289 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97012    31.90
    8290 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   G0283    27.14
    8291 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97035    25.22
    8292 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97140   118.60
    8293 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97530    64.18
    8294 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97010    10.00
    8295 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97012    31.90
    8296 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   G0283    27.14
    8297 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97035    25.22
    8298 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97110    63.30
    8299 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97140   118.60
    8300 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   99213   145.86
    8301 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97010    10.00
    8302 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97012    31.90
    8303 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   G0283    27.14
    8304 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97035    25.22
    8305 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97140   118.60
    8306 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97530    64.18
    8307 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97010    10.00
    8308 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97012    31.90
    8309 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   G0283    27.14
    8310 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97035    25.22
    8311 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97110    63.30
    8312 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97140   118.60
    8313 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97010    10.00
    8314 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97012    31.90
    8315 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   G0283    27.14
    8316 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97035    25.22
    8317 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97140   118.60
    8318 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97530    64.18
    8319 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97010    10.00
    8320 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97012    31.90
    8321 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   G0283    27.14
    8322 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97035    25.22
    8323 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97140   118.60
    8324 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97530    64.18
    8325 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   98941    73.98
    8326 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8327 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8328 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8329 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8330 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8331 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97530    64.18
    8332 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8333 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8334 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8335 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8336 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97110    63.30
    8337 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8338 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8339 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8340 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8341 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8342 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97110    63.30
    8343 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8344 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8345 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8346 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8347 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8348 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8349 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97530    64.18
    8350 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8351 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8352 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8353 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8354 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97110    63.30
    8355 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8356 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8357 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8358 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8359 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8360 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8361 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97530    64.18
    8362 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8363 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8364 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8365 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
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    8366 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8367 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97530    64.18
    8368 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8369 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8370 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8371 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8372 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97110    63.30
    8373 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8374 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8375 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8376 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8377 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8378 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8379 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97530    64.18
    8380 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8381 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8382 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8383 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8384 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97110    63.30
    8385 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8386 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97010    10.00
    8387 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97012    31.90
    8388 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   G0283    27.14
    8389 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97035    25.22
    8390 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97140   118.60
    8391 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97530    64.18
    8392 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97010    10.00
    8393 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97012    31.90
    8394 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   G0283    27.14
    8395 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97035    25.22
    8396 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97140   118.60
    8397 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97530    64.18
    8398 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97010    10.00
    8399 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97012    31.90
    8400 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   G0283    27.14
    8401 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97035    25.22
    8402 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97110    63.30
    8403 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   6/27/2016   97140   118.60
    8404 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97010    10.00
    8405 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   6/27/2016   97012    31.90
    8406 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97010    10.00
    8407 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97012    31.90
    8408 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   G0283    27.14
    8409 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97035    25.22
    8410 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97110    63.30
    8411 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97140   118.60
    8412 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97010    10.00
    8413 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97012    31.90
    8414 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   G0283    27.14
    8415 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97035    25.22
    8416 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97140   118.60
    8417 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97530    64.18
    8418 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97010    10.00
    8419 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97012    31.90
    8420 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   G0283    27.14
    8421 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97035    25.22
    8422 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97140   118.60
    8423 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   6/27/2016   97530    64.18
    8424 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8425 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8426 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8427 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8428 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97110    63.30
    8429 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8430 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8431 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8432 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8433 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8434 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8435 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97530    64.18
    8436 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8437 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8438 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8439 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8440 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97110    63.30
    8441 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8442 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8443 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8444 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8445 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8446 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8447 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97530    64.18
    8448 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97010    10.00
    8449 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97012    31.90
    8450 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   G0283    27.14
    8451 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97035    25.22
    8452 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97140   118.60
    8453 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   6/27/2016   97530    64.18
    8454 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016    97012    31.90
    8455 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016    G0283    27.14
    8456 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016    97035    25.22
    8457 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016    97140   118.60
    8458 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016    97530    64.18
    8459 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016    97010    10.00
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    8460 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   97012    31.90
    8461 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   G0283    27.14
    8462 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   97035    25.22
    8463 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   97110    63.30
    8464 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   97140   118.60
    8465 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   97010    10.00
    8466 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   97012    31.90
    8467 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   G0283    27.14
    8468 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   97035    25.22
    8469 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   97140   118.60
    8470 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   97530    64.18
    8471 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97010    10.00
    8472 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97012    31.90
    8473 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   G0283    27.14
    8474 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97035    25.22
    8475 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97110    63.30
    8476 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97140   118.60
    8477 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97010    10.00
    8478 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97012    31.90
    8479 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   G0283    27.14
    8480 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97035    25.22
    8481 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97140   118.60
    8482 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97530    64.18
    8483 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97010    10.00
    8484 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97012    31.90
    8485 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   G0283    27.14
    8486 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97035    25.22
    8487 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97110    63.30
    8488 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/2/2016   97140   118.60
    8489 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97010    10.00
    8490 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97012    31.90
    8491 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   G0283    27.14
    8492 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97035    25.22
    8493 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97140   118.60
    8494 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97530    64.18
    8495 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97010    10.00
    8496 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97012    31.90
    8497 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   G0283    27.14
    8498 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97035    25.22
    8499 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97140   118.60
    8500 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97530    64.18
    8501 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97010    10.00
    8502 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97012    31.90
    8503 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   G0283    27.14
    8504 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97035    25.22
    8505 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97110    63.30
    8506 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97140   118.60
    8507 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97010    10.00
    8508 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97012    31.90
    8509 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   G0283    27.14
    8510 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97035    25.22
    8511 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97110    63.30
    8512 Himes Walk In Clinic, LLC   0409149720101049   4/9/2016    Bill   7/2/2016   97140   118.60
    8513 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97010    10.00
    8514 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97012    31.90
    8515 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   G0283    27.14
    8516 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97035    25.22
    8517 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97110    63.30
    8518 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97140   118.60
    8519 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97010    10.00
    8520 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97012    31.90
    8521 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   G0283    27.14
    8522 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97035    25.22
    8523 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97140   118.60
    8524 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97530    64.18
    8525 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97010    10.00
    8526 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97012    31.90
    8527 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   G0283    27.14
    8528 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97035    25.22
    8529 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97140   118.60
    8530 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97530    64.18
    8531 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97010    10.00
    8532 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97012    31.90
    8533 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   G0283    27.14
    8534 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97035    25.22
    8535 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97140   118.60
    8536 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97530    64.18
    8537 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97010    10.00
    8538 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97012    31.90
    8539 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   G0283    27.14
    8540 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97035    25.22
    8541 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97110    63.30
    8542 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97140   118.60
    8543 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97010    10.00
    8544 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97012    31.90
    8545 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   G0283    27.14
    8546 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97035    25.22
    8547 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97140   118.60
    8548 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/2/2016   97530    64.18
    8549 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/2/2016   97010    10.00
    8550 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/5/2016   G0283    27.14
    8551 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/5/2016   97035    25.22
    8552 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/5/2016   97140   118.60
    8553 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/5/2016   97530    64.18
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    8554 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97010    10.00
    8555 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97012    31.90
    8556 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   G0283    27.14
    8557 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97035    25.22
    8558 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97140   118.60
    8559 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97530    64.18
    8560 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97010    10.00
    8561 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97012    31.90
    8562 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   G0283    27.14
    8563 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97035    25.22
    8564 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97110    63.30
    8565 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97140   118.60
    8566 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97010    10.00
    8567 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97012    31.90
    8568 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   G0283    27.14
    8569 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97035    25.22
    8570 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97110    63.30
    8571 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97140   118.60
    8572 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97010    10.00
    8573 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97012    31.90
    8574 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   G0283    27.14
    8575 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97035    25.22
    8576 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97140   118.60
    8577 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97530    64.18
    8578 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97010    10.00
    8579 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97012    31.90
    8580 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   G0283    27.14
    8581 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97035    25.22
    8582 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97140   118.60
    8583 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97530    64.18
    8584 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97010    10.00
    8585 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97012    31.90
    8586 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   G0283    27.14
    8587 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97035    25.22
    8588 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97110    63.30
    8589 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97140   118.60
    8590 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97010    10.00
    8591 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97012    31.90
    8592 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   G0283    27.14
    8593 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97035    25.22
    8594 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97140   118.60
    8595 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97530    64.18
    8596 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97010    10.00
    8597 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97012    31.90
    8598 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   G0283    27.14
    8599 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97035    25.22
    8600 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97110    63.30
    8601 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97140   118.60
    8602 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   99211    39.20
    8603 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   99204   333.26
    8604 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97010    10.00
    8605 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97012    31.90
    8606 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   G0283    27.14
    8607 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97035    25.22
    8608 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97140   118.60
    8609 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97535    68.56
    8610 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97010    10.00
    8611 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/5/2016   97012    31.90
    8612 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97010    10.00
    8613 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97012    31.90
    8614 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   G0283    27.14
    8615 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97035    25.22
    8616 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97140   118.60
    8617 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97530    64.18
    8618 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97010    10.00
    8619 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97012    31.90
    8620 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   G0283    27.14
    8621 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97035    25.22
    8622 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97110    63.30
    8623 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97140   118.60
    8624 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97010    10.00
    8625 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97012    31.90
    8626 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   G0283    27.14
    8627 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97035    25.22
    8628 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97140   118.60
    8629 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97530    64.18
    8630 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97010    10.00
    8631 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97012    31.90
    8632 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   G0283    27.14
    8633 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97035    25.22
    8634 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97110    63.30
    8635 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97140   118.60
    8636 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97010    10.00
    8637 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97012    31.90
    8638 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   G0283    27.14
    8639 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97035    25.22
    8640 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97140   118.60
    8641 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97530    64.18
    8642 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   98941    73.98
    8643 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   99204   333.26
    8644 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97010    10.00
    8645 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97012    31.90
    8646 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   G0283    27.14
    8647 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/7/2016   97035    25.22
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 93 of 9287 PageID 227


    8648 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97140   118.60
    8649 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97535    68.56
    8650 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97010    10.00
    8651 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97012    31.90
    8652 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    G0283    27.14
    8653 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97035    25.22
    8654 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97140   118.60
    8655 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97530    64.18
    8656 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97010    10.00
    8657 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97012    31.90
    8658 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    G0283    27.14
    8659 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97035    25.22
    8660 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97140   118.60
    8661 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97530    64.18
    8662 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97010    10.00
    8663 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97012    31.90
    8664 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    G0283    27.14
    8665 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97035    25.22
    8666 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97110    63.30
    8667 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97140   118.60
    8668 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97010    10.00
    8669 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97012    31.90
    8670 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    G0283    27.14
    8671 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97035    25.22
    8672 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97110    63.30
    8673 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/7/2016    97140   118.60
    8674 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97010    10.00
    8675 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97012    31.90
    8676 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   G0283    27.14
    8677 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97035    25.22
    8678 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97140   118.60
    8679 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97530    64.18
    8680 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97010    10.00
    8681 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97012    31.90
    8682 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   G0283    27.14
    8683 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97035    25.22
    8684 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97110    63.30
    8685 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97140   118.60
    8686 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97035    25.22
    8687 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97140   118.60
    8688 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97530    64.18
    8689 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   99213   145.86
    8690 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   98941    73.98
    8691 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   99213   145.86
    8692 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97010    10.00
    8693 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97012    31.90
    8694 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   G0283    27.14
    8695 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97035    25.22
    8696 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97140   118.60
    8697 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97530    64.18
    8698 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97010    10.00
    8699 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97012    31.90
    8700 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   G0283    27.14
    8701 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97035    25.22
    8702 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97110    63.30
    8703 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97140   118.60
    8704 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97010    10.00
    8705 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97012    31.90
    8706 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   G0283    27.14
    8707 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97035    25.22
    8708 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97140   118.60
    8709 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/14/2016   97530    64.18
    8710 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97010    10.00
    8711 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97012    31.90
    8712 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   G0283    27.14
    8713 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97035    25.22
    8714 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97110    63.30
    8715 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97140   118.60
    8716 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97010    10.00
    8717 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97012    31.90
    8718 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   G0283    27.14
    8719 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97035    25.22
    8720 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97140   118.60
    8721 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97530    64.18
    8722 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97010    10.00
    8723 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97012    31.90
    8724 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   G0283    27.14
    8725 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97035    25.22
    8726 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97110    63.30
    8727 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97140   118.60
    8728 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97010    10.00
    8729 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97012    31.90
    8730 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   G0283    27.14
    8731 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97035    25.22
    8732 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97110    63.30
    8733 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97140   118.60
    8734 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97010    10.00
    8735 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97012    31.90
    8736 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   G0283    27.14
    8737 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97035    25.22
    8738 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97140   118.60
    8739 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97530    64.18
    8740 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97010    10.00
    8741 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97012    31.90
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    8742 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   G0283    27.14
    8743 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97035    25.22
    8744 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97140   118.60
    8745 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/14/2016   97530    64.18
    8746 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   99213   145.86
    8747 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97010    10.00
    8748 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97012    31.90
    8749 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   G0283    27.14
    8750 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97035    25.22
    8751 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97140   118.60
    8752 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97530    64.18
    8753 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97010    10.00
    8754 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97012    31.90
    8755 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   G0283    27.14
    8756 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97035    25.22
    8757 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97110    63.30
    8758 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97140   118.60
    8759 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97010    10.00
    8760 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97012    31.90
    8761 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   G0283    27.14
    8762 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97035    25.22
    8763 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97140   118.60
    8764 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/14/2016   97530    64.18
    8765 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97010    10.00
    8766 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97012    31.90
    8767 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   G0283    27.14
    8768 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97035    25.22
    8769 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97110    63.30
    8770 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97140   118.60
    8771 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97010    10.00
    8772 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   97012    31.90
    8773 Himes Walk In Clinic, LLC   0455788820101012   3/26/2016   Bill   7/14/2016   G0283    27.14
    8774 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97035    25.22
    8775 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97140   118.60
    8776 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97530    64.18
    8777 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97010    10.00
    8778 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97012    31.90
    8779 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   G0283    27.14
    8780 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97035    25.22
    8781 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97140   118.60
    8782 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97530    64.18
    8783 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97010    10.00
    8784 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97012    31.90
    8785 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   G0283    27.14
    8786 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97035    25.22
    8787 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97110    63.30
    8788 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97140   118.60
    8789 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8790 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8791 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8792 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8793 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8794 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97530    64.18
    8795 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8796 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8797 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8798 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8799 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97110    63.30
    8800 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8801 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8802 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8803 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8804 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8805 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8806 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97530    64.18
    8807 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8808 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8809 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8810 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8811 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97110    63.30
    8812 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8813 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8814 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8815 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8816 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8817 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8818 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97530    64.18
    8819 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8820 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8821 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8822 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8823 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97110    63.30
    8824 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8825 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8826 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8827 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8828 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8829 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8830 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97530    64.18
    8831 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97010    10.00
    8832 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97012    31.90
    8833 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   G0283    27.14
    8834 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97035    25.22
    8835 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97140   118.60
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    8836 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97530    64.18
    8837 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97010    10.00
    8838 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97012    31.90
    8839 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   G0283    27.14
    8840 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97035    25.22
    8841 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97110    63.30
    8842 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97140   118.60
    8843 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97010    10.00
    8844 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97012    31.90
    8845 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   G0283    27.14
    8846 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97035    25.22
    8847 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97140   118.60
    8848 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/18/2016   97530    64.18
    8849 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8850 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8851 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8852 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8853 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97110    63.30
    8854 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8855 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8856 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8857 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8858 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8859 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8860 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97530    64.18
    8861 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8862 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8863 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8864 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8865 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8866 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97530    64.18
    8867 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8868 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8869 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8870 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8871 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97110    63.30
    8872 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8873 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8874 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8875 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8876 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8877 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8878 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97530    64.18
    8879 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8880 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8881 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8882 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8883 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8884 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97530    64.18
    8885 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97010    10.00
    8886 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97012    31.90
    8887 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   G0283    27.14
    8888 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97035    25.22
    8889 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97140   118.60
    8890 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/18/2016   97530    64.18
    8891 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97010    10.00
    8892 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97012    31.90
    8893 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   G0283    27.14
    8894 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97035    25.22
    8895 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97110    63.30
    8896 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97140   118.60
    8897 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97010    10.00
    8898 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97012    31.90
    8899 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   G0283    27.14
    8900 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97035    25.22
    8901 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97140   118.60
    8902 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97530    64.18
    8903 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97010    10.00
    8904 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97012    31.90
    8905 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   G0283    27.14
    8906 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97035    25.22
    8907 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97140   118.60
    8908 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/18/2016   97530    64.18
    8909 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97010    10.00
    8910 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   97012    31.90
    8911 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/18/2016   G0283    27.14
    8912 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97010    10.00
    8913 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97012    31.90
    8914 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   G0283    27.14
    8915 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97035    25.22
    8916 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97140   118.60
    8917 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97530    64.18
    8918 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97010    10.00
    8919 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97012    31.90
    8920 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   G0283    27.14
    8921 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97035    25.22
    8922 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97110    63.30
    8923 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97140   118.60
    8924 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97010    10.00
    8925 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97012    31.90
    8926 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   G0283    27.14
    8927 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97035    25.22
    8928 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97110    63.30
    8929 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97140   118.60
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    8930 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97010    10.00
    8931 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97012    31.90
    8932 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   G0283    27.14
    8933 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97035    25.22
    8934 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97140   118.60
    8935 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97530    64.18
    8936 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97010    10.00
    8937 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97012    31.90
    8938 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   G0283    27.14
    8939 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97035    25.22
    8940 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97140   118.60
    8941 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97530    64.18
    8942 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97010    10.00
    8943 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97012    31.90
    8944 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   G0283    27.14
    8945 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97035    25.22
    8946 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97110    63.30
    8947 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97140   118.60
    8948 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97010    10.00
    8949 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97012    31.90
    8950 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   G0283    27.14
    8951 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97035    25.22
    8952 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97140   118.60
    8953 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97530    64.18
    8954 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97010    10.00
    8955 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97012    31.90
    8956 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   G0283    27.14
    8957 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97035    25.22
    8958 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97110    63.30
    8959 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/25/2016   97140   118.60
    8960 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97010    10.00
    8961 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97012    31.90
    8962 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   G0283    27.14
    8963 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97035    25.22
    8964 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97140   118.60
    8965 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97530    64.18
    8966 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97010    10.00
    8967 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97012    31.90
    8968 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   G0283    27.14
    8969 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97035    25.22
    8970 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97110    63.30
    8971 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97140   118.60
    8972 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97010    10.00
    8973 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97012    31.90
    8974 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   G0283    27.14
    8975 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97035    25.22
    8976 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97140   118.60
    8977 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   7/25/2016   97530    64.18
    8978 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97010    10.00
    8979 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97012    31.90
    8980 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   G0283    27.14
    8981 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97035    25.22
    8982 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97110    63.30
    8983 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97140   118.60
    8984 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97010    10.00
    8985 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97012    31.90
    8986 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   G0283    27.14
    8987 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97035    25.22
    8988 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97140   118.60
    8989 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97530    64.18
    8990 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97010    10.00
    8991 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97012    31.90
    8992 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   G0283    27.14
    8993 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97035    25.22
    8994 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97140   118.60
    8995 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   97530    64.18
    8996 Himes Walk In Clinic, LLC   0410863050101067   4/22/2016   Bill   7/25/2016   99213   145.86
    8997 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97010    10.00
    8998 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97012    31.90
    8999 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   G0283    27.14
    9000 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97035    25.22
    9001 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97110    63.30
    9002 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97140   118.60
    9003 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97010    10.00
    9004 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97012    31.90
    9005 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   G0283    27.14
    9006 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97035    25.22
    9007 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97110    63.30
    9008 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97140   118.60
    9009 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97010    10.00
    9010 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97012    31.90
    9011 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   G0283    27.14
    9012 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97035    25.22
    9013 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97140   118.60
    9014 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97530    64.18
    9015 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/30/2016   99213   145.86
    9016 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/30/2016   97010    10.00
    9017 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/30/2016   97012    31.90
    9018 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/30/2016   G0283    27.14
    9019 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/30/2016   97035    25.22
    9020 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/30/2016   97110    63.30
    9021 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/30/2016   97140   118.60
    9022 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/30/2016   97010    10.00
    9023 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   7/30/2016   97012    31.90
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 97 of 9287 PageID 231


    9024 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   G0283    27.14
    9025 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97035    25.22
    9026 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97140   118.60
    9027 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97530    64.18
    9028 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97010    10.00
    9029 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97012    31.90
    9030 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   G0283    27.14
    9031 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97035    25.22
    9032 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97140   118.60
    9033 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97530    64.18
    9034 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97010    10.00
    9035 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97012    31.90
    9036 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   G0283    27.14
    9037 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97035    25.22
    9038 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97140   118.60
    9039 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97530    64.18
    9040 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97010    10.00
    9041 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97012    31.90
    9042 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   G0283    27.14
    9043 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97035    25.22
    9044 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97140   118.60
    9045 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97530    64.18
    9046 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97010    10.00
    9047 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97012    31.90
    9048 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   G0283    27.14
    9049 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97035    25.22
    9050 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97110    63.30
    9051 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   97140   118.60
    9052 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016   Bill   7/30/2016   99213   145.86
    9053 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97010    10.00
    9054 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97012    31.90
    9055 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   G0283    27.14
    9056 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97035    25.22
    9057 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97140   118.60
    9058 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97530    64.18
    9059 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97010    10.00
    9060 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97012    31.90
    9061 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   G0283    27.14
    9062 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97035    25.22
    9063 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97110    63.30
    9064 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97140   118.60
    9065 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97010    10.00
    9066 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97012    31.90
    9067 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   G0283    27.14
    9068 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97035    25.22
    9069 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97140   118.60
    9070 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97530    64.18
    9071 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97010    10.00
    9072 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97012    31.90
    9073 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   G0283    27.14
    9074 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97035    25.22
    9075 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97140   118.60
    9076 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97530    64.18
    9077 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97010    10.00
    9078 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97012    31.90
    9079 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   G0283    27.14
    9080 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97035    25.22
    9081 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97140   118.60
    9082 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97530    64.18
    9083 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97010    10.00
    9084 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97012    31.90
    9085 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   G0283    27.14
    9086 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97035    25.22
    9087 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97110    63.30
    9088 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97140   118.60
    9089 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97010    10.00
    9090 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97012    31.90
    9091 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   G0283    27.14
    9092 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97035    25.22
    9093 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97140   118.60
    9094 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97530    64.18
    9095 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97010    10.00
    9096 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97012    31.90
    9097 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   G0283    27.14
    9098 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97035    25.22
    9099 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97110    63.30
    9100 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97140   118.60
    9101 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97010    10.00
    9102 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97012    31.90
    9103 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   G0283    27.14
    9104 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97035    25.22
    9105 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97140   118.60
    9106 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97530    64.18
    9107 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97010    10.00
    9108 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97012    31.90
    9109 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   G0283    27.14
    9110 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97035    25.22
    9111 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97110    63.30
    9112 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016   Bill   7/30/2016   97140   118.60
    9113 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   7/30/2016   99213   145.86
    9114 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   7/30/2016   97010    10.00
    9115 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   7/30/2016   97012    31.90
    9116 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   7/30/2016   G0283    27.14
    9117 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016   Bill   7/30/2016   97035    25.22
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    9118 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97140   118.60
    9119 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97530    64.18
    9120 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97010    10.00
    9121 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97012    31.90
    9122 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   G0283    27.14
    9123 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97035    25.22
    9124 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97110    63.30
    9125 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97140   118.60
    9126 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97010    10.00
    9127 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97012    31.90
    9128 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   G0283    27.14
    9129 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97035    25.22
    9130 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97140   118.60
    9131 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   7/30/2016   97530    64.18
    9132 Himes Walk In Clinic, LLC   0299185490101044   12/1/2013   Bill   7/30/2016   99212    87.60
    9133 Himes Walk In Clinic, LLC   0299185490101044   12/1/2013   Bill   7/30/2016   98941    73.98
    9134 Himes Walk In Clinic, LLC   0299185490101044   12/1/2013   Bill   7/30/2016   98943    32.95
    9135 Himes Walk In Clinic, LLC   0299185490101044   12/1/2013   Bill   7/30/2016   97010    10.00
    9136 Himes Walk In Clinic, LLC   0299185490101044   12/1/2013   Bill   7/30/2016   97012    31.90
    9137 Himes Walk In Clinic, LLC   0299185490101044   12/1/2013   Bill   7/30/2016   G0283    27.14
    9138 Himes Walk In Clinic, LLC   0299185490101044   12/1/2013   Bill   7/30/2016   97035    25.22
    9139 Himes Walk In Clinic, LLC   0299185490101044   12/1/2013   Bill   7/30/2016   97140   118.60
    9140 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97010    10.00
    9141 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97012    31.90
    9142 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    G0283    27.14
    9143 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97035    25.22
    9144 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97110    63.30
    9145 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97140   118.60
    9146 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97010    10.00
    9147 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97012    31.90
    9148 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    G0283    27.14
    9149 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97035    25.22
    9150 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97140   118.60
    9151 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97530    64.18
    9152 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97010    10.00
    9153 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97012    31.90
    9154 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    G0283    27.14
    9155 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97035    25.22
    9156 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97140   118.60
    9157 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   8/8/2016    97530    64.18
    9158 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97140   118.60
    9159 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97530    64.18
    9160 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97010    10.00
    9161 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97012    31.90
    9162 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   G0283    27.14
    9163 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97035    25.22
    9164 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97140   118.60
    9165 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97530    64.18
    9166 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97010    10.00
    9167 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97012    31.90
    9168 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   G0283    27.14
    9169 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97035    25.22
    9170 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97140   118.60
    9171 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97530    64.18
    9172 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97010    10.00
    9173 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97012    31.90
    9174 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   G0283    27.14
    9175 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97035    25.22
    9176 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97110    63.30
    9177 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97140   118.60
    9178 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97010    10.00
    9179 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97012    31.90
    9180 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   G0283    27.14
    9181 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97035    25.22
    9182 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97110    63.30
    9183 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97140   118.60
    9184 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   99204   333.26
    9185 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97010    10.00
    9186 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97012    31.90
    9187 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   G0283    27.14
    9188 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97035    25.22
    9189 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97110    63.30
    9190 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97140   118.60
    9191 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97010    10.00
    9192 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97012    31.90
    9193 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   G0283    27.14
    9194 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97035    25.22
    9195 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97140   118.60
    9196 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97530    64.18
    9197 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97010    10.00
    9198 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97012    31.90
    9199 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   G0283    27.14
    9200 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97035    25.22
    9201 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97140   118.60
    9202 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97530    64.18
    9203 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97010    10.00
    9204 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97012    31.90
    9205 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   G0283    27.14
    9206 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97035    25.22
    9207 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97110    63.30
    9208 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97140   118.60
    9209 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97010    10.00
    9210 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97012    31.90
    9211 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   G0283    27.14
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    9212 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/10/2016   97035    25.22
    9213 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9214 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9215 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9216 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9217 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9218 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97530    64.18
    9219 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9220 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9221 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9222 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9223 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97110    63.30
    9224 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9225 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97010    10.00
    9226 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97012    31.90
    9227 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   G0283    27.14
    9228 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97035    25.22
    9229 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97140   118.60
    9230 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97530    64.18
    9231 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97010    10.00
    9232 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97012    31.90
    9233 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   G0283    27.14
    9234 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97035    25.22
    9235 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97110    63.30
    9236 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97140   118.60
    9237 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97010    10.00
    9238 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97012    31.90
    9239 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   G0283    27.14
    9240 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97035    25.22
    9241 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97140   118.60
    9242 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97530    64.18
    9243 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97010    10.00
    9244 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97012    31.90
    9245 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   G0283    27.14
    9246 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97035    25.22
    9247 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97110    63.30
    9248 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97140   118.60
    9249 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97010    10.00
    9250 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97012    31.90
    9251 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   G0283    27.14
    9252 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97035    25.22
    9253 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97110    63.30
    9254 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97140   118.60
    9255 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97010    10.00
    9256 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97012    31.90
    9257 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   G0283    27.14
    9258 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97035    25.22
    9259 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97140   118.60
    9260 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/15/2016   97530    64.18
    9261 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9262 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9263 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9264 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9265 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97110    63.30
    9266 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9267 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9268 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9269 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9270 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9271 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9272 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97530    64.18
    9273 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9274 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9275 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9276 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9277 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9278 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97530    64.18
    9279 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9280 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9281 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9282 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9283 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97110    63.30
    9284 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9285 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9286 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9287 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9288 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9289 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9290 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97530    64.18
    9291 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9292 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9293 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9294 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9295 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9296 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97530    64.18
    9297 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9298 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9299 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9300 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9301 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97110    63.30
    9302 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9303 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9304 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9305 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
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    9306 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9307 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9308 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97530    64.18
    9309 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9310 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9311 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9312 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9313 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9314 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97530    64.18
    9315 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97010    10.00
    9316 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97012    31.90
    9317 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   G0283    27.14
    9318 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97035    25.22
    9319 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97110    63.30
    9320 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/15/2016   97140   118.60
    9321 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   99213   145.86
    9322 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   98941    73.98
    9323 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97010    10.00
    9324 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97012    31.90
    9325 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   G0283    27.14
    9326 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97035    25.22
    9327 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97140   118.60
    9328 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97530    64.18
    9329 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97010    10.00
    9330 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97012    31.90
    9331 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   G0283    27.14
    9332 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97035    25.22
    9333 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97110    63.30
    9334 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97140   118.60
    9335 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97010    10.00
    9336 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97012    31.90
    9337 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   G0283    27.14
    9338 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97035    25.22
    9339 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97140   118.60
    9340 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   97530    64.18
    9341 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   99213   145.86
    9342 Himes Walk In Clinic, LLC   0406212830101094   5/19/2016   Bill   8/15/2016   98941    73.98
    9343 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97110    63.30
    9344 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97140   118.60
    9345 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97010    10.00
    9346 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97012    31.90
    9347 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   G0283    27.14
    9348 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97035    25.22
    9349 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97140   118.60
    9350 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97530    64.18
    9351 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97010    10.00
    9352 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97012    31.90
    9353 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   G0283    27.14
    9354 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97035    25.22
    9355 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97110    63.30
    9356 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97140   118.60
    9357 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97010    10.00
    9358 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97012    31.90
    9359 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   G0283    27.14
    9360 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/18/2016   97035    25.22
    9361 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97010    10.00
    9362 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97012    31.90
    9363 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   G0283    27.14
    9364 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97035    25.22
    9365 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97110    63.30
    9366 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97140   118.60
    9367 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97010    10.00
    9368 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97012    31.90
    9369 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   G0283    27.14
    9370 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97035    25.22
    9371 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97110    63.30
    9372 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97140   118.60
    9373 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97010    10.00
    9374 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97012    31.90
    9375 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   G0283    27.14
    9376 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97035    25.22
    9377 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97140   118.60
    9378 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/19/2016   97530    64.18
    9379 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   99204   333.26
    9380 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9381 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9382 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9383 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9384 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9385 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97535    68.56
    9386 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9387 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9388 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9389 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9390 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9391 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97530    64.18
    9392 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9393 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9394 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9395 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9396 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9397 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97530    64.18
    9398 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9399 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
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    9400 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9401 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9402 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97110    63.30
    9403 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9404 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9405 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9406 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9407 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9408 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9409 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97530    64.18
    9410 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9411 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9412 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9413 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9414 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97110    63.30
    9415 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9416 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9417 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9418 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9419 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9420 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97110    63.30
    9421 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9422 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9423 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9424 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9425 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9426 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9427 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97530    64.18
    9428 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9429 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9430 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9431 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9432 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97110    63.30
    9433 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9434 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9435 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9436 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9437 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9438 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9439 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97530    64.18
    9440 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9441 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9442 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9443 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9444 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9445 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97530    64.18
    9446 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9447 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9448 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9449 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9450 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97110   126.60
    9451 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9452 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97010    10.00
    9453 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97012    31.90
    9454 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   G0283    27.14
    9455 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97035    25.22
    9456 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97140   118.60
    9457 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   8/20/2016   97530    64.18
    9458 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97010    10.00
    9459 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97012    31.90
    9460 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   G0283    27.14
    9461 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97035    25.22
    9462 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97140   118.60
    9463 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97530    64.18
    9464 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97010    10.00
    9465 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97012    31.90
    9466 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   G0283    27.14
    9467 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97035    25.22
    9468 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97110    63.30
    9469 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97140   118.60
    9470 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97010    10.00
    9471 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97012    31.90
    9472 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   G0283    27.14
    9473 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97035    25.22
    9474 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97140   118.60
    9475 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97530    64.18
    9476 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97010    10.00
    9477 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97012    31.90
    9478 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   G0283    27.14
    9479 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97035    25.22
    9480 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97110    63.30
    9481 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97140   118.60
    9482 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97010    10.00
    9483 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97012    31.90
    9484 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   G0283    27.14
    9485 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97035    25.22
    9486 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97140   118.60
    9487 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97530    64.18
    9488 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97010    10.00
    9489 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97012    31.90
    9490 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   G0283    27.14
    9491 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97035    25.22
    9492 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97140   118.60
    9493 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97530    64.18
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    9494 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   98941    73.98
    9495 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97010    10.00
    9496 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97012    31.90
    9497 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   G0283    27.14
    9498 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97035    25.22
    9499 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97110    63.30
    9500 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   8/20/2016   97140   118.60
    9501 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97010    10.00
    9502 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97012    31.90
    9503 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   G0283    27.14
    9504 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97035    25.22
    9505 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97140   118.60
    9506 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97530    64.18
    9507 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97010    10.00
    9508 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97012    31.90
    9509 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   G0283    27.14
    9510 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97035    25.22
    9511 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97140   118.60
    9512 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97530    64.18
    9513 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97010    10.00
    9514 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97012    31.90
    9515 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   G0283    27.14
    9516 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97035    25.22
    9517 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97110    63.30
    9518 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/20/2016   97140   118.60
    9519 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   99204   333.26
    9520 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97010    10.00
    9521 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97012    31.90
    9522 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   G0283    27.14
    9523 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97035    25.22
    9524 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97140   118.60
    9525 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97035    25.22
    9526 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97110    63.30
    9527 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97140   118.60
    9528 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97010    10.00
    9529 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97012    31.90
    9530 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   G0283    27.14
    9531 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97035    25.22
    9532 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97140   118.60
    9533 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97530    64.18
    9534 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97535    68.56
    9535 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97010    10.00
    9536 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97012    31.90
    9537 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   G0283    27.14
    9538 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97035    25.22
    9539 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97110    63.30
    9540 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97140   118.60
    9541 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97010    10.00
    9542 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97012    31.90
    9543 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   G0283    27.14
    9544 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97035    25.22
    9545 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97140   118.60
    9546 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97530    64.18
    9547 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97010    10.00
    9548 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97012    31.90
    9549 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   G0283    27.14
    9550 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97035    25.22
    9551 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97110    63.30
    9552 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97140   118.60
    9553 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97010    10.00
    9554 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97012    31.90
    9555 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   G0283    27.14
    9556 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97035    25.22
    9557 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97140   118.60
    9558 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   8/29/2016   97530    64.18
    9559 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97010    10.00
    9560 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97012    31.90
    9561 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   G0283    27.14
    9562 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97035    25.22
    9563 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97140   118.60
    9564 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97530    64.18
    9565 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97010    10.00
    9566 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97012    31.90
    9567 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   G0283    27.14
    9568 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97035    25.22
    9569 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97110    63.30
    9570 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97140   118.60
    9571 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97010    10.00
    9572 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97012    31.90
    9573 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   G0283    27.14
    9574 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97035    25.22
    9575 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97140   118.60
    9576 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97530    64.18
    9577 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97010    10.00
    9578 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97012    31.90
    9579 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   G0283    27.14
    9580 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97035    25.22
    9581 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97140   118.60
    9582 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97530    64.18
    9583 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97010    10.00
    9584 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97012    31.90
    9585 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   G0283    27.14
    9586 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97035    25.22
    9587 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97110    63.30
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    9588 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97140   118.60
    9589 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97010    10.00
    9590 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97012    31.90
    9591 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   G0283    27.14
    9592 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97035    25.22
    9593 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97140   118.60
    9594 Himes Walk In Clinic, LLC   0406212830101102   5/4/2016    Bill   8/29/2016   97530    64.18
    9595 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97010    10.00
    9596 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97012    31.90
    9597 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   G0283    27.14
    9598 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97035    25.22
    9599 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97110    63.30
    9600 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97140   118.60
    9601 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97010    10.00
    9602 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97012    31.90
    9603 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   G0283    27.14
    9604 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97035    25.22
    9605 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97140   118.60
    9606 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97530    64.18
    9607 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97010    10.00
    9608 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97012    31.90
    9609 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   G0283    27.14
    9610 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97035    25.22
    9611 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97110    63.30
    9612 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97140   118.60
    9613 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97010    10.00
    9614 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97012    31.90
    9615 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   G0283    27.14
    9616 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97035    25.22
    9617 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97140   118.60
    9618 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   8/29/2016   97530    64.18
    9619 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97010    10.00
    9620 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97012    31.90
    9621 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   G0283    27.14
    9622 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97035    25.22
    9623 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97140   118.60
    9624 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97530    64.18
    9625 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97010    10.00
    9626 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   97012    31.90
    9627 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   8/29/2016   G0283    27.14
    9628 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9629 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97012    31.90
    9630 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97110    63.30
    9631 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97140   118.60
    9632 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9633 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97012    31.90
    9634 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97140   118.60
    9635 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97530    64.18
    9636 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9637 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97012    31.90
    9638 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97110    63.30
    9639 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97140   118.60
    9640 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   9/6/2016    97010    10.00
    9641 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   9/6/2016    97012    31.90
    9642 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   9/6/2016    G0283    27.14
    9643 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   9/6/2016    97035    25.22
    9644 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   9/6/2016    97110    63.30
    9645 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   9/6/2016    97140   118.60
    9646 Himes Walk In Clinic, LLC   0548365340101019   5/3/2016    Bill   9/6/2016    99213   145.86
    9647 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016    97010    10.00
    9648 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016    97012    31.90
    9649 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016    G0283    27.14
    9650 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016    97035    25.22
    9651 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    99204   333.26
    9652 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9653 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97110    63.30
    9654 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97140   118.60
    9655 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97535    68.56
    9656 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9657 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97012    31.90
    9658 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97140   118.60
    9659 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97530    64.18
    9660 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9661 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97012    31.90
    9662 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97110    63.30
    9663 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97140   118.60
    9664 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9665 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97012    31.90
    9666 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97110    63.30
    9667 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97140   118.60
    9668 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9669 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97012    31.90
    9670 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97140   118.60
    9671 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97530    64.18
    9672 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9673 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97012    31.90
    9674 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97140   118.60
    9675 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97530    64.18
    9676 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9677 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97012    31.90
    9678 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97110    63.30
    9679 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97140   118.60
    9680 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97010    10.00
    9681 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016    97012    31.90
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    9682 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016   97140   118.60
    9683 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/6/2016   97530    64.18
    9684 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97140   118.60
    9685 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97010    10.00
    9686 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97012    31.90
    9687 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   G0283    27.14
    9688 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97035    25.22
    9689 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97140   118.60
    9690 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97530    64.18
    9691 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97110    63.30
    9692 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97140   118.60
    9693 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97010    10.00
    9694 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97012    31.90
    9695 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   G0283    27.14
    9696 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97035    25.22
    9697 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97110    63.30
    9698 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97140   118.60
    9699 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97010    10.00
    9700 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97012    31.90
    9701 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   G0283    27.14
    9702 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97035    25.22
    9703 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97140   118.60
    9704 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97530    64.18
    9705 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97010    10.00
    9706 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97012    31.90
    9707 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   G0283    27.14
    9708 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97035    25.22
    9709 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97140   118.60
    9710 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97530    64.18
    9711 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97010    10.00
    9712 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97012    31.90
    9713 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   G0283    27.14
    9714 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97035    25.22
    9715 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97110    63.30
    9716 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97140   118.60
    9717 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97010    10.00
    9718 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97012    31.90
    9719 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   G0283    27.14
    9720 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97035    25.22
    9721 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97110    63.30
    9722 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97140   118.60
    9723 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97010    10.00
    9724 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97012    31.90
    9725 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   G0283    27.14
    9726 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97035    25.22
    9727 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97140   118.60
    9728 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97530    64.18
    9729 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97010    10.00
    9730 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97012    31.90
    9731 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   G0283    27.14
    9732 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97035    25.22
    9733 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97140   118.60
    9734 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/6/2016   97530    64.18
    9735 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97010    10.00
    9736 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97012    31.90
    9737 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   G0283    27.14
    9738 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97035    25.22
    9739 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97110    63.30
    9740 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97140   118.60
    9741 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97010    10.00
    9742 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97012    31.90
    9743 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   G0283    27.14
    9744 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97035    25.22
    9745 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97140   118.60
    9746 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97530    64.18
    9747 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97010    10.00
    9748 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97012    31.90
    9749 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   G0283    27.14
    9750 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97035    25.22
    9751 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97110    63.30
    9752 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97140   118.60
    9753 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97010    10.00
    9754 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97012    31.90
    9755 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   G0283    27.14
    9756 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97035    25.22
    9757 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97140   118.60
    9758 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/6/2016   97530    64.18
    9759 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97010    10.00
    9760 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97012    31.90
    9761 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   G0283    27.14
    9762 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97035    25.22
    9763 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97140   118.60
    9764 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97530    64.18
    9765 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97010    10.00
    9766 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97012    31.90
    9767 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   G0283    27.14
    9768 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97035    25.22
    9769 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97110    63.30
    9770 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97140   118.60
    9771 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97010    10.00
    9772 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97012    31.90
    9773 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   G0283    27.14
    9774 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97035    25.22
    9775 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016   97140   118.60
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 105 of 9287 PageID 239


    9776 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    97530    64.18
    9777 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    97010    10.00
    9778 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    97012    31.90
    9779 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    G0283    27.14
    9780 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    97035    25.22
    9781 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    97140   118.60
    9782 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    97530    64.18
    9783 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    97010    10.00
    9784 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    97012    31.90
    9785 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    G0283    27.14
    9786 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    97035    25.22
    9787 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/6/2016    97110    63.30
    9788 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   G0283    27.14
    9789 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97035    25.22
    9790 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97110    63.30
    9791 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97140   118.60
    9792 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   99213   145.86
    9793 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   98941    73.98
    9794 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   99213   145.86
    9795 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97010    10.00
    9796 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97012    31.90
    9797 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97140   118.60
    9798 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97530    64.18
    9799 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97010    10.00
    9800 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97012    31.90
    9801 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97140   118.60
    9802 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97530    64.18
    9803 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97010    10.00
    9804 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97012    31.90
    9805 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97110    63.30
    9806 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   9/12/2016   97140   118.60
    9807 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9808 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9809 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9810 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9811 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9812 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
    9813 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9814 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9815 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9816 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9817 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9818 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
    9819 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9820 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97010    10.00
    9821 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97012    31.90
    9822 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   G0283    27.14
    9823 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97035    25.22
    9824 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97110    63.30
    9825 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97140   118.60
    9826 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97010    10.00
    9827 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97012    31.90
    9828 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   G0283    27.14
    9829 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97035    25.22
    9830 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97140   118.60
    9831 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97530    64.18
    9832 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   99213   145.86
    9833 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
    9834 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9835 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9836 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9837 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97110    63.30
    9838 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9839 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
    9840 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9841 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9842 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9843 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9844 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97530    64.18
    9845 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
    9846 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9847 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9848 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9849 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9850 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97530    64.18
    9851 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
    9852 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9853 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9854 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9855 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97110    63.30
    9856 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9857 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
    9858 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9859 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9860 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9861 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97110    63.30
    9862 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9863 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
    9864 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9865 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9866 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9867 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9868 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97530    64.18
    9869 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
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    9870 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9871 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9872 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9873 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9874 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97530    64.18
    9875 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
    9876 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9877 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9878 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9879 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97110    63.30
    9880 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9881 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
    9882 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9883 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9884 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9885 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9886 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97530    64.18
    9887 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
    9888 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9889 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9890 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9891 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97110    63.30
    9892 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9893 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97010    10.00
    9894 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97012    31.90
    9895 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   G0283    27.14
    9896 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97035    25.22
    9897 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97140   118.60
    9898 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/12/2016   97530    64.18
    9899 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97010    10.00
    9900 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97012    31.90
    9901 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   G0283    27.14
    9902 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97035    25.22
    9903 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97140   118.60
    9904 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97530    64.18
    9905 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97010    10.00
    9906 Himes Walk In Clinic, LLC   0555873720101012   6/6/2016    Bill   9/12/2016   97012    31.90
    9907 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9908 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97530    64.18
    9909 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9910 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9911 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9912 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9913 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
    9914 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9915 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9916 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9917 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9918 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9919 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9920 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97530    64.18
    9921 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9922 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9923 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9924 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9925 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
    9926 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9927 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9928 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9929 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9930 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9931 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
    9932 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9933 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9934 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9935 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9936 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9937 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9938 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97530    64.18
    9939 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9940 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9941 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9942 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9943 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
    9944 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9945 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9946 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9947 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9948 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9949 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9950 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97530    64.18
    9951 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   99204   333.26
    9952 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9953 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9954 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9955 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9956 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9957 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97535    68.56
    9958 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    9959 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    9960 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    9961 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    9962 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    9963 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97530    64.18
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 107 of 9287 PageID 241


     9964 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
     9965 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
     9966 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
     9967 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
     9968 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
     9969 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
     9970 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
     9971 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
     9972 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
     9973 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
     9974 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
     9975 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97530    64.18
     9976 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
     9977 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
     9978 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
     9979 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
     9980 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
     9981 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
     9982 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
     9983 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
     9984 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
     9985 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
     9986 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
     9987 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97530    64.18
     9988 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
     9989 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
     9990 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
     9991 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
     9992 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
     9993 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
     9994 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
     9995 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
     9996 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
     9997 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
     9998 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
     9999 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97530    64.18
    10000 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    10001 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    10002 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    10003 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    10004 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    10005 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97530    64.18
    10006 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    10007 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    10008 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    10009 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    10010 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
    10011 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   99204   333.26
    10012 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    10013 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    10014 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    10015 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    10016 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    10017 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97535    68.56
    10018 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    10019 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    10020 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    10021 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    10022 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
    10023 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    10024 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    10025 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    10026 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    10027 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    10028 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    10029 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97530    64.18
    10030 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    10031 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    10032 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    10033 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    10034 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97110    63.30
    10035 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97140   118.60
    10036 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97010    10.00
    10037 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97012    31.90
    10038 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   G0283    27.14
    10039 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/12/2016   97035    25.22
    10040 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   99203   218.12
    10041 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10042 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10043 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10044 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10045 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10046 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97535    68.56
    10047 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10048 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10049 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10050 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10051 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10052 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97530    64.18
    10053 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10054 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10055 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10056 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10057 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97110    63.30
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    10058 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10059 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10060 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10061 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10062 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10063 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10064 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97530    64.18
    10065 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10066 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10067 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10068 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10069 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10070 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97530    64.18
    10071 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10072 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10073 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10074 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10075 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97110    63.30
    10076 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10077 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10078 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10079 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10080 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10081 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10082 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10083 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10084 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97110    63.30
    10085 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10086 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10087 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10088 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10089 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10090 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10091 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10092 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10093 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10094 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10095 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10096 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97110    63.30
    10097 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10098 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10099 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10100 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10101 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10102 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10103 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10104 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10105 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10106 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10107 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10108 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97110    63.30
    10109 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10110 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10111 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10112 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10113 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10114 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10115 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10116 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10117 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10118 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10119 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10120 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97110    63.30
    10121 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10122 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10123 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10124 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10125 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10126 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10127 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10128 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10129 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10130 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10131 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10132 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10133 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10134 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10135 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10136 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10137 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10138 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97110    63.30
    10139 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10140 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10141 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10142 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10143 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10144 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10145 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10146 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10147 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10148 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10149 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10150 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10151 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 109 of 9287 PageID 243


    10152 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10153 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10154 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10155 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10156 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10157 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10158 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10159 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10160 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10161 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10162 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10163 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10164 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97110    63.30
    10165 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10166 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10167 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10168 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10169 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10170 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10171 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10172 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10173 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10174 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10175 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10176 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97110    63.30
    10177 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10178 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10179 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10180 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10181 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10182 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10183 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10184 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10185 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10186 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10187 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10188 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97110    63.30
    10189 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10190 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10191 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10192 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10193 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10194 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10195 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10196 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   99213   145.86
    10197 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   98941    73.98
    10198 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97010    10.00
    10199 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97012    31.90
    10200 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   G0283    27.14
    10201 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97035    25.22
    10202 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97140   118.60
    10203 Himes Walk In Clinic, LLC   0406212830101086   5/4/2016    Bill   9/19/2016   97530    64.18
    10204 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97010    10.00
    10205 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97012    31.90
    10206 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   G0283    27.14
    10207 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97035    25.22
    10208 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97110    63.30
    10209 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97140   118.60
    10210 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97010    10.00
    10211 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97012    31.90
    10212 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   G0283    27.14
    10213 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97035    25.22
    10214 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97110    63.30
    10215 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97140   118.60
    10216 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97010    10.00
    10217 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97012    31.90
    10218 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   G0283    27.14
    10219 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97035    25.22
    10220 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97140   118.60
    10221 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97530    64.18
    10222 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97010    10.00
    10223 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97012    31.90
    10224 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   G0283    27.14
    10225 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97035    25.22
    10226 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97110    63.30
    10227 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97140   118.60
    10228 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97010    10.00
    10229 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97012    31.90
    10230 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   G0283    27.14
    10231 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97035    25.22
    10232 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97140   118.60
    10233 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97530    64.18
    10234 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97010    10.00
    10235 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97012    31.90
    10236 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   G0283    27.14
    10237 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97035    25.22
    10238 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97140   118.60
    10239 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   97530    64.18
    10240 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10241 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10242 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10243 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10244 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10245 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97110    63.30
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    10246 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10247 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10248 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10249 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10250 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10251 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97110    63.30
    10252 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10253 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10254 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10255 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10256 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10257 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10258 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97530    64.18
    10259 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10260 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10261 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10262 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10263 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10264 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97530    64.18
    10265 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10266 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10267 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10268 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10269 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97110    63.30
    10270 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10271 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97010    10.00
    10272 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97012    31.90
    10273 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   G0283    27.14
    10274 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97035    25.22
    10275 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97140   118.60
    10276 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/19/2016   97530    64.18
    10277 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97010    10.00
    10278 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97012    31.90
    10279 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   G0283    27.14
    10280 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97035    25.22
    10281 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97110    63.30
    10282 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97140   118.60
    10283 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97010    10.00
    10284 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97012    31.90
    10285 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   G0283    27.14
    10286 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97035    25.22
    10287 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97110    63.30
    10288 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97140   118.60
    10289 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97010    10.00
    10290 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97012    31.90
    10291 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   G0283    27.14
    10292 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97035    25.22
    10293 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97140   118.60
    10294 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97530    64.18
    10295 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97010    10.00
    10296 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97012    31.90
    10297 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   G0283    27.14
    10298 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97035    25.22
    10299 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97110    63.30
    10300 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97140   118.60
    10301 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97010    10.00
    10302 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97012    31.90
    10303 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   G0283    27.14
    10304 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97035    25.22
    10305 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97110    63.30
    10306 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97140   118.60
    10307 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97010    10.00
    10308 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97012    31.90
    10309 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   G0283    27.14
    10310 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97035    25.22
    10311 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97140   118.60
    10312 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97530    64.18
    10313 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97010    10.00
    10314 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97012    31.90
    10315 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   G0283    27.14
    10316 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97035    25.22
    10317 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97140   118.60
    10318 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97530    64.18
    10319 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97010    10.00
    10320 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97012    31.90
    10321 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   G0283    27.14
    10322 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97035    25.22
    10323 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97110    63.30
    10324 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97140   118.60
    10325 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97010    10.00
    10326 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97012    31.90
    10327 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   G0283    27.14
    10328 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97035    25.22
    10329 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97140   118.60
    10330 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97530    64.18
    10331 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97010    10.00
    10332 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97012    31.90
    10333 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   G0283    27.14
    10334 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97035    25.22
    10335 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97110    63.30
    10336 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/19/2016   97140   118.60
    10337 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   9/19/2016   99213   145.86
    10338 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97012    31.90
    10339 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   G0283    27.14
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    10340 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97035    25.22
    10341 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97140   118.60
    10342 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97530    64.18
    10343 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97010    10.00
    10344 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97012    31.90
    10345 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   G0283    27.14
    10346 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97035    25.22
    10347 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97110    63.30
    10348 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97140   118.60
    10349 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97010    10.00
    10350 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97012    31.90
    10351 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   G0283    27.14
    10352 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97035    25.22
    10353 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97140   118.60
    10354 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97530    64.18
    10355 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97010    10.00
    10356 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97012    31.90
    10357 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   G0283    27.14
    10358 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97035    25.22
    10359 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97140   118.60
    10360 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97530    64.18
    10361 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97010    10.00
    10362 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97012    31.90
    10363 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   G0283    27.14
    10364 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97035    25.22
    10365 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97140   118.60
    10366 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97530    64.18
    10367 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97010    10.00
    10368 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97012    31.90
    10369 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   G0283    27.14
    10370 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97035    25.22
    10371 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97110    63.30
    10372 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97140   118.60
    10373 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   9/21/2016   97010    10.00
    10374 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97012    31.90
    10375 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   G0283    27.14
    10376 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97035    25.22
    10377 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97110    63.30
    10378 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97140   118.60
    10379 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97010    10.00
    10380 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97012    31.90
    10381 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   G0283    27.14
    10382 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97035    25.22
    10383 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97140   118.60
    10384 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97530    64.18
    10385 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97010    10.00
    10386 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97012    31.90
    10387 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   G0283    27.14
    10388 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97035    25.22
    10389 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97110   126.60
    10390 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97140   118.60
    10391 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97010    10.00
    10392 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97012    31.90
    10393 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   G0283    27.14
    10394 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97035    25.22
    10395 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97110    63.30
    10396 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97140   118.60
    10397 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97010    10.00
    10398 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97012    31.90
    10399 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   G0283    27.14
    10400 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97035    25.22
    10401 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97140   118.60
    10402 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97530    64.18
    10403 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97010    10.00
    10404 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97012    31.90
    10405 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   G0283    27.14
    10406 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97035    25.22
    10407 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97140   118.60
    10408 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97530    64.18
    10409 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97010    10.00
    10410 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97012    31.90
    10411 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   G0283    27.14
    10412 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97035    25.22
    10413 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97110    63.30
    10414 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97140   118.60
    10415 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97010    10.00
    10416 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97012    31.90
    10417 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   G0283    27.14
    10418 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97035    25.22
    10419 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97110    63.30
    10420 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97140   118.60
    10421 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97010    10.00
    10422 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97012    31.90
    10423 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   G0283    27.14
    10424 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97035    25.22
    10425 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97140   118.60
    10426 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97530    64.18
    10427 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97010    10.00
    10428 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97012    31.90
    10429 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   G0283    27.14
    10430 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97035    25.22
    10431 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97140   118.60
    10432 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   9/26/2016   97530    64.18
    10433 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97010    10.00
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    10434 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97012    31.90
    10435 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   G0283    27.14
    10436 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97035    25.22
    10437 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97110    63.30
    10438 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97140   118.60
    10439 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97010    10.00
    10440 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97012    31.90
    10441 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   G0283    27.14
    10442 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97035    25.22
    10443 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97140   118.60
    10444 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97530    64.18
    10445 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97010    10.00
    10446 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97012    31.90
    10447 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   G0283    27.14
    10448 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97035    25.22
    10449 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97110    63.30
    10450 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97140   118.60
    10451 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97010    10.00
    10452 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97012    31.90
    10453 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   G0283    27.14
    10454 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97035    25.22
    10455 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97140   118.60
    10456 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97530    64.18
    10457 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10458 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97530    64.18
    10459 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10460 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10461 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10462 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10463 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10464 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97530    64.18
    10465 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10466 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10467 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10468 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10469 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10470 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97530    64.18
    10471 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   99213   145.86
    10472 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10473 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10474 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10475 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10476 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97110    63.30
    10477 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10478 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10479 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10480 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10481 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10482 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10483 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97530    64.18
    10484 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10485 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10486 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10487 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10488 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10489 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97530    64.18
    10490 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10491 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10492 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10493 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10494 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97110    63.30
    10495 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10496 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10497 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10498 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10499 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10500 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10501 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97530    64.18
    10502 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10503 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10504 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10505 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10506 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97110    63.30
    10507 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10508 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97010    10.00
    10509 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97012    31.90
    10510 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   G0283    27.14
    10511 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97035    25.22
    10512 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97140   118.60
    10513 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97530    64.18
    10514 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97010    10.00
    10515 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97012    31.90
    10516 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   G0283    27.14
    10517 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97035    25.22
    10518 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97110    63.30
    10519 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97140   118.60
    10520 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97010    10.00
    10521 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97012    31.90
    10522 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   G0283    27.14
    10523 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97035    25.22
    10524 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97110    63.30
    10525 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97140   118.60
    10526 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97010    10.00
    10527 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97012    31.90
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    10528 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   G0283    27.14
    10529 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97035    25.22
    10530 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97140   118.60
    10531 Himes Walk In Clinic, LLC   0561594040101035   8/19/2016   Bill   9/26/2016   97530    64.18
    10532 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97010    10.00
    10533 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97012    31.90
    10534 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   G0283    27.14
    10535 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97035    25.22
    10536 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97110    63.30
    10537 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97140   118.60
    10538 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97010    10.00
    10539 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97012    31.90
    10540 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   G0283    27.14
    10541 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97035    25.22
    10542 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97140   118.60
    10543 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97530    64.18
    10544 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97010    10.00
    10545 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97012    31.90
    10546 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   G0283    27.14
    10547 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97035    25.22
    10548 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97140   118.60
    10549 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97530    64.18
    10550 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97010    10.00
    10551 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97012    31.90
    10552 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   G0283    27.14
    10553 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97035    25.22
    10554 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97140   118.60
    10555 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97530    64.18
    10556 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   9/26/2016   97010    10.00
    10557 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97010    10.00
    10558 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97012    31.90
    10559 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   G0283    27.14
    10560 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97035    25.22
    10561 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97140   118.60
    10562 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97530    64.18
    10563 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97010    10.00
    10564 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97012    31.90
    10565 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   G0283    27.14
    10566 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97035    25.22
    10567 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97140   118.60
    10568 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97530    64.18
    10569 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97010    10.00
    10570 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97012    31.90
    10571 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   G0283    27.14
    10572 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97035    25.22
    10573 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97110    63.30
    10574 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97140   118.60
    10575 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97010    10.00
    10576 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97012    31.90
    10577 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   G0283    27.14
    10578 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97035    25.22
    10579 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97140   118.60
    10580 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   9/26/2016   97530    64.18
    10581 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   99204   333.26
    10582 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10583 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10584 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10585 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10586 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10587 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97535    68.56
    10588 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10589 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10590 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10591 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10592 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97140   118.60
    10593 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97530    64.18
    10594 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97010    10.00
    10595 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97012    31.90
    10596 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   G0283    27.14
    10597 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   9/26/2016   97035    25.22
    10598 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97012    31.90
    10599 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   G0283    27.14
    10600 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97035    25.22
    10601 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97140   118.60
    10602 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97530    64.18
    10603 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97010    10.00
    10604 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97012    31.90
    10605 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   G0283    27.14
    10606 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97035    25.22
    10607 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97140   118.60
    10608 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97530    64.18
    10609 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97010    10.00
    10610 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97012    31.90
    10611 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   G0283    27.14
    10612 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97035    25.22
    10613 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97110    63.30
    10614 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97140   118.60
    10615 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97010    10.00
    10616 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97012    31.90
    10617 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   G0283    27.14
    10618 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97035    25.22
    10619 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97140   118.60
    10620 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97530    64.18
    10621 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97010    10.00
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    10622 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97012    31.90
    10623 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   G0283    27.14
    10624 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97035    25.22
    10625 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97110    63.30
    10626 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97140   118.60
    10627 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97010    10.00
    10628 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97012    31.90
    10629 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   G0283    27.14
    10630 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97035    25.22
    10631 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97140   118.60
    10632 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97530    64.18
    10633 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97010    10.00
    10634 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97012    31.90
    10635 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   G0283    27.14
    10636 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97035    25.22
    10637 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97110    63.30
    10638 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97140   118.60
    10639 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97010    10.00
    10640 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97012    31.90
    10641 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   G0283    27.14
    10642 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97035    25.22
    10643 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97140   118.60
    10644 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97530    64.18
    10645 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97010    10.00
    10646 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97012    31.90
    10647 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   G0283    27.14
    10648 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97035    25.22
    10649 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97110    63.30
    10650 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97140   118.60
    10651 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97010    10.00
    10652 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97012    31.90
    10653 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   G0283    27.14
    10654 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97035    25.22
    10655 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97140   118.60
    10656 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016   97530    64.18
    10657 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016   97140   118.60
    10658 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016   97530    64.18
    10659 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97010    10.00
    10660 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97012    31.90
    10661 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   G0283    27.14
    10662 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97035    25.22
    10663 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97140   118.60
    10664 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97530    64.18
    10665 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97010    10.00
    10666 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97012    31.90
    10667 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   G0283    27.14
    10668 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97035    25.22
    10669 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97110    63.30
    10670 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97140   118.60
    10671 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97010    10.00
    10672 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97012    31.90
    10673 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97140   118.60
    10674 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97530    64.18
    10675 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97010    10.00
    10676 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97012    31.90
    10677 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97140   118.60
    10678 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97530    64.18
    10679 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97010    10.00
    10680 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97012    31.90
    10681 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   G0283    27.14
    10682 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97035    25.22
    10683 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97140   118.60
    10684 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97530    64.18
    10685 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97010    10.00
    10686 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97012    31.90
    10687 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   G0283    27.14
    10688 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97035    25.22
    10689 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97110    63.30
    10690 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97140   118.60
    10691 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   99213   145.86
    10692 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   97010    10.00
    10693 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   97012    31.90
    10694 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   G0283    27.14
    10695 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   97035    25.22
    10696 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   97140   118.60
    10697 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   97530    64.18
    10698 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   97010    10.00
    10699 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   97012    31.90
    10700 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   G0283    27.14
    10701 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   97035    25.22
    10702 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   97110    63.30
    10703 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   97140   118.60
    10704 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97010    10.00
    10705 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97012    31.90
    10706 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97110    63.30
    10707 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/5/2016   97140   118.60
    10708 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   99213   145.86
    10709 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016   99213   145.86
    10710 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97010    10.00
    10711 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97012    31.90
    10712 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   G0283    27.14
    10713 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97035    25.22
    10714 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97140   118.60
    10715 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016   97530    64.18
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    10716 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016    97010    10.00
    10717 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016    97012    31.90
    10718 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016    G0283    27.14
    10719 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016    97035    25.22
    10720 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016    97140   118.60
    10721 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/5/2016    97530    64.18
    10722 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    99204   333.26
    10723 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97010    10.00
    10724 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97012    31.90
    10725 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    G0283    27.14
    10726 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97035    25.22
    10727 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97140   118.60
    10728 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97535    68.56
    10729 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97010    10.00
    10730 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97012    31.90
    10731 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    G0283    27.14
    10732 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97035    25.22
    10733 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97140   118.60
    10734 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97530    64.18
    10735 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/5/2016    97010    10.00
    10736 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97010    10.00
    10737 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97012    31.90
    10738 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    G0283    27.14
    10739 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97035    25.22
    10740 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97140   118.60
    10741 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97530    64.18
    10742 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97010    10.00
    10743 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97012    31.90
    10744 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    G0283    27.14
    10745 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97035    25.22
    10746 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97110    63.30
    10747 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97140   118.60
    10748 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97010    10.00
    10749 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97012    31.90
    10750 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    G0283    27.14
    10751 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/5/2016    97035    25.22
    10752 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97010    10.00
    10753 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97012    31.90
    10754 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    G0283    27.14
    10755 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97035    25.22
    10756 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97140   118.60
    10757 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97530    64.18
    10758 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97010    10.00
    10759 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97012    31.90
    10760 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    G0283    27.14
    10761 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97035    25.22
    10762 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97110    63.30
    10763 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97140   118.60
    10764 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97010    10.00
    10765 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97012    31.90
    10766 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    G0283    27.14
    10767 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97035    25.22
    10768 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97140   118.60
    10769 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    97530    64.18
    10770 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/5/2016    99213   145.86
    10771 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97035    25.22
    10772 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97110    63.30
    10773 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97140   118.60
    10774 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97010    10.00
    10775 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97012    31.90
    10776 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   G0283    27.14
    10777 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97035    25.22
    10778 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97110    63.30
    10779 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97140   118.60
    10780 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97010    10.00
    10781 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97012    31.90
    10782 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   G0283    27.14
    10783 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97035    25.22
    10784 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97140   118.60
    10785 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97530    64.18
    10786 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   99213   145.86
    10787 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97010    10.00
    10788 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97012    31.90
    10789 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   G0283    27.14
    10790 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97035    25.22
    10791 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97140   118.60
    10792 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97530    64.18
    10793 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97010    10.00
    10794 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97012    31.90
    10795 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   G0283    27.14
    10796 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97035    25.22
    10797 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97110    63.30
    10798 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97140   118.60
    10799 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97010    10.00
    10800 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97012    31.90
    10801 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   G0283    27.14
    10802 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97035    25.22
    10803 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97140   118.60
    10804 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97530    64.18
    10805 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97010    10.00
    10806 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97012    31.90
    10807 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   G0283    27.14
    10808 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97035    25.22
    10809 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97110    63.30
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 116 of 9287 PageID 250


    10810 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97140   118.60
    10811 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97010    10.00
    10812 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97012    31.90
    10813 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   G0283    27.14
    10814 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97035    25.22
    10815 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97140   118.60
    10816 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97530    64.18
    10817 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97010    10.00
    10818 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97012    31.90
    10819 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   G0283    27.14
    10820 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97035    25.22
    10821 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97110    63.30
    10822 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97140   118.60
    10823 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97010    10.00
    10824 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97012    31.90
    10825 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   G0283    27.14
    10826 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97035    25.22
    10827 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97110    63.30
    10828 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97140   118.60
    10829 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97010    10.00
    10830 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97012    31.90
    10831 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   G0283    27.14
    10832 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97035    25.22
    10833 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97140   118.60
    10834 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/10/2016   97530    64.18
    10835 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97010    10.00
    10836 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97012    31.90
    10837 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   G0283    27.14
    10838 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97035    25.22
    10839 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97140   118.60
    10840 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97530    64.18
    10841 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97010    10.00
    10842 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97012    31.90
    10843 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   G0283    27.14
    10844 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97035    25.22
    10845 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97110    63.30
    10846 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97140   118.60
    10847 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   98941    73.98
    10848 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97010    10.00
    10849 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97012    31.90
    10850 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   G0283    27.14
    10851 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97035    25.22
    10852 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97110    63.30
    10853 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97140   118.60
    10854 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97010    10.00
    10855 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97012    31.90
    10856 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   G0283    27.14
    10857 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97035    25.22
    10858 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97140   118.60
    10859 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/10/2016   97530    64.18
    10860 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97010    10.00
    10861 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97012    31.90
    10862 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   G0283    27.14
    10863 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97035    25.22
    10864 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97140   118.60
    10865 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97530    64.18
    10866 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97010    10.00
    10867 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97012    31.90
    10868 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   G0283    27.14
    10869 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97035    25.22
    10870 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97110    63.30
    10871 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97140   118.60
    10872 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97010    10.00
    10873 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97012    31.90
    10874 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   G0283    27.14
    10875 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97035    25.22
    10876 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97110    63.30
    10877 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97140   118.60
    10878 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97010    10.00
    10879 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97012    31.90
    10880 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   G0283    27.14
    10881 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97035    25.22
    10882 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97110    63.30
    10883 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97140   118.60
    10884 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97010    10.00
    10885 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97012    31.90
    10886 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   G0283    27.14
    10887 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97035    25.22
    10888 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97140   118.60
    10889 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97530    64.18
    10890 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97010    10.00
    10891 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97012    31.90
    10892 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   G0283    27.14
    10893 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97035    25.22
    10894 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97110    63.30
    10895 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/10/2016   97140   118.60
    10896 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97010    10.00
    10897 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97012    31.90
    10898 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   G0283    27.14
    10899 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97035    25.22
    10900 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97140   118.60
    10901 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97530    64.18
    10902 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97010    10.00
    10903 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97012    31.90
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 117 of 9287 PageID 251


    10904 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   G0283    27.14
    10905 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97035    25.22
    10906 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97110    63.30
    10907 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97140   118.60
    10908 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97010    10.00
    10909 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97012    31.90
    10910 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   G0283    27.14
    10911 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97035    25.22
    10912 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97140   118.60
    10913 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/10/2016   97530    64.18
    10914 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97010    10.00
    10915 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97012    31.90
    10916 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   G0283    27.14
    10917 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97035    25.22
    10918 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97110    63.30
    10919 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97140   118.60
    10920 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97010    10.00
    10921 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97012    31.90
    10922 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   G0283    27.14
    10923 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97035    25.22
    10924 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97140   118.60
    10925 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97530    64.18
    10926 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97010    10.00
    10927 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   97012    31.90
    10928 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   10/10/2016   G0283    27.14
    10929 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97010    10.00
    10930 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97012    31.90
    10931 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   G0283    27.14
    10932 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97035    25.22
    10933 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97110    63.30
    10934 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97140   118.60
    10935 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97010    10.00
    10936 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97012    31.90
    10937 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   G0283    27.14
    10938 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97035    25.22
    10939 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97140   118.60
    10940 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97530    64.18
    10941 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97010    10.00
    10942 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97012    31.90
    10943 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   G0283    27.14
    10944 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97035    25.22
    10945 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97110    63.30
    10946 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97140   118.60
    10947 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97010    10.00
    10948 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97012    31.90
    10949 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   G0283    27.14
    10950 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97035    25.22
    10951 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97140   118.60
    10952 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97530    64.18
    10953 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97010    10.00
    10954 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97012    31.90
    10955 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   G0283    27.14
    10956 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97035    25.22
    10957 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97110    63.30
    10958 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97140   118.60
    10959 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97010    10.00
    10960 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97012    31.90
    10961 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   G0283    27.14
    10962 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97035    25.22
    10963 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97140   118.60
    10964 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97530    64.18
    10965 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97530    64.18
    10966 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97010    10.00
    10967 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97012    31.90
    10968 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   G0283    27.14
    10969 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97035    25.22
    10970 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97110    63.30
    10971 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97140   118.60
    10972 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97010    10.00
    10973 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97012    31.90
    10974 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   G0283    27.14
    10975 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97035    25.22
    10976 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97140   118.60
    10977 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97530    64.18
    10978 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97010    10.00
    10979 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97012    31.90
    10980 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   G0283    27.14
    10981 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97035    25.22
    10982 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97140   118.60
    10983 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97530    64.18
    10984 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97010    10.00
    10985 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97012    31.90
    10986 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   G0283    27.14
    10987 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97035    25.22
    10988 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97140   118.60
    10989 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97530    64.18
    10990 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97010    10.00
    10991 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97012    31.90
    10992 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   G0283    27.14
    10993 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97035    25.22
    10994 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97110    63.30
    10995 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97140   118.60
    10996 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97010    10.00
    10997 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97012    31.90
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 118 of 9287 PageID 252


    10998 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   G0283    27.14
    10999 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97035    25.22
    11000 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97110    63.30
    11001 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97140   118.60
    11002 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97010    10.00
    11003 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97012    31.90
    11004 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   G0283    27.14
    11005 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97035    25.22
    11006 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97140   118.60
    11007 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97530    64.18
    11008 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97010    10.00
    11009 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97012    31.90
    11010 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   G0283    27.14
    11011 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97035    25.22
    11012 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97140   118.60
    11013 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/17/2016   97530    64.18
    11014 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97010    10.00
    11015 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97012    31.90
    11016 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   G0283    27.14
    11017 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97035    25.22
    11018 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97110    63.30
    11019 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97140   118.60
    11020 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97010    10.00
    11021 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97012    31.90
    11022 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   G0283    27.14
    11023 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97035    25.22
    11024 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97110   118.60
    11025 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97530    64.18
    11026 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97010    10.00
    11027 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97012    31.90
    11028 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   G0283    27.14
    11029 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97035    25.22
    11030 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97110    63.30
    11031 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97140   118.60
    11032 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97010    10.00
    11033 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97012    31.90
    11034 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   G0283    27.14
    11035 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97035    25.22
    11036 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97110    63.30
    11037 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97140   118.60
    11038 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97010    10.00
    11039 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97012    31.90
    11040 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   G0283    27.14
    11041 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97035    25.22
    11042 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97140   118.60
    11043 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97530    64.18
    11044 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97010    10.00
    11045 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97012    31.90
    11046 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   G0283    27.14
    11047 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97035    25.22
    11048 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97140   118.60
    11049 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97530    64.18
    11050 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97010    10.00
    11051 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97012    31.90
    11052 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   G0283    27.14
    11053 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97035    25.22
    11054 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97110    63.30
    11055 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/17/2016   97140   118.60
    11056 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97010    10.00
    11057 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97012    31.90
    11058 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   G0283    27.14
    11059 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97035    25.22
    11060 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97140   118.60
    11061 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/17/2016   97530    64.18
    11062 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97010    10.00
    11063 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97012    31.90
    11064 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   G0283    27.14
    11065 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97035    25.22
    11066 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97110    63.30
    11067 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97140   118.60
    11068 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97010    10.00
    11069 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97012    31.90
    11070 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   G0283    27.14
    11071 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97035    25.22
    11072 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97110    63.30
    11073 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97140   118.60
    11074 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97010    10.00
    11075 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97012    31.90
    11076 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   G0283    27.14
    11077 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97035    25.22
    11078 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97140   118.60
    11079 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97530    64.18
    11080 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97010    10.00
    11081 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97012    31.90
    11082 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   G0283    27.14
    11083 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97035    25.22
    11084 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97140   118.60
    11085 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/17/2016   97530    64.18
    11086 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97010    10.00
    11087 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97012    31.90
    11088 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   G0283    27.14
    11089 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97035    25.22
    11090 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97140   118.60
    11091 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97530    64.18
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    11092 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97010    10.00
    11093 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97012    31.90
    11094 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   G0283    27.14
    11095 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97035    25.22
    11096 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97140   118.60
    11097 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97530    64.18
    11098 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97010    10.00
    11099 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97012    31.90
    11100 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   G0283    27.14
    11101 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97035    25.22
    11102 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97140   118.60
    11103 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97530    64.18
    11104 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97010    10.00
    11105 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97012    31.90
    11106 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   G0283    27.14
    11107 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97035    25.22
    11108 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97110    63.30
    11109 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/17/2016   97140   118.60
    11110 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97010    10.00
    11111 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97012    31.90
    11112 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   G0283    27.14
    11113 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97035    25.22
    11114 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/17/2016   97140   118.60
    11115 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97010    10.00
    11116 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97012    31.90
    11117 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   G0283    27.14
    11118 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97035    25.22
    11119 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97140   118.60
    11120 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97530    64.18
    11121 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97010    10.00
    11122 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97012    31.90
    11123 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   G0283    27.14
    11124 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97035    25.22
    11125 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97140   118.60
    11126 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97530    64.18
    11127 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   99213   145.86
    11128 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   98941    73.98
    11129 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97010    10.00
    11130 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97012    31.90
    11131 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   G0283    27.14
    11132 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97035    25.22
    11133 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97110    63.30
    11134 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/21/2016   97140   118.60
    11135 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97010    10.00
    11136 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97012    31.90
    11137 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   G0283    27.14
    11138 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97035    25.22
    11139 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97140   118.60
    11140 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97530    64.18
    11141 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97010    10.00
    11142 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97012    31.90
    11143 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   G0283    27.14
    11144 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97035    25.22
    11145 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97140   118.60
    11146 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97530    64.18
    11147 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   99213   145.86
    11148 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   98941    73.98
    11149 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   99213   145.86
    11150 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   98941    73.98
    11151 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   99213   145.86
    11152 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97010    10.00
    11153 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97012    31.90
    11154 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   G0283    27.14
    11155 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97035    25.22
    11156 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97140   118.60
    11157 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97530    64.18
    11158 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97010    10.00
    11159 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97012    31.90
    11160 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   G0283    27.14
    11161 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97035    25.22
    11162 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97110    63.30
    11163 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97140   118.60
    11164 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97010    10.00
    11165 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97012    31.90
    11166 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   G0283    27.14
    11167 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97035    25.22
    11168 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97140   118.60
    11169 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97530    64.18
    11170 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97010    10.00
    11171 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97012    31.90
    11172 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   G0283    27.14
    11173 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97035    25.22
    11174 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97110    63.30
    11175 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97140   118.60
    11176 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97010    10.00
    11177 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97012    31.90
    11178 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   G0283    27.14
    11179 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97035    25.22
    11180 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97140   118.60
    11181 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97530    64.18
    11182 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97010    10.00
    11183 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97012    31.90
    11184 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   G0283    27.14
    11185 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97035    25.22
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 120 of 9287 PageID 254


    11186 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97140   118.60
    11187 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/21/2016   97530    64.18
    11188 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97010    10.00
    11189 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97012    31.90
    11190 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   G0283    27.14
    11191 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97035    25.22
    11192 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97140   118.60
    11193 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97530    64.18
    11194 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97010    10.00
    11195 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97012    31.90
    11196 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   G0283    27.14
    11197 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97035    25.22
    11198 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97140   118.60
    11199 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97530    64.18
    11200 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97010    10.00
    11201 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97012    31.90
    11202 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   G0283    27.14
    11203 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97035    25.22
    11204 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97110    63.30
    11205 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/21/2016   97140   118.60
    11206 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97010    10.00
    11207 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97012    31.90
    11208 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   G0283    27.14
    11209 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97035    25.22
    11210 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97140   118.60
    11211 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97530    64.18
    11212 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97010    10.00
    11213 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97012    31.90
    11214 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   G0283    27.14
    11215 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97035    25.22
    11216 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97110    63.30
    11217 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97140   118.60
    11218 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97010    10.00
    11219 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97012    31.90
    11220 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   G0283    27.14
    11221 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97035    25.22
    11222 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97140   118.60
    11223 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/21/2016   97530    64.18
    11224 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97010    10.00
    11225 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97012    31.90
    11226 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   G0283    27.14
    11227 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97035    25.22
    11228 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97110    63.30
    11229 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97140   118.60
    11230 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97010    10.00
    11231 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97012    31.90
    11232 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   G0283    27.14
    11233 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97035    25.22
    11234 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97140   118.60
    11235 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97530    64.18
    11236 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97010    10.00
    11237 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97012    31.90
    11238 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   G0283    27.14
    11239 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97035    25.22
    11240 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97140   118.60
    11241 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   10/21/2016   97530    64.18
    11242 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97010    10.00
    11243 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97012    31.90
    11244 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   G0283    27.14
    11245 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97035    25.22
    11246 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97140   118.60
    11247 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97530    64.18
    11248 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97010    10.00
    11249 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97012    31.90
    11250 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   G0283    27.14
    11251 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97035    25.22
    11252 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97110    63.30
    11253 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97140   118.60
    11254 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97010    10.00
    11255 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97012    31.90
    11256 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   G0283    27.14
    11257 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97035    25.22
    11258 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97140   118.60
    11259 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97530    64.18
    11260 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97010    10.00
    11261 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97012    31.90
    11262 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   G0283    27.14
    11263 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97035    25.22
    11264 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97110    63.30
    11265 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97140   118.60
    11266 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97010    10.00
    11267 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97012    31.90
    11268 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   G0283    27.14
    11269 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97035    25.22
    11270 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97140   118.60
    11271 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97530    64.18
    11272 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97010    10.00
    11273 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97012    31.90
    11274 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   G0283    27.14
    11275 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97035    25.22
    11276 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97110    63.30
    11277 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   10/21/2016   97140   118.60
    11278 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97010    10.00
    11279 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97012    31.90
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 121 of 9287 PageID 255


    11280 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   G0283    27.14
    11281 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97035    25.22
    11282 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97110    63.30
    11283 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/21/2016   97140   118.60
    11284 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97035    25.22
    11285 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97140   118.60
    11286 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97530    64.18
    11287 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97010    10.00
    11288 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97012    31.90
    11289 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   G0283    27.14
    11290 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97035    25.22
    11291 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97140   118.60
    11292 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97530    64.18
    11293 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97010    10.00
    11294 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97012    31.90
    11295 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   G0283    27.14
    11296 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97035    25.22
    11297 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97110    63.30
    11298 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   97140   118.60
    11299 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/31/2016   97010    10.00
    11300 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/31/2016   97012    31.90
    11301 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/31/2016   G0283    27.14
    11302 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/31/2016   97035    25.22
    11303 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/31/2016   97140   118.60
    11304 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   10/31/2016   97530    64.18
    11305 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   10/31/2016   99213   145.86
    11306 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97010    10.00
    11307 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97012    31.90
    11308 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   G0283    27.14
    11309 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97035    25.22
    11310 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97140   118.60
    11311 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97530    64.18
    11312 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97010    10.00
    11313 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97012    31.90
    11314 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   G0283    27.14
    11315 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97035    25.22
    11316 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97110    63.30
    11317 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97140   118.60
    11318 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97010    10.00
    11319 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97012    31.90
    11320 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   G0283    27.14
    11321 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97035    25.22
    11322 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97140   118.60
    11323 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97530    64.18
    11324 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97010    10.00
    11325 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97012    31.90
    11326 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   G0283    27.14
    11327 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97035    25.22
    11328 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97140   118.60
    11329 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97530    64.18
    11330 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97010    10.00
    11331 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97012    31.90
    11332 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   G0283    27.14
    11333 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97035    25.22
    11334 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97110    63.30
    11335 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97140   118.60
    11336 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97010    10.00
    11337 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97012    31.90
    11338 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   G0283    27.14
    11339 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97035    25.22
    11340 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97140   118.60
    11341 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   10/31/2016   97530    64.18
    11342 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97010    10.00
    11343 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97012    31.90
    11344 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   G0283    27.14
    11345 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97035    25.22
    11346 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97140   118.60
    11347 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97530    64.18
    11348 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97010    10.00
    11349 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97012    31.90
    11350 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   G0283    27.14
    11351 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97035    25.22
    11352 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97110    63.30
    11353 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97140   118.60
    11354 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97010    10.00
    11355 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97012    31.90
    11356 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   G0283    27.14
    11357 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97035    25.22
    11358 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97140   118.60
    11359 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   10/31/2016   97530    64.18
    11360 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97010    10.00
    11361 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97012    31.90
    11362 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   G0283    27.14
    11363 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97035    25.22
    11364 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97140   118.60
    11365 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97530    64.18
    11366 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97010    10.00
    11367 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97012    31.90
    11368 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   G0283    27.14
    11369 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97035    25.22
    11370 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97110    63.30
    11371 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97140   118.60
    11372 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97010    10.00
    11373 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   10/31/2016   97012    31.90
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 122 of 9287 PageID 256


    11374 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   10/31/2016   G0283    27.14
    11375 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   10/31/2016   97035    25.22
    11376 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   10/31/2016   97140   118.60
    11377 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   10/31/2016   97530    64.18
    11378 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   97010    10.00
    11379 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   97012    31.90
    11380 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   G0283    27.14
    11381 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   97035    25.22
    11382 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   97140   118.60
    11383 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   97530    64.18
    11384 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   97010    10.00
    11385 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   97012    31.90
    11386 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   G0283    27.14
    11387 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   97035    25.22
    11388 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   97110    63.30
    11389 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   97140   118.60
    11390 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   99213   145.86
    11391 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   10/31/2016   98940    52.38
    11392 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   10/31/2016   97010    10.00
    11393 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   10/31/2016   97012    31.90
    11394 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   10/31/2016   G0283    27.14
    11395 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97010    10.00
    11396 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97012    31.90
    11397 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    G0283    27.14
    11398 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97035    25.22
    11399 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97110    63.30
    11400 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97140   118.60
    11401 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97010    10.00
    11402 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97012    31.90
    11403 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    G0283    27.14
    11404 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97035    25.22
    11405 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97140   118.60
    11406 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97530    64.18
    11407 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97010    10.00
    11408 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97012    31.90
    11409 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    G0283    27.14
    11410 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97035    25.22
    11411 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97110    63.30
    11412 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97140   118.60
    11413 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97010    10.00
    11414 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97012    31.90
    11415 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    G0283    27.14
    11416 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97035    25.22
    11417 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97140   118.60
    11418 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97530    64.18
    11419 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97010    10.00
    11420 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97012    31.90
    11421 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    G0283    27.14
    11422 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97035    25.22
    11423 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97110    63.30
    11424 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/7/2016    97140   118.60
    11425 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97010    10.00
    11426 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97012    31.90
    11427 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    G0283    27.14
    11428 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97035    25.22
    11429 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97140   118.60
    11430 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97530    64.18
    11431 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97010    10.00
    11432 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97012    31.90
    11433 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    G0283    27.14
    11434 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97035    25.22
    11435 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97110    63.30
    11436 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97140   118.60
    11437 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97010    10.00
    11438 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97012    31.90
    11439 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    G0283    27.14
    11440 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97035    25.22
    11441 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97140   118.60
    11442 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97530    64.18
    11443 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97010    10.00
    11444 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97012    31.90
    11445 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    G0283    27.14
    11446 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97035    25.22
    11447 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97110    63.30
    11448 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97140   118.60
    11449 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97010    10.00
    11450 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97012    31.90
    11451 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    G0283    27.14
    11452 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97035    25.22
    11453 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97140   118.60
    11454 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97530    64.18
    11455 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97010    10.00
    11456 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97012    31.90
    11457 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    G0283    27.14
    11458 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97035    25.22
    11459 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97110    63.30
    11460 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97010    10.00
    11461 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97012    31.90
    11462 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    G0283    27.14
    11463 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97035    25.22
    11464 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97035    25.22
    11465 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97140   118.60
    11466 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97530    64.18
    11467 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97010    10.00
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    11468 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11469 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11470 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11471 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97110    63.30
    11472 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11473 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97110    63.30
    11474 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97140   118.60
    11475 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97010    10.00
    11476 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97012    31.90
    11477 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   G0283    27.14
    11478 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97035    25.22
    11479 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97140   118.60
    11480 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97530    64.18
    11481 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97010    10.00
    11482 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97012    31.90
    11483 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   G0283    27.14
    11484 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97035    25.22
    11485 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97140   118.60
    11486 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97530    64.18
    11487 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97010    10.00
    11488 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97012    31.90
    11489 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   G0283    27.14
    11490 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97035    25.22
    11491 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97110    63.30
    11492 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97140   118.60
    11493 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97010    10.00
    11494 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97012    31.90
    11495 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   G0283    27.14
    11496 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97035    25.22
    11497 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97140   118.60
    11498 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97530    64.18
    11499 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97010    10.00
    11500 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97012    31.90
    11501 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   G0283    27.14
    11502 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97035    25.22
    11503 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97110    63.30
    11504 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/7/2016   97140   118.60
    11505 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   99204   333.26
    11506 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11507 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11508 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11509 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11510 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11511 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97535    68.56
    11512 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11513 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11514 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11515 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11516 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11517 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11518 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11519 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11520 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11521 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11522 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11523 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11524 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11525 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11526 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11527 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11528 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11529 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11530 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11531 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11532 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11533 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11534 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97110    63.30
    11535 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11536 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11537 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11538 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11539 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11540 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97110    63.30
    11541 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11542 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11543 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11544 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11545 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11546 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11547 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11548 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11549 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11550 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11551 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11552 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11553 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11554 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11555 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11556 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11557 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11558 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97110    63.30
    11559 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11560 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11561 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 124 of 9287 PageID 258


    11562 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11563 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11564 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11565 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11566 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11567 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11568 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11569 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11570 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97110    63.30
    11571 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11572 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   98941    73.98
    11573 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11574 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11575 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11576 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11577 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97010    10.00
    11578 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97012    31.90
    11579 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   G0283    27.14
    11580 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97035    25.22
    11581 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97140   118.60
    11582 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97530    64.18
    11583 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97010    10.00
    11584 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97012    31.90
    11585 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   G0283    27.14
    11586 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97035    25.22
    11587 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97110    63.30
    11588 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97140   118.60
    11589 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97010    10.00
    11590 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97012    31.90
    11591 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   G0283    27.14
    11592 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97035    25.22
    11593 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97140   118.60
    11594 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/7/2016   97530    64.18
    11595 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97010    10.00
    11596 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97012    31.90
    11597 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   G0283    27.14
    11598 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97035    25.22
    11599 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97110    63.30
    11600 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97140   118.60
    11601 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97010    10.00
    11602 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97012    31.90
    11603 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   G0283    27.14
    11604 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97035    25.22
    11605 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97140   118.60
    11606 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97530    64.18
    11607 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97010    10.00
    11608 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97012    31.90
    11609 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   G0283    27.14
    11610 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97035    25.22
    11611 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97110    63.30
    11612 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97140   118.60
    11613 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97010    10.00
    11614 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97012    31.90
    11615 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   G0283    27.14
    11616 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97035    25.22
    11617 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97140   118.60
    11618 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97530    64.18
    11619 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97010    10.00
    11620 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97012    31.90
    11621 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   G0283    27.14
    11622 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97035    25.22
    11623 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97110    63.30
    11624 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97140   118.60
    11625 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97010    10.00
    11626 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97012    31.90
    11627 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   G0283    27.14
    11628 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97035    25.22
    11629 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97110    63.30
    11630 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   11/7/2016   97140   118.60
    11631 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97010    10.00
    11632 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97012    31.90
    11633 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   G0283    27.14
    11634 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97035    25.22
    11635 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97110    63.30
    11636 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97140   118.60
    11637 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97010    10.00
    11638 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97012    31.90
    11639 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   G0283    27.14
    11640 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97035    25.22
    11641 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97140   118.60
    11642 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97530    64.18
    11643 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97010    10.00
    11644 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97012    31.90
    11645 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   G0283    27.14
    11646 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97035    25.22
    11647 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97140   118.60
    11648 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97530    64.18
    11649 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97010    10.00
    11650 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97012    31.90
    11651 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   G0283    27.14
    11652 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97035    25.22
    11653 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97110    63.30
    11654 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97140   118.60
    11655 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97010    10.00
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    11656 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97012    31.90
    11657 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   G0283    27.14
    11658 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97035    25.22
    11659 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97140   118.60
    11660 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97530    64.18
    11661 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97010    10.00
    11662 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97012    31.90
    11663 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   G0283    27.14
    11664 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97035    25.22
    11665 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97110    63.30
    11666 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/7/2016   97140   118.60
    11667 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97010    10.00
    11668 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97012    31.90
    11669 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   G0283    27.14
    11670 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97035    25.22
    11671 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97140   118.60
    11672 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97530    64.18
    11673 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97010    10.00
    11674 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97012    31.90
    11675 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   G0283    27.14
    11676 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/7/2016   97035    25.22
    11677 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97110    63.30
    11678 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11679 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11680 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11681 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11682 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11683 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11684 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11685 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11686 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11687 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11688 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11689 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97110    63.30
    11690 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11691 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11692 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11693 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11694 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11695 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11696 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11697 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11698 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11699 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11700 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11701 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11702 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11703 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11704 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11705 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11706 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11707 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97110    63.30
    11708 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11709 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11710 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11711 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11712 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11713 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11714 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11715 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11716 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11717 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11718 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11719 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11720 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11721 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   99204   333.26
    11722 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11723 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11724 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11725 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11726 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11727 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97535    68.56
    11728 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11729 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11730 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11731 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11732 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11733 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11734 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11735 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11736 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11737 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11738 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11739 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11740 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11741 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11742 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11743 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
    11744 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97140   118.60
    11745 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97530    64.18
    11746 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97010    10.00
    11747 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97012    31.90
    11748 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   G0283    27.14
    11749 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/7/2016   97035    25.22
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 126 of 9287 PageID 260


    11750 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97140   118.60
    11751 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    97530    64.18
    11752 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/7/2016    98943    32.95
    11753 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   11/16/2016   97035    25.22
    11754 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   11/16/2016   97110    63.30
    11755 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   11/16/2016   97140   118.60
    11756 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97010    10.00
    11757 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97012    31.90
    11758 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   G0283    27.14
    11759 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97035    25.22
    11760 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97140   118.60
    11761 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97530    64.18
    11762 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97010    10.00
    11763 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97012    31.90
    11764 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   G0283    27.14
    11765 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97035    25.22
    11766 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97110    63.30
    11767 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97140   118.60
    11768 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97010    10.00
    11769 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97012    31.90
    11770 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   G0283    27.14
    11771 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97035    25.22
    11772 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97140   118.60
    11773 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97530    64.18
    11774 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97010    10.00
    11775 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97012    31.90
    11776 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   G0283    27.14
    11777 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97035    25.22
    11778 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97110    63.30
    11779 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97140   118.60
    11780 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97010    10.00
    11781 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97012    31.90
    11782 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   G0283    27.14
    11783 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97035    25.22
    11784 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97110    63.30
    11785 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97140   118.60
    11786 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97010    10.00
    11787 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97012    31.90
    11788 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   G0283    27.14
    11789 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97035    25.22
    11790 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97140   118.60
    11791 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97530    64.18
    11792 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97010    10.00
    11793 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97012    31.90
    11794 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   G0283    27.14
    11795 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97035    25.22
    11796 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97140   118.60
    11797 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97530    64.18
    11798 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97010    10.00
    11799 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97012    31.90
    11800 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   G0283    27.14
    11801 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97035    25.22
    11802 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97140   118.60
    11803 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97530    64.18
    11804 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97010    10.00
    11805 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97012    31.90
    11806 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   G0283    27.14
    11807 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97035    25.22
    11808 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97110    63.30
    11809 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   11/16/2016   97140   118.60
    11810 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97110    63.30
    11811 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97140   118.60
    11812 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97010    10.00
    11813 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97012    31.90
    11814 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   G0283    27.14
    11815 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97035    25.22
    11816 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97140   118.60
    11817 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97530    64.18
    11818 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97010    10.00
    11819 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97012    31.90
    11820 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   G0283    27.14
    11821 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97035    25.22
    11822 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97140   118.60
    11823 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97530    64.18
    11824 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97010    10.00
    11825 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97012    31.90
    11826 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   G0283    27.14
    11827 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97035    25.22
    11828 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97110    63.30
    11829 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   11/16/2016   97140   118.60
    11830 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97010    10.00
    11831 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97012    31.90
    11832 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   G0283    27.14
    11833 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97035    25.22
    11834 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97110    63.30
    11835 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97140   118.60
    11836 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97010    10.00
    11837 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97012    31.90
    11838 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   G0283    27.14
    11839 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97035    25.22
    11840 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97140   118.60
    11841 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97530    64.18
    11842 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97010    10.00
    11843 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   11/16/2016   97012    31.90
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 127 of 9287 PageID 261


    11844 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   G0283    27.14
    11845 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97035    25.22
    11846 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97110    63.30
    11847 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97140   118.60
    11848 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97010    10.00
    11849 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97012    31.90
    11850 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   G0283    27.14
    11851 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97035    25.22
    11852 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97140   118.60
    11853 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97530    64.18
    11854 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97010    10.00
    11855 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97012    31.90
    11856 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   G0283    27.14
    11857 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97035    25.22
    11858 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97110    63.30
    11859 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97140   118.60
    11860 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97010    10.00
    11861 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97012    31.90
    11862 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   G0283    27.14
    11863 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97035    25.22
    11864 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97140   118.60
    11865 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   11/16/2016   97530    64.18
    11866 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97010    10.00
    11867 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97012    31.90
    11868 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   G0283    27.14
    11869 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97035    25.22
    11870 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97140   118.60
    11871 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97530    64.18
    11872 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97010    10.00
    11873 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97012    31.90
    11874 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   G0283    27.14
    11875 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97035    25.22
    11876 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97110    63.30
    11877 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97140   118.60
    11878 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97010    10.00
    11879 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97012    31.90
    11880 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   G0283    27.14
    11881 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97035    25.22
    11882 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97140   118.60
    11883 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/16/2016   97530    64.18
    11884 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97010    10.00
    11885 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97012    31.90
    11886 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   G0283    27.14
    11887 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97035    25.22
    11888 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97140   118.60
    11889 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97530    64.18
    11890 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97010    10.00
    11891 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97012    31.90
    11892 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   G0283    27.14
    11893 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97035    25.22
    11894 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97140   118.60
    11895 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97530    64.18
    11896 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97010    10.00
    11897 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   97012    31.90
    11898 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/16/2016   G0283    27.14
    11899 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97010    10.00
    11900 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97012    31.90
    11901 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   G0283    27.14
    11902 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97035    25.22
    11903 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97140   118.60
    11904 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97530    64.18
    11905 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97010    10.00
    11906 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97012    31.90
    11907 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   G0283    27.14
    11908 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97035    25.22
    11909 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97110    63.30
    11910 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97140   118.60
    11911 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97010    10.00
    11912 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97012    31.90
    11913 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   G0283    27.14
    11914 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   11/16/2016   97035    25.22
    11915 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97010    10.00
    11916 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97012    31.90
    11917 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   G0283    27.14
    11918 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97035    25.22
    11919 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97110    63.30
    11920 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97140   118.60
    11921 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97010    10.00
    11922 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97012    31.90
    11923 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   G0283    27.14
    11924 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97035    25.22
    11925 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97140   118.60
    11926 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97530    64.18
    11927 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97010    10.00
    11928 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97012    31.90
    11929 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   G0283    27.14
    11930 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97035    25.22
    11931 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97110    63.30
    11932 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97140   118.60
    11933 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97010    10.00
    11934 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97012    31.90
    11935 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   G0283    27.14
    11936 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97035    25.22
    11937 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97140   118.60
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 128 of 9287 PageID 262


    11938 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97530    64.18
    11939 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97010    10.00
    11940 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97012    31.90
    11941 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   G0283    27.14
    11942 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97035    25.22
    11943 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97140   118.60
    11944 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   11/21/2016   97530    64.18
    11945 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97010    10.00
    11946 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97012    31.90
    11947 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   G0283    27.14
    11948 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97035    25.22
    11949 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97110    63.30
    11950 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97140   118.60
    11951 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97010    10.00
    11952 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97012    31.90
    11953 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   G0283    27.14
    11954 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97035    25.22
    11955 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97140   118.60
    11956 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97530    64.18
    11957 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97010    10.00
    11958 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97012    31.90
    11959 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   G0283    27.14
    11960 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97035    25.22
    11961 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97140   118.60
    11962 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97530    64.18
    11963 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97010    10.00
    11964 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97012    31.90
    11965 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   G0283    27.14
    11966 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97035    25.22
    11967 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97110    63.30
    11968 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97140   118.60
    11969 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97010    10.00
    11970 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97012    31.90
    11971 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   G0283    27.14
    11972 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97035    25.22
    11973 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97110    63.30
    11974 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97140   118.60
    11975 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97010    10.00
    11976 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97012    31.90
    11977 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   G0283    27.14
    11978 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97035    25.22
    11979 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97110    63.30
    11980 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   97140   118.60
    11981 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   99213   145.86
    11982 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   11/21/2016   98941    73.98
    11983 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/21/2016   97010    10.00
    11984 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/21/2016   97012    31.90
    11985 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/21/2016   G0283    27.14
    11986 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/21/2016   97035    25.22
    11987 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/21/2016   97140   118.60
    11988 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/21/2016   97530    64.18
    11989 Himes Walk In Clinic, LLC   0469750630101032   7/15/2016   Bill   11/21/2016   99213   145.86
    11990 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97010    10.00
    11991 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97012    31.90
    11992 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   G0283    27.14
    11993 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97035    25.22
    11994 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97140   118.60
    11995 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016    Bill   11/21/2016   97530    64.18
    11996 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97035    25.22
    11997 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97140   118.60
    11998 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97530    64.18
    11999 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    99213   145.86
    12000 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97010    10.00
    12001 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97012    31.90
    12002 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    G0283    27.14
    12003 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97035    25.22
    12004 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97140   118.60
    12005 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97530    64.18
    12006 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97010    10.00
    12007 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97012    31.90
    12008 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    G0283    27.14
    12009 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97035    25.22
    12010 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97110    63.30
    12011 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97140   118.60
    12012 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97010    10.00
    12013 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97012    31.90
    12014 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    G0283    27.14
    12015 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97035    25.22
    12016 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97110    63.30
    12017 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97140   118.60
    12018 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97010    10.00
    12019 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97012    31.90
    12020 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    G0283    27.14
    12021 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97035    25.22
    12022 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97140   118.60
    12023 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97530    64.18
    12024 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97010    10.00
    12025 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97012    31.90
    12026 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    G0283    27.14
    12027 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97035    25.22
    12028 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97110    63.30
    12029 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97140   118.60
    12030 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97010    10.00
    12031 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016    97012    31.90
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    12032 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   12/1/2016   G0283    27.14
    12033 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   12/1/2016   97035    25.22
    12034 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   12/1/2016   97140   118.60
    12035 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016   Bill   12/1/2016   97530    64.18
    12036 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   99213   145.86
    12037 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97010    10.00
    12038 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97012    31.90
    12039 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   G0283    27.14
    12040 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97035    25.22
    12041 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97140   118.60
    12042 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97530    64.18
    12043 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97010    10.00
    12044 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97012    31.90
    12045 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   G0283    27.14
    12046 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97035    25.22
    12047 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97110    63.30
    12048 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97140   118.60
    12049 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97010    10.00
    12050 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97012    31.90
    12051 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   G0283    27.14
    12052 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97035    25.22
    12053 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97140   118.60
    12054 Himes Walk In Clinic, LLC   0526596700101019   8/9/2016   Bill   12/1/2016   97530    64.18
    12055 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   99213   145.86
    12056 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   98941    73.98
    12057 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97010    10.00
    12058 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97012    31.90
    12059 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   G0283    27.14
    12060 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97035    25.22
    12061 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97110    63.30
    12062 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97140   118.60
    12063 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97010    10.00
    12064 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97012    31.90
    12065 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   G0283    27.14
    12066 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97035    25.22
    12067 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97140   118.60
    12068 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97530    64.18
    12069 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97010    10.00
    12070 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97012    31.90
    12071 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   G0283    27.14
    12072 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97035    25.22
    12073 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97140   118.60
    12074 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97530    64.18
    12075 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97010    10.00
    12076 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97012    31.90
    12077 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   G0283    27.14
    12078 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97035    25.22
    12079 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97110    63.30
    12080 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97140   118.60
    12081 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97010    10.00
    12082 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97012    31.90
    12083 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   G0283    27.14
    12084 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97035    25.22
    12085 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97140   118.60
    12086 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97530    64.18
    12087 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97010    10.00
    12088 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97012    31.90
    12089 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   G0283    27.14
    12090 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97035    25.22
    12091 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97110    63.30
    12092 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97140   118.60
    12093 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   99213   145.86
    12094 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   98941    73.98
    12095 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97010    10.00
    12096 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97012    31.90
    12097 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   G0283    27.14
    12098 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97035    25.22
    12099 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97110    63.30
    12100 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97140   118.60
    12101 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97010    10.00
    12102 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97012    31.90
    12103 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   G0283    27.14
    12104 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97035    25.22
    12105 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97140   118.60
    12106 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97530    64.18
    12107 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97010    10.00
    12108 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97012    31.90
    12109 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   G0283    27.14
    12110 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97035    25.22
    12111 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97140   118.60
    12112 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97530    64.18
    12113 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97010    10.00
    12114 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97012    31.90
    12115 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   G0283    27.14
    12116 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97035    25.22
    12117 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016   Bill   12/1/2016   97140   118.60
    12118 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   12/1/2016   97530    64.18
    12119 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   12/1/2016   97010    10.00
    12120 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   12/1/2016   97012    31.90
    12121 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   12/1/2016   G0283    27.14
    12122 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   12/1/2016   97035    25.22
    12123 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   12/1/2016   97110    63.30
    12124 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   12/1/2016   97140   118.60
    12125 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016   Bill   12/1/2016   97010    10.00
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    12126 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97012    31.90
    12127 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   G0283    27.14
    12128 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97035    25.22
    12129 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97140   118.60
    12130 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97530    64.18
    12131 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97010    10.00
    12132 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97012    31.90
    12133 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   G0283    27.14
    12134 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97035    25.22
    12135 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97140   118.60
    12136 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97530    64.18
    12137 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97010    10.00
    12138 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97012    31.90
    12139 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   G0283    27.14
    12140 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97035    25.22
    12141 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97110    63.30
    12142 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97140   118.60
    12143 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   99213   145.86
    12144 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   99213   145.86
    12145 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97010    10.00
    12146 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97012    31.90
    12147 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   G0283    27.14
    12148 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97035    25.22
    12149 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97140   118.60
    12150 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97530    64.18
    12151 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97010    10.00
    12152 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97012    31.90
    12153 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   G0283    27.14
    12154 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97035    25.22
    12155 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97140   118.60
    12156 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97530    64.18
    12157 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97010    10.00
    12158 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97012    31.90
    12159 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   G0283    27.14
    12160 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97035    25.22
    12161 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97110    63.30
    12162 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97140   118.60
    12163 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97010    10.00
    12164 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97012    31.90
    12165 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   G0283    27.14
    12166 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97035    25.22
    12167 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97110    63.30
    12168 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97140   118.60
    12169 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97010    10.00
    12170 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97012    31.90
    12171 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   G0283    27.14
    12172 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97035    25.22
    12173 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97140   118.60
    12174 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97530    64.18
    12175 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97010    10.00
    12176 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97012    31.90
    12177 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   G0283    27.14
    12178 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97035    25.22
    12179 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97110    63.30
    12180 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   97140   118.60
    12181 Himes Walk In Clinic, LLC   0506064100101034   8/5/2016    Bill   12/1/2016   99213   145.86
    12182 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97010    10.00
    12183 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97012    31.90
    12184 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   G0283    27.14
    12185 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97035    25.22
    12186 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97140   118.60
    12187 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97530    64.18
    12188 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97010    10.00
    12189 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97012    31.90
    12190 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   G0283    27.14
    12191 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97035    25.22
    12192 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97110    63.30
    12193 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97140   118.60
    12194 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97010    10.00
    12195 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97012    31.90
    12196 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   G0283    27.14
    12197 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97035    25.22
    12198 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97140   118.60
    12199 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97530    64.18
    12200 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97010    10.00
    12201 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97012    31.90
    12202 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   G0283    27.14
    12203 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97035    25.22
    12204 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97110    63.30
    12205 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97140   118.60
    12206 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97010    10.00
    12207 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97012    31.90
    12208 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   G0283    27.14
    12209 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97035    25.22
    12210 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97140   118.60
    12211 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97530    64.18
    12212 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97010    10.00
    12213 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97012    31.90
    12214 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   G0283    27.14
    12215 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97035    25.22
    12216 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97110    63.30
    12217 Himes Walk In Clinic, LLC   0539635500101020   7/20/2016   Bill   12/1/2016   97140   118.60
    12218 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97010    10.00
    12219 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016   97012    31.90
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    12220 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016    G0283    27.14
    12221 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016    97035    25.22
    12222 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016    97110    63.30
    12223 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016    97140   118.60
    12224 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016    97010    10.00
    12225 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016    97012    31.90
    12226 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016    G0283    27.14
    12227 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016    97035    25.22
    12228 Himes Walk In Clinic, LLC   0389756480101045   8/2/2016    Bill   12/1/2016    97140   118.60
    12229 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97530    64.18
    12230 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97010    10.00
    12231 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97012    31.90
    12232 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    G0283    27.14
    12233 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97035    25.22
    12234 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97110    63.30
    12235 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97140   118.60
    12236 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97010    10.00
    12237 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    97012    31.90
    12238 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/1/2016    G0283    27.14
    12239 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97010    10.00
    12240 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97012    31.90
    12241 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    G0283    27.14
    12242 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97035    25.22
    12243 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97140   118.60
    12244 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97530    64.18
    12245 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97010    10.00
    12246 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97012    31.90
    12247 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    G0283    27.14
    12248 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97035    25.22
    12249 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97140   118.60
    12250 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97530    64.18
    12251 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97010    10.00
    12252 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97012    31.90
    12253 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    G0283    27.14
    12254 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97035    25.22
    12255 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97140   118.60
    12256 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97530    64.18
    12257 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97010    10.00
    12258 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97012    31.90
    12259 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    G0283    27.14
    12260 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97035    25.22
    12261 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97110    63.30
    12262 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97140   118.60
    12263 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97010    10.00
    12264 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97012    31.90
    12265 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    G0283    27.14
    12266 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97035    25.22
    12267 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97110    63.30
    12268 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97140   118.60
    12269 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97010    10.00
    12270 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97012    31.90
    12271 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    G0283    27.14
    12272 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97035    25.22
    12273 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97110    63.30
    12274 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/5/2016    97140   118.60
    12275 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   99204   333.26
    12276 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97010    10.00
    12277 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97012    31.90
    12278 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   G0283    27.14
    12279 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97035    25.22
    12280 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97140   118.60
    12281 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97535    68.56
    12282 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97010    10.00
    12283 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97012    31.90
    12284 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   G0283    27.14
    12285 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97035    25.22
    12286 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97110    63.30
    12287 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97140   118.60
    12288 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97010    10.00
    12289 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97012    31.90
    12290 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   G0283    27.14
    12291 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97035    25.22
    12292 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97140   118.60
    12293 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97530    64.18
    12294 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97010    10.00
    12295 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97012    31.90
    12296 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   G0283    27.14
    12297 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97035    25.22
    12298 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97110    63.30
    12299 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97140   118.60
    12300 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97010    10.00
    12301 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97012    31.90
    12302 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   G0283    27.14
    12303 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97035    25.22
    12304 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97110    63.30
    12305 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97140   118.60
    12306 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97010    10.00
    12307 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97012    31.90
    12308 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   G0283    27.14
    12309 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97035    25.22
    12310 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97140   118.60
    12311 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97530    64.18
    12312 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97010    10.00
    12313 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97012    31.90
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    12314 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   G0283    27.14
    12315 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97035    25.22
    12316 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97110    63.30
    12317 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97140   118.60
    12318 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   G0283    27.14
    12319 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97035    25.22
    12320 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97140   118.60
    12321 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97530    64.18
    12322 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97010    10.00
    12323 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97012    31.90
    12324 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   G0283    27.14
    12325 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97035    25.22
    12326 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97110    63.30
    12327 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97140   118.60
    12328 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   99213   145.86
    12329 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97010    10.00
    12330 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97012    31.90
    12331 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   G0283    27.14
    12332 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97035    25.22
    12333 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97110    63.30
    12334 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97140   118.60
    12335 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97010    10.00
    12336 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97012    31.90
    12337 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   G0283    27.14
    12338 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97035    25.22
    12339 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97140   118.60
    12340 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97530    64.18
    12341 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97010    10.00
    12342 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97012    31.90
    12343 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   G0283    27.14
    12344 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97035    25.22
    12345 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97140   118.60
    12346 Himes Walk In Clinic, LLC   0553445740101025   8/29/2016   Bill   12/14/2016   97530    64.18
    12347 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97010    10.00
    12348 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97012    31.90
    12349 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   G0283    27.14
    12350 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97035    25.22
    12351 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97140   118.60
    12352 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97530    64.18
    12353 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97010    10.00
    12354 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97012    31.90
    12355 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   G0283    27.14
    12356 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97035    25.22
    12357 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97110    63.30
    12358 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97140   118.60
    12359 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97010    10.00
    12360 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/14/2016   97012    31.90
    12361 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97010    10.00
    12362 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97012    31.90
    12363 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   G0283    27.14
    12364 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97035    25.22
    12365 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97140   118.60
    12366 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97530    64.18
    12367 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97010    10.00
    12368 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97012    31.90
    12369 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   G0283    27.14
    12370 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97035    25.22
    12371 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97110    63.30
    12372 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/14/2016   97140   118.60
    12373 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97140   118.60
    12374 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97010    10.00
    12375 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97012    31.90
    12376 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   G0283    27.14
    12377 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97035    25.22
    12378 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97110    63.30
    12379 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97140   118.60
    12380 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97010    10.00
    12381 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97012    31.90
    12382 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   G0283    27.14
    12383 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97035    25.22
    12384 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97140   118.60
    12385 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97530    64.18
    12386 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97010    10.00
    12387 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97012    31.90
    12388 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   G0283    27.14
    12389 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97035    25.22
    12390 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97110    63.30
    12391 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97140   118.60
    12392 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97010    10.00
    12393 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97012    31.90
    12394 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   G0283    27.14
    12395 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97035    25.22
    12396 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97140   118.60
    12397 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97530    64.18
    12398 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97010    10.00
    12399 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97012    31.90
    12400 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   G0283    27.14
    12401 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97035    25.22
    12402 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97140   118.60
    12403 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97530    64.18
    12404 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97010    10.00
    12405 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97012    31.90
    12406 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   G0283    27.14
    12407 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97035    25.22
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 133 of 9287 PageID 267


    12408 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97140   118.60
    12409 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97530    64.18
    12410 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97010    10.00
    12411 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97012    31.90
    12412 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   G0283    27.14
    12413 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97035    25.22
    12414 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97110    63.30
    12415 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97140   118.60
    12416 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97010    10.00
    12417 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97012    31.90
    12418 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   G0283    27.14
    12419 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97035    25.22
    12420 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97140   118.60
    12421 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97530    64.18
    12422 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97010    10.00
    12423 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97012    31.90
    12424 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   G0283    27.14
    12425 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97035    25.22
    12426 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97110    63.30
    12427 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97140   118.60
    12428 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97010    10.00
    12429 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97012    31.90
    12430 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   G0283    27.14
    12431 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97035    25.22
    12432 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97140   118.60
    12433 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97530    64.18
    12434 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97010    10.00
    12435 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97012    31.90
    12436 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   G0283    27.14
    12437 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97035    25.22
    12438 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97140   118.60
    12439 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/20/2016   97530    64.18
    12440 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97010    10.00
    12441 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97012    31.90
    12442 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   G0283    27.14
    12443 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97035    25.22
    12444 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97140   118.60
    12445 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97530    64.18
    12446 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97010    10.00
    12447 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97012    31.90
    12448 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   G0283    27.14
    12449 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97035    25.22
    12450 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016   Bill   12/20/2016   97110    63.30
    12451 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97010    10.00
    12452 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97012    31.90
    12453 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   G0283    27.14
    12454 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97035    25.22
    12455 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97140   118.60
    12456 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97530    64.18
    12457 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97010    10.00
    12458 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97012    31.90
    12459 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   G0283    27.14
    12460 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97035    25.22
    12461 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97110    63.30
    12462 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97140   118.60
    12463 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97010    10.00
    12464 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97012    31.90
    12465 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   G0283    27.14
    12466 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97035    25.22
    12467 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97110    63.30
    12468 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97140   118.60
    12469 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97010    10.00
    12470 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97012    31.90
    12471 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   G0283    27.14
    12472 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97035    25.22
    12473 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97140   118.60
    12474 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97530    64.18
    12475 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97010    10.00
    12476 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97012    31.90
    12477 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   G0283    27.14
    12478 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97035    25.22
    12479 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97140   118.60
    12480 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016   Bill   12/27/2016   97530    64.18
    12481 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97010    10.00
    12482 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97012    31.90
    12483 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   G0283    27.14
    12484 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97035    25.22
    12485 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97110    63.30
    12486 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97140   118.60
    12487 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97010    10.00
    12488 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97012    31.90
    12489 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   G0283    27.14
    12490 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97035    25.22
    12491 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97140   118.60
    12492 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97530    64.18
    12493 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97010    10.00
    12494 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97012    31.90
    12495 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   G0283    27.14
    12496 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97035    25.22
    12497 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97140   118.60
    12498 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97530    64.18
    12499 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97010    10.00
    12500 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   97012    31.90
    12501 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016    Bill   12/27/2016   G0283    27.14
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 134 of 9287 PageID 268


    12502 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016     Bill   12/27/2016   97035    25.22
    12503 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016     Bill   12/27/2016   97140   118.60
    12504 Himes Walk In Clinic, LLC   0390734760101032   9/5/2016     Bill   12/27/2016   97530    64.18
    12505 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   97010    10.00
    12506 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   97012    31.90
    12507 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   G0283    27.14
    12508 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   97035    25.22
    12509 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   97110    63.30
    12510 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   97140   118.60
    12511 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   97010    10.00
    12512 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   97012    31.90
    12513 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   G0283    27.14
    12514 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   97035    25.22
    12515 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   97140   118.60
    12516 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   97530    64.18
    12517 Himes Walk In Clinic, LLC   0532617150101010   8/24/2016    Bill   12/27/2016   99213   145.86
    12518 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97010    10.00
    12519 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97012    31.90
    12520 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     G0283    27.14
    12521 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97035    25.22
    12522 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97140   118.60
    12523 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97530    64.18
    12524 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97010    10.00
    12525 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97012    31.90
    12526 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     G0283    27.14
    12527 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97035    25.22
    12528 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97110    63.30
    12529 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97140   118.60
    12530 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97010    10.00
    12531 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97012    31.90
    12532 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     G0283    27.14
    12533 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97035    25.22
    12534 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97140   118.60
    12535 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97530    64.18
    12536 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97010    10.00
    12537 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97012    31.90
    12538 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     G0283    27.14
    12539 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97035    25.22
    12540 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97140   118.60
    12541 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97530    64.18
    12542 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97010    10.00
    12543 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97012    31.90
    12544 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     G0283    27.14
    12545 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97035    25.22
    12546 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97110    63.30
    12547 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97140   118.60
    12548 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97010    10.00
    12549 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97012    31.90
    12550 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     G0283    27.14
    12551 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97035    25.22
    12552 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97140   118.60
    12553 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97530    64.18
    12554 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97010    10.00
    12555 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97012    31.90
    12556 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     G0283    27.14
    12557 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97035    25.22
    12558 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97140   118.60
    12559 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/9/2017     97530    64.18
    12560 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97035    25.22
    12561 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97140   118.60
    12562 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97535    68.56
    12563 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97010    10.00
    12564 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97012    31.90
    12565 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    G0283    27.14
    12566 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97035    25.22
    12567 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97110    63.30
    12568 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97140   118.60
    12569 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97010    10.00
    12570 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97012    31.90
    12571 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    G0283    27.14
    12572 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97035    25.22
    12573 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97140   118.60
    12574 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97530    64.18
    12575 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97010    10.00
    12576 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97012    31.90
    12577 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    G0283    27.14
    12578 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97035    25.22
    12579 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97110    63.30
    12580 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97140   118.60
    12581 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97010    10.00
    12582 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97012    31.90
    12583 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    G0283    27.14
    12584 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97035    25.22
    12585 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97140   118.60
    12586 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97530    64.18
    12587 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97010    10.00
    12588 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97012    31.90
    12589 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    G0283    27.14
    12590 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97035    25.22
    12591 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97140   118.60
    12592 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97530    64.18
    12593 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    99204   333.26
    12594 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97010    10.00
    12595 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017    97012    31.90
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    12596 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/11/2017   G0283    27.14
    12597 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   99213   145.86
    12598 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   98941    73.98
    12599 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97010    10.00
    12600 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97012    31.90
    12601 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   G0283    27.14
    12602 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97035    25.22
    12603 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97140   118.60
    12604 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97530    64.18
    12605 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97010    10.00
    12606 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97012    31.90
    12607 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   G0283    27.14
    12608 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97035    25.22
    12609 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97110    63.30
    12610 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97140   118.60
    12611 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97010    10.00
    12612 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97012    31.90
    12613 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   G0283    27.14
    12614 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97035    25.22
    12615 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97140   118.60
    12616 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/16/2017   97530    64.18
    12617 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97110    63.30
    12618 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97140   118.60
    12619 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97010    10.00
    12620 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97012    31.90
    12621 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   G0283    27.14
    12622 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97035    25.22
    12623 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97110    63.30
    12624 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97140   118.60
    12625 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97010    10.00
    12626 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97012    31.90
    12627 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   G0283    27.14
    12628 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97035    25.22
    12629 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97140   118.60
    12630 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97530    64.18
    12631 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97010    10.00
    12632 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97012    31.90
    12633 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   G0283    27.14
    12634 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97035    25.22
    12635 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97140   118.60
    12636 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97530    64.18
    12637 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97010    10.00
    12638 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97012    31.90
    12639 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   G0283    27.14
    12640 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97035    25.22
    12641 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97110    63.30
    12642 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97140   118.60
    12643 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97010    10.00
    12644 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97012    31.90
    12645 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   G0283    27.14
    12646 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97035    25.22
    12647 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97140   118.60
    12648 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/23/2017   97530    64.18
    12649 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   98941    73.98
    12650 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97010    10.00
    12651 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97012    31.90
    12652 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   G0283    27.14
    12653 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97035    25.22
    12654 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97110    63.30
    12655 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97140   118.60
    12656 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97010    10.00
    12657 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97012    31.90
    12658 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   G0283    27.14
    12659 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97035    25.22
    12660 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97140   118.60
    12661 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97530    64.18
    12662 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97010    10.00
    12663 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97012    31.90
    12664 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   G0283    27.14
    12665 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97035    25.22
    12666 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97110    63.30
    12667 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97140   118.60
    12668 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97010    10.00
    12669 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97012    31.90
    12670 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   G0283    27.14
    12671 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97035    25.22
    12672 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97140   118.60
    12673 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97530    64.18
    12674 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97010    10.00
    12675 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97012    31.90
    12676 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   G0283    27.14
    12677 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   1/23/2017   97035    25.22
    12678 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   G0283    27.14
    12679 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97035    25.22
    12680 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97110    63.30
    12681 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97140   118.60
    12682 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97010    15.00
    12683 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97012    37.12
    12684 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   G0283    27.14
    12685 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97035    25.22
    12686 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97110    63.30
    12687 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97140   118.60
    12688 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97010    15.00
    12689 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97012    37.12
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    12690 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   G0283    27.14
    12691 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97035    25.22
    12692 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97140   118.60
    12693 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97530    64.18
    12694 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97010    15.00
    12695 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   1/30/2017   97012    37.12
    12696 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97010    15.00
    12697 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97012    37.12
    12698 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    G0283    27.14
    12699 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97035    25.22
    12700 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97140   118.60
    12701 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97530    64.18
    12702 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97010    15.00
    12703 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97012    37.12
    12704 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    G0283    27.14
    12705 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97035    25.22
    12706 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97110    63.30
    12707 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97140   118.60
    12708 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97010    15.00
    12709 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97012    37.12
    12710 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    G0283    27.14
    12711 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97035    25.22
    12712 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97140   118.60
    12713 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/4/2017    97530    64.18
    12714 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   G0283    27.14
    12715 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97035    25.22
    12716 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97140   118.60
    12717 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97530    64.18
    12718 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97010    15.00
    12719 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97012    37.12
    12720 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   G0283    27.14
    12721 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97035    25.22
    12722 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97110    63.30
    12723 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97140   118.60
    12724 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97010    15.00
    12725 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97012    37.12
    12726 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   G0283    27.14
    12727 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97035    25.22
    12728 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97140   118.60
    12729 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97530    64.18
    12730 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97010    15.00
    12731 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97012    37.12
    12732 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   G0283    27.14
    12733 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97035    25.22
    12734 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97110    63.30
    12735 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97140   118.60
    12736 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97010    15.00
    12737 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97012    37.12
    12738 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   G0283    27.14
    12739 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97035    25.22
    12740 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97140   118.60
    12741 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97530    64.18
    12742 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97010    15.00
    12743 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97012    37.12
    12744 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   G0283    27.14
    12745 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97035    25.22
    12746 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97110    63.30
    12747 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97140   118.60
    12748 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97010    15.00
    12749 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97012    37.12
    12750 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   G0283    27.14
    12751 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97035    25.22
    12752 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97140   118.60
    12753 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97530    64.18
    12754 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97010    15.00
    12755 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97012    37.12
    12756 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   G0283    27.14
    12757 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97035    25.22
    12758 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97110    63.30
    12759 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97140   118.60
    12760 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97010    15.00
    12761 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97012    37.12
    12762 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   G0283    27.14
    12763 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97035    25.22
    12764 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97140   118.60
    12765 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/13/2017   97530    64.18
    12766 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97010    15.00
    12767 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/13/2017   97012    37.12
    12768 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   99213   145.86
    12769 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   98941    73.98
    12770 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97010    15.00
    12771 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97012    37.12
    12772 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   G0283    27.14
    12773 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97035    25.22
    12774 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97110    63.30
    12775 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97140   118.60
    12776 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97010    15.00
    12777 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97012    37.12
    12778 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   G0283    27.14
    12779 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97035    25.22
    12780 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97140   118.60
    12781 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97530    64.18
    12782 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97010    15.00
    12783 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97012    37.12
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    12784 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   G0283    27.14
    12785 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97035    25.22
    12786 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97140   118.60
    12787 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   2/20/2017   97530    64.18
    12788 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97035    25.22
    12789 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97110    63.30
    12790 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97140   118.60
    12791 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97010    15.00
    12792 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97012    37.12
    12793 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   G0283    27.14
    12794 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97035    25.22
    12795 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97140   118.60
    12796 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97530    64.18
    12797 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97010    15.00
    12798 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97012    37.12
    12799 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   G0283    27.14
    12800 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97035    25.22
    12801 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97140   118.60
    12802 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97530    64.18
    12803 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97010    15.00
    12804 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   97012    37.12
    12805 Himes Walk In Clinic, LLC   0562695400101041   11/5/2016    Bill   2/22/2017   G0283    27.14
    12806 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97010    15.00
    12807 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97012    37.12
    12808 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   G0283    27.14
    12809 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97035    25.22
    12810 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97110    63.30
    12811 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97140   118.60
    12812 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97010    15.00
    12813 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97012    37.12
    12814 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   G0283    27.14
    12815 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97035    25.22
    12816 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97140   118.60
    12817 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97530    64.18
    12818 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97010    15.00
    12819 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97012    37.12
    12820 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   G0283    27.14
    12821 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97035    25.22
    12822 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97140   118.60
    12823 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97530    64.18
    12824 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97010    15.00
    12825 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97012    37.12
    12826 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   G0283    27.14
    12827 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97035    25.22
    12828 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97110    63.30
    12829 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97140   118.60
    12830 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97010    15.00
    12831 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97012    37.12
    12832 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   G0283    27.14
    12833 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97035    25.22
    12834 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97110    63.30
    12835 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97140   118.60
    12836 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97010    15.00
    12837 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97012    37.12
    12838 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   G0283    27.14
    12839 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97035    25.22
    12840 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97140   118.60
    12841 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/13/2017   97530    64.18
    12842 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   99213   145.86
    12843 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97010    15.00
    12844 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97012    37.12
    12845 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   G0283    27.14
    12846 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97035    25.22
    12847 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97110    63.30
    12848 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97140   118.60
    12849 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97010    15.00
    12850 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97012    37.12
    12851 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   G0283    27.14
    12852 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97035    25.22
    12853 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97110    63.30
    12854 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97140   118.60
    12855 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97010    15.00
    12856 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97012    37.12
    12857 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   G0283    27.14
    12858 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97035    25.22
    12859 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97140   118.60
    12860 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97530    64.18
    12861 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97010    15.00
    12862 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97012    37.12
    12863 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   G0283    27.14
    12864 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97035    25.22
    12865 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97110    63.30
    12866 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97140   118.60
    12867 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97010    15.00
    12868 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97012    37.12
    12869 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   G0283    27.14
    12870 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97035    25.22
    12871 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97140   118.60
    12872 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97530    64.18
    12873 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97010    15.00
    12874 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97012    37.12
    12875 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   G0283    27.14
    12876 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97035    25.22
    12877 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97140   118.60
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    12878 Himes Walk In Clinic, LLC   0528199190101025   12/15/2016   Bill   3/27/2017   97530    64.18
    12879 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97530    64.18
    12880 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97010    15.00
    12881 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97012    37.12
    12882 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   G0283    27.14
    12883 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97035    25.22
    12884 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97110    63.30
    12885 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97140   118.60
    12886 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97010    15.00
    12887 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97012    37.12
    12888 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   G0283    27.14
    12889 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97035    25.22
    12890 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97140   118.60
    12891 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97530    64.18
    12892 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97010    15.00
    12893 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97012    37.12
    12894 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   G0283    27.14
    12895 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97035    25.22
    12896 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97140   118.60
    12897 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97530    64.18
    12898 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97010    15.00
    12899 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97012    37.12
    12900 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   G0283    27.14
    12901 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97035    25.22
    12902 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97110    63.30
    12903 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97140   118.60
    12904 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   99204   333.26
    12905 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97010    15.00
    12906 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97012    37.12
    12907 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   G0283    27.14
    12908 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97035    25.22
    12909 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97140   118.60
    12910 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97535    68.56
    12911 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97010    15.00
    12912 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97012    37.12
    12913 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   G0283    27.14
    12914 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97035    25.22
    12915 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97140   118.60
    12916 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97530    64.18
    12917 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97010    15.00
    12918 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97012    37.12
    12919 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   G0283    27.14
    12920 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97035    25.22
    12921 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97110    63.30
    12922 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97140   118.60
    12923 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97010    15.00
    12924 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97012    37.12
    12925 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   G0283    27.14
    12926 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97035    25.22
    12927 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97110    63.30
    12928 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97140   118.60
    12929 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97010    15.00
    12930 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97012    37.12
    12931 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   G0283    27.14
    12932 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97035    25.22
    12933 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97140   118.60
    12934 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97530    64.18
    12935 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97010    15.00
    12936 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97012    37.12
    12937 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   G0283    27.14
    12938 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97035    25.22
    12939 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/17/2017   97140   118.60
    12940 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97012    37.12
    12941 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   G0283    27.14
    12942 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97035    25.22
    12943 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97110    63.30
    12944 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97140   118.60
    12945 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97530    64.18
    12946 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97010    15.00
    12947 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97012    37.12
    12948 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   G0283    27.14
    12949 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97035    25.22
    12950 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97110    63.30
    12951 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97140   118.60
    12952 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97010    15.00
    12953 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97012    37.12
    12954 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   G0283    27.14
    12955 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97035    25.22
    12956 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97110    63.30
    12957 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97140   118.60
    12958 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97010    15.00
    12959 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97012    37.12
    12960 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   G0283    27.14
    12961 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97035    25.22
    12962 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97140   118.60
    12963 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   4/22/2017   97530    64.18
    12964 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   5/1/2017    97010    13.00
    12965 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   5/1/2017    97012    33.00
    12966 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   5/1/2017    G0283    27.14
    12967 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   5/1/2017    97035    25.22
    12968 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   5/1/2017    97110    63.30
    12969 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   5/1/2017    97140   118.60
    12970 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   5/1/2017    97010    13.00
    12971 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017    Bill   5/1/2017    97012    33.00
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    12972 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/1/2017    G0283    27.14
    12973 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/1/2017    97035    25.22
    12974 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/1/2017    97140   118.60
    12975 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/1/2017    97530    64.18
    12976 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97010    13.00
    12977 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97012    33.00
    12978 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    G0283    27.14
    12979 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97035    25.22
    12980 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97140   118.60
    12981 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97530    64.18
    12982 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97010    13.00
    12983 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97012    33.00
    12984 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    G0283    27.14
    12985 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97035    25.22
    12986 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97110    63.30
    12987 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97140   118.60
    12988 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97010    13.00
    12989 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97012    33.00
    12990 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    G0283    27.14
    12991 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97035    25.22
    12992 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97140   118.60
    12993 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97530    64.18
    12994 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97010    13.00
    12995 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97012    33.00
    12996 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    G0283    27.14
    12997 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97035    25.22
    12998 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97140   118.60
    12999 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/8/2017    97530    64.18
    13000 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97010    13.00
    13001 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97012    33.00
    13002 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   G0283    27.14
    13003 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97035    25.22
    13004 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97140   118.60
    13005 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97530    64.18
    13006 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97010    13.00
    13007 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97012    33.00
    13008 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   G0283    27.14
    13009 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97035    25.22
    13010 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97110    63.30
    13011 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97140   118.60
    13012 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97010    13.00
    13013 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97012    33.00
    13014 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   G0283    27.14
    13015 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97035    25.22
    13016 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97140   118.60
    13017 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   97530    64.18
    13018 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   99213   145.86
    13019 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/18/2017   98941    73.98
    13020 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97010    13.00
    13021 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97012    33.00
    13022 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   G0283    27.14
    13023 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97035    25.22
    13024 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97140   118.60
    13025 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97530    64.18
    13026 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97010    13.00
    13027 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97012    33.00
    13028 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   G0283    27.14
    13029 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97035    25.22
    13030 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97110    63.30
    13031 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97140   118.60
    13032 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97010    13.00
    13033 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97012    33.00
    13034 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   G0283    27.14
    13035 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97035    25.22
    13036 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97140   118.60
    13037 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   5/24/2017   97530    64.18
    13038 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97110    63.30
    13039 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97140   118.60
    13040 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97010    13.00
    13041 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97012    33.00
    13042 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    G0283    27.14
    13043 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97035    25.22
    13044 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97140   118.60
    13045 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97530    64.18
    13046 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97530    64.18
    13047 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97010    13.00
    13048 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97012    33.00
    13049 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    G0283    27.14
    13050 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97035    25.22
    13051 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97140   118.60
    13052 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97530    64.18
    13053 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97010    13.00
    13054 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97012    33.00
    13055 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    G0283    27.14
    13056 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97035    25.22
    13057 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97110    63.30
    13058 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97140   118.60
    13059 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97010    13.00
    13060 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97012    33.00
    13061 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    G0283    27.14
    13062 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97035    25.22
    13063 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97140   118.60
    13064 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97010    13.00
    13065 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97012    33.00
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    13066 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    G0283    27.14
    13067 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97035    25.22
    13068 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97140   118.60
    13069 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97530    64.18
    13070 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97010    13.00
    13071 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97012    33.00
    13072 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    G0283    27.14
    13073 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/5/2017    97035    25.22
    13074 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97010    13.00
    13075 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97012    33.00
    13076 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   G0283    27.14
    13077 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97035    25.22
    13078 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97110    63.30
    13079 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97140   118.60
    13080 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97010    13.00
    13081 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97012    33.00
    13082 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   G0283    27.14
    13083 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97035    25.22
    13084 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97140   118.60
    13085 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97530    64.18
    13086 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97010    13.00
    13087 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97012    33.00
    13088 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   G0283    27.14
    13089 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97035    25.22
    13090 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97140   118.60
    13091 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/12/2017   97530    64.18
    13092 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97010    13.00
    13093 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97012    33.00
    13094 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   G0283    27.14
    13095 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97035    25.22
    13096 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97140   118.60
    13097 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97530    64.18
    13098 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97010    13.00
    13099 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97012    33.00
    13100 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   G0283    27.14
    13101 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97035    25.22
    13102 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97110    63.30
    13103 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97140   118.60
    13104 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97010    13.00
    13105 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97012    33.00
    13106 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   G0283    27.14
    13107 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97035    25.22
    13108 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97140   118.60
    13109 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   97530    64.18
    13110 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   6/20/2017   99213   145.86
    13111 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97530    64.18
    13112 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97010    13.00
    13113 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97012    33.00
    13114 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   G0283    27.14
    13115 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97035    25.22
    13116 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97140   118.60
    13117 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97530    64.18
    13118 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97010    13.00
    13119 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97012    33.00
    13120 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   G0283    27.14
    13121 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97035    25.22
    13122 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97110    63.30
    13123 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97140   118.60
    13124 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97010    13.00
    13125 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97012    33.00
    13126 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   G0283    27.14
    13127 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97035    25.22
    13128 Himes Walk In Clinic, LLC   0400098210101069   5/8/2017    Bill   6/26/2017   97140   118.60
    13129 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    97010    13.00
    13130 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    97012    33.00
    13131 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    G0283    27.14
    13132 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    97035    25.22
    13133 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    97110    63.30
    13134 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    97140   118.60
    13135 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    97010    13.00
    13136 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    97012    33.00
    13137 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    G0283    27.14
    13138 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    97035    25.22
    13139 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    97140   118.60
    13140 Himes Walk In Clinic, LLC   0400098210101051   3/28/2017   Bill   7/5/2017    97530    64.18
    13141 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    99080    15.00
    13142 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    99211    39.20
    13143 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97010    13.00
    13144 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97012    33.00
    13145 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    G0283    27.14
    13146 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97035    25.22
    13147 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97140   118.60
    13148 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97535    68.56
    13149 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97010    13.00
    13150 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97012    33.00
    13151 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    G0283    27.14
    13152 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97035    25.22
    13153 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97140   118.60
    13154 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97530    64.18
    13155 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97010    13.00
    13156 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97012    33.00
    13157 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    G0283    27.14
    13158 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97035    25.22
    13159 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97140   118.60
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    13160 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97530    64.18
    13161 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97010    13.00
    13162 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97012    33.00
    13163 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    G0283    27.14
    13164 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97035    25.22
    13165 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97110    63.30
    13166 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97140   118.60
    13167 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97010    13.00
    13168 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97012    33.00
    13169 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    G0283    27.14
    13170 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97035    25.22
    13171 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97140   118.60
    13172 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97530    64.18
    13173 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97010    13.00
    13174 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97012    33.00
    13175 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    G0283    27.14
    13176 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97035    25.22
    13177 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97110    63.30
    13178 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/7/2017    97140   118.60
    13179 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97010    13.00
    13180 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97012    33.00
    13181 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    G0283    27.14
    13182 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97035    25.22
    13183 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97140   118.60
    13184 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97535    68.56
    13185 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    99080    15.00
    13186 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    99211    39.20
    13187 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97010    13.00
    13188 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97012    33.00
    13189 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    G0283    27.14
    13190 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97035    25.22
    13191 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97140   118.60
    13192 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97530    64.18
    13193 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97010    13.00
    13194 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97012    33.00
    13195 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    G0283    27.14
    13196 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97035    25.22
    13197 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97110    63.30
    13198 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97140   118.60
    13199 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97010    13.00
    13200 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97012    33.00
    13201 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    G0283    27.14
    13202 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97035    25.22
    13203 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97140   118.60
    13204 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97530    64.18
    13205 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97010    13.00
    13206 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97012    33.00
    13207 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    G0283    27.14
    13208 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97035    25.22
    13209 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97110    63.30
    13210 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97140   118.60
    13211 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97010    13.00
    13212 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97012    33.00
    13213 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    G0283    27.14
    13214 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97035    25.22
    13215 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97110    63.30
    13216 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97140   118.60
    13217 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97010    13.00
    13218 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97012    33.00
    13219 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    G0283    27.14
    13220 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97035    25.22
    13221 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97110    63.30
    13222 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97140   118.60
    13223 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97010    13.00
    13224 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97012    33.00
    13225 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    G0283    27.14
    13226 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97035    25.22
    13227 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97110    63.30
    13228 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97140   118.60
    13229 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97010    13.00
    13230 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97012    33.00
    13231 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    G0283    27.14
    13232 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97035    25.22
    13233 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97110    63.30
    13234 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97140   118.60
    13235 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97010    13.00
    13236 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97012    33.00
    13237 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    G0283    27.14
    13238 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97035    25.22
    13239 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97140   118.60
    13240 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/7/2017    97530    64.18
    13241 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97010    13.00
    13242 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97012    33.00
    13243 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   G0283    27.14
    13244 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97035    25.22
    13245 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97140   118.60
    13246 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97530    64.18
    13247 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97010    13.00
    13248 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97012    33.00
    13249 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   G0283    27.14
    13250 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97035    25.22
    13251 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97110    63.30
    13252 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97140   118.60
    13253 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97010    13.00
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    13254 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97012    33.00
    13255 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   G0283    27.14
    13256 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97035    25.22
    13257 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97140   118.60
    13258 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97530    64.18
    13259 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97010    13.00
    13260 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97012    33.00
    13261 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   G0283    27.14
    13262 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97035    25.22
    13263 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97110    63.30
    13264 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97140   118.60
    13265 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97010    13.00
    13266 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97012    33.00
    13267 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   G0283    27.14
    13268 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97035    25.22
    13269 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97140   118.60
    13270 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/17/2017   97530    64.18
    13271 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97010    13.00
    13272 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97012    33.00
    13273 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   G0283    27.14
    13274 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97035    25.22
    13275 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97110    63.30
    13276 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97140   118.60
    13277 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97010    13.00
    13278 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97012    33.00
    13279 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   G0283    27.14
    13280 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97035    25.22
    13281 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97140   118.60
    13282 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97530    64.18
    13283 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97010    13.00
    13284 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97012    33.00
    13285 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   G0283    27.14
    13286 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97035    25.22
    13287 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97110    63.30
    13288 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97140   118.60
    13289 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97010    13.00
    13290 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97012    33.00
    13291 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   G0283    27.14
    13292 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97035    25.22
    13293 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97110    63.30
    13294 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97140   118.60
    13295 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97010    13.00
    13296 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97012    33.00
    13297 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   G0283    27.14
    13298 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97035    25.22
    13299 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97140   118.60
    13300 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97530    64.18
    13301 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97010    13.00
    13302 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97012    33.00
    13303 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   G0283    27.14
    13304 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97035    25.22
    13305 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97140   118.60
    13306 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97530    64.18
    13307 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97010    13.00
    13308 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97012    33.00
    13309 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   G0283    27.14
    13310 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97035    25.22
    13311 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97140   118.60
    13312 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97530    64.18
    13313 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97010    13.00
    13314 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97012    33.00
    13315 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   G0283    27.14
    13316 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97035    25.22
    13317 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97110    63.30
    13318 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/21/2017   97140   118.60
    13319 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97010    13.00
    13320 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97012    33.00
    13321 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   G0283    27.14
    13322 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97035    25.22
    13323 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97140   118.60
    13324 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97530    64.18
    13325 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97010    13.00
    13326 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97012    33.00
    13327 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   G0283    27.14
    13328 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97035    25.22
    13329 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97110    63.30
    13330 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97140   118.60
    13331 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97010    13.00
    13332 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97012    33.00
    13333 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   G0283    27.14
    13334 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97035    25.22
    13335 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97140   118.60
    13336 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97530    64.18
    13337 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97010    13.00
    13338 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97012    33.00
    13339 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   G0283    27.14
    13340 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97035    25.22
    13341 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97110    63.30
    13342 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/21/2017   97140   118.60
    13343 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97010    13.00
    13344 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97012    33.00
    13345 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   G0283    27.14
    13346 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97035    25.22
    13347 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97110    63.30
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    13348 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97140   118.60
    13349 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97010    13.00
    13350 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97012    33.00
    13351 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   G0283    27.14
    13352 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97035    25.22
    13353 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97140   118.60
    13354 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97530    64.18
    13355 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97010    13.00
    13356 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97012    33.00
    13357 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   G0283    27.14
    13358 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97035    25.22
    13359 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97110    63.30
    13360 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97140   118.60
    13361 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97010    13.00
    13362 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97012    33.00
    13363 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   G0283    27.14
    13364 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97035    25.22
    13365 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97140   118.60
    13366 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   8/28/2017   97530    64.18
    13367 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97010    13.00
    13368 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97012    33.00
    13369 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   G0283    27.14
    13370 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97035    25.22
    13371 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97110    63.30
    13372 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97140   118.60
    13373 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97010    13.00
    13374 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97012    33.00
    13375 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   G0283    27.14
    13376 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97035    25.22
    13377 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97140   118.60
    13378 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97530    64.18
    13379 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97010    13.00
    13380 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97012    33.00
    13381 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   G0283    27.14
    13382 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97035    25.22
    13383 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97140   118.60
    13384 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   8/28/2017   97530    64.18
    13385 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97012    33.00
    13386 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    G0283    27.14
    13387 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97035    25.22
    13388 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97110    63.30
    13389 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97140   118.60
    13390 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    99213   145.86
    13391 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97010    13.00
    13392 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97012    33.00
    13393 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    G0283    27.14
    13394 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97035    25.22
    13395 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97110    63.30
    13396 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97140   118.60
    13397 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97010    13.00
    13398 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97012    33.00
    13399 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    G0283    27.14
    13400 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97035    25.22
    13401 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97140   118.60
    13402 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97530    64.18
    13403 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97010    13.00
    13404 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97012    33.00
    13405 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    G0283    27.14
    13406 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97035    25.22
    13407 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97110    63.30
    13408 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97140   118.60
    13409 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97010    13.00
    13410 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97012    33.00
    13411 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    G0283    27.14
    13412 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97035    25.22
    13413 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97140   118.60
    13414 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    97530    64.18
    13415 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/5/2017    99213   145.86
    13416 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97010    13.00
    13417 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97012    33.00
    13418 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    G0283    27.14
    13419 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97035    25.22
    13420 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97140   118.60
    13421 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97530    64.18
    13422 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97010    13.00
    13423 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97012    33.00
    13424 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    G0283    27.14
    13425 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97035    25.22
    13426 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97110    63.30
    13427 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97140   118.60
    13428 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/5/2017    97010    13.00
    13429 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97012    33.00
    13430 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   G0283    27.14
    13431 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97035    25.22
    13432 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97110    63.30
    13433 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97140   118.60
    13434 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97010    13.00
    13435 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97012    33.00
    13436 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   G0283    27.14
    13437 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97035    25.22
    13438 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97140   118.60
    13439 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97530    64.18
    13440 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97010    13.00
    13441 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97012    33.00
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    13442 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   G0283    27.14
    13443 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97035    25.22
    13444 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97110    63.30
    13445 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97140   118.60
    13446 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97010    13.00
    13447 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97012    33.00
    13448 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   G0283    27.14
    13449 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97035    25.22
    13450 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97140   118.60
    13451 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97530    64.18
    13452 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97010    13.00
    13453 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97012    33.00
    13454 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   G0283    27.14
    13455 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97035    25.22
    13456 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97140   118.60
    13457 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97530    64.18
    13458 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97010    13.00
    13459 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97012    33.00
    13460 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   G0283    27.14
    13461 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97035    25.22
    13462 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97140   118.60
    13463 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97530    64.18
    13464 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97010    13.00
    13465 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97012    33.00
    13466 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   G0283    27.14
    13467 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97035    25.22
    13468 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97110    63.30
    13469 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97140   118.60
    13470 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97010    13.00
    13471 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97012    33.00
    13472 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   G0283    27.14
    13473 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97035    25.22
    13474 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97140   118.60
    13475 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97530    64.18
    13476 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97010    13.00
    13477 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97012    33.00
    13478 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   G0283    27.14
    13479 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97035    25.22
    13480 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97110    63.30
    13481 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97140   118.60
    13482 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97010    13.00
    13483 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97012    33.00
    13484 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   G0283    27.14
    13485 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97035    25.22
    13486 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97140   118.60
    13487 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97530    64.18
    13488 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97010    13.00
    13489 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97012    33.00
    13490 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   G0283    27.14
    13491 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97035    25.22
    13492 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97140   118.60
    13493 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97530    64.18
    13494 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97010    13.00
    13495 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97012    33.00
    13496 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   G0283    27.14
    13497 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97035    25.22
    13498 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97140   118.60
    13499 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97530    64.18
    13500 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/21/2017   97010    13.00
    13501 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97010    13.00
    13502 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97012    33.00
    13503 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   G0283    27.14
    13504 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97035    25.22
    13505 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97140   118.60
    13506 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97530    64.18
    13507 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97010    13.00
    13508 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97012    33.00
    13509 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   G0283    27.14
    13510 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97035    25.22
    13511 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97110    63.30
    13512 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97140   118.60
    13513 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97010    13.00
    13514 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97012    33.00
    13515 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   G0283    27.14
    13516 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97035    25.22
    13517 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97140   118.60
    13518 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/21/2017   97530    64.18
    13519 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97010    13.00
    13520 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97012    33.00
    13521 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   G0283    27.14
    13522 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97035    25.22
    13523 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97140   118.60
    13524 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97530    64.18
    13525 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97010    13.00
    13526 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97012    33.00
    13527 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   G0283    27.14
    13528 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97035    25.22
    13529 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97110    63.30
    13530 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97140   118.60
    13531 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97010    13.00
    13532 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97012    33.00
    13533 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   G0283    27.14
    13534 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97035    25.22
    13535 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017   97110    63.30
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    13536 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   9/26/2017    97140   118.60
    13537 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97010    13.00
    13538 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97012    33.00
    13539 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    G0283    27.14
    13540 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97035    25.22
    13541 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97110    63.30
    13542 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97140   118.60
    13543 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97010    13.00
    13544 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97012    33.00
    13545 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    G0283    27.14
    13546 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97035    25.22
    13547 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97110    63.30
    13548 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97140   118.60
    13549 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97010    13.00
    13550 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97012    33.00
    13551 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    G0283    27.14
    13552 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97035    25.22
    13553 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97140   118.60
    13554 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97530    64.18
    13555 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97010    13.00
    13556 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97012    33.00
    13557 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    G0283    27.14
    13558 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97035    25.22
    13559 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97110    63.30
    13560 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97140   118.60
    13561 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97010    13.00
    13562 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97012    33.00
    13563 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    G0283    27.14
    13564 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97035    25.22
    13565 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97140   118.60
    13566 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97530    64.18
    13567 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97010    13.00
    13568 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97012    33.00
    13569 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    G0283    27.14
    13570 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97035    25.22
    13571 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97140   118.60
    13572 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   9/26/2017    97530    64.18
    13573 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    99213   145.86
    13574 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    98941    73.98
    13575 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97010    13.00
    13576 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97012    33.00
    13577 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    G0283    27.14
    13578 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97035    25.22
    13579 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97110    63.30
    13580 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97140   118.60
    13581 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97010    13.00
    13582 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97012    33.00
    13583 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    G0283    27.14
    13584 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97035    25.22
    13585 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97140   118.60
    13586 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97530    64.18
    13587 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97010    13.00
    13588 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97012    33.00
    13589 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    G0283    27.14
    13590 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97035    25.22
    13591 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97110    63.30
    13592 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/3/2017    97140   118.60
    13593 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    99213   145.86
    13594 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97010    13.00
    13595 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97012    33.00
    13596 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    G0283    27.14
    13597 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97035    25.22
    13598 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97140   118.60
    13599 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97530    64.18
    13600 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97010    13.00
    13601 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97012    33.00
    13602 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    G0283    27.14
    13603 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97035    25.22
    13604 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97140   118.60
    13605 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97530    64.18
    13606 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97010    13.00
    13607 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97012    33.00
    13608 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    G0283    27.14
    13609 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97035    25.22
    13610 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97110    63.30
    13611 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/3/2017    97140   118.60
    13612 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97010    13.00
    13613 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97012    33.00
    13614 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   G0283    27.14
    13615 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97035    25.22
    13616 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97110    63.30
    13617 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97140   118.60
    13618 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97010    13.00
    13619 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97012    33.00
    13620 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   G0283    27.14
    13621 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97035    25.22
    13622 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97140   118.60
    13623 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97530    64.18
    13624 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97010    13.00
    13625 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97012    33.00
    13626 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   G0283    27.14
    13627 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97035    25.22
    13628 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97110    63.30
    13629 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97140   118.60
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    13630 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97010    13.00
    13631 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97012    33.00
    13632 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   G0283    27.14
    13633 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97035    25.22
    13634 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97140   118.60
    13635 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97530    64.18
    13636 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97010    13.00
    13637 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97012    33.00
    13638 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   G0283    27.14
    13639 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97035    25.22
    13640 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97140   118.60
    13641 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/10/2017   97530    64.18
    13642 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97010    13.00
    13643 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97012    33.00
    13644 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   G0283    27.14
    13645 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97035    25.22
    13646 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97140   118.60
    13647 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97530    64.18
    13648 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97010    13.00
    13649 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97012    33.00
    13650 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   G0283    27.14
    13651 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97035    25.22
    13652 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97110    63.30
    13653 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97140   118.60
    13654 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97010    13.00
    13655 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97012    33.00
    13656 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   G0283    27.14
    13657 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97035    25.22
    13658 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97140   118.60
    13659 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/10/2017   97530    64.18
    13660 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97010    13.00
    13661 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97012    33.00
    13662 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   G0283    27.14
    13663 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97035    25.22
    13664 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97140   118.60
    13665 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97530    64.18
    13666 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97010    13.00
    13667 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97012    33.00
    13668 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   G0283    27.14
    13669 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97035    25.22
    13670 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97110    63.30
    13671 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97140   118.60
    13672 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97010    13.00
    13673 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97012    33.00
    13674 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   G0283    27.14
    13675 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97035    25.22
    13676 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97110    63.30
    13677 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/10/2017   97140   118.60
    13678 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13679 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13680 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97530    64.18
    13681 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97010    13.00
    13682 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97012    33.00
    13683 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   G0283    27.14
    13684 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97035    25.22
    13685 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97110    63.30
    13686 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97140   118.60
    13687 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97010    13.00
    13688 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97012    33.00
    13689 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   G0283    27.14
    13690 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97035    25.22
    13691 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97140   118.60
    13692 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97530    64.18
    13693 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97010    13.00
    13694 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97012    33.00
    13695 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   G0283    27.14
    13696 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97035    25.22
    13697 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97110    63.30
    13698 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97140   118.60
    13699 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97010    13.00
    13700 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97012    33.00
    13701 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   G0283    27.14
    13702 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97035    25.22
    13703 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97140   118.60
    13704 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97530    64.18
    13705 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97010    13.00
    13706 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97012    33.00
    13707 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   G0283    27.14
    13708 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97035    25.22
    13709 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97140   118.60
    13710 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/16/2017   97530    64.18
    13711 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97010    13.00
    13712 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97012    33.00
    13713 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   G0283    27.14
    13714 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97035    25.22
    13715 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97140   118.60
    13716 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/16/2017   97530    64.18
    13717 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13718 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13719 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13720 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13721 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13722 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97530    64.18
    13723 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
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    13724 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13725 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13726 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13727 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97110    63.30
    13728 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13729 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13730 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13731 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13732 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13733 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13734 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97530    64.18
    13735 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13736 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13737 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13738 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13739 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97110    63.30
    13740 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13741 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13742 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13743 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13744 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13745 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13746 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97530    64.18
    13747 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13748 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13749 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13750 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13751 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13752 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97530    64.18
    13753 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13754 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13755 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13756 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13757 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97110    63.30
    13758 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13759 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13760 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13761 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13762 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13763 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97110    63.30
    13764 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13765 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13766 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13767 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13768 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13769 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13770 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97530    64.18
    13771 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13772 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13773 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13774 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13775 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13776 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97530    64.18
    13777 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13778 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13779 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13780 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97035    25.22
    13781 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97110    63.30
    13782 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97140   118.60
    13783 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97010    13.00
    13784 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   97012    33.00
    13785 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   10/16/2017   G0283    27.14
    13786 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97012    33.00
    13787 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   G0283    27.14
    13788 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97035    25.22
    13789 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97110    63.30
    13790 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97140   118.60
    13791 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97010    13.00
    13792 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97012    33.00
    13793 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   G0283    27.14
    13794 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97035    25.22
    13795 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97110    63.30
    13796 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97140   118.60
    13797 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97010    13.00
    13798 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97012    33.00
    13799 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   G0283    27.14
    13800 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97035    25.22
    13801 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97140   118.60
    13802 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97530    64.18
    13803 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97010    13.00
    13804 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97012    33.00
    13805 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   G0283    27.14
    13806 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97035    25.22
    13807 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97140   118.60
    13808 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   97530    64.18
    13809 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   99203   218.12
    13810 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   98940    52.38
    13811 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   99214   206.56
    13812 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97010    13.00
    13813 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97012    33.00
    13814 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   G0283    27.14
    13815 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97035    25.22
    13816 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97140   118.60
    13817 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97530    64.18
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    13818 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97010    13.00
    13819 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97012    33.00
    13820 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   G0283    27.14
    13821 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97035    25.22
    13822 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97140   118.60
    13823 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97530    64.18
    13824 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97010    13.00
    13825 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97012    33.00
    13826 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   G0283    27.14
    13827 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97035    25.22
    13828 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97110    63.30
    13829 Himes Walk In Clinic, LLC   0398154120101204   8/29/2017   Bill   10/26/2017   97140   118.60
    13830 Himes Walk In Clinic, LLC   0579659110101015   7/18/2017   Bill   10/26/2017   99214   206.56
    13831 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97010    13.00
    13832 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97012    33.00
    13833 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   G0283    27.14
    13834 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97035    25.22
    13835 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97140   118.60
    13836 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97530    64.18
    13837 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97010    13.00
    13838 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97012    33.00
    13839 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   G0283    27.14
    13840 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97035    25.22
    13841 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97140   118.60
    13842 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97530    64.18
    13843 Himes Walk In Clinic, LLC   0601679100101017   7/18/2017   Bill   10/26/2017   97010    13.00
    13844 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    99204   333.26
    13845 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    99211    39.20
    13846 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97010    13.00
    13847 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97012    33.00
    13848 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    G0283    27.14
    13849 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97035    25.22
    13850 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97140   118.60
    13851 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97535    68.56
    13852 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97010    13.00
    13853 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97012    33.00
    13854 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    G0283    27.14
    13855 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97035    25.22
    13856 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97110    63.30
    13857 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97140   118.60
    13858 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97010    13.00
    13859 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97012    33.00
    13860 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    G0283    27.14
    13861 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97035    25.22
    13862 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97140   118.60
    13863 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97530    64.18
    13864 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97010    13.00
    13865 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97012    33.00
    13866 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    G0283    27.14
    13867 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97035    25.22
    13868 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97140   118.60
    13869 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97530    64.18
    13870 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97010    13.00
    13871 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97012    33.00
    13872 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    G0283    27.14
    13873 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97035    25.22
    13874 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97110    63.30
    13875 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97140   118.60
    13876 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97010    13.00
    13877 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97012    33.00
    13878 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    G0283    27.14
    13879 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97035    25.22
    13880 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97140   118.60
    13881 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97530    64.18
    13882 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97010    13.00
    13883 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97012    33.00
    13884 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    G0283    27.14
    13885 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97035    25.22
    13886 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97110    63.30
    13887 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97140   118.60
    13888 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97010    13.00
    13889 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97012    33.00
    13890 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    G0283    27.14
    13891 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97035    25.22
    13892 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97140   118.60
    13893 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97530    64.18
    13894 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97010    13.00
    13895 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97012    33.00
    13896 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    G0283    27.14
    13897 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97035    25.22
    13898 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97140   118.60
    13899 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/2/2017    97530    64.18
    13900 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    97010    13.00
    13901 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    97012    33.00
    13902 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    G0283    27.14
    13903 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    97035    25.22
    13904 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    97110    63.30
    13905 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    97140   118.60
    13906 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    97010    13.00
    13907 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    97012    33.00
    13908 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    G0283    27.14
    13909 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    97035    25.22
    13910 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    97140   118.60
    13911 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017    97530    64.18
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    13912 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017   97010    13.00
    13913 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017   97012    33.00
    13914 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017   G0283    27.14
    13915 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017   97035    25.22
    13916 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017   97110    63.30
    13917 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/6/2017   97140   118.60
    13918 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97140   118.60
    13919 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97530    64.18
    13920 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97010    13.00
    13921 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97012    33.00
    13922 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   G0283    27.14
    13923 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97035    25.22
    13924 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97110    63.30
    13925 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97140   118.60
    13926 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97010    13.00
    13927 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97012    33.00
    13928 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   G0283    27.14
    13929 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97035    25.22
    13930 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97140   118.60
    13931 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97530    64.18
    13932 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97010    13.00
    13933 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97012    33.00
    13934 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   G0283    27.14
    13935 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97035    25.22
    13936 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97110    63.30
    13937 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017   97140   118.60
    13938 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   99204   333.26
    13939 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   99211    39.20
    13940 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    13941 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    13942 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    13943 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    13944 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    13945 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97535    68.56
    13946 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    13947 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    13948 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    13949 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    13950 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    13951 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97530    64.18
    13952 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    13953 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    13954 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    13955 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    13956 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97110    63.30
    13957 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    13958 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    13959 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    13960 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    13961 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    13962 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    13963 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97530    64.18
    13964 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    13965 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    13966 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    13967 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    13968 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    13969 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97530    64.18
    13970 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    13971 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    13972 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    13973 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    13974 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97110    63.30
    13975 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    13976 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    13977 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    13978 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    13979 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    13980 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    13981 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97530    64.18
    13982 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    13983 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    13984 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    13985 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    13986 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97110    63.30
    13987 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    13988 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    13989 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    13990 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    13991 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    13992 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    13993 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97530    64.18
    13994 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    13995 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    13996 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    13997 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    13998 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    13999 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97530    64.18
    14000 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97010    13.00
    14001 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97012    33.00
    14002 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   G0283    27.14
    14003 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97035    25.22
    14004 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97140   118.60
    14005 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017   97530    64.18
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    14006 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017    97010    13.00
    14007 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017    97012    33.00
    14008 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017    G0283    27.14
    14009 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017    97035    25.22
    14010 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017    97110    63.30
    14011 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017    97140   118.60
    14012 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/7/2017    98941    73.98
    14013 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97010    13.00
    14014 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97012    33.00
    14015 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    G0283    27.14
    14016 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97035    25.22
    14017 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97140   118.60
    14018 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97530    64.18
    14019 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97010    13.00
    14020 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97012    33.00
    14021 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    G0283    27.14
    14022 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97035    25.22
    14023 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97110    63.30
    14024 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97140   118.60
    14025 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97010    13.00
    14026 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97012    33.00
    14027 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    G0283    27.14
    14028 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97035    25.22
    14029 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97140   118.60
    14030 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97530    64.18
    14031 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97010    13.00
    14032 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97012    33.00
    14033 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    G0283    27.14
    14034 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97035    25.22
    14035 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97110    63.30
    14036 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/7/2017    97140   118.60
    14037 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017    97010    13.00
    14038 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017    97012    33.00
    14039 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017    G0283    27.14
    14040 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/7/2017    97035    25.22
    14041 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97010    13.00
    14042 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97012    33.00
    14043 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   G0283    27.14
    14044 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97035    25.22
    14045 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97110    63.30
    14046 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97140   118.60
    14047 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97010    13.00
    14048 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97012    33.00
    14049 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   G0283    27.14
    14050 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97035    25.22
    14051 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97140   118.60
    14052 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97530    64.18
    14053 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97010    13.00
    14054 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97012    33.00
    14055 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   G0283    27.14
    14056 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97035    25.22
    14057 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97110    63.30
    14058 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97140   118.60
    14059 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97010    13.00
    14060 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97012    33.00
    14061 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   G0283    27.14
    14062 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97035    25.22
    14063 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97140   118.60
    14064 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/18/2017   97530    64.18
    14065 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97010    13.00
    14066 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97012    33.00
    14067 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   G0283    27.14
    14068 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97035    25.22
    14069 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97140   118.60
    14070 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97530    64.18
    14071 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97010    13.00
    14072 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97012    33.00
    14073 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   G0283    27.14
    14074 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97035    25.22
    14075 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97110    63.30
    14076 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97140   118.60
    14077 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97010    13.00
    14078 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97012    33.00
    14079 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   G0283    27.14
    14080 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97035    25.22
    14081 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97140   118.60
    14082 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/18/2017   97530    64.18
    14083 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97110    63.30
    14084 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97140   118.60
    14085 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97010    13.00
    14086 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97012    33.00
    14087 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   G0283    27.14
    14088 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97035    25.22
    14089 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97140   118.60
    14090 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97530    64.18
    14091 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97010    13.00
    14092 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97012    33.00
    14093 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   G0283    27.14
    14094 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97035    25.22
    14095 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97110    63.30
    14096 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97140   118.60
    14097 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97010    13.00
    14098 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97012    33.00
    14099 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   G0283    27.14
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    14100 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97035    25.22
    14101 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97140   118.60
    14102 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97530    64.18
    14103 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97010    13.00
    14104 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97012    33.00
    14105 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   G0283    27.14
    14106 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97035    25.22
    14107 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97110    63.30
    14108 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97140   118.60
    14109 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97010    13.00
    14110 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97012    33.00
    14111 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   G0283    27.14
    14112 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97035    25.22
    14113 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97140   118.60
    14114 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   11/25/2017   97530    64.18
    14115 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97010    13.00
    14116 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97012    33.00
    14117 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   G0283    27.14
    14118 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97035    25.22
    14119 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97140   118.60
    14120 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97530    64.18
    14121 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97010    13.00
    14122 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97012    33.00
    14123 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   G0283    27.14
    14124 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97035    25.22
    14125 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97110    63.30
    14126 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97140   118.60
    14127 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97010    13.00
    14128 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97012    33.00
    14129 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   G0283    27.14
    14130 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97035    25.22
    14131 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97140   118.60
    14132 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97530    64.18
    14133 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97010    13.00
    14134 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97012    33.00
    14135 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   G0283    27.14
    14136 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97035    25.22
    14137 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97110    63.30
    14138 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97140   118.60
    14139 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97010    13.00
    14140 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97012    33.00
    14141 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   G0283    27.14
    14142 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97035    25.22
    14143 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97110    63.30
    14144 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97140   118.60
    14145 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97010    13.00
    14146 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97012    33.00
    14147 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   G0283    27.14
    14148 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97035    25.22
    14149 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97140   118.60
    14150 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97530    64.18
    14151 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97010    13.00
    14152 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97012    33.00
    14153 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   G0283    27.14
    14154 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97035    25.22
    14155 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97110    63.30
    14156 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97140   118.60
    14157 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97010    13.00
    14158 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97012    33.00
    14159 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   G0283    27.14
    14160 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97035    25.22
    14161 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97140   118.60
    14162 Himes Walk In Clinic, LLC   0550325370101060   10/6/2017   Bill   11/25/2017   97530    64.18
    14163 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97010    13.00
    14164 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97012    33.00
    14165 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   G0283    27.14
    14166 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97035    25.22
    14167 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97140   118.60
    14168 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97530    64.18
    14169 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97010    13.00
    14170 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97012    33.00
    14171 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   G0283    27.14
    14172 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   11/25/2017   97035    25.22
    14173 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97010    13.00
    14174 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97012    33.00
    14175 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    G0283    27.14
    14176 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97035    25.22
    14177 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97140   118.60
    14178 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97530    64.18
    14179 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97010    13.00
    14180 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97012    33.00
    14181 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    G0283    27.14
    14182 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97035    25.22
    14183 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97110    63.30
    14184 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97140   118.60
    14185 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97010    13.00
    14186 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97012    33.00
    14187 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    G0283    27.14
    14188 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97035    25.22
    14189 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97110    63.30
    14190 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97140   118.60
    14191 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97010    13.00
    14192 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97012    33.00
    14193 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    G0283    27.14
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    14194 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97035    25.22
    14195 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97140   118.60
    14196 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97530    64.18
    14197 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97010    13.00
    14198 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97012    33.00
    14199 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    G0283    27.14
    14200 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97035    25.22
    14201 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97140   118.60
    14202 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97530    64.18
    14203 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    99213   145.86
    14204 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    99213   145.86
    14205 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    98941    73.98
    14206 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97010    13.00
    14207 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97012    33.00
    14208 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    G0283    27.14
    14209 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97035    25.22
    14210 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97140   118.60
    14211 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97530    64.18
    14212 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97010    13.00
    14213 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97012    33.00
    14214 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    G0283    27.14
    14215 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97035    25.22
    14216 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97110    63.30
    14217 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97140   118.60
    14218 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97010    13.00
    14219 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97012    33.00
    14220 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    G0283    27.14
    14221 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97035    25.22
    14222 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97140   118.60
    14223 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/5/2017    97530    64.18
    14224 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97010    13.00
    14225 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97012    33.00
    14226 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    G0283    27.14
    14227 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97035    25.22
    14228 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97110    63.30
    14229 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97140   118.60
    14230 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97010    13.00
    14231 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97012    33.00
    14232 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    G0283    27.14
    14233 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97035    25.22
    14234 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97140   118.60
    14235 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97530    64.18
    14236 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97010    13.00
    14237 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97012    33.00
    14238 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    G0283    27.14
    14239 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97035    25.22
    14240 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97140   118.60
    14241 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97530    64.18
    14242 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97010    13.00
    14243 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97012    33.00
    14244 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    G0283    27.14
    14245 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97035    25.22
    14246 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97140   118.60
    14247 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/5/2017    97530    64.18
    14248 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97010    13.00
    14249 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97012    33.00
    14250 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   G0283    27.14
    14251 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97035    25.22
    14252 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97140   118.60
    14253 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97530    64.18
    14254 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97010    13.00
    14255 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97012    33.00
    14256 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   G0283    27.14
    14257 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97035    25.22
    14258 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97110    63.30
    14259 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97140   118.60
    14260 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97010    13.00
    14261 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97012    33.00
    14262 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   G0283    27.14
    14263 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97035    25.22
    14264 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97140   118.60
    14265 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/13/2017   97530    64.18
    14266 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97010    13.00
    14267 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97012    33.00
    14268 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   G0283    27.14
    14269 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97035    25.22
    14270 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97110    63.30
    14271 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97140   118.60
    14272 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97010    13.00
    14273 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97012    33.00
    14274 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   G0283    27.14
    14275 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97035    25.22
    14276 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97140   118.60
    14277 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97530    64.18
    14278 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97010    13.00
    14279 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97012    33.00
    14280 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   G0283    27.14
    14281 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97035    25.22
    14282 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97140   118.60
    14283 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017   Bill   12/13/2017   97530    64.18
    14284 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/19/2017   97012    33.00
    14285 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/19/2017   G0283    27.14
    14286 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/19/2017   97035    25.22
    14287 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017   Bill   12/19/2017   97110    63.30
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    14288 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97140   118.60
    14289 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97010    13.00
    14290 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97012    33.00
    14291 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   G0283    27.14
    14292 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97035    25.22
    14293 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97140   118.60
    14294 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97530    64.18
    14295 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   97010    13.00
    14296 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   97012    33.00
    14297 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   G0283    27.14
    14298 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   97035    25.22
    14299 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   97140   118.60
    14300 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   97530    64.18
    14301 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   97010    13.00
    14302 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   97012    33.00
    14303 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   G0283    27.14
    14304 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   97035    25.22
    14305 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   97110    63.30
    14306 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/19/2017   97140   118.60
    14307 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97010    13.00
    14308 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97012    33.00
    14309 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   G0283    27.14
    14310 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97035    25.22
    14311 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97140   118.60
    14312 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97530    64.18
    14313 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/19/2017   97010    13.00
    14314 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97010    13.00
    14315 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97012    33.00
    14316 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   G0283    27.14
    14317 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97035    25.22
    14318 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97140   118.60
    14319 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97530    64.18
    14320 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97010    13.00
    14321 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97012    33.00
    14322 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   G0283    27.14
    14323 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97035    25.22
    14324 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97110    63.30
    14325 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97140   118.60
    14326 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97010    13.00
    14327 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97012    33.00
    14328 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   G0283    27.14
    14329 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97035    25.22
    14330 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97140   118.60
    14331 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   12/26/2017   97530    64.18
    14332 Himes Walk In Clinic, LLC   0517934690101049   8/29/2017    Bill   12/26/2017   99214   206.56
    14333 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97012    33.00
    14334 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    G0283    27.14
    14335 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97035    25.22
    14336 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97110    63.30
    14337 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97140   118.60
    14338 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97010    13.00
    14339 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97012    33.00
    14340 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    G0283    27.14
    14341 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97035    25.22
    14342 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97110    63.30
    14343 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97140   118.60
    14344 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97010    13.00
    14345 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97012    33.00
    14346 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    G0283    27.14
    14347 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97035    25.22
    14348 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97140   118.60
    14349 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97530    64.18
    14350 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    99204   333.26
    14351 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    99211    39.20
    14352 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97010    13.00
    14353 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97012    33.00
    14354 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    G0283    27.14
    14355 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97035    25.22
    14356 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97140   118.60
    14357 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97535    68.56
    14358 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97010    13.00
    14359 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97012    33.00
    14360 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    G0283    27.14
    14361 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97035    25.22
    14362 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97140   118.60
    14363 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97530    64.18
    14364 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97010    13.00
    14365 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97012    33.00
    14366 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    G0283    27.14
    14367 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97035    25.22
    14368 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97110    63.30
    14369 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97140   118.60
    14370 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97010    13.00
    14371 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97012    33.00
    14372 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    G0283    27.14
    14373 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97035    25.22
    14374 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97140   118.60
    14375 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97530    64.18
    14376 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97010    13.00
    14377 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97012    33.00
    14378 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    G0283    27.14
    14379 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97035    25.22
    14380 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97140   118.60
    14381 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018    97530    64.18
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    14382 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   1/19/2018   97010    13.00
    14383 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97010    13.00
    14384 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97012    33.00
    14385 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   G0283    27.14
    14386 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97035    25.22
    14387 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97140   118.60
    14388 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97530    64.18
    14389 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97010    13.00
    14390 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97012    33.00
    14391 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   G0283    27.14
    14392 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97035    25.22
    14393 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97110    63.30
    14394 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97140   118.60
    14395 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97010    13.00
    14396 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97012    33.00
    14397 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   G0283    27.14
    14398 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97035    25.22
    14399 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97140   118.60
    14400 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97530    64.18
    14401 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97010    13.00
    14402 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97012    33.00
    14403 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   G0283    27.14
    14404 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97035    25.22
    14405 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97110    63.30
    14406 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97140   118.60
    14407 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97010    13.00
    14408 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97012    33.00
    14409 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   G0283    27.14
    14410 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97035    25.22
    14411 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97110    63.30
    14412 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/19/2018   97140   118.60
    14413 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97010    13.00
    14414 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97012    33.00
    14415 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   G0283    27.14
    14416 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97035    25.22
    14417 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97110    63.30
    14418 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97140   118.60
    14419 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97010    13.00
    14420 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97012    33.00
    14421 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   G0283    27.14
    14422 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97035    25.22
    14423 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97140   118.60
    14424 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97530    64.18
    14425 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97010    13.00
    14426 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97012    33.00
    14427 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   G0283    27.14
    14428 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97035    25.22
    14429 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97140   118.60
    14430 Himes Walk In Clinic, LLC   0562695400101058   10/1/2017    Bill   1/26/2018   97530    64.18
    14431 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   99213   145.86
    14432 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97010    13.00
    14433 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97012    33.00
    14434 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   G0283    27.14
    14435 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97035    25.22
    14436 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97140   118.60
    14437 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97530    64.18
    14438 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97010    13.00
    14439 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97012    33.00
    14440 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   G0283    27.14
    14441 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97035    25.22
    14442 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97140   118.60
    14443 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97530    64.18
    14444 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97010    13.00
    14445 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97012    33.00
    14446 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   G0283    27.14
    14447 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97035    25.22
    14448 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97140   118.60
    14449 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97110    63.30
    14450 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97010    13.00
    14451 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97012    33.00
    14452 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   G0283    27.14
    14453 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97035    25.22
    14454 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97140   118.60
    14455 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/12/2018   97110    63.30
    14456 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   G0283    27.14
    14457 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97035    25.22
    14458 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97110    63.30
    14459 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97140   118.60
    14460 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97010    13.00
    14461 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97012    33.00
    14462 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   G0283    27.14
    14463 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97035    25.22
    14464 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97140   118.60
    14465 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97530    64.18
    14466 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97010    13.00
    14467 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97012    33.00
    14468 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   G0283    27.14
    14469 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97035    25.22
    14470 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97140   118.60
    14471 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97530    64.18
    14472 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97010    13.00
    14473 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97012    33.00
    14474 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   G0283    27.14
    14475 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97035    25.22
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    14476 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97110    63.30
    14477 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97140   118.60
    14478 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97010    13.00
    14479 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/16/2018   97012    33.00
    14480 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97010    13.00
    14481 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97012    33.00
    14482 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   G0283    27.14
    14483 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97035    25.22
    14484 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97110    63.30
    14485 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97140   118.60
    14486 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97010    13.00
    14487 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97012    33.00
    14488 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   G0283    27.14
    14489 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97035    25.22
    14490 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97140   118.60
    14491 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97530    64.18
    14492 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97010    13.00
    14493 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97012    33.00
    14494 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   G0283    27.14
    14495 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97035    25.22
    14496 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97110    63.30
    14497 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97140   118.60
    14498 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97010    13.00
    14499 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97012    33.00
    14500 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   G0283    27.14
    14501 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97035    25.22
    14502 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97140   118.60
    14503 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   2/27/2018   97530    64.18
    14504 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97140   118.60
    14505 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97530    64.18
    14506 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97010    13.00
    14507 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97012    33.00
    14508 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    G0283    27.14
    14509 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97035    25.22
    14510 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97140   118.60
    14511 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97530    64.18
    14512 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    99213   145.86
    14513 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97010    13.00
    14514 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97012    33.00
    14515 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    G0283    27.14
    14516 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97035    25.22
    14517 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97110    63.30
    14518 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97140   118.60
    14519 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97010    13.00
    14520 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97012    33.00
    14521 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    G0283    27.14
    14522 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97035    25.22
    14523 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97140   118.60
    14524 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97530    64.18
    14525 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97010    13.00
    14526 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97012    33.00
    14527 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    G0283    27.14
    14528 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97035    25.22
    14529 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97110    63.30
    14530 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97140   118.60
    14531 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97010    13.00
    14532 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97012    33.00
    14533 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    G0283    27.14
    14534 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97035    25.22
    14535 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97140   118.60
    14536 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97530    64.18
    14537 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97010    13.00
    14538 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97012    33.00
    14539 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    G0283    27.14
    14540 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97035    25.22
    14541 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97140   118.60
    14542 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97530    64.18
    14543 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97010    13.00
    14544 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97012    33.00
    14545 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    G0283    27.14
    14546 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   3/8/2018    97035    25.22
    14547 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97140   118.60
    14548 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97010    13.00
    14549 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97012    33.00
    14550 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   G0283    27.14
    14551 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97035    25.22
    14552 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97140   118.60
    14553 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97530    64.18
    14554 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97010    13.00
    14555 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97012    33.00
    14556 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   G0283    27.14
    14557 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97035    25.22
    14558 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97110    63.30
    14559 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97140   118.60
    14560 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   99204   333.26
    14561 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   99211    39.20
    14562 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97010    13.00
    14563 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97012    33.00
    14564 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   G0283    27.14
    14565 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97035    25.22
    14566 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97140   118.60
    14567 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97535    68.56
    14568 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97010    13.00
    14569 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/13/2018   97012    33.00
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    14570 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14571 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14572 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14573 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14574 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14575 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14576 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14577 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14578 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14579 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14580 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14581 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14582 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14583 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14584 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14585 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14586 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14587 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14588 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14589 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14590 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97110    63.30
    14591 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14592 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14593 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14594 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14595 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14596 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14597 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14598 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14599 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14600 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14601 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14602 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14603 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14604 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14605 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14606 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14607 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14608 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97110    63.30
    14609 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14610 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14611 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14612 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14613 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14614 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97110    63.30
    14615 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14616 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14617 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14618 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14619 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14620 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14621 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14622 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14623 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14624 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14625 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14626 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97110    63.30
    14627 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14628 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14629 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14630 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   99204   333.26
    14631 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   99211    39.20
    14632 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14633 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14634 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14635 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14636 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14637 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97535    68.56
    14638 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14639 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14640 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14641 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14642 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97110    63.30
    14643 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14644 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14645 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14646 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14647 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14648 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14649 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14650 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14651 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14652 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14653 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14654 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97110    63.30
    14655 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14656 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14657 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14658 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14659 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14660 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14661 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14662 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14663 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
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    14664 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14665 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14666 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97110    63.30
    14667 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14668 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14669 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14670 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14671 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14672 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14673 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14674 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14675 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14676 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14677 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14678 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97110    63.30
    14679 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14680 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14681 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14682 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14683 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14684 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14685 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14686 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14687 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14688 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14689 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14690 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14691 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14692 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14693 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14694 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14695 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14696 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97110    63.30
    14697 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14698 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14699 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14700 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14701 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14702 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14703 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14704 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14705 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97110    63.30
    14706 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14707 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97010    13.00
    14708 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97012    33.00
    14709 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   G0283    27.14
    14710 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97035    25.22
    14711 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97140   118.60
    14712 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/13/2018   97530    64.18
    14713 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97010    13.00
    14714 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97012    33.00
    14715 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   G0283    27.14
    14716 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97035    25.22
    14717 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97140   118.60
    14718 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97530    64.18
    14719 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97010    13.00
    14720 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97012    33.00
    14721 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   G0283    27.14
    14722 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97035    25.22
    14723 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97140   118.60
    14724 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97530    64.18
    14725 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97010    13.00
    14726 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97012    33.00
    14727 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   G0283    27.14
    14728 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97035    25.22
    14729 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97140   118.60
    14730 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97530    64.18
    14731 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97010    13.00
    14732 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97012    33.00
    14733 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   G0283    27.14
    14734 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97035    25.22
    14735 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97140   118.60
    14736 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97530    64.18
    14737 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97010    13.00
    14738 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97012    33.00
    14739 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   G0283    27.14
    14740 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97035    25.22
    14741 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97140   118.60
    14742 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97530    64.18
    14743 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97010    13.00
    14744 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97012    33.00
    14745 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   G0283    54.28
    14746 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97035    25.22
    14747 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97140   118.60
    14748 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/20/2018   97530    64.18
    14749 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/29/2018   97010    13.00
    14750 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/29/2018   97012    33.00
    14751 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/29/2018   G0283    54.28
    14752 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/29/2018   97035    25.22
    14753 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/29/2018   97110   126.60
    14754 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/29/2018   97140    59.30
    14755 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/29/2018   97010    13.00
    14756 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/29/2018   97012    33.00
    14757 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   3/29/2018   G0283    54.28
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    14758 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97035    25.22
    14759 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97110    63.30
    14760 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97140   118.60
    14761 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97010    13.00
    14762 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97012    33.00
    14763 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   G0283    27.14
    14764 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97035    25.22
    14765 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97110   126.60
    14766 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97140   118.60
    14767 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97010    13.00
    14768 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97012    33.00
    14769 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   G0283    27.14
    14770 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97035    25.22
    14771 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97110   126.60
    14772 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97140   118.60
    14773 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97010    13.00
    14774 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97012    33.00
    14775 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   G0283    54.28
    14776 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97035    25.22
    14777 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97110   126.60
    14778 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97140    59.30
    14779 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97010    13.00
    14780 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97012    33.00
    14781 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   G0283    27.14
    14782 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97035    25.22
    14783 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97110   126.60
    14784 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   3/29/2018   97140   118.60
    14785 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    97010    13.00
    14786 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    97012    33.00
    14787 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    G0283    54.28
    14788 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    97035    25.22
    14789 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    97140   118.60
    14790 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    97530    64.18
    14791 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    97010    13.00
    14792 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    97012    33.00
    14793 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    G0283    27.14
    14794 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    97035    25.22
    14795 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    97140   118.60
    14796 Himes Walk In Clinic, LLC   0433017980101027   12/15/2017   Bill   4/5/2018    97530   128.36
    14797 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    99213   145.86
    14798 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97010    13.00
    14799 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97012    33.00
    14800 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    G0283    54.28
    14801 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97035    25.22
    14802 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97110    63.30
    14803 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97140   118.60
    14804 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97010    13.00
    14805 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97012    33.00
    14806 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    G0283    54.28
    14807 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97035    25.22
    14808 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97110    63.30
    14809 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97140   118.60
    14810 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97010    13.00
    14811 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97012    33.00
    14812 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    G0283    27.14
    14813 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97035    25.22
    14814 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97110   126.60
    14815 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97140   118.60
    14816 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97012    33.00
    14817 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    G0283    54.28
    14818 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97035    25.22
    14819 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97110    63.30
    14820 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97140   118.60
    14821 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97010    13.00
    14822 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97012    33.00
    14823 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    G0283    27.14
    14824 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97035    25.22
    14825 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97110   126.60
    14826 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97140   118.60
    14827 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    99213   145.86
    14828 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97010    13.00
    14829 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97012    33.00
    14830 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    G0283    27.14
    14831 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97035    25.22
    14832 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97110   126.60
    14833 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97140   118.60
    14834 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/5/2018    97010    13.00
    14835 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97010    13.00
    14836 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97012    33.00
    14837 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   G0283    54.28
    14838 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97035    25.22
    14839 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97110   126.60
    14840 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97140    59.30
    14841 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97010    13.00
    14842 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97012    33.00
    14843 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   G0283    27.14
    14844 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97035    25.22
    14845 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97110   126.60
    14846 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97140   118.60
    14847 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97010    13.00
    14848 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97012    33.00
    14849 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   G0283    54.28
    14850 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97035    25.22
    14851 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018     Bill   4/19/2018   97110    63.30
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    14852 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97140   118.60
    14853 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97010    13.00
    14854 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97012    33.00
    14855 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   G0283    27.14
    14856 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97035    25.22
    14857 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97110   126.60
    14858 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97140   118.60
    14859 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97010    13.00
    14860 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97012    33.00
    14861 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   G0283    54.28
    14862 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97035    25.22
    14863 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97110   126.60
    14864 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97140    59.30
    14865 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97010    13.00
    14866 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97012    33.00
    14867 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   G0283    27.14
    14868 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97035    25.22
    14869 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97110   126.60
    14870 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/19/2018   97140   118.60
    14871 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   97010    13.00
    14872 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   97012    33.00
    14873 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   G0283    54.28
    14874 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   97035    25.22
    14875 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   97110   126.60
    14876 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   97140    59.30
    14877 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   97010    13.00
    14878 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   97012    33.00
    14879 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   G0283    27.14
    14880 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   97035    25.22
    14881 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   97110   126.60
    14882 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/28/2018   97140    59.30
    14883 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   G0283    27.14
    14884 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97035    25.22
    14885 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97110   126.60
    14886 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97140   118.60
    14887 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97010    13.00
    14888 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97012    33.00
    14889 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   G0283    54.28
    14890 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97035    25.22
    14891 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97110   126.60
    14892 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97140    59.30
    14893 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97010    13.00
    14894 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97012    33.00
    14895 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   G0283    27.14
    14896 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97035    25.22
    14897 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97110    63.30
    14898 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97140   118.60
    14899 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97010    13.00
    14900 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   4/30/2018   97012    33.00
    14901 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97140   118.60
    14902 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97010    13.00
    14903 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97012    33.00
    14904 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    G0283    54.28
    14905 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97035    25.22
    14906 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97110    63.30
    14907 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97140    59.30
    14908 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97010    13.00
    14909 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97012    33.00
    14910 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    G0283    27.14
    14911 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97035    25.22
    14912 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97110   126.60
    14913 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97140    59.30
    14914 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97010    13.00
    14915 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97012    33.00
    14916 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    G0283    27.14
    14917 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97035    25.22
    14918 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97110    63.30
    14919 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97140   118.60
    14920 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97010    13.00
    14921 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97012    33.00
    14922 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    G0283    27.14
    14923 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97035    25.22
    14924 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97110   126.60
    14925 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97140    59.30
    14926 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97010    13.00
    14927 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97012    33.00
    14928 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    G0283    27.14
    14929 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97035    25.22
    14930 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97110    63.30
    14931 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97140   118.60
    14932 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97010    13.00
    14933 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97012    33.00
    14934 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    G0283    27.14
    14935 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97035    25.22
    14936 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/7/2018    97110    63.30
    14937 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/11/2018   97010    13.00
    14938 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/11/2018   97012    33.00
    14939 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/11/2018   G0283    54.28
    14940 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/11/2018   97035    25.22
    14941 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/11/2018   97110    63.30
    14942 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/11/2018   97140    59.30
    14943 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/11/2018   97010    13.00
    14944 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/11/2018   97012    33.00
    14945 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018   Bill   5/11/2018   G0283    27.14
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    14946 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97035    25.22
    14947 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97110   126.60
    14948 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97140    59.30
    14949 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97010    13.00
    14950 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97012    33.00
    14951 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   G0283    27.14
    14952 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97035    25.22
    14953 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97110   126.60
    14954 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97140    59.30
    14955 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97010    13.00
    14956 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97012    33.00
    14957 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   G0283    27.14
    14958 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97035    25.22
    14959 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97110    63.30
    14960 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97140   118.60
    14961 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97010    13.00
    14962 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97012    33.00
    14963 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   G0283    54.28
    14964 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97035    25.22
    14965 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97110    63.30
    14966 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97140    59.30
    14967 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97010    13.00
    14968 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97012    33.00
    14969 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   G0283    27.14
    14970 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97035    25.22
    14971 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97110   126.60
    14972 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/11/2018   97140    59.30
    14973 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97140    59.30
    14974 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97010    13.00
    14975 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97012    33.00
    14976 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   G0283    27.14
    14977 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97035    25.22
    14978 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97110   126.60
    14979 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97140    59.30
    14980 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97010    13.00
    14981 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97012    33.00
    14982 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   G0283    54.28
    14983 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97035    25.22
    14984 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97110    63.30
    14985 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97140    59.30
    14986 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97010    13.00
    14987 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97012    33.00
    14988 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   G0283    27.14
    14989 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97035    25.22
    14990 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97110   126.60
    14991 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97140    59.30
    14992 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97010    13.00
    14993 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97012    33.00
    14994 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   G0283    27.14
    14995 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97035    25.22
    14996 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97110   126.60
    14997 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97140    59.30
    14998 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97010    13.00
    14999 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97012    33.00
    15000 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   G0283    27.14
    15001 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97035    25.22
    15002 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97110   126.60
    15003 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97140    59.30
    15004 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97010    13.00
    15005 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97012    33.00
    15006 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   G0283    27.14
    15007 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97035    25.22
    15008 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/17/2018   97110   126.60
    15009 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97010    13.00
    15010 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97012    33.00
    15011 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   G0283    27.14
    15012 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97035    25.22
    15013 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97110   126.60
    15014 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97140    59.30
    15015 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97010    13.00
    15016 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97012    33.00
    15017 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   G0283    54.28
    15018 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97035    25.22
    15019 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97110    63.30
    15020 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97140    59.30
    15021 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97010    13.00
    15022 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97012    33.00
    15023 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   G0283    54.28
    15024 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97035    25.22
    15025 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97110    63.30
    15026 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97140    59.30
    15027 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97010    13.00
    15028 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97012    33.00
    15029 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   G0283    27.14
    15030 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97035    25.22
    15031 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97110   126.60
    15032 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   5/22/2018   97140    59.30
    15033 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110    63.30
    15034 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140    59.30
    15035 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15036 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15037 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    27.14
    15038 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15039 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110    63.30
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    15040 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140   118.60
    15041 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15042 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15043 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    27.14
    15044 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15045 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110   126.60
    15046 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140    59.30
    15047 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   98941    73.98
    15048 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   99204   333.26
    15049 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15050 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15051 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    27.14
    15052 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15053 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110   126.60
    15054 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140    59.30
    15055 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15056 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15057 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    27.14
    15058 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15059 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110    63.30
    15060 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140   118.60
    15061 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15062 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15063 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    54.28
    15064 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15065 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110    63.30
    15066 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140    59.30
    15067 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15068 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15069 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    27.14
    15070 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15071 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110   126.60
    15072 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140    59.30
    15073 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15074 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15075 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    54.28
    15076 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15077 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110    63.30
    15078 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140    59.30
    15079 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15080 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15081 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    27.14
    15082 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15083 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110   126.60
    15084 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140    59.30
    15085 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15086 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15087 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    54.28
    15088 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15089 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110    63.30
    15090 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140    59.30
    15091 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15092 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15093 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    27.14
    15094 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15095 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110   126.60
    15096 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140    59.30
    15097 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15098 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15099 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    27.14
    15100 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15101 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110    63.30
    15102 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140   118.60
    15103 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15104 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15105 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    54.28
    15106 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15107 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97110    63.30
    15108 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97140    59.30
    15109 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97010    13.00
    15110 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97012    33.00
    15111 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   G0283    54.28
    15112 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   5/31/2018   97035    25.22
    15113 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    99214   206.56
    15114 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97010    13.00
    15115 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97012    33.00
    15116 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    G0283    54.28
    15117 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97035    25.22
    15118 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97110    63.30
    15119 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97140    59.30
    15120 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97010    13.00
    15121 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97012    33.00
    15122 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    G0283    54.28
    15123 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97035    25.22
    15124 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97110    63.30
    15125 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97140    59.30
    15126 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97010    13.00
    15127 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97012    33.00
    15128 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    G0283    27.14
    15129 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97035    25.22
    15130 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97110    63.30
    15131 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97140   118.60
    15132 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    99214   206.56
    15133 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97010    13.00
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    15134 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97012    33.00
    15135 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    G0283    54.28
    15136 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97035    25.22
    15137 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97110    63.30
    15138 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97140    59.30
    15139 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97010    13.00
    15140 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97012    33.00
    15141 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    G0283    27.14
    15142 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97035    25.22
    15143 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97110   126.60
    15144 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97140    59.30
    15145 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97010    13.00
    15146 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97012    33.00
    15147 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    G0283    27.14
    15148 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97035    25.22
    15149 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97110   126.60
    15150 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   6/1/2018    97140    59.30
    15151 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    98940    52.38
    15152 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    98943    32.95
    15153 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    99204   333.26
    15154 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    99080    15.00
    15155 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97010    13.00
    15156 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97010    13.00
    15157 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97012    33.00
    15158 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    G0283    27.14
    15159 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97035    25.22
    15160 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97110    63.30
    15161 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97140   118.60
    15162 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97010    13.00
    15163 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97012    33.00
    15164 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    G0283    27.14
    15165 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97035    25.22
    15166 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97110   126.60
    15167 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97140    59.30
    15168 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97010    13.00
    15169 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97012    33.00
    15170 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    G0283    27.14
    15171 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97035    25.22
    15172 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97110    63.30
    15173 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/6/2018    97140   118.60
    15174 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97012    33.00
    15175 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    G0283    54.28
    15176 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97035    25.22
    15177 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97110    63.30
    15178 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97140    59.30
    15179 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97010    13.00
    15180 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97012    33.00
    15181 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    G0283    27.14
    15182 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97035    25.22
    15183 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97110    63.30
    15184 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97140   118.60
    15185 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97010    13.00
    15186 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97012    33.00
    15187 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    G0283    54.28
    15188 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97035    25.22
    15189 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97110    63.30
    15190 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97140    59.30
    15191 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97010    13.00
    15192 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97012    33.00
    15193 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    G0283    27.14
    15194 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97035    25.22
    15195 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97110    63.30
    15196 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97140   118.60
    15197 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97010    13.00
    15198 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97012    33.00
    15199 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    G0283    27.14
    15200 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97035    25.22
    15201 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97110    63.30
    15202 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97140   118.60
    15203 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97010    13.00
    15204 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97012    33.00
    15205 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    G0283    54.28
    15206 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97035    25.22
    15207 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97110    63.30
    15208 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97140    59.30
    15209 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97010    13.00
    15210 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97012    33.00
    15211 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    G0283    27.14
    15212 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97035    25.22
    15213 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97110    63.30
    15214 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/6/2018    97140   118.60
    15215 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97035    25.22
    15216 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97110   126.60
    15217 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97140    59.30
    15218 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97010    13.00
    15219 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97012    33.00
    15220 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   G0283    54.28
    15221 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97035    25.22
    15222 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97110    63.30
    15223 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97140    59.30
    15224 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97010    13.00
    15225 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97012    33.00
    15226 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   G0283    27.14
    15227 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97035    25.22
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    15228 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97110    63.30
    15229 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97140   118.60
    15230 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97010    13.00
    15231 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97012    33.00
    15232 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   G0283    54.28
    15233 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97035    25.22
    15234 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97110    63.30
    15235 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97140    59.30
    15236 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   97010    13.00
    15237 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   97012    33.00
    15238 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   G0283    54.28
    15239 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   97035    25.22
    15240 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   97110    63.30
    15241 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   97140    59.30
    15242 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   97010    13.00
    15243 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   97012    33.00
    15244 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   G0283    27.14
    15245 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   97035    25.22
    15246 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   97110   126.60
    15247 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/14/2018   97140    59.30
    15248 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97010    13.00
    15249 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   97012    33.00
    15250 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/14/2018   G0283    27.14
    15251 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97010    13.00
    15252 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97012    33.00
    15253 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   G0283    54.28
    15254 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97035    25.22
    15255 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97110    63.30
    15256 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97140    59.30
    15257 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97010    13.00
    15258 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97012    33.00
    15259 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   G0283    27.14
    15260 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97035    25.22
    15261 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97110    63.30
    15262 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97140   118.60
    15263 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97010    13.00
    15264 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97012    33.00
    15265 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   G0283    27.14
    15266 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97035    25.22
    15267 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97110   126.60
    15268 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   6/22/2018   97140    59.30
    15269 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   97010    13.00
    15270 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   97012    33.00
    15271 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   G0283    27.14
    15272 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   97035    25.22
    15273 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   97110   126.60
    15274 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   97140    59.30
    15275 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   97010    13.00
    15276 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   97012    33.00
    15277 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   G0283    27.14
    15278 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   97035    25.22
    15279 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   97110    63.30
    15280 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   6/22/2018   97140   118.60
    15281 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97010    13.00
    15282 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97012    33.00
    15283 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    G0283    54.28
    15284 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97035    25.22
    15285 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97110    63.30
    15286 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97140    59.30
    15287 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97010    13.00
    15288 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97012    33.00
    15289 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    G0283    27.14
    15290 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97035    25.22
    15291 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97110    63.30
    15292 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97140   118.60
    15293 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97010    13.00
    15294 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97012    33.00
    15295 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    G0283    54.28
    15296 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97035    25.22
    15297 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97110    63.30
    15298 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97140    59.30
    15299 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97010    13.00
    15300 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97012    33.00
    15301 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    G0283    54.28
    15302 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97035    25.22
    15303 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97110    63.30
    15304 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97140    59.30
    15305 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97010    13.00
    15306 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97012    33.00
    15307 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    G0283    27.14
    15308 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97035    25.22
    15309 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97110   126.60
    15310 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97140    59.30
    15311 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97010    13.00
    15312 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97012    33.00
    15313 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    G0283    27.14
    15314 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97035    25.22
    15315 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97110    63.30
    15316 Himes Walk In Clinic, LLC   0517934690101064   5/1/2018    Bill   7/5/2018    97140   118.60
    15317 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97010    13.00
    15318 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97012    33.00
    15319 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    G0283    27.14
    15320 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97035    25.22
    15321 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97110    63.30
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    15322 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97140   118.60
    15323 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    99213   145.86
    15324 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97010    13.00
    15325 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97012    33.00
    15326 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    G0283    27.14
    15327 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97035    25.22
    15328 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97110   126.60
    15329 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/5/2018    97140    59.30
    15330 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    99213   145.86
    15331 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    98941    73.98
    15332 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97010    13.00
    15333 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97012    33.00
    15334 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    G0283    27.14
    15335 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97035    25.22
    15336 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97110   126.60
    15337 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97140    59.30
    15338 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97010    13.00
    15339 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97012    33.00
    15340 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    G0283    27.14
    15341 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97035    25.22
    15342 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97110    63.30
    15343 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97140   118.60
    15344 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97010    13.00
    15345 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97012    33.00
    15346 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    G0283    54.28
    15347 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97035    25.22
    15348 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97110    63.30
    15349 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/5/2018    97140    59.30
    15350 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97035    25.22
    15351 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97110   126.60
    15352 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97140    59.30
    15353 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97010    13.00
    15354 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97012    33.00
    15355 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   G0283    54.28
    15356 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97035    25.22
    15357 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97110    63.30
    15358 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97140   118.60
    15359 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97010    13.00
    15360 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97012    33.00
    15361 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   G0283    27.14
    15362 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97035    25.22
    15363 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97110   126.60
    15364 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97140   118.60
    15365 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97010    13.00
    15366 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97012    33.00
    15367 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   G0283    54.28
    15368 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97035    25.22
    15369 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97110   126.60
    15370 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97140    59.30
    15371 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   99213   145.86
    15372 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   98941    73.98
    15373 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   99203   218.12
    15374 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97010    13.00
    15375 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97012    33.00
    15376 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   G0283    27.14
    15377 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97035    25.22
    15378 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97110    63.30
    15379 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97140   118.60
    15380 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97010    13.00
    15381 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97012    33.00
    15382 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   G0283    54.28
    15383 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97035    25.22
    15384 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97110    63.30
    15385 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97140    59.30
    15386 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97010    13.00
    15387 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97012    33.00
    15388 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   G0283    54.28
    15389 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97035    25.22
    15390 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97110    63.30
    15391 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97140    59.30
    15392 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97010    13.00
    15393 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97012    33.00
    15394 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   G0283    54.28
    15395 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97035    25.22
    15396 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97110    63.30
    15397 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97140    59.30
    15398 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97010    13.00
    15399 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97012    33.00
    15400 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   G0283    27.14
    15401 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97035    25.22
    15402 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97110   126.60
    15403 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97140    59.30
    15404 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97010    13.00
    15405 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97012    33.00
    15406 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   G0283    27.14
    15407 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97035    25.22
    15408 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97110   126.60
    15409 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97140    59.30
    15410 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97010    13.00
    15411 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97012    33.00
    15412 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   G0283    27.14
    15413 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97035    25.22
    15414 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97110    63.30
    15415 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97140   118.60
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    15416 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97010    13.00
    15417 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97012    33.00
    15418 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   G0283    27.14
    15419 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97035    25.22
    15420 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97110    63.30
    15421 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97140   118.60
    15422 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97010    13.00
    15423 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97012    33.00
    15424 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   G0283    27.14
    15425 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97035    25.22
    15426 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97110    63.30
    15427 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97140   118.60
    15428 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97010    13.00
    15429 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97012    33.00
    15430 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   G0283    27.14
    15431 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97035    25.22
    15432 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97110   126.60
    15433 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97140    59.30
    15434 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97010    13.00
    15435 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97012    33.00
    15436 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   G0283    54.28
    15437 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97035    25.22
    15438 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97110    63.30
    15439 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97140   118.60
    15440 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97010    13.00
    15441 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97012    33.00
    15442 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   G0283    27.14
    15443 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97035    25.22
    15444 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97110   126.60
    15445 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/16/2018   97140   118.60
    15446 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97010    13.00
    15447 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   97012    33.00
    15448 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/16/2018   G0283    27.14
    15449 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   7/27/2018   99204   333.26
    15450 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   7/27/2018   99080    15.00
    15451 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   97010    13.00
    15452 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   97012    33.00
    15453 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   G0283    54.28
    15454 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   97035    25.22
    15455 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   97110    63.30
    15456 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   97140   118.60
    15457 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   97010    13.00
    15458 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   97012    33.00
    15459 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   G0283    54.28
    15460 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   97035    25.22
    15461 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   97110   126.60
    15462 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   7/27/2018   97140    59.30
    15463 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97010    13.00
    15464 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97012    33.00
    15465 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   G0283    54.28
    15466 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97035    25.22
    15467 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97110    63.30
    15468 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97140   118.60
    15469 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97010    13.00
    15470 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97012    33.00
    15471 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   G0283    54.28
    15472 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97035    25.22
    15473 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97110   126.60
    15474 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97140    59.30
    15475 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97010    13.00
    15476 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97012    33.00
    15477 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   G0283    27.14
    15478 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97035    50.44
    15479 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97110    63.30
    15480 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   7/27/2018   97140   118.60
    15481 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   97010    13.00
    15482 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   97012    33.00
    15483 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   G0283    54.28
    15484 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   97035    25.22
    15485 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   97110    63.30
    15486 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   97140   118.60
    15487 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   97010    13.00
    15488 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   97012    33.00
    15489 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   G0283    54.28
    15490 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   97035    25.22
    15491 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   97110   126.60
    15492 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   7/27/2018   97140    59.30
    15493 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   7/27/2018   99204   333.26
    15494 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   7/27/2018   99080    15.00
    15495 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   7/30/2018   G0283    54.28
    15496 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   7/30/2018   97035    25.22
    15497 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   7/30/2018   97110    63.30
    15498 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   7/30/2018   97140   118.60
    15499 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   7/30/2018   97010    13.00
    15500 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   7/30/2018   97012    33.00
    15501 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97010    13.00
    15502 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97012    33.00
    15503 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    G0283    27.14
    15504 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97035    50.44
    15505 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97110    63.30
    15506 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97140   118.60
    15507 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97010    13.00
    15508 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97012    33.00
    15509 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    G0283    54.28
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    15510 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97035    25.22
    15511 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97110    63.30
    15512 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97140   118.60
    15513 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97010    13.00
    15514 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97012    33.00
    15515 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    G0283    54.28
    15516 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97035    25.22
    15517 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97110    63.30
    15518 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97140   118.60
    15519 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97010    13.00
    15520 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97012    33.00
    15521 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    G0283    54.28
    15522 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97110   126.60
    15523 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/1/2018    97140    59.30
    15524 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15525 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15526 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15527 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15528 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15529 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15530 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15531 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15532 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15533 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15534 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15535 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15536 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15537 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15538 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110   126.60
    15539 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140    59.30
    15540 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15541 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15542 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15543 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15544 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15545 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15546 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15547 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15548 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15549 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15550 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110   126.60
    15551 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140    59.30
    15552 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15553 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15554 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15555 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15556 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15557 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15558 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15559 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15560 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15561 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15562 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110   126.60
    15563 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140    59.30
    15564 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15565 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15566 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15567 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15568 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15569 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15570 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15571 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15572 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15573 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15574 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110   126.60
    15575 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140    59.30
    15576 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   99213   145.86
    15577 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15578 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15579 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    27.14
    15580 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    50.44
    15581 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110    63.30
    15582 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140   118.60
    15583 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15584 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15585 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    54.28
    15586 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    25.22
    15587 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110   126.60
    15588 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140    59.30
    15589 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97010    13.00
    15590 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97012    33.00
    15591 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   G0283    27.14
    15592 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97035    50.44
    15593 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97110    63.30
    15594 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97140   118.60
    15595 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97010    13.00
    15596 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97012    33.00
    15597 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   G0283    27.14
    15598 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97035    25.22
    15599 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97110    63.30
    15600 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97140   118.60
    15601 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97010    13.00
    15602 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97012    33.00
    15603 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   G0283    54.28
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    15604 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97035    25.22
    15605 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97110    63.30
    15606 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/16/2018   97140   118.60
    15607 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97010    13.00
    15608 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97012    33.00
    15609 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   G0283    27.14
    15610 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97035    50.44
    15611 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97110   126.60
    15612 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97140    59.30
    15613 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97010    13.00
    15614 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97012    33.00
    15615 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   G0283    54.28
    15616 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97035    25.22
    15617 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97110   126.60
    15618 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97140    59.30
    15619 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97010    13.00
    15620 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97012    33.00
    15621 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   G0283    27.14
    15622 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97035    50.44
    15623 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97110    63.30
    15624 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97140   118.60
    15625 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97010    13.00
    15626 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97012    33.00
    15627 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   G0283    27.14
    15628 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97035    50.44
    15629 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97110   126.60
    15630 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97140    59.30
    15631 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97010    13.00
    15632 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97012    33.00
    15633 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   G0283    27.14
    15634 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97110   126.60
    15635 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97010    13.00
    15636 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97012    33.00
    15637 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   G0283    54.28
    15638 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97035    25.22
    15639 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97110   126.60
    15640 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97140    59.30
    15641 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97012    33.00
    15642 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97110   126.60
    15643 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   99204   333.26
    15644 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   99080    15.00
    15645 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15646 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15647 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15648 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15649 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15650 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15651 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15652 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15653 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15654 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15655 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15656 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15657 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15658 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15659 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15660 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15661 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110   126.60
    15662 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140    59.30
    15663 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15664 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15665 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   99213   145.86
    15666 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   99213   145.86
    15667 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97010    13.00
    15668 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97012    33.00
    15669 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   G0283    27.14
    15670 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97035    50.44
    15671 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97110    63.30
    15672 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97140   118.60
    15673 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97010    13.00
    15674 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97012    33.00
    15675 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   G0283    54.28
    15676 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97035    25.22
    15677 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97110    63.30
    15678 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/16/2018   97140   118.60
    15679 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97010    13.00
    15680 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97012    33.00
    15681 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   G0283    54.28
    15682 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97035    25.22
    15683 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97110   126.60
    15684 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97140    59.30
    15685 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97010    13.00
    15686 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97012    33.00
    15687 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   G0283    27.14
    15688 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97035    50.44
    15689 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97110    63.30
    15690 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97140   118.60
    15691 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97010    13.00
    15692 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97012    33.00
    15693 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   G0283    54.28
    15694 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97035    25.22
    15695 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97110   126.60
    15696 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97140    59.30
    15697 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97010    13.00
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    15698 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97012    33.00
    15699 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   G0283    54.28
    15700 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97035    25.22
    15701 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97110    63.30
    15702 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/16/2018   97140   118.60
    15703 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/16/2018   99214   206.56
    15704 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/16/2018   97010    13.00
    15705 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/16/2018   97012    33.00
    15706 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/16/2018   G0283    27.14
    15707 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/16/2018   97035    50.44
    15708 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/16/2018   97140   118.60
    15709 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/16/2018   97010    13.00
    15710 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/16/2018   G0283    54.28
    15711 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/16/2018   97110    63.30
    15712 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   8/16/2018   97140   118.60
    15713 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15714 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15715 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    27.14
    15716 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    25.22
    15717 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110    63.30
    15718 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140   118.60
    15719 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15720 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15721 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    54.28
    15722 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    25.22
    15723 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110    63.30
    15724 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140   118.60
    15725 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15726 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15727 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15728 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15729 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15730 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15731 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15732 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15733 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15734 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15735 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15736 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15737 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15738 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15739 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110   126.60
    15740 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140    59.30
    15741 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15742 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15743 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15744 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15745 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15746 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15747 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15748 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15749 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15750 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15751 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15752 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15753 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15754 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15755 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15756 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15757 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15758 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15759 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15760 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15761 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15762 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15763 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15764 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15765 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15766 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15767 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15768 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15769 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110   126.60
    15770 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140    59.30
    15771 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15772 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15773 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15774 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15775 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110   126.60
    15776 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140    59.30
    15777 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15778 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15779 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15780 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15781 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15782 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15783 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   99213   145.86
    15784 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   99204   333.26
    15785 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   99080    15.00
    15786 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15787 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15788 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    54.28
    15789 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    25.22
    15790 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110    63.30
    15791 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140   118.60
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    15792 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15793 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15794 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    54.28
    15795 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    25.22
    15796 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110   126.60
    15797 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140    59.30
    15798 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15799 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15800 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    54.28
    15801 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    25.22
    15802 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110    63.30
    15803 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140   118.60
    15804 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15805 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15806 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    27.14
    15807 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    50.44
    15808 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110    63.30
    15809 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140   118.60
    15810 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15811 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15812 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    54.28
    15813 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    25.22
    15814 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110   126.60
    15815 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140    59.30
    15816 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15817 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15818 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    27.14
    15819 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    50.44
    15820 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110    63.30
    15821 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140   118.60
    15822 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15823 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15824 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    54.28
    15825 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    25.22
    15826 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110    63.30
    15827 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140   118.60
    15828 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97010    13.00
    15829 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97012    33.00
    15830 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   G0283    27.14
    15831 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97035    25.22
    15832 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97110   126.60
    15833 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/16/2018   97140    59.30
    15834 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   99213   145.86
    15835 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   99204   333.26
    15836 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   99080    15.00
    15837 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15838 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15839 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    54.28
    15840 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    25.22
    15841 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15842 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140    59.30
    15843 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15844 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15845 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   G0283    27.14
    15846 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97035    50.44
    15847 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97110    63.30
    15848 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97140   118.60
    15849 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97010    13.00
    15850 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/16/2018   97012    33.00
    15851 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   G0283    27.14
    15852 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97035    50.44
    15853 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97110    63.30
    15854 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97140   118.60
    15855 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    15856 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    15857 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    54.28
    15858 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    25.22
    15859 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110    63.30
    15860 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140   118.60
    15861 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    15862 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    15863 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    27.14
    15864 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    25.22
    15865 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110   126.60
    15866 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140    59.30
    15867 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    15868 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    15869 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    54.28
    15870 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    25.22
    15871 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110    63.30
    15872 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140   118.60
    15873 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97010    13.00
    15874 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97012    33.00
    15875 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   G0283    54.28
    15876 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97035    25.22
    15877 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97110   126.60
    15878 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97140    59.30
    15879 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97010    13.00
    15880 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97012    33.00
    15881 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   G0283    27.14
    15882 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97035    25.22
    15883 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97110   126.60
    15884 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97140    59.30
    15885 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97010    13.00
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    15886 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97012    33.00
    15887 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   G0283    54.28
    15888 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97035    25.22
    15889 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97110    63.30
    15890 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97140   118.60
    15891 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97010    13.00
    15892 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97012    33.00
    15893 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   G0283    27.14
    15894 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97035    50.44
    15895 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97110    63.30
    15896 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97140   118.60
    15897 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    15898 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    15899 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    54.28
    15900 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    25.22
    15901 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110    63.30
    15902 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140   118.60
    15903 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    15904 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    15905 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    27.14
    15906 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    50.44
    15907 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110   126.60
    15908 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140    59.30
    15909 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    15910 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    15911 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    54.28
    15912 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    25.22
    15913 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110   126.60
    15914 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140    59.30
    15915 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    15916 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    15917 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    27.14
    15918 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    50.44
    15919 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110   126.60
    15920 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140    59.30
    15921 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    15922 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    15923 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    54.28
    15924 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    25.22
    15925 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110    63.30
    15926 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140   118.60
    15927 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    15928 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    15929 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    27.14
    15930 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    50.44
    15931 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110    63.30
    15932 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140   118.60
    15933 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/31/2018   97010    13.00
    15934 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/31/2018   97012    33.00
    15935 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/31/2018   G0283    27.14
    15936 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/31/2018   97035    50.44
    15937 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/31/2018   97110    63.30
    15938 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   8/31/2018   97140   118.60
    15939 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97010    13.00
    15940 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97012    33.00
    15941 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   G0283    54.28
    15942 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97035    25.22
    15943 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97110    63.30
    15944 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97140   118.60
    15945 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97010    13.00
    15946 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97012    33.00
    15947 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   G0283    27.14
    15948 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97035    50.44
    15949 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97110   126.60
    15950 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97140    59.30
    15951 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97010    13.00
    15952 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97012    33.00
    15953 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97110   126.60
    15954 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97010    13.00
    15955 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97012    33.00
    15956 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   G0283    54.28
    15957 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97035    25.22
    15958 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97110   126.60
    15959 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97140    59.30
    15960 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97010    13.00
    15961 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   8/31/2018   97012    33.00
    15962 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97010    13.00
    15963 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97012    33.00
    15964 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   G0283    54.28
    15965 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97035    25.22
    15966 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97110    63.30
    15967 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97140   118.60
    15968 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97010    13.00
    15969 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97012    33.00
    15970 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   G0283    27.14
    15971 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97035    50.44
    15972 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97110    63.30
    15973 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97140   118.60
    15974 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97010    13.00
    15975 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97012    33.00
    15976 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   G0283    54.28
    15977 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97035    25.22
    15978 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97110   126.60
    15979 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97140    59.30
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    15980 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97010    13.00
    15981 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97012    33.00
    15982 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   G0283    54.28
    15983 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97035    25.22
    15984 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97110    63.30
    15985 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   8/31/2018   97140   118.60
    15986 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97010    13.00
    15987 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97012    33.00
    15988 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   G0283    54.28
    15989 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97035    25.22
    15990 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97110    63.30
    15991 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97140   118.60
    15992 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97010    13.00
    15993 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97012    33.00
    15994 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   G0283    27.14
    15995 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97035    50.44
    15996 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97010    13.00
    15997 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97012    33.00
    15998 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   G0283    54.28
    15999 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97035    25.22
    16000 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97110   126.60
    16001 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97140    59.30
    16002 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97010    13.00
    16003 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97012    33.00
    16004 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   G0283    27.14
    16005 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97035    50.44
    16006 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97110    63.30
    16007 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   8/31/2018   97140   118.60
    16008 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    16009 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    16010 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    54.28
    16011 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    25.22
    16012 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110   126.60
    16013 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140    59.30
    16014 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97010    13.00
    16015 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97012    33.00
    16016 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   G0283    27.14
    16017 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97035    50.44
    16018 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97110    63.30
    16019 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   8/31/2018   97140   118.60
    16020 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/8/2018    97010    13.00
    16021 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/8/2018    97012    33.00
    16022 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/8/2018    G0283    54.28
    16023 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/8/2018    97035    25.22
    16024 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/8/2018    97110    63.30
    16025 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/8/2018    97140   118.60
    16026 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    G0283    54.28
    16027 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97035    25.22
    16028 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97110    63.30
    16029 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97140   118.60
    16030 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97010    13.00
    16031 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97012    33.00
    16032 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    G0283    27.14
    16033 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97035    50.44
    16034 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97110    63.30
    16035 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97140   118.60
    16036 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97010    13.00
    16037 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97012    33.00
    16038 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    G0283    54.28
    16039 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97035    25.22
    16040 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97110    63.30
    16041 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97140   118.60
    16042 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97010    13.00
    16043 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97012    33.00
    16044 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    G0283    27.14
    16045 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97035    50.44
    16046 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97110    63.30
    16047 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97140   118.60
    16048 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97010    13.00
    16049 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97012    33.00
    16050 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    G0283    54.28
    16051 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97035    25.22
    16052 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97110   126.60
    16053 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97140    59.30
    16054 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97010    13.00
    16055 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97012    33.00
    16056 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    G0283    54.28
    16057 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97035    25.22
    16058 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97110   126.60
    16059 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97140    59.30
    16060 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97010    13.00
    16061 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97012    33.00
    16062 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    G0283    54.28
    16063 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97035    25.22
    16064 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97110   126.60
    16065 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97140    59.30
    16066 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97010    13.00
    16067 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97012    33.00
    16068 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    G0283    27.14
    16069 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97035    50.44
    16070 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97110    63.30
    16071 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/8/2018    97140   118.60
    16072 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97010    13.00
    16073 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97012    33.00
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    16074 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    G0283    54.28
    16075 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97035    25.22
    16076 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97110    63.30
    16077 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97140   118.60
    16078 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97010    13.00
    16079 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97012    33.00
    16080 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    G0283    27.14
    16081 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97035    50.44
    16082 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97110    63.30
    16083 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97140   118.60
    16084 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97010    13.00
    16085 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97012    33.00
    16086 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    G0283    54.28
    16087 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97035    25.22
    16088 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97110   126.60
    16089 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97140    59.30
    16090 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97010    13.00
    16091 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97012    33.00
    16092 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    G0283    27.14
    16093 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97035    50.44
    16094 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97110    63.30
    16095 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/8/2018    97140   118.60
    16096 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97010    13.00
    16097 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97012    33.00
    16098 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    G0283    27.14
    16099 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97035    50.44
    16100 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97110   126.60
    16101 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97140    59.30
    16102 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97010    13.00
    16103 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/8/2018    97012    33.00
    16104 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97010    13.00
    16105 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97012    33.00
    16106 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   G0283    27.14
    16107 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97035    25.22
    16108 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97110   126.60
    16109 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97140   118.60
    16110 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97010    13.00
    16111 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97012    33.00
    16112 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   G0283    54.28
    16113 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97035    25.22
    16114 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97110    63.30
    16115 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97140   118.60
    16116 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97010    13.00
    16117 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97012    33.00
    16118 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   G0283    27.14
    16119 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97035    50.44
    16120 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97110   126.60
    16121 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   97140    59.30
    16122 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/10/2018   99213   145.86
    16123 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/10/2018   97010    13.00
    16124 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/10/2018   97012    33.00
    16125 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/10/2018   G0283    27.14
    16126 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/10/2018   97110   126.60
    16127 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/10/2018   97140   118.60
    16128 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97010    13.00
    16129 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97012    33.00
    16130 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   G0283    54.28
    16131 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97035    25.22
    16132 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97110   126.60
    16133 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97140    59.30
    16134 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97010    13.00
    16135 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97012    33.00
    16136 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   G0283    27.14
    16137 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97035    50.44
    16138 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97110    63.30
    16139 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97140   118.60
    16140 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97010    13.00
    16141 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97012    33.00
    16142 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97110   126.60
    16143 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97530    64.18
    16144 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/10/2018   97010    13.00
    16145 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/10/2018   97012    33.00
    16146 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/10/2018   G0283    27.14
    16147 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/10/2018   97110   126.60
    16148 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/10/2018   97140    59.30
    16149 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/10/2018   99213   145.86
    16150 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/10/2018   98941    73.98
    16151 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   99213   145.86
    16152 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   98941    73.98
    16153 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/10/2018   99213   145.86
    16154 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/10/2018   98941    73.98
    16155 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   9/10/2018   99213   145.86
    16156 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   9/10/2018   97010    13.00
    16157 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   9/10/2018   97012    33.00
    16158 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   9/10/2018   G0283    27.14
    16159 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   9/10/2018   97110   126.60
    16160 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   9/10/2018   97140   118.60
    16161 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97010    13.00
    16162 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97012    33.00
    16163 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   G0283    27.14
    16164 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97035    50.44
    16165 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97110   126.60
    16166 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97140    59.30
    16167 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97010    13.00
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    16168 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97012    33.00
    16169 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   G0283    27.14
    16170 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97035    50.44
    16171 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97110    63.30
    16172 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/10/2018   97140   118.60
    16173 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97010    13.00
    16174 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97012    33.00
    16175 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   G0283    27.14
    16176 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97035    25.22
    16177 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97110   126.60
    16178 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97140   118.60
    16179 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97010    13.00
    16180 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97012    33.00
    16181 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   G0283    54.28
    16182 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97035    25.22
    16183 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97110    63.30
    16184 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97140   118.60
    16185 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97010    13.00
    16186 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97012    33.00
    16187 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   G0283    54.28
    16188 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97035    25.22
    16189 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97110   126.60
    16190 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97140    59.30
    16191 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97010    13.00
    16192 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97012    33.00
    16193 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   G0283    27.14
    16194 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97035    50.44
    16195 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97110   126.60
    16196 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97140    59.30
    16197 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97010    13.00
    16198 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97012    33.00
    16199 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   G0283    54.28
    16200 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97035    25.22
    16201 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97110    63.30
    16202 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97140   118.60
    16203 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97010    13.00
    16204 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97012    33.00
    16205 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   G0283    27.14
    16206 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97035    50.44
    16207 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97110    63.30
    16208 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97140   118.60
    16209 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   G0283    27.14
    16210 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97035    25.22
    16211 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97110   126.60
    16212 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97140   118.60
    16213 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97016    34.56
    16214 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97010    13.00
    16215 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97012    33.00
    16216 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   G0283    54.28
    16217 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97035    25.22
    16218 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97110   126.60
    16219 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97140    59.30
    16220 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97010    13.00
    16221 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97012    33.00
    16222 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   G0283    27.14
    16223 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97035    50.44
    16224 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97110    63.30
    16225 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97140   118.60
    16226 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97010    13.00
    16227 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97012    33.00
    16228 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   G0283    54.28
    16229 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97035    25.22
    16230 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97110   126.60
    16231 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   9/28/2018   97140    59.30
    16232 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97010    13.00
    16233 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97012    33.00
    16234 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   G0283    54.28
    16235 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97035    25.22
    16236 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97110   126.60
    16237 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97140    59.30
    16238 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97010    13.00
    16239 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97012    33.00
    16240 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   G0283    54.28
    16241 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97035    25.22
    16242 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97110    63.30
    16243 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97140   118.60
    16244 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97010    13.00
    16245 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97012    33.00
    16246 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   G0283    27.14
    16247 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97035    50.44
    16248 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97110    63.30
    16249 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97140   118.60
    16250 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97010    13.00
    16251 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97012    33.00
    16252 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   G0283    27.14
    16253 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97035    50.44
    16254 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97110   126.60
    16255 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97140    59.30
    16256 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97010    13.00
    16257 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97012    33.00
    16258 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   G0283    54.28
    16259 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97035    25.22
    16260 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97110    63.30
    16261 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97140   118.60
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    16262 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97010    13.00
    16263 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97012    33.00
    16264 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   G0283    27.14
    16265 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97035    25.22
    16266 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97110   126.60
    16267 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97140   118.60
    16268 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   9/28/2018   97016    34.56
    16269 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97010    13.00
    16270 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97012    33.00
    16271 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   G0283    54.28
    16272 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97035    25.22
    16273 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97110    63.30
    16274 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97140   118.60
    16275 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97010    13.00
    16276 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97012    33.00
    16277 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   G0283    27.14
    16278 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97035    25.22
    16279 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97110   126.60
    16280 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97140   118.60
    16281 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97010    13.00
    16282 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97012    33.00
    16283 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   G0283    54.28
    16284 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97035    25.22
    16285 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97110    63.30
    16286 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   9/28/2018   97140   118.60
    16287 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97010    13.00
    16288 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97012    33.00
    16289 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   G0283    27.14
    16290 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97110   126.60
    16291 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97140   118.60
    16292 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97010    13.00
    16293 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97012    33.00
    16294 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   G0283    54.28
    16295 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97035    25.22
    16296 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97110    63.30
    16297 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97140   118.60
    16298 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97010    13.00
    16299 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97012    33.00
    16300 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   G0283    54.28
    16301 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97035    25.22
    16302 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97140   118.60
    16303 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97010    13.00
    16304 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97012    33.00
    16305 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   G0283    27.14
    16306 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97035    25.22
    16307 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97110   126.60
    16308 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97140   118.60
    16309 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97010    13.00
    16310 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97012    33.00
    16311 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   G0283    54.28
    16312 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97035    25.22
    16313 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97110    63.30
    16314 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97140   118.60
    16315 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97010    13.00
    16316 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97012    33.00
    16317 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   G0283    27.14
    16318 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97035    50.44
    16319 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97530    64.18
    16320 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97140   118.60
    16321 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97010    13.00
    16322 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97012    33.00
    16323 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   G0283    54.28
    16324 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97035    25.22
    16325 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97110    63.30
    16326 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97140   118.60
    16327 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97010    13.00
    16328 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97012    33.00
    16329 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   G0283    27.14
    16330 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97035    25.22
    16331 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97110   126.60
    16332 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97140   118.60
    16333 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   9/28/2018   97016    34.56
    16334 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97010    13.00
    16335 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97012    33.00
    16336 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   G0283    54.28
    16337 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97035    25.22
    16338 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97110    63.30
    16339 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97140   118.60
    16340 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97010    13.00
    16341 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97012    33.00
    16342 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   G0283    27.14
    16343 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97035    50.44
    16344 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97110    63.30
    16345 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97140   118.60
    16346 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97010    13.00
    16347 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97012    33.00
    16348 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   G0283    27.14
    16349 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97035    50.44
    16350 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97110    63.30
    16351 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97140   118.60
    16352 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97010    13.00
    16353 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   9/28/2018   97012    33.00
    16354 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018   97016    34.56
    16355 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018   97110   126.60
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    16356 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97140   118.60
    16357 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97010    13.00
    16358 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97012    33.00
    16359 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    G0283    27.14
    16360 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97016    34.56
    16361 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97110   126.60
    16362 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97140   118.60
    16363 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97010    13.00
    16364 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97012    33.00
    16365 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    G0283    54.28
    16366 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97016    34.56
    16367 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97110    63.30
    16368 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97140   118.60
    16369 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97010    13.00
    16370 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97012    33.00
    16371 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    G0283    27.14
    16372 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97016    34.56
    16373 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97110   126.60
    16374 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97140   118.60
    16375 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97010    13.00
    16376 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97012    33.00
    16377 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    G0283    27.14
    16378 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97016    34.56
    16379 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97110   126.60
    16380 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97140   118.60
    16381 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97010    13.00
    16382 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97012    33.00
    16383 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    G0283    54.28
    16384 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97016    34.56
    16385 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97110    63.30
    16386 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97140   118.60
    16387 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97010    13.00
    16388 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97012    33.00
    16389 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    G0283    27.14
    16390 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97016    34.56
    16391 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97110   126.60
    16392 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/5/2018    97140   118.60
    16393 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    97010    13.00
    16394 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    97012    33.00
    16395 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    G0283    27.14
    16396 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    97016    34.56
    16397 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    97110   126.60
    16398 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    97110   118.60
    16399 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    97010    13.00
    16400 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    97012    33.00
    16401 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    G0283    54.28
    16402 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    97016    34.56
    16403 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    97110    63.30
    16404 Himes Walk In Clinic, LLC   0376278600101057   6/14/2018   Bill   10/5/2018    97140   118.60
    16405 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    97010    13.00
    16406 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    97012    33.00
    16407 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    G0283    27.14
    16408 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    97016    34.56
    16409 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    97110   126.60
    16410 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    97140   118.60
    16411 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    97010    13.00
    16412 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    97012    33.00
    16413 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    G0283    54.28
    16414 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    97016    34.56
    16415 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    97110   126.60
    16416 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/5/2018    97140    59.30
    16417 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/5/2018    97010    13.00
    16418 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/5/2018    97012    33.00
    16419 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/5/2018    G0283    54.28
    16420 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/5/2018    97016    34.56
    16421 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/5/2018    97110    63.30
    16422 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/5/2018    97140   118.60
    16423 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97010    13.00
    16424 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97012    33.00
    16425 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    G0283    27.14
    16426 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97016    34.56
    16427 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97110   126.60
    16428 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97140   118.60
    16429 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97010    13.00
    16430 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97012    33.00
    16431 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    G0283    27.14
    16432 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97016    34.56
    16433 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97110   126.60
    16434 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97140   118.60
    16435 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97010    13.00
    16436 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97012    33.00
    16437 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    G0283    54.28
    16438 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97035    25.22
    16439 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97016    34.56
    16440 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97140   118.60
    16441 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97010    13.00
    16442 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    97012    33.00
    16443 Himes Walk In Clinic, LLC   0386019450101013   6/17/2018   Bill   10/5/2018    G0283    27.14
    16444 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97016    34.56
    16445 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97110    63.30
    16446 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97140   118.60
    16447 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97010    13.00
    16448 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97012    33.00
    16449 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   G0283    27.14
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    16450 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97016    34.56
    16451 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97110   126.60
    16452 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97140   118.60
    16453 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97010    13.00
    16454 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97012    33.00
    16455 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   G0283    54.28
    16456 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97016    34.56
    16457 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97110    63.30
    16458 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97140   118.60
    16459 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97010    13.00
    16460 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97012    33.00
    16461 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   G0283    54.28
    16462 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97016    34.56
    16463 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97110   126.60
    16464 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97140    59.30
    16465 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   97010    13.00
    16466 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   97012    33.00
    16467 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   G0283    54.28
    16468 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   97016    34.56
    16469 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   97110    63.30
    16470 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   97140   118.60
    16471 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   97010    13.00
    16472 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   97012    33.00
    16473 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   G0283    27.14
    16474 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   97016    34.56
    16475 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   97110   126.60
    16476 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/19/2018   97140    59.30
    16477 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97010    13.00
    16478 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97012    33.00
    16479 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   G0283    54.28
    16480 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97016    34.56
    16481 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97110    63.30
    16482 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97140   118.60
    16483 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97010    13.00
    16484 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97012    33.00
    16485 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   G0283    27.14
    16486 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97016    34.56
    16487 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97110   126.60
    16488 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97140   118.60
    16489 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97010    13.00
    16490 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97012    33.00
    16491 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   G0283    54.28
    16492 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97016    34.56
    16493 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97110    63.30
    16494 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/19/2018   97140   118.60
    16495 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97010    13.00
    16496 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97012    33.00
    16497 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   G0283    27.14
    16498 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97016    34.56
    16499 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97110    63.30
    16500 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97140   118.60
    16501 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97010    13.00
    16502 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97012    33.00
    16503 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   G0283    27.14
    16504 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97016    34.56
    16505 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97110   126.60
    16506 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97140   118.60
    16507 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97010    13.00
    16508 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97012    33.00
    16509 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   G0283    54.28
    16510 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97016    34.56
    16511 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97110    63.30
    16512 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97140   118.60
    16513 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97010    13.00
    16514 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97012    33.00
    16515 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   G0283    27.14
    16516 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97016    34.56
    16517 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97110   126.60
    16518 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97140   118.60
    16519 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97010    13.00
    16520 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   97012    33.00
    16521 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/19/2018   G0283    54.28
    16522 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97010    13.00
    16523 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97012    33.00
    16524 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97016    34.56
    16525 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97110   126.60
    16526 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97140   118.60
    16527 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   G0283    27.14
    16528 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97010    13.00
    16529 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97024    12.48
    16530 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97016    34.56
    16531 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97110    63.30
    16532 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97140   118.60
    16533 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   G0283    54.28
    16534 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97010    13.00
    16535 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97012    33.00
    16536 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97016    34.56
    16537 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97110   126.60
    16538 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97140    59.30
    16539 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   G0283    54.28
    16540 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97010    13.00
    16541 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97012    33.00
    16542 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97016    34.56
    16543 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97110    63.30
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    16544 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97140   118.60
    16545 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   G0283    54.28
    16546 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97010    13.00
    16547 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97012    33.00
    16548 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97016    34.56
    16549 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97110   126.60
    16550 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   97140   118.60
    16551 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   10/26/2018   G0283    27.14
    16552 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97010    13.00
    16553 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97012    33.00
    16554 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97010    19.12
    16555 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97140    59.30
    16556 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   G0283    54.28
    16557 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   99204   333.26
    16558 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97010    13.00
    16559 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97012    33.00
    16560 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97016    34.56
    16561 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97110   126.60
    16562 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97140   118.60
    16563 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97012    33.00
    16564 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97016    34.56
    16565 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97110    63.30
    16566 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97140   118.60
    16567 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   G0283    54.28
    16568 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97010    13.00
    16569 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97010    13.00
    16570 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97012    33.00
    16571 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97016    34.56
    16572 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97110   126.60
    16573 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97140   118.60
    16574 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   G0283    27.14
    16575 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97010    13.00
    16576 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97012    33.00
    16577 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97016    69.12
    16578 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97110    63.30
    16579 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   97140   118.60
    16580 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   10/26/2018   G0283    27.14
    16581 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/26/2018   97010    13.00
    16582 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/26/2018   97012    33.00
    16583 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/26/2018   97016    34.56
    16584 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/26/2018   97110   126.60
    16585 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/26/2018   97140   118.60
    16586 Himes Walk In Clinic, LLC   0373777960101105   5/8/2018    Bill   10/26/2018   99214   206.56
    16587 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97010    13.00
    16588 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97012    33.00
    16589 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97016    34.56
    16590 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97110    63.30
    16591 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97140   118.60
    16592 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   G0283    54.28
    16593 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97010    13.00
    16594 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97012    33.00
    16595 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97016    34.56
    16596 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97110   126.60
    16597 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97140   118.60
    16598 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   G0283    27.14
    16599 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97010    13.00
    16600 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97012    33.00
    16601 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97016    34.56
    16602 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97110   126.60
    16603 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97140    59.30
    16604 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   G0283    54.28
    16605 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97010    13.00
    16606 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97012    33.00
    16607 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97016    34.56
    16608 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97110    63.30
    16609 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97140   118.60
    16610 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   G0283    54.28
    16611 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97012    33.00
    16612 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97012    33.00
    16613 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97016    34.56
    16614 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97110   126.60
    16615 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97140   118.60
    16616 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97010    13.00
    16617 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97012    33.00
    16618 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97016    34.56
    16619 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97110    63.30
    16620 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97140   118.60
    16621 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   G0283    54.28
    16622 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97010    13.00
    16623 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97012    33.00
    16624 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97016    34.56
    16625 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97110   126.60
    16626 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   97140    59.30
    16627 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   10/26/2018   G0283    27.14
    16628 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   99214   206.56
    16629 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   97010    13.00
    16630 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   97012    33.00
    16631 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   97016    34.56
    16632 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   97110   126.60
    16633 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   97140   118.60
    16634 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   G0283    27.14
    16635 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   97010    13.00
    16636 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   97012    33.00
    16637 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   97016    34.56
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    16638 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   97110    63.30
    16639 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   97140   118.60
    16640 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   10/29/2018   G0283    54.28
    16641 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16642 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16643 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16644 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16645 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16646 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16647 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16648 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16649 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16650 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16651 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16652 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16653 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16654 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16655 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16656 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16657 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16658 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16659 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16660 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16661 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16662 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16663 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16664 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16665 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16666 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16667 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16668 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97035    25.22
    16669 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97035    25.22
    16670 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16671 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16672 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16673 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16674 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16675 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16676 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16677 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16678 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16679 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16680 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16681 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16682 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16683 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16684 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16685 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16686 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16687 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16688 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16689 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97010    13.00
    16690 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97012    33.00
    16691 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97016    34.56
    16692 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97110    63.30
    16693 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97140    59.30
    16694 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97140    59.30
    16695 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97010    13.00
    16696 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97012    33.00
    16697 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97016    34.56
    16698 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97110    63.30
    16699 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97110    63.30
    16700 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97140    59.30
    16701 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97140    59.30
    16702 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97010    13.00
    16703 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97012    33.00
    16704 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97016    34.56
    16705 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97035    25.22
    16706 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97110    63.30
    16707 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97110    63.30
    16708 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97140    59.30
    16709 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97140   118.60
    16710 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97010    13.00
    16711 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97012    33.00
    16712 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97016    34.56
    16713 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97110    63.30
    16714 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97140    59.30
    16715 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   97140    59.30
    16716 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   G0283    27.14
    16717 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   11/19/2018   G0283    27.14
    16718 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16719 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16720 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16721 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16722 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16723 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16724 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16725 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16726 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16727 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16728 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16729 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16730 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16731 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
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    16732 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16733 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16734 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16735 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16736 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16737 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16738 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16739 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16740 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16741 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16742 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16743 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16744 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16745 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97035    25.22
    16746 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97035    25.22
    16747 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16748 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16749 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16750 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16751 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16752 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16753 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16754 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16755 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16756 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16757 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16758 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16759 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16760 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16761 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16762 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16763 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16764 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16765 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16766 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16767 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16768 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16769 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16770 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16771 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16772 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16773 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16774 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97010    13.00
    16775 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97012    33.00
    16776 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97016    34.56
    16777 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97110    63.30
    16778 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97110    63.30
    16779 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97140    59.30
    16780 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97140    59.30
    16781 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   G0283    27.14
    16782 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97010    13.00
    16783 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97012    33.00
    16784 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97016    34.56
    16785 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97110    63.30
    16786 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97110    63.30
    16787 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97140    59.30
    16788 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   G0283    27.14
    16789 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   G0283    27.14
    16790 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97010    13.00
    16791 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97012    33.00
    16792 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97016    34.56
    16793 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97110    63.30
    16794 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97110    63.30
    16795 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97140    59.30
    16796 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   11/19/2018   97140    59.30
    16797 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16798 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16799 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16800 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16801 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16802 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16803 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16804 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16805 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97010    13.00
    16806 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97012    33.00
    16807 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97016    34.56
    16808 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97110    63.30
    16809 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16810 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   97140    59.30
    16811 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16812 Himes Walk In Clinic, LLC   0398154120101212   7/10/2018   Bill   11/19/2018   G0283    27.14
    16813 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97010    13.00
    16814 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97012    33.00
    16815 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   G0283    54.28
    16816 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97035    25.22
    16817 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97110    63.30
    16818 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97140    59.30
    16819 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97010    13.00
    16820 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97012    33.00
    16821 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   G0283    27.14
    16822 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97035    25.22
    16823 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97110   126.60
    16824 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97140    59.30
    16825 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97010    13.00
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    16826 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97012    33.00
    16827 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   G0283    27.14
    16828 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97035    25.22
    16829 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97110    63.30
    16830 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   12/20/2018   97140   118.60
    16831 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16832 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16833 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012    33.00
    16834 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16835 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16836 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16837 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16838 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16839 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16840 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012    33.00
    16841 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97035    25.22
    16842 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16843 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16844 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16845 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16846 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   99204   333.26
    16847 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   99080    15.00
    16848 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   99070    30.00
    16849 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   A4556    22.74
    16850 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   E0730   200.00
    16851 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   E0849   250.00
    16852 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16853 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16854 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16855 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16856 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16857 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16858 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97535    68.56
    16859 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16860 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012    33.00
    16861 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16862 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16863 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16864 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16865 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16866 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16867 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012    33.00
    16868 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97035    25.22
    16869 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16870 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16871 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16872 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16873 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16874 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16875 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16876 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16877 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16878 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16879 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16880 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16881 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16882 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16883 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16884 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16885 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16886 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16887 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16888 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97035    25.22
    16889 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16890 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16891 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16892 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97530    64.18
    16893 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16894 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16895 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16896 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16897 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16898 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16899 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16900 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16901 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16902 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16903 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16904 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16905 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16906 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16907 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16908 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16909 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16910 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16911 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16912 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16913 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16914 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16915 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16916 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16917 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16918 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16919 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
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    16920 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16921 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16922 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16923 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16924 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16925 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16926 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16927 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16928 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16929 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16930 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16931 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16932 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16933 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16934 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16935 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16936 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16937 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   99204   333.26
    16938 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   99080    15.00
    16939 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   99070    30.00
    16940 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   A4556    22.74
    16941 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   E0730   200.00
    16942 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   E0849   250.00
    16943 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16944 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97535    68.56
    16945 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16946 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16947 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16948 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16949 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16950 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16951 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012    33.00
    16952 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97035    25.22
    16953 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16954 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16955 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16956 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16957 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16958 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012    33.00
    16959 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16960 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16961 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16962 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16963 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16964 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16965 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97035    25.22
    16966 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16967 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16968 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16969 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16970 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16971 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16972 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16973 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16974 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16975 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16976 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16977 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16978 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16979 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012    33.00
    16980 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16981 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16982 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16983 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16984 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16985 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16986 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012    33.00
    16987 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16988 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16989 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16990 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16991 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018    19.12
    16992 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    16993 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012    33.00
    16994 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    16995 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    16996 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16997 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    16998 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026    11.16
    16999 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    17000 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012    33.00
    17001 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    17002 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    17003 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    17004 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    17005 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   99204   333.26
    17006 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   99080    15.00
    17007 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   99070    30.00
    17008 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010    13.00
    17009 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97535    68.56
    17010 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283    27.14
    17011 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140    59.30
    17012 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
    17013 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110    63.30
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    17014 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026   11.16
    17015 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018   19.12
    17016 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010   13.00
    17017 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012   33.00
    17018 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97035   25.22
    17019 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17020 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17021 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17022 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018   19.12
    17023 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010   13.00
    17024 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012   33.00
    17025 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283   27.14
    17026 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17027 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17028 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17029 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026   11.16
    17030 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010   13.00
    17031 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283   27.14
    17032 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17033 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17034 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17035 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026   11.16
    17036 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018   19.12
    17037 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010   13.00
    17038 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97035   25.22
    17039 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17040 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17041 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17042 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026   11.16
    17043 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018   19.12
    17044 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010   13.00
    17045 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97035   25.22
    17046 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283   27.14
    17047 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17048 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17049 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97530   64.18
    17050 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026   11.16
    17051 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010   13.00
    17052 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97012   33.00
    17053 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283   27.14
    17054 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17055 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17056 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17057 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018   19.12
    17058 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010   13.00
    17059 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283   27.14
    17060 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17061 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17062 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17063 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026   11.16
    17064 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018   19.12
    17065 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010   13.00
    17066 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97035   25.22
    17067 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17068 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17069 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026   11.16
    17070 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018   19.12
    17071 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97010   13.00
    17072 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   G0283   27.14
    17073 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17074 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97140   59.30
    17075 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97110   63.30
    17076 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97026   11.16
    17077 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   12/31/2018   97018   19.12
    17078 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97010   13.00
    17079 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97012   33.00
    17080 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   G0283   27.14
    17081 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97140   59.30
    17082 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97140   59.30
    17083 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97110   63.30
    17084 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97026   11.16
    17085 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97010   13.00
    17086 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97012   33.00
    17087 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   G0283   27.14
    17088 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97140   59.30
    17089 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97110   63.30
    17090 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97110   63.30
    17091 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97010   13.00
    17092 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97010   13.00
    17093 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   G0283   27.14
    17094 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97140   59.30
    17095 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97140   59.30
    17096 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97110   63.30
    17097 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97026   11.16
    17098 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97018   19.12
    17099 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97010   13.00
    17100 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97012   33.00
    17101 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   G0283   27.14
    17102 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97140   59.30
    17103 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97140   59.30
    17104 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97110   63.30
    17105 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97018   19.12
    17106 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97010   13.00
    17107 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   G0283   27.14
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    17108 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97140    59.30
    17109 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97140    59.30
    17110 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97110    63.30
    17111 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97026    11.16
    17112 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97018    19.12
    17113 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97010    13.00
    17114 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97012    33.00
    17115 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97035    25.22
    17116 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97140    59.30
    17117 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97110    63.30
    17118 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97110    63.30
    17119 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   12/31/2018   97026    11.16
    17120 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97010    13.00
    17121 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    G0283    27.14
    17122 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97035    25.22
    17123 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97140    59.30
    17124 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97110   126.60
    17125 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97026    11.16
    17126 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    G0283    27.14
    17127 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97140    59.30
    17128 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97110   126.60
    17129 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97012    33.00
    17130 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    G0283    27.14
    17131 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97140   118.60
    17132 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97110    63.30
    17133 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97010    13.00
    17134 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97012    33.00
    17135 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97010    13.00
    17136 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    G0283    27.14
    17137 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97140   118.60
    17138 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97110    63.30
    17139 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97018    19.12
    17140 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97010    13.00
    17141 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97010    13.00
    17142 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    G0283    27.14
    17143 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97140   118.60
    17144 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97110    63.30
    17145 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97026    11.16
    17146 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/18/2019    97018    19.12
    17147 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97018    19.12
    17148 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97010    13.00
    17149 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97012    33.00
    17150 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97140   118.60
    17151 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97110    63.30
    17152 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97026    11.16
    17153 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97018    19.12
    17154 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97010    13.00
    17155 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97012    33.00
    17156 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    G0283    27.14
    17157 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97140   118.60
    17158 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97110    63.30
    17159 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97018    19.12
    17160 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97010    13.00
    17161 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    G0283    27.14
    17162 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97140    59.30
    17163 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97110   126.60
    17164 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97018    19.12
    17165 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97035    25.22
    17166 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97010    13.00
    17167 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97012    33.00
    17168 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97140   118.60
    17169 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97110    63.30
    17170 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97018    19.12
    17171 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97026    11.16
    17172 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    G0283    27.14
    17173 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97140   118.60
    17174 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97110    63.30
    17175 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97010    13.00
    17176 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97018    19.12
    17177 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97026    11.16
    17178 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    G0283    27.14
    17179 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97140    59.30
    17180 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97110   126.60
    17181 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97010    13.00
    17182 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97018    19.12
    17183 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97026    11.16
    17184 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    G0283    27.14
    17185 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97140   118.60
    17186 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97110    31.65
    17187 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97010    13.00
    17188 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97018    19.12
    17189 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97026    11.16
    17190 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    G0283    27.14
    17191 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97140    59.30
    17192 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97110   126.60
    17193 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97010    13.00
    17194 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97018    19.12
    17195 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97026    11.16
    17196 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97010    13.00
    17197 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97035    25.22
    17198 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97140    59.30
    17199 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97110   126.60
    17200 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97026    11.16
    17201 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019    97018    19.12
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    17202 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17203 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   G0283    27.14
    17204 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140   118.60
    17205 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110    63.30
    17206 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97026    11.16
    17207 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97018    19.12
    17208 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17209 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   G0283    27.14
    17210 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140   118.60
    17211 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110    63.30
    17212 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97026    11.16
    17213 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97018    19.12
    17214 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17215 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   G0283    27.14
    17216 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140   118.60
    17217 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110    63.30
    17218 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97026    11.16
    17219 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97018    19.12
    17220 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17221 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   G0283    27.14
    17222 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97035    25.22
    17223 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140    59.30
    17224 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110   126.60
    17225 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97018    19.12
    17226 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17227 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   G0283    27.14
    17228 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97035    25.22
    17229 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140   118.60
    17230 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110    63.30
    17231 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97018    19.12
    17232 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17233 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   G0283    27.14
    17234 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97035    25.22
    17235 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110   126.60
    17236 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140    59.30
    17237 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97018    19.12
    17238 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17239 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   G0283    27.14
    17240 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140    59.30
    17241 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110   126.60
    17242 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97026    11.16
    17243 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97018    19.12
    17244 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17245 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97035    25.22
    17246 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140   118.60
    17247 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110    63.30
    17248 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97026    11.16
    17249 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97018    19.12
    17250 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17251 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97012    33.00
    17252 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97035    25.22
    17253 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140    59.30
    17254 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110   126.60
    17255 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97018    19.12
    17256 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17257 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97012    33.00
    17258 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97035    25.22
    17259 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140   118.60
    17260 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110    63.30
    17261 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97018    19.12
    17262 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97010    13.00
    17263 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   G0283    27.14
    17264 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97140    59.30
    17265 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97110   126.60
    17266 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/18/2019   97026    11.16
    17267 Himes Walk In Clinic, LLC   0400098210101077   7/10/2018   Bill   1/31/2019   97140    59.30
    17268 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17269 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97110   126.60
    17270 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17271 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17272 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    27.14
    17273 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97110   126.60
    17274 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97140   118.60
    17275 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   99213   145.86
    17276 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   99213   145.86
    17277 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97010    13.00
    17278 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97012    33.00
    17279 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   G0283    27.14
    17280 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97035    25.22
    17281 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97110   126.60
    17282 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97140   118.60
    17283 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97010    13.00
    17284 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97012    33.00
    17285 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   G0283    54.28
    17286 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97035    25.22
    17287 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97110   126.60
    17288 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97140    59.30
    17289 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97010    13.00
    17290 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97012    33.00
    17291 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   G0283    27.14
    17292 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97035    25.22
    17293 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97110   126.60
    17294 Himes Walk In Clinic, LLC   0574514240101036   2/9/2018    Bill   1/31/2019   97140   118.60
    17295 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97110   123.56
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    17296 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97026    12.84
    17297 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97110    61.78
    17298 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97018    17.64
    17299 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97010    13.00
    17300 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97012    29.94
    17301 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   G0283    29.70
    17302 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97140    55.92
    17303 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97140    55.92
    17304 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97110   123.56
    17305 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97026    12.84
    17306 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97010    13.00
    17307 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   G0283    29.70
    17308 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97140   111.84
    17309 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   G0283    29.70
    17310 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97140   111.84
    17311 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97110    61.78
    17312 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97018    17.64
    17313 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97010    13.00
    17314 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   G0283    29.70
    17315 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   G0283    29.70
    17316 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97140    55.92
    17317 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97110   123.56
    17318 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97026    12.84
    17319 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97018    17.64
    17320 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97010    13.00
    17321 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97010    13.00
    17322 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97012    29.94
    17323 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   G0283    29.70
    17324 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97140   111.84
    17325 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97110    61.78
    17326 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   1/31/2019   97010    13.00
    17327 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17328 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17329 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    27.14
    17330 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97016    34.56
    17331 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97110   126.60
    17332 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97140   118.60
    17333 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17334 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17335 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    27.14
    17336 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97016    34.56
    17337 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97110   126.60
    17338 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97140   118.60
    17339 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17340 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17341 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    54.28
    17342 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97035    25.22
    17343 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97016    34.56
    17344 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97140   118.60
    17345 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17346 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17347 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    27.14
    17348 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97016    34.56
    17349 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97110   126.60
    17350 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97140   118.60
    17351 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97016    34.56
    17352 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97016    34.56
    17353 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97016    34.56
    17354 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97016    34.56
    17355 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17356 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17357 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    54.28
    17358 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97035    25.22
    17359 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97110    63.30
    17360 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97140   118.60
    17361 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17362 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17363 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    27.14
    17364 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97035    50.44
    17365 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17366 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17367 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    54.28
    17368 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97035    25.22
    17369 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97110   126.60
    17370 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97140    59.30
    17371 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17372 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17373 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    27.14
    17374 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97035    50.44
    17375 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97110    63.30
    17376 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97140   118.60
    17377 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17378 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17379 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    54.28
    17380 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97035    25.22
    17381 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97110    63.30
    17382 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97140   118.60
    17383 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
    17384 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97012    33.00
    17385 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   G0283    27.14
    17386 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97035    50.44
    17387 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97110   126.60
    17388 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97140    59.30
    17389 Himes Walk In Clinic, LLC   0554206920101055   6/17/2018   Bill   1/31/2019   97010    13.00
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    17390 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17391 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97012    29.94
    17392 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17393 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140   111.84
    17394 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110    61.78
    17395 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17396 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17397 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17398 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140    55.92
    17399 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110   123.56
    17400 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17401 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17402 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17403 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97012    29.94
    17404 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140   111.84
    17405 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110    61.78
    17406 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17407 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17408 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17409 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97035    27.06
    17410 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140   111.84
    17411 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110    61.78
    17412 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17413 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17414 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17415 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97035    27.06
    17416 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140    55.92
    17417 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110   123.56
    17418 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17419 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17420 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17421 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97012    29.94
    17422 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17423 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140   111.84
    17424 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110    61.78
    17425 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17426 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17427 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97035    27.06
    17428 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140    55.92
    17429 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110   123.56
    17430 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17431 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17432 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17433 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97012    29.94
    17434 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17435 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140   111.84
    17436 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110    61.78
    17437 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17438 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17439 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17440 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140    55.92
    17441 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110   123.56
    17442 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17443 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17444 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17445 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97035    27.06
    17446 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140    55.92
    17447 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110   123.56
    17448 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17449 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17450 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17451 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17452 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97035    27.06
    17453 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140   111.84
    17454 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110    61.78
    17455 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17456 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17457 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17458 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140    55.92
    17459 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110   123.56
    17460 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17461 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17462 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17463 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97012    29.94
    17464 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140   111.84
    17465 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110    61.78
    17466 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17467 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17468 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17469 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17470 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97035    27.06
    17471 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140    55.92
    17472 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110   123.56
    17473 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17474 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17475 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97012    29.94
    17476 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97035    27.06
    17477 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140   111.84
    17478 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110    61.78
    17479 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17480 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17481 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17482 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140    55.92
    17483 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110   123.56
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    17484 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17485 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17486 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97012    29.94
    17487 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   G0283    29.70
    17488 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140   111.84
    17489 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97110    61.78
    17490 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17491 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97010    13.00
    17492 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97035    27.06
    17493 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140    55.92
    17494 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97140   123.56
    17495 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97026    12.84
    17496 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   1/31/2019   97018    17.64
    17497 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97010    13.00
    17498 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   G0283    29.70
    17499 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97140    55.92
    17500 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97110   123.56
    17501 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97018    17.64
    17502 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97010    13.00
    17503 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   G0283    29.70
    17504 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97140    55.92
    17505 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97110   123.56
    17506 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97026    12.84
    17507 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97018    17.64
    17508 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97010    13.00
    17509 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   G0283    29.70
    17510 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97140   111.84
    17511 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97110    61.78
    17512 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97026    12.84
    17513 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97018    17.64
    17514 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97010    13.00
    17515 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97012    29.94
    17516 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   G0283    29.70
    17517 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97140    55.92
    17518 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97110   123.56
    17519 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97018    17.64
    17520 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97010    13.00
    17521 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   G0283    29.70
    17522 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97140   111.84
    17523 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97110    61.78
    17524 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97026    12.84
    17525 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   97018    17.64
    17526 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97018    17.64
    17527 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17528 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17529 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17530 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140   111.84
    17531 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110    61.78
    17532 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97018    17.64
    17533 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   99214   216.48
    17534 Himes Walk In Clinic, LLC   0519814070101082   9/24/2018   Bill   2/13/2019   99214   216.48
    17535 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17536 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140   111.84
    17537 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110    61.78
    17538 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97026    12.84
    17539 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97018    17.64
    17540 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97012    29.94
    17541 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    54.12
    17542 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140    55.92
    17543 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110   123.56
    17544 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97026    12.84
    17545 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17546 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17547 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17548 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140   111.84
    17549 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110   123.56
    17550 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97026    12.84
    17551 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17552 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17553 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17554 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17555 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140   111.84
    17556 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110    61.78
    17557 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17558 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17559 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97012    29.94
    17560 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17561 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140    55.92
    17562 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110   123.56
    17563 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97026    12.84
    17564 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17565 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97012    29.94
    17566 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17567 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140    55.92
    17568 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110   123.56
    17569 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97026    12.84
    17570 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   99214   216.48
    17571 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   99214   216.48
    17572 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17573 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97012    29.94
    17574 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140    55.92
    17575 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110   123.56
    17576 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97026    12.84
    17577 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97018    17.64
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    17578 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17579 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97012    29.94
    17580 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17581 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140    55.92
    17582 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110   123.56
    17583 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97018    17.64
    17584 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17585 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17586 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140    55.92
    17587 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110   123.56
    17588 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97026    12.84
    17589 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97018    17.64
    17590 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17591 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97012    29.94
    17592 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17593 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17594 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140   111.84
    17595 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110    61.78
    17596 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17597 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17598 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17599 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140   111.84
    17600 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110    61.78
    17601 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97018    17.64
    17602 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17603 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97026    12.84
    17604 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17605 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17606 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17607 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140    55.92
    17608 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110   123.56
    17609 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97018    17.64
    17610 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17611 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97012    29.94
    17612 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17613 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17614 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140   111.84
    17615 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110    61.78
    17616 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17617 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97012    29.94
    17618 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   G0283    29.70
    17619 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140    55.92
    17620 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110   123.56
    17621 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97018    17.64
    17622 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17623 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97035    27.06
    17624 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140   111.84
    17625 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110    61.78
    17626 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97026    12.84
    17627 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97018    17.64
    17628 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97010    13.00
    17629 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97012    29.94
    17630 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97140    55.92
    17631 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97110   123.56
    17632 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/13/2019   97026    12.84
    17633 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97026    12.84
    17634 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17635 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97012    29.94
    17636 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283    29.70
    17637 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97035    27.06
    17638 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140    55.92
    17639 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110   123.56
    17640 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283    29.70
    17641 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97035    27.06
    17642 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140   111.84
    17643 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110    61.78
    17644 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97026    12.84
    17645 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97012    29.94
    17646 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283    29.70
    17647 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140    55.92
    17648 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110   123.56
    17649 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97026    12.84
    17650 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17651 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17652 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140   111.84
    17653 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110    61.78
    17654 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97026    12.84
    17655 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97018    17.64
    17656 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17657 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17658 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97012    29.94
    17659 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140   111.84
    17660 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110    61.78
    17661 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97026    12.84
    17662 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97018    17.64
    17663 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17664 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283    29.70
    17665 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140    55.92
    17666 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110   123.56
    17667 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97026    12.84
    17668 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97018    17.64
    17669 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17670 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97012    29.94
    17671 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283    29.70
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    17672 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97035    27.06
    17673 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140   111.84
    17674 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110    61.78
    17675 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283    29.70
    17676 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97035    27.06
    17677 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140   111.84
    17678 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110    61.78
    17679 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97018    17.64
    17680 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97012    29.94
    17681 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140    55.92
    17682 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110   123.56
    17683 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97026    12.84
    17684 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97018    17.64
    17685 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17686 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17687 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97035    27.06
    17688 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140    55.92
    17689 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110   123.56
    17690 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97018    17.64
    17691 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17692 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17693 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97012    29.94
    17694 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140   111.84
    17695 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110    61.78
    17696 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97026    12.84
    17697 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97018    17.64
    17698 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17699 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97012    29.94
    17700 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283    29.70
    17701 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97035    27.06
    17702 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140    55.92
    17703 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110   123.56
    17704 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010    13.00
    17705 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97012    29.94
    17706 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97035    27.06
    17707 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140   111.84
    17708 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110    61.78
    17709 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97018    17.64
    17710 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110   123.56
    17711 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97026    12.84
    17712 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010    13.00
    17713 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97012    29.94
    17714 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283    29.70
    17715 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140   111.84
    17716 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110    61.78
    17717 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97026    12.84
    17718 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010    13.00
    17719 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283    29.70
    17720 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283    29.70
    17721 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140    55.92
    17722 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110   123.56
    17723 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97026    12.84
    17724 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97018    17.64
    17725 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010    13.00
    17726 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010    13.00
    17727 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97012    29.94
    17728 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140   111.84
    17729 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110    61.78
    17730 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97026    12.84
    17731 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97018    17.64
    17732 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010    13.00
    17733 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283    29.70
    17734 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140    55.92
    17735 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110   123.56
    17736 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97026    12.84
    17737 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97018    17.64
    17738 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010    13.00
    17739 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97012    29.94
    17740 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283    29.70
    17741 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140   111.84
    17742 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110    61.78
    17743 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97018    17.64
    17744 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010    13.00
    17745 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97012    29.94
    17746 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283    29.70
    17747 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140    55.92
    17748 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110   123.56
    17749 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97026    12.84
    17750 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010    13.00
    17751 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283    29.70
    17752 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140   111.84
    17753 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110    61.78
    17754 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97026    12.84
    17755 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97018    17.64
    17756 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010    13.00
    17757 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97012    29.94
    17758 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283    29.70
    17759 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97035    27.06
    17760 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140    55.92
    17761 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110   123.56
    17762 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010    13.00
    17763 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283    29.70
    17764 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140   111.84
    17765 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110    61.78
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    17766 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97026      12.84
    17767 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97018      17.64
    17768 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010      13.00
    17769 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283      29.70
    17770 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97035      27.06
    17771 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140      55.92
    17772 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110     123.56
    17773 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97026      12.84
    17774 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97010      13.00
    17775 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   G0283      29.70
    17776 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140     111.84
    17777 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110      61.78
    17778 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97018      17.64
    17779 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97535      69.32
    17780 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   99204     333.56
    17781 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   99080      15.00
    17782 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   99070      35.00
    17783 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   L0642     500.00
    17784 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97012      29.94
    17785 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283      29.70
    17786 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140     111.84
    17787 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110      61.78
    17788 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97018      17.64
    17789 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283      29.70
    17790 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97035      27.06
    17791 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140     111.84
    17792 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110      61.78
    17793 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97018      17.64
    17794 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010      13.00
    17795 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010      13.00
    17796 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283      29.70
    17797 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140     111.84
    17798 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110      61.78
    17799 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97026      12.84
    17800 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010      13.00
    17801 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010      13.00
    17802 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97012      29.94
    17803 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97035      27.06
    17804 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140      55.92
    17805 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110     123.56
    17806 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97026      12.84
    17807 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97010      13.00
    17808 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   G0283      29.70
    17809 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97035      27.06
    17810 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97140     111.84
    17811 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   2/25/2019   97110      61.78
    17812 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140     111.84
    17813 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97110      61.78
    17814 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97018      17.64
    17815 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97035      27.06
    17816 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   2/25/2019   97140      55.92
    17817 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    G0283      29.70
    17818 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97140      55.92
    17819 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97110     123.56
    17820 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97018      17.64
    17821 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97535      69.32
    17822 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    99204     333.56
    17823 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    99080      15.00
    17824 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    99070      35.00
    17825 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    L0642     500.00
    17826 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    G0283      29.70
    17827 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97140     111.84
    17828 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97110      61.78
    17829 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97026      12.84
    17830 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97018      17.64
    17831 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97010      13.00
    17832 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97012      29.94
    17833 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97140      55.92
    17834 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97110     123.56
    17835 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97026      12.84
    17836 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97018      17.64
    17837 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97010      13.00
    17838 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    G0283      29.70
    17839 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97035      27.06
    17840 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97140     111.84
    17841 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97110      61.78
    17842 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97026      12.84
    17843 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97010      13.00
    17844 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97012      29.94
    17845 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    G0283      29.70
    17846 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97140      55.92
    17847 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97110     123.56
    17848 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97026      12.84
    17849 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97010      13.00
    17850 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    G0283      29.70
    17851 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97140     111.84
    17852 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97110      61.78
    17853 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97026      12.84
    17854 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97535      69.32
    17855 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    99070      35.00
    17856 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    L0642     500.00
    17857 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    E0849   1,082.16
    17858 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    99204     333.56
    17859 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    99080      15.00
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    17860 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110    61.78
    17861 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026    12.84
    17862 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026    12.84
    17863 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17864 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17865 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012    29.94
    17866 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17867 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140   111.84
    17868 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110    61.78
    17869 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17870 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17871 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035    27.06
    17872 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140    55.92
    17873 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110   123.56
    17874 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110    61.78
    17875 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17876 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17877 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012    29.94
    17878 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17879 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140   111.84
    17880 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026    12.84
    17881 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17882 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17883 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17884 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035    27.06
    17885 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140   111.84
    17886 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110    61.78
    17887 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026    12.84
    17888 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17889 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17890 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140    55.92
    17891 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110   123.56
    17892 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110   123.56
    17893 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17894 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17895 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012    29.94
    17896 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17897 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140   111.84
    17898 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110    61.78
    17899 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17900 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17901 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17902 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035    27.06
    17903 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140    55.92
    17904 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110   123.56
    17905 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026    12.84
    17906 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17907 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17908 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17909 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140   111.84
    17910 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140   111.84
    17911 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110    61.78
    17912 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17913 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17914 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012    29.94
    17915 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140    55.92
    17916 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17917 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110   123.56
    17918 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026    12.84
    17919 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17920 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17921 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012    29.94
    17922 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140    55.92
    17923 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110   123.56
    17924 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026    12.84
    17925 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17926 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17927 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012    29.94
    17928 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035    27.06
    17929 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140   111.84
    17930 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110    61.78
    17931 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17932 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17933 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17934 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17935 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140    55.92
    17936 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110   123.56
    17937 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17938 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17939 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012    29.94
    17940 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17941 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035    27.06
    17942 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140   111.84
    17943 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110    61.78
    17944 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026    12.84
    17945 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17946 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17947 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283    29.70
    17948 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140    55.92
    17949 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110   123.56
    17950 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026    12.84
    17951 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018    17.64
    17952 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010    13.00
    17953 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012    29.94
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    17954 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    17955 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140     111.84
    17956 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110      61.78
    17957 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    17958 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    17959 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012      29.94
    17960 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    17961 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140      55.92
    17962 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110     123.56
    17963 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97535      69.32
    17964 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   99203     218.34
    17965 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   99204     333.56
    17966 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   99080      15.00
    17967 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   99070      35.00
    17968 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   A4556      22.74
    17969 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   E0849   1,082.16
    17970 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   E0730     325.00
    17971 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012      29.94
    17972 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    17973 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140     111.84
    17974 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110      61.78
    17975 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012      29.94
    17976 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035      27.06
    17977 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140      55.92
    17978 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110     123.56
    17979 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    17980 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    17981 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012      29.94
    17982 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    17983 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035      27.06
    17984 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140     111.84
    17985 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110      61.78
    17986 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    17987 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    17988 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035      27.06
    17989 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140     111.84
    17990 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110      61.78
    17991 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    17992 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    17993 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012      29.94
    17994 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    17995 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140      55.92
    17996 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110     123.56
    17997 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    17998 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    17999 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    18000 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    18001 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140     111.84
    18002 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110      61.78
    18003 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    18004 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    18005 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    18006 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012      29.94
    18007 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    18008 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140      55.92
    18009 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110     123.56
    18010 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    18011 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    18012 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035      27.06
    18013 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140     111.84
    18014 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110      61.78
    18015 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    18016 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018      17.64
    18017 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    18018 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140     111.84
    18019 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110      61.78
    18020 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    18021 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018      17.64
    18022 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140      55.92
    18023 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110     123.56
    18024 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    18025 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018      17.64
    18026 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    18027 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035      27.06
    18028 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035      27.06
    18029 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140      55.92
    18030 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110     123.56
    18031 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    18032 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    18033 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97012      29.94
    18034 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140     111.84
    18035 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110      61.78
    18036 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    18037 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97018      17.64
    18038 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    18039 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    18040 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97035      27.06
    18041 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140      55.92
    18042 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97110     123.56
    18043 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97026      12.84
    18044 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97010      13.00
    18045 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   G0283      29.70
    18046 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140      55.92
    18047 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/7/2019   97140      55.92
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    18048 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97110   123.56
    18049 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97018    17.64
    18050 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97010    13.00
    18051 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97012    29.94
    18052 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97010    13.00
    18053 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97035    27.06
    18054 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97140   111.84
    18055 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97110    61.78
    18056 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97026    12.84
    18057 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97010    13.00
    18058 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/7/2019    97010    13.00
    18059 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97012    29.94
    18060 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18061 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97035    27.06
    18062 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140    55.92
    18063 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110   123.56
    18064 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18065 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18066 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97012    29.94
    18067 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97035    27.06
    18068 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140    55.92
    18069 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110   123.56
    18070 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18071 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18072 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18073 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140   111.84
    18074 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110    61.78
    18075 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18076 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18077 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18078 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97012    29.94
    18079 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97035    27.06
    18080 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140    55.92
    18081 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110   123.56
    18082 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18083 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18084 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18085 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140   111.84
    18086 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110    61.78
    18087 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18088 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18089 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18090 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97012    29.94
    18091 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140    55.92
    18092 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110   123.56
    18093 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18094 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18095 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97035    27.06
    18096 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97140   111.84
    18097 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97110    61.78
    18098 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97026    12.84
    18099 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97018    17.64
    18100 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   G0283    29.70
    18101 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97035    27.06
    18102 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97140    55.92
    18103 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97110   123.56
    18104 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97026    12.84
    18105 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97010    13.00
    18106 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97012    29.94
    18107 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   G0283    29.70
    18108 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97140   111.84
    18109 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97110    61.78
    18110 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97018    17.64
    18111 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97012    29.94
    18112 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   G0283    29.70
    18113 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97140   111.84
    18114 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97110    61.78
    18115 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97026    12.84
    18116 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97018    17.64
    18117 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97010    13.00
    18118 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97012    29.94
    18119 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   G0283    29.70
    18120 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97035    27.06
    18121 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97140    55.92
    18122 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97110   123.56
    18123 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97010    13.00
    18124 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97010    13.00
    18125 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   G0283    29.70
    18126 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97140   111.84
    18127 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97110    61.78
    18128 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97026    12.84
    18129 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97010    13.00
    18130 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97010    13.00
    18131 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97012    29.94
    18132 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   G0283    29.70
    18133 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97035    27.06
    18134 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97140   111.84
    18135 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/11/2019   97110    61.78
    18136 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18137 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18138 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97035    27.06
    18139 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140   111.84
    18140 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110    61.78
    18141 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
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    18142 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18143 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97035    27.06
    18144 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140   111.84
    18145 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110    61.78
    18146 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18147 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97012    29.94
    18148 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18149 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97035    27.06
    18150 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140    55.92
    18151 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110   123.56
    18152 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18153 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18154 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18155 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140   111.84
    18156 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110    61.78
    18157 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18158 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18159 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18160 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.94
    18161 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97035    27.06
    18162 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140    55.92
    18163 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110   123.56
    18164 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18165 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18166 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18167 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140   111.84
    18168 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110    61.78
    18169 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18170 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18171 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18172 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97035    27.06
    18173 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140    55.92
    18174 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110   123.56
    18175 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18176 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18177 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18178 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97012    29.94
    18179 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18180 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140    55.92
    18181 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110   123.56
    18182 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18183 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18184 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18185 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97012    29.94
    18186 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97035    27.06
    18187 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140   111.84
    18188 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110    61.78
    18189 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18190 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18191 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18192 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140    55.92
    18193 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110   123.56
    18194 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18195 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18196 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18197 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97012    29.94
    18198 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97035    27.06
    18199 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140   111.84
    18200 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110    61.78
    18201 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18202 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97010    13.00
    18203 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   G0283    29.70
    18204 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97140    55.92
    18205 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97110   123.56
    18206 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97026    12.84
    18207 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/11/2019   97018    17.64
    18208 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97018    14.22
    18209 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97010    15.00
    18210 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97012    29.98
    18211 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   G0283    29.70
    18212 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97140    55.98
    18213 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97110   123.68
    18214 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97026    12.84
    18215 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97012    29.98
    18216 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   G0283    29.70
    18217 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97035    27.78
    18218 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97140   111.96
    18219 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97110    61.84
    18220 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97026    12.84
    18221 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97010    15.00
    18222 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97012    29.98
    18223 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97140    55.98
    18224 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97110   123.68
    18225 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97026    12.84
    18226 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97018    14.22
    18227 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97012    29.98
    18228 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   G0283    29.70
    18229 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97035    27.78
    18230 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97140   111.96
    18231 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97110    61.84
    18232 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97026    12.84
    18233 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97010    15.00
    18234 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97012    29.98
    18235 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97140    55.98
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    18236 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110   123.68
    18237 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97026    12.84
    18238 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18239 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018      ‐
    18240 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18241 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97010    15.00
    18242 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97012    29.98
    18243 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18244 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140    55.98
    18245 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110   123.68
    18246 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18247 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97012    29.98
    18248 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18249 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97035    27.78
    18250 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140   111.96
    18251 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110    61.84
    18252 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18253 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97010    15.00
    18254 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97012    29.98
    18255 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97035    27.78
    18256 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140    55.98
    18257 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110   123.68
    18258 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97010    15.00
    18259 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18260 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97035    27.78
    18261 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140    55.98
    18262 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110   123.68
    18263 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97026    12.84
    18264 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97012    29.98
    18265 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18266 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97035    27.78
    18267 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140   111.96
    18268 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110    61.84
    18269 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97026    12.84
    18270 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97010    15.00
    18271 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97012    29.98
    18272 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97035    27.78
    18273 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140    55.98
    18274 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110   123.68
    18275 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97026    12.84
    18276 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97010    15.00
    18277 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18278 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140   111.96
    18279 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110    61.84
    18280 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97026    12.84
    18281 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18282 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97012    29.98
    18283 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18284 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97035    27.78
    18285 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140    55.98
    18286 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110   123.68
    18287 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18288 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97010    15.00
    18289 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18290 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97035    27.78
    18291 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140    55.98
    18292 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110   123.68
    18293 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18294 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97010    15.00
    18295 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97012    29.98
    18296 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140   111.96
    18297 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110    61.84
    18298 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97026    12.84
    18299 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18300 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97012    29.98
    18301 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18302 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97035    27.78
    18303 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140    55.98
    18304 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110   123.68
    18305 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18306 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97010    15.00
    18307 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18308 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140   111.96
    18309 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110    61.84
    18310 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97026    12.84
    18311 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18312 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97012    29.98
    18313 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18314 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97035    27.78
    18315 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140   111.96
    18316 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110    61.84
    18317 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97026    12.84
    18318 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97010    15.00
    18319 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   G0283    29.70
    18320 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140    55.98
    18321 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110   123.68
    18322 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97026    12.84
    18323 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
    18324 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97010    15.00
    18325 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97012    29.98
    18326 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97035    27.78
    18327 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97140   111.96
    18328 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97110    61.84
    18329 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   3/22/2019   97018    14.22
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    18330 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97012    29.98
    18331 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   G0283    29.70
    18332 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97140    55.98
    18333 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97110   123.68
    18334 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97026    12.84
    18335 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97018    14.22
    18336 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97010    15.00
    18337 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97012    29.98
    18338 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   G0283    29.70
    18339 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97140   111.96
    18340 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97110    61.84
    18341 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97018    14.22
    18342 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97012    29.98
    18343 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   G0283    29.70
    18344 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97035    27.78
    18345 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97140    55.98
    18346 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97110   123.68
    18347 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97026    12.84
    18348 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97010    15.00
    18349 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97012    29.98
    18350 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97035    27.78
    18351 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97140   111.96
    18352 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   3/22/2019   97110    61.84
    18353 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110   123.68
    18354 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97026    12.84
    18355 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18356 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   99214   216.48
    18357 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18358 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18359 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97035    27.78
    18360 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140   111.96
    18361 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110    61.84
    18362 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97026    12.84
    18363 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18364 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18365 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18366 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140    55.98
    18367 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110   123.68
    18368 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18369 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18370 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18371 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97035    27.78
    18372 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140   111.96
    18373 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110    61.84
    18374 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18375 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18376 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18377 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18378 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140    55.98
    18379 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110   123.68
    18380 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18381 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18382 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18383 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97035    27.78
    18384 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140   111.96
    18385 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110    61.84
    18386 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18387 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18388 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18389 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18390 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140   111.96
    18391 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110    61.84
    18392 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18393 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   99214   216.48
    18394 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18395 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18396 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97035    27.78
    18397 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140   111.96
    18398 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110    61.84
    18399 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18400 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18401 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18402 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140    55.98
    18403 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110   123.68
    18404 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97026    12.84
    18405 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18406 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18407 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18408 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97035    27.78
    18409 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140   111.96
    18410 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110    61.84
    18411 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18412 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18413 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18414 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18415 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140    55.98
    18416 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110   123.68
    18417 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18418 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18419 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18420 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18421 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140   111.96
    18422 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110    61.84
    18423 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
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    18424 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18425 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97035    27.78
    18426 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140    55.98
    18427 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110   123.68
    18428 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97026    12.84
    18429 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18430 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   99214   216.48
    18431 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18432 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18433 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140   111.96
    18434 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110    61.84
    18435 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97026    12.84
    18436 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18437 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18438 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18439 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97035    27.78
    18440 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140    55.98
    18441 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110   123.68
    18442 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97018    14.22
    18443 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18444 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97012    29.98
    18445 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   G0283    29.70
    18446 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140   111.96
    18447 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97110    61.84
    18448 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97026    12.84
    18449 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97010    15.00
    18450 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97035    27.78
    18451 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   3/25/2019   97140    55.98
    18452 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   G0283    29.70
    18453 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97140    55.98
    18454 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97110   123.68
    18455 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97026    12.84
    18456 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97010    15.00
    18457 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   G0283    29.70
    18458 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97035    27.78
    18459 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97140   111.96
    18460 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97110    61.84
    18461 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97026    12.84
    18462 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97012    29.98
    18463 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   G0283    29.70
    18464 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97140    55.98
    18465 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97110   123.68
    18466 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97026    12.84
    18467 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97018    14.22
    18468 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97026    12.84
    18469 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97018    14.22
    18470 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97010    15.00
    18471 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012    29.98
    18472 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283    29.70
    18473 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140    55.98
    18474 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110   123.68
    18475 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97026    12.84
    18476 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012    29.98
    18477 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97035    27.78
    18478 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140   111.96
    18479 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110    61.84
    18480 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97026    12.84
    18481 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97018    14.22
    18482 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97010    15.00
    18483 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012    29.98
    18484 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283    29.70
    18485 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140    55.98
    18486 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110   123.68
    18487 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97018    14.22
    18488 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012    29.98
    18489 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283    29.70
    18490 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97035    27.78
    18491 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140   111.96
    18492 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110    61.84
    18493 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97018    14.22
    18494 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97010    15.00
    18495 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012    29.98
    18496 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283    29.70
    18497 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140    55.98
    18498 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110   123.68
    18499 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97026    12.84
    18500 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97010    15.00
    18501 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012    29.98
    18502 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283    29.70
    18503 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97035    27.78
    18504 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140   111.96
    18505 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110    61.84
    18506 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97010    15.00
    18507 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283    29.70
    18508 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140    55.98
    18509 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110   123.68
    18510 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97026    12.84
    18511 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97018    14.22
    18512 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012    29.98
    18513 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283    29.70
    18514 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97035    27.78
    18515 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140   111.96
    18516 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110    61.84
    18517 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97018    14.22
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    18518 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97010      15.00
    18519 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012      29.98
    18520 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283      29.70
    18521 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140      55.98
    18522 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110     123.68
    18523 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97026      12.84
    18524 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97010      15.00
    18525 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283      29.70
    18526 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97035      27.78
    18527 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140     111.96
    18528 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110      61.84
    18529 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97018      14.22
    18530 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97010      15.00
    18531 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012      29.98
    18532 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283      29.70
    18533 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140      55.98
    18534 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110     123.68
    18535 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97026      12.84
    18536 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   99204     333.26
    18537 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   99080      15.00
    18538 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   99070      35.00
    18539 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   L0642     500.00
    18540 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   E0849   1,082.16
    18541 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97010      15.00
    18542 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97012      29.98
    18543 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   G0283      29.70
    18544 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97035      27.78
    18545 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97140      55.98
    18546 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97110     123.68
    18547 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97010      15.00
    18548 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97035      27.78
    18549 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97140     111.96
    18550 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97110      61.84
    18551 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97026      12.84
    18552 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97018      14.22
    18553 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97012      29.98
    18554 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   G0283      29.70
    18555 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97140      55.98
    18556 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97110     123.68
    18557 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97026      12.84
    18558 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97018      14.22
    18559 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97010      15.00
    18560 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   G0283      29.70
    18561 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97035      27.78
    18562 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97140      55.98
    18563 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97110     123.68
    18564 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97018      14.22
    18565 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97010      15.00
    18566 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   3/28/2019   97012      29.98
    18567 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97010      15.00
    18568 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012      29.98
    18569 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140     111.96
    18570 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110      61.84
    18571 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97026      12.84
    18572 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97535      68.70
    18573 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97010      15.00
    18574 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012      29.98
    18575 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   G0283      29.70
    18576 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140      55.98
    18577 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110     123.68
    18578 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97026      12.84
    18579 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97012      29.98
    18580 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97035      27.78
    18581 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97140     111.96
    18582 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   3/28/2019   97110      61.84
    18583 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    99214     216.48
    18584 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    98940      57.70
    18585 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97012      29.98
    18586 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    G0283      29.70
    18587 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97035      27.78
    18588 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97140      55.98
    18589 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97110     123.68
    18590 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97018      14.22
    18591 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97010      15.00
    18592 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97012      29.98
    18593 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    G0283      29.70
    18594 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97140     111.96
    18595 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97110      61.84
    18596 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97018      14.22
    18597 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97012      29.98
    18598 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    G0283      29.70
    18599 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97035      27.78
    18600 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97140      55.98
    18601 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97110     123.68
    18602 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97018      14.22
    18603 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97010      15.00
    18604 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97012      29.98
    18605 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    G0283      29.70
    18606 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97140     111.96
    18607 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97110      61.84
    18608 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97018      14.22
    18609 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97012      29.98
    18610 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    G0283      29.70
    18611 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97035      27.78
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    18612 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140    55.98
    18613 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110   123.68
    18614 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18615 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18616 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   G0283    29.70
    18617 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140   111.96
    18618 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110    61.84
    18619 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97026    12.84
    18620 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18621 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18622 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97012    29.98
    18623 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97035    27.78
    18624 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140    55.98
    18625 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110   123.68
    18626 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97026    12.84
    18627 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110   123.68
    18628 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18629 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   99214   216.48
    18630 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18631 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97012    29.98
    18632 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   G0283    29.70
    18633 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97035    27.78
    18634 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140   111.96
    18635 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110    61.84
    18636 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97012    29.98
    18637 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   G0283    29.70
    18638 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140    55.98
    18639 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110   123.68
    18640 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97026    12.84
    18641 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18642 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18643 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97035    27.78
    18644 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140   111.96
    18645 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110    61.84
    18646 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97026    12.84
    18647 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18648 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18649 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97012    29.98
    18650 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   G0283    29.70
    18651 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140    55.98
    18652 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110   123.68
    18653 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18654 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   G0283    29.70
    18655 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97035    27.78
    18656 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140   111.96
    18657 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110    61.84
    18658 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97026    12.84
    18659 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18660 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18661 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97012    29.98
    18662 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97035    27.78
    18663 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140    55.98
    18664 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110   123.68
    18665 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18666 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18667 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97012    29.70
    18668 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97035    27.78
    18669 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140    55.98
    18670 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110   123.68
    18671 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97026    12.84
    18672 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   99214   216.48
    18673 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   98940    57.70
    18674 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18675 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97012    29.98
    18676 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   G0283    29.70
    18677 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140    55.98
    18678 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110   123.68
    18679 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18680 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   G0283    29.70
    18681 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97035    27.78
    18682 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140   111.96
    18683 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110    61.84
    18684 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97026    12.84
    18685 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18686 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18687 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97012    29.98
    18688 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97035    27.78
    18689 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140    55.98
    18690 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110   123.68
    18691 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18692 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18693 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97012    29.98
    18694 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140   111.96
    18695 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110    61.84
    18696 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18697 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18698 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   G0283    29.70
    18699 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97035    27.78
    18700 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140    55.98
    18701 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97110   123.68
    18702 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97018    14.22
    18703 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97010    15.00
    18704 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   G0283    29.70
    18705 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/1/2019   97140   111.96
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    18706 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97110    61.84
    18707 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97026    12.84
    18708 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97018    14.22
    18709 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97010    15.00
    18710 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    G0283    29.70
    18711 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97035    27.78
    18712 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/1/2019    97140    55.98
    18713 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97010    15.00
    18714 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97012    29.98
    18715 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    G0283    29.70
    18716 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97140    55.98
    18717 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97110   123.68
    18718 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97018    14.22
    18719 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97010    15.00
    18720 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97012    29.98
    18721 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97035    27.78
    18722 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97140   111.96
    18723 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97110    61.84
    18724 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97018    14.22
    18725 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97010    15.00
    18726 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    G0283    29.70
    18727 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97140    55.98
    18728 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97110   123.68
    18729 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97026    12.84
    18730 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97018    14.22
    18731 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97012    29.98
    18732 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    G0283    29.70
    18733 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97035    27.78
    18734 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97140   111.96
    18735 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97110    61.84
    18736 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97026    12.84
    18737 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97010    15.00
    18738 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97012    29.98
    18739 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97140    55.98
    18740 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97110   123.68
    18741 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97026    12.84
    18742 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97018    14.22
    18743 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97010    15.00
    18744 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97012    29.98
    18745 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    G0283    29.70
    18746 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97035    27.78
    18747 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97140    55.98
    18748 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    97110    61.84
    18749 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97010    15.00
    18750 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97012    29.98
    18751 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    G0283    29.70
    18752 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97140    55.98
    18753 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97110   123.68
    18754 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97026    12.84
    18755 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    G0283    29.70
    18756 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97035    27.78
    18757 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97140   111.96
    18758 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97110    61.84
    18759 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97026    12.84
    18760 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97018    14.22
    18761 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97010    15.00
    18762 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    G0283    29.70
    18763 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97140    55.98
    18764 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97110   123.68
    18765 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97026    12.84
    18766 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97018    14.22
    18767 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97010    15.00
    18768 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    G0283    29.70
    18769 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97140   111.96
    18770 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97110    61.84
    18771 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97026    12.84
    18772 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97018    14.22
    18773 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97010    15.00
    18774 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97012    29.98
    18775 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    G0283    29.70
    18776 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97035    27.78
    18777 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97140   111.96
    18778 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97110    61.84
    18779 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97010    15.00
    18780 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97012    29.98
    18781 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97140   111.96
    18782 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97110    61.84
    18783 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97026    12.84
    18784 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97018    14.22
    18785 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97010    15.00
    18786 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    G0283    29.70
    18787 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97035    27.78
    18788 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97140   111.96
    18789 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97110    61.84
    18790 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97018    14.22
    18791 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97012    29.98
    18792 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    G0283    29.70
    18793 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97035    27.78
    18794 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97140    55.98
    18795 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97110   123.68
    18796 Himes Walk In Clinic, LLC   0645503690101013   12/5/2018   Bill   4/8/2019    97026    12.84
    18797 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/8/2019    99214   216.48
    18798 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97010    15.00
    18799 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97012    29.98
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    18800 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18801 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140   111.96
    18802 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110    61.84
    18803 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97018    14.22
    18804 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97010    15.00
    18805 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97012    29.98
    18806 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97035    27.78
    18807 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140   111.96
    18808 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110    61.84
    18809 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97026    12.84
    18810 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97010    15.00
    18811 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18812 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18813 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97140    55.98
    18814 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530   159.28
    18815 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18816 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97010    15.00
    18817 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18818 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18819 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530    79.64
    18820 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97026    12.84
    18821 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112   140.36
    18822 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18823 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18824 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18825 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97110    61.84
    18826 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18827 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112   140.36
    18828 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18829 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18830 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18831 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530   159.28
    18832 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18833 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112    70.18
    18834 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97010    15.00
    18835 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18836 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18837 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18838 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97140    55.98
    18839 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97110   123.68
    18840 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18841 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18842 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97140    55.98
    18843 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97110    61.84
    18844 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97026    12.84
    18845 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18846 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18847 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97140    55.98
    18848 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97110   123.68
    18849 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97026    12.84
    18850 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18851 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97010    15.00
    18852 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18853 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18854 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18855 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530    79.64
    18856 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112   140.36
    18857 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18858 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18859 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97140    55.98
    18860 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530   159.28
    18861 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97026    12.84
    18862 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18863 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97010    15.00
    18864 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18865 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530    79.64
    18866 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97026    12.84
    18867 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18868 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112   140.36
    18869 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18870 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18871 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18872 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530   159.28
    18873 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18874 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112    70.18
    18875 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97010    15.00
    18876 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18877 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18878 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97140    55.98
    18879 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97110   123.68
    18880 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18881 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18882 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18883 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18884 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97140   111.96
    18885 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97110    61.84
    18886 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18887 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18888 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97035    27.78
    18889 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140   111.96
    18890 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110    61.84
    18891 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97026    12.84
    18892 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97018    14.22
    18893 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97012    29.98
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    18894 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18895 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97035    27.78
    18896 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140    55.98
    18897 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110   123.68
    18898 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97018    14.22
    18899 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97010    15.00
    18900 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18901 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140   111.96
    18902 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110    61.84
    18903 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97026    12.84
    18904 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97018    14.22
    18905 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97012    29.98
    18906 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18907 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97035    27.78
    18908 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140    55.98
    18909 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110   123.68
    18910 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97018    14.22
    18911 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97010    15.00
    18912 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97012    29.98
    18913 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18914 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97035    27.78
    18915 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140   111.96
    18916 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110    61.84
    18917 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97012    29.98
    18918 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18919 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140    55.98
    18920 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110   123.68
    18921 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97026    12.84
    18922 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97018    14.22
    18923 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97010    15.00
    18924 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18925 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97035    27.78
    18926 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140   111.96
    18927 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110    61.84
    18928 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97018    14.22
    18929 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97012    29.98
    18930 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18931 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97035    27.78
    18932 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140    55.98
    18933 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110   123.68
    18934 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97018    14.22
    18935 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97012    29.98
    18936 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18937 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140   111.96
    18938 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110    61.84
    18939 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97026    12.84
    18940 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97018    14.22
    18941 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97010    15.00
    18942 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97012    29.98
    18943 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   G0283    29.70
    18944 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97035    27.78
    18945 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97140    55.98
    18946 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/15/2019   97110   123.68
    18947 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112    70.18
    18948 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112   140.36
    18949 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97010    15.00
    18950 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18951 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18952 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18953 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530   159.28
    18954 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112    70.18
    18955 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18956 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18957 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530    79.64
    18958 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530    12.84
    18959 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18960 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97010    15.00
    18961 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18962 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18963 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18964 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530   159.28
    18965 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18966 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97010    15.00
    18967 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18968 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18969 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530    79.64
    18970 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18971 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112   140.36
    18972 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18973 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   G0283    29.70
    18974 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97035    27.78
    18975 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97530   159.28
    18976 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97018    14.22
    18977 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97112    70.18
    18978 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/15/2019   97012    29.98
    18979 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/23/2019   97530   159.28
    18980 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/23/2019   97018    14.22
    18981 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/23/2019   97010    15.00
    18982 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/23/2019   97012    29.98
    18983 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/23/2019   97110   123.68
    18984 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/23/2019   97026    12.84
    18985 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/23/2019   97018    14.22
    18986 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/23/2019   97112    70.18
    18987 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   4/23/2019   97010    15.00
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    18988 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97035    27.78
    18989 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97110    61.84
    18990 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97026    12.84
    18991 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97018    14.22
    18992 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97112   140.36
    18993 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97012    29.98
    18994 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   G0283    29.70
    18995 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97035    27.78
    18996 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97140    55.98
    18997 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97530   159.28
    18998 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97018    14.22
    18999 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97010    15.00
    19000 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97012    29.98
    19001 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   G0283    29.70
    19002 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97530    79.64
    19003 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97026    12.84
    19004 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97112   140.36
    19005 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97012    29.98
    19006 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   G0283    29.70
    19007 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97035    27.78
    19008 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019   Bill   4/23/2019   97140    55.98
    19009 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97035    27.78
    19010 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97110    61.84
    19011 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97018    14.22
    19012 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97112   140.36
    19013 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97010    15.00
    19014 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97012    29.98
    19015 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   G0283    29.70
    19016 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97110   123.68
    19017 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97018    14.22
    19018 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97112    70.18
    19019 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97012    29.98
    19020 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   G0283    29.70
    19021 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97035    27.78
    19022 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97530   159.28
    19023 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97018    14.22
    19024 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97112    70.18
    19025 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97012    29.98
    19026 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   G0283    29.70
    19027 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97035    27.78
    19028 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97530    79.64
    19029 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97018    14.22
    19030 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97112   140.36
    19031 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97010    15.00
    19032 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   G0283    29.70
    19033 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97035    27.78
    19034 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97530   159.28
    19035 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97018    14.22
    19036 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97112    70.18
    19037 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97012    29.98
    19038 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97035    27.78
    19039 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97110    61.84
    19040 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97026    12.84
    19041 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97018    14.22
    19042 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97112   140.36
    19043 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97010    15.00
    19044 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97012    29.98
    19045 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97035    27.78
    19046 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97140   111.96
    19047 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97530    79.64
    19048 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97026    12.84
    19049 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97010    15.00
    19050 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97012    29.98
    19051 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   G0283    29.70
    19052 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97530   159.28
    19053 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97018    14.22
    19054 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97112    70.18
    19055 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97010    15.00
    19056 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   G0283    29.70
    19057 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97035    27.78
    19058 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97140    55.98
    19059 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97530   159.28
    19060 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97018    14.22
    19061 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97010    15.00
    19062 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97012    29.98
    19063 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   G0283    29.70
    19064 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97530    79.64
    19065 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97018    14.22
    19066 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97112   140.36
    19067 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97010    15.00
    19068 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97012    29.98
    19069 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   G0283    29.70
    19070 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97035    27.78
    19071 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97530   159.28
    19072 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97112    70.18
    19073 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97010    15.00
    19074 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   G0283    29.70
    19075 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97110    61.84
    19076 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97026    12.84
    19077 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97018    14.22
    19078 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97112   140.36
    19079 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97012    29.98
    19080 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   G0283    29.70
    19081 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019   Bill   4/29/2019   97035    27.78
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    19082 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97140    55.98
    19083 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97530   159.28
    19084 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97018    14.22
    19085 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97012    29.98
    19086 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   G0283    29.70
    19087 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97530    79.64
    19088 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97026    12.84
    19089 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97018    14.22
    19090 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97112   140.36
    19091 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97010    15.00
    19092 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97012    29.98
    19093 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   G0283    29.70
    19094 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97530   159.28
    19095 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97026    12.84
    19096 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97112    70.18
    19097 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97010    15.00
    19098 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97012    29.98
    19099 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97035    27.78
    19100 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97530    79.64
    19101 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97018    14.22
    19102 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97112   140.36
    19103 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97010    15.00
    19104 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97012    29.98
    19105 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   G0283    29.70
    19106 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97530   159.28
    19107 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97012    29.98
    19108 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   G0283    29.70
    19109 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97530    79.64
    19110 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97026    12.84
    19111 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97018    14.22
    19112 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97112   140.36
    19113 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97010    15.00
    19114 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97012    29.98
    19115 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97035    27.78
    19116 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97530   159.28
    19117 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97018    14.22
    19118 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97112    70.18
    19119 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97010    15.00
    19120 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97012    29.98
    19121 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   G0283    29.70
    19122 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97530    79.64
    19123 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97018    14.22
    19124 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97112   140.36
    19125 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97012    29.98
    19126 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   G0283    29.70
    19127 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97035    27.78
    19128 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97530   159.28
    19129 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97018    14.22
    19130 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97112    70.18
    19131 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   97012    29.98
    19132 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   4/29/2019   G0283    29.70
    19133 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97018    14.22
    19134 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97112    70.18
    19135 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   G0283    29.70
    19136 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97035    27.78
    19137 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97110   123.68
    19138 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97026    12.84
    19139 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97018    14.22
    19140 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97112    70.18
    19141 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97012    29.98
    19142 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   G0283    29.70
    19143 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97035    27.78
    19144 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97140   111.96
    19145 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97110    61.84
    19146 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97018    14.22
    19147 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97010    15.00
    19148 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97012    29.98
    19149 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97140    55.98
    19150 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97110   123.68
    19151 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97026    12.84
    19152 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   4/29/2019   97018    14.22
    19153 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97010    15.00
    19154 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97012    29.98
    19155 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    G0283    29.70
    19156 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97035    27.78
    19157 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97530    79.64
    19158 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97112   140.36
    19159 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97012    29.98
    19160 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    G0283    29.70
    19161 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97530   159.28
    19162 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97026    12.84
    19163 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97018    14.22
    19164 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97112    70.18
    19165 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97010    15.00
    19166 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    G0283    29.70
    19167 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97035    27.78
    19168 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97530    79.64
    19169 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97018    14.22
    19170 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97112   140.36
    19171 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97010    15.00
    19172 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97012    29.98
    19173 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97530   159.28
    19174 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97026    12.84
    19175 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97018    14.22
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    19176 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97112    70.18
    19177 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97012    29.98
    19178 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    G0283    29.70
    19179 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97035    27.78
    19180 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97530    79.64
    19181 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97018    14.22
    19182 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97112   140.36
    19183 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97010    15.00
    19184 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97012    29.98
    19185 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    G0283    29.70
    19186 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97530    79.64
    19187 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97018    14.22
    19188 Himes Walk In Clinic, LLC   0644310950101027   2/1/2019    Bill   5/6/2019    97112    70.18
    19189 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97010    15.00
    19190 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97035    27.78
    19191 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97530   159.28
    19192 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97026    12.84
    19193 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97018    14.22
    19194 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97112    70.18
    19195 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97010    15.00
    19196 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97012    29.98
    19197 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   G0283    29.70
    19198 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97530    79.64
    19199 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97018    14.22
    19200 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97112   140.36
    19201 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97012    29.98
    19202 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   G0283    29.70
    19203 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97035    27.78
    19204 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97140    55.98
    19205 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97530   159.28
    19206 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97026    12.84
    19207 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97012    29.98
    19208 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   G0283    29.70
    19209 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97035    27.78
    19210 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97530    79.64
    19211 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97026    12.84
    19212 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97112   140.36
    19213 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97010    15.00
    19214 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   G0283    29.70
    19215 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97035    27.78
    19216 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97530   159.28
    19217 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97018    14.22
    19218 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97112    70.18
    19219 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97010    15.00
    19220 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97012    29.98
    19221 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97035    27.78
    19222 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97530    79.64
    19223 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97018    14.22
    19224 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97112   140.36
    19225 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97010    15.00
    19226 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   G0283    29.70
    19227 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97035    27.78
    19228 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97530   159.28
    19229 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97018    14.22
    19230 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97112    70.18
    19231 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97012    29.98
    19232 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   G0283    29.70
    19233 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97035    27.78
    19234 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97530    79.64
    19235 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97026    12.84
    19236 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/14/2019   97112   140.36
    19237 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97012    29.98
    19238 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   G0283    29.70
    19239 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97035    27.78
    19240 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97530    79.64
    19241 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97018    14.22
    19242 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97112   140.36
    19243 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97010    15.00
    19244 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97012    29.98
    19245 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   G0283    29.70
    19246 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97530   159.28
    19247 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97018    14.22
    19248 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97112    70.18
    19249 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97012    29.98
    19250 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   G0283    29.70
    19251 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97035    27.78
    19252 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97530    79.64
    19253 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97026    12.84
    19254 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97112   140.36
    19255 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97012    29.98
    19256 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97035    27.78
    19257 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97530    79.64
    19258 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97026    12.84
    19259 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97018    14.22
    19260 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97112   140.36
    19261 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97012    29.98
    19262 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   G0283    29.70
    19263 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97035    27.78
    19264 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97530   159.28
    19265 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97026    12.84
    19266 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97112    70.18
    19267 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97012    29.98
    19268 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   G0283    29.70
    19269 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97035    27.78
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    19270 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97530    79.64
    19271 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97018    14.22
    19272 Himes Walk In Clinic, LLC   0632055380101014   2/9/2019    Bill   5/14/2019   97112   140.36
    19273 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97035    27.78
    19274 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530    79.64
    19275 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97535   137.40
    19276 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19277 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19278 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97035    27.78
    19279 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530   159.28
    19280 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97018    14.22
    19281 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112    70.18
    19282 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19283 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19284 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19285 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97035    27.78
    19286 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530    79.64
    19287 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112   140.36
    19288 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19289 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19290 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530   159.28
    19291 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97026    12.84
    19292 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97018    14.22
    19293 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112    70.18
    19294 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19295 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19296 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97035    27.78
    19297 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530    79.64
    19298 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97018    14.22
    19299 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112   140.36
    19300 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19301 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19302 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19303 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530   159.28
    19304 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97018    14.22
    19305 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112    70.18
    19306 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19307 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19308 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97140   111.96
    19309 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530    79.64
    19310 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97018    14.22
    19311 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97535    68.70
    19312 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19313 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19314 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97035    27.78
    19315 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530    79.64
    19316 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97018    14.22
    19317 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112   140.36
    19318 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19319 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19320 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530   159.28
    19321 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97026    12.84
    19322 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97018    14.22
    19323 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112    70.18
    19324 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19325 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19326 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19327 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97035    27.78
    19328 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530    79.64
    19329 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112   140.36
    19330 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19331 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19332 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97035    27.78
    19333 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530   159.28
    19334 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97018    14.22
    19335 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112    70.18
    19336 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19337 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19338 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19339 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97035    27.78
    19340 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530    79.64
    19341 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112   140.36
    19342 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19343 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19344 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97035    27.78
    19345 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530   159.28
    19346 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97026    12.84
    19347 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112    70.18
    19348 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19349 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19350 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97035    27.78
    19351 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530    79.64
    19352 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97018    14.22
    19353 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112   140.36
    19354 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19355 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19356 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19357 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97530   159.28
    19358 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97026    12.84
    19359 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97112    70.18
    19360 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97010    15.00
    19361 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   97012    29.98
    19362 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   5/18/2019   G0283    29.70
    19363 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97010    15.00
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    19364 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97012      29.98
    19365 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97035      27.78
    19366 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97110     123.68
    19367 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97535      68.70
    19368 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97112      70.18
    19369 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   99204     333.26
    19370 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   99080      15.00
    19371 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   99070      35.00
    19372 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   L0642     500.00
    19373 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   E0849   1,082.16
    19374 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97012      29.98
    19375 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   G0283      29.70
    19376 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97035      27.78
    19377 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97530     159.28
    19378 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97018      14.22
    19379 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97112      70.18
    19380 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97010      15.00
    19381 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97012      29.98
    19382 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   G0283      29.70
    19383 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97035      27.78
    19384 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97530      79.64
    19385 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97112     140.36
    19386 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97012      29.98
    19387 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   G0283      29.70
    19388 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97035      27.78
    19389 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97530      79.64
    19390 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97018      14.22
    19391 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97112     140.36
    19392 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97012      29.98
    19393 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   G0283      29.70
    19394 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97530     159.28
    19395 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97026      12.84
    19396 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97018      14.22
    19397 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97112      70.18
    19398 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97010      15.00
    19399 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   G0283      29.70
    19400 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97035      27.78
    19401 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97530      79.64
    19402 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97018      14.22
    19403 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97112     140.36
    19404 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97012      29.98
    19405 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97035      27.78
    19406 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97140      55.98
    19407 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97140     159.28
    19408 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97026      12.84
    19409 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97018      14.22
    19410 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97010      15.00
    19411 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   G0283      29.70
    19412 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97035      27.78
    19413 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97530      79.64
    19414 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97018      14.22
    19415 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97112     140.36
    19416 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97012      29.98
    19417 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   G0283      29.70
    19418 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97140      55.98
    19419 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97530     159.28
    19420 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97026      12.84
    19421 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   5/24/2019   97018      14.22
    19422 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97010      15.00
    19423 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97012      29.98
    19424 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97530     159.28
    19425 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97026      12.84
    19426 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97018      14.22
    19427 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97112      70.18
    19428 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   G0283      29.70
    19429 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97035      27.78
    19430 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97530      79.64
    19431 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97026      12.84
    19432 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97018      14.22
    19433 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97112     140.36
    19434 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97010      15.00
    19435 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97012      29.98
    19436 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   G0283      29.70
    19437 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97140      55.98
    19438 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97530     159.28
    19439 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97018      14.22
    19440 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97012      29.98
    19441 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   G0283      29.70
    19442 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97035      27.78
    19443 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97530      79.64
    19444 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97018      14.22
    19445 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97112     140.36
    19446 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97010      15.00
    19447 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97012      29.98
    19448 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97035      27.78
    19449 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97530     159.28
    19450 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97026      12.84
    19451 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97112      70.18
    19452 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   G0283      29.70
    19453 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97035      27.78
    19454 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97530      79.64
    19455 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97026      12.84
    19456 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97018      14.22
    19457 Himes Walk In Clinic, LLC   0522510220101031   2/27/2019   Bill   5/28/2019   97112     140.36
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    19458 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97026    12.84
    19459 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97018    14.22
    19460 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97112    70.18
    19461 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97010    15.00
    19462 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97012    29.98
    19463 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97035    27.78
    19464 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97140   111.96
    19465 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97110    61.84
    19466 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97026    12.84
    19467 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97010    15.00
    19468 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   G0283    29.70
    19469 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97140    55.98
    19470 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97530   159.28
    19471 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97026    12.84
    19472 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97018    14.22
    19473 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97012    29.98
    19474 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97035    27.78
    19475 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97110   123.68
    19476 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97026    12.84
    19477 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97018    14.22
    19478 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97112    70.18
    19479 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97010    15.00
    19480 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97012    29.98
    19481 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   G0283    29.70
    19482 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97530    79.64
    19483 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97018    14.22
    19484 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97112   140.36
    19485 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97010    15.00
    19486 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97035    27.78
    19487 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97140    55.98
    19488 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97530   159.28
    19489 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97026    12.84
    19490 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97018    14.22
    19491 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97010    15.00
    19492 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97012    29.98
    19493 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97035    27.78
    19494 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97530    79.64
    19495 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97018    14.22
    19496 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97112   140.36
    19497 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97010    15.00
    19498 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97012    29.98
    19499 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   G0283    29.70
    19500 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97140    55.98
    19501 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97530   159.28
    19502 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97026    12.84
    19503 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97012    29.98
    19504 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   G0283    29.70
    19505 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97035    27.78
    19506 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97530    79.64
    19507 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97026    12.84
    19508 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97112   140.36
    19509 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97010    15.00
    19510 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   G0283    29.70
    19511 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97530   159.28
    19512 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97026    12.84
    19513 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97018    14.22
    19514 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97112    70.18
    19515 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97012    29.98
    19516 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   G0283    29.70
    19517 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97035    27.78
    19518 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97140   111.96
    19519 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97530    79.64
    19520 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97018    14.22
    19521 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97010    15.00
    19522 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97012    29.98
    19523 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   G0283    29.70
    19524 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97035    27.78
    19525 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97110    61.84
    19526 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97112   140.36
    19527 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   G0283    29.70
    19528 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97035    27.78
    19529 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97140    55.98
    19530 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97530   159.28
    19531 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97026    12.84
    19532 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97018    14.22
    19533 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97010    15.00
    19534 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97012    29.98
    19535 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   G0283    29.70
    19536 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97140   111.96
    19537 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97530    79.64
    19538 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/10/2019   97535    68.70
    19539 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   G0283    29.70
    19540 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97110   123.68
    19541 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97026    12.84
    19542 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97018    14.22
    19543 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97112    70.18
    19544 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97010    15.00
    19545 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97012    29.98
    19546 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97035    27.78
    19547 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97140   111.96
    19548 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97530    79.64
    19549 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97026    12.84
    19550 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97010    15.00
    19551 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   G0283    29.70
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    19552 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97140    55.98
    19553 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97530   159.28
    19554 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97026    12.84
    19555 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97018    14.22
    19556 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97010    15.00
    19557 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97012    29.98
    19558 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   G0283    29.70
    19559 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97035    27.78
    19560 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97530    79.64
    19561 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97112   140.36
    19562 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97012    29.98
    19563 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   G0283    29.70
    19564 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97530   159.28
    19565 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97026    12.84
    19566 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97018    14.22
    19567 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97112    70.18
    19568 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97010    15.00
    19569 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97012    29.98
    19570 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97035    27.78
    19571 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97140   111.96
    19572 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97530    79.64
    19573 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97018    14.22
    19574 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   G0283    29.70
    19575 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97035    27.78
    19576 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97530   159.28
    19577 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97026    12.84
    19578 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97018    14.22
    19579 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97112    70.18
    19580 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97010    15.00
    19581 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97012    29.98
    19582 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   G0283    29.70
    19583 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97530    79.64
    19584 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97018    14.22
    19585 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97112   140.36
    19586 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97035    27.78
    19587 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97530    79.64
    19588 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97026    12.84
    19589 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97018    14.22
    19590 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97112   140.36
    19591 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97012    29.98
    19592 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   G0283    29.70
    19593 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97110   123.68
    19594 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97018    14.22
    19595 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97112    70.18
    19596 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   G0283    29.70
    19597 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97010    15.00
    19598 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97012    29.98
    19599 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97035    27.78
    19600 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97530    79.64
    19601 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97026    12.84
    19602 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97112   140.36
    19603 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97010    15.00
    19604 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   G0283    29.70
    19605 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97530   159.28
    19606 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97026    12.84
    19607 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97018    14.22
    19608 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97112    70.18
    19609 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97012    29.98
    19610 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   G0283    29.70
    19611 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97035    27.78
    19612 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97140   111.96
    19613 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97530    79.64
    19614 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97018    14.22
    19615 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97010    15.00
    19616 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97035    27.78
    19617 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97530   159.28
    19618 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97026    12.84
    19619 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97018    14.22
    19620 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97112    70.18
    19621 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97010    15.00
    19622 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97012    29.98
    19623 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   G0283    29.70
    19624 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97140   111.96
    19625 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97530    79.64
    19626 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97018    14.22
    19627 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   G0283    29.70
    19628 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97035    27.78
    19629 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97140    55.98
    19630 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97530   159.28
    19631 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97026    12.84
    19632 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97018    14.22
    19633 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97010    15.00
    19634 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97012    29.98
    19635 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97035    27.78
    19636 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97530    79.64
    19637 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97018    14.22
    19638 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97112   140.36
    19639 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97010    15.00
    19640 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   G0283    29.70
    19641 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/10/2019   97530   159.28
    19642 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97010    15.00
    19643 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   G0283    29.70
    19644 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97035    27.78
    19645 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97530    79.64
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    19646 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97026    12.84
    19647 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97112   140.36
    19648 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/10/2019   97012    29.98
    19649 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97018    14.22
    19650 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97112   140.36
    19651 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97010    15.00
    19652 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97035    27.78
    19653 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97010    15.00
    19654 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97035    27.78
    19655 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97140   111.96
    19656 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97530    79.64
    19657 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97026    12.84
    19658 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97012    29.98
    19659 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97140    55.98
    19660 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97530   159.28
    19661 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97026    12.84
    19662 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97018    14.22
    19663 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97140   111.96
    19664 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97110    61.84
    19665 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97026    12.84
    19666 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97018    14.22
    19667 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97010    15.00
    19668 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97035    27.78
    19669 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97012    29.98
    19670 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97140    55.98
    19671 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97530   159.28
    19672 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97018    14.22
    19673 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97012    29.98
    19674 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   G0283    29.70
    19675 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97010    15.00
    19676 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   G0283    29.70
    19677 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97035    27.78
    19678 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97530    79.64
    19679 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97112   140.36
    19680 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97010    15.00
    19681 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97012    29.98
    19682 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97035    27.78
    19683 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97110   123.68
    19684 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97026    12.84
    19685 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97018    14.22
    19686 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97112    70.18
    19687 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97010    15.00
    19688 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97012    29.98
    19689 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   G0283    29.70
    19690 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97140   111.96
    19691 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97530    79.64
    19692 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97018    14.22
    19693 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97010    15.00
    19694 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   G0283    29.70
    19695 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97035    27.78
    19696 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97530   159.28
    19697 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97026    12.84
    19698 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97112    70.18
    19699 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97012    29.98
    19700 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   G0283    29.70
    19701 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97035    27.78
    19702 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97140   111.96
    19703 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97530    79.64
    19704 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97018    14.22
    19705 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97010    15.00
    19706 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97012    29.98
    19707 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97140    55.98
    19708 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97110   123.68
    19709 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97026    12.84
    19710 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   6/24/2019   97018    14.22
    19711 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97018    14.22
    19712 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97530    79.64
    19713 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97010    15.00
    19714 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   G0283    29.70
    19715 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97140    55.98
    19716 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97530   159.28
    19717 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97026    12.84
    19718 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97026    12.84
    19719 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97018    14.22
    19720 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97010    15.00
    19721 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97012    29.98
    19722 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   G0283    29.70
    19723 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97140   111.96
    19724 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97140   111.96
    19725 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97530    79.64
    19726 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   G0283    29.70
    19727 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97035    27.78
    19728 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97140    55.98
    19729 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97530   159.28
    19730 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97110   123.68
    19731 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97018    14.22
    19732 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97112    70.18
    19733 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97010    15.00
    19734 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97012    29.98
    19735 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97035    27.78
    19736 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97140   111.96
    19737 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97530    79.64
    19738 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97026    12.84
    19739 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97018    14.22
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    19740 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97012      29.98
    19741 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   G0283      29.70
    19742 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   G0283      29.70
    19743 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   6/24/2019   97530      79.64
    19744 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97018      14.22
    19745 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97112     140.36
    19746 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97530     159.28
    19747 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97018      14.22
    19748 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97010      15.00
    19749 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   G0283      29.70
    19750 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97035      27.78
    19751 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97530      79.64
    19752 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97035      27.78
    19753 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97140     111.96
    19754 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97110      61.84
    19755 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97010      15.00
    19756 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97012      29.98
    19757 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97140      55.98
    19758 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97012      29.98
    19759 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   G0283      29.70
    19760 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97012      29.98
    19761 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97140      55.98
    19762 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97110     123.68
    19763 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97026      12.84
    19764 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97018      14.22
    19765 Himes Walk In Clinic, LLC   0429939160101038   4/14/2019   Bill   6/28/2019   97010      15.00
    19766 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   99204     333.26
    19767 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   99070      35.00
    19768 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   A4556      22.74
    19769 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   L0642     500.00
    19770 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   E0849   1,082.16
    19771 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97026      12.84
    19772 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97018      14.22
    19773 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140     111.96
    19774 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530      79.64
    19775 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97010      15.00
    19776 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97012      29.98
    19777 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140      55.98
    19778 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530     159.28
    19779 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530     159.28
    19780 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97026      12.84
    19781 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97112      70.18
    19782 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97012      29.98
    19783 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   G0283      29.70
    19784 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97035      27.78
    19785 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530      79.64
    19786 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97026      12.84
    19787 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97018      14.22
    19788 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97112     140.36
    19789 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97010      15.00
    19790 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97035      27.78
    19791 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97010      15.00
    19792 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   G0283      29.70
    19793 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97035      27.78
    19794 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140      55.98
    19795 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530     159.28
    19796 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97012      29.98
    19797 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97018      14.22
    19798 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97012      29.98
    19799 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140     111.96
    19800 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530      79.64
    19801 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97026      12.84
    19802 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97018      14.22
    19803 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97026      12.84
    19804 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97018      14.22
    19805 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97010      15.00
    19806 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97035      27.78
    19807 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140      55.98
    19808 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97110     123.68
    19809 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140      55.98
    19810 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530     159.28
    19811 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97012      29.98
    19812 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   G0283      29.70
    19813 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140     111.96
    19814 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530      79.64
    19815 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530      79.64
    19816 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97026      12.84
    19817 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97112     140.36
    19818 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97010      15.00
    19819 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   G0283      29.70
    19820 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97035      27.78
    19821 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   G0283      29.70
    19822 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140      55.98
    19823 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530     159.28
    19824 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97018      14.22
    19825 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97012      29.98
    19826 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140      55.98
    19827 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97035      27.78
    19828 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140     111.96
    19829 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530      79.64
    19830 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97026      12.84
    19831 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97018      14.22
    19832 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97010      15.00
    19833 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97012      29.98
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    19834 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   G0283      29.70
    19835 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140      55.98
    19836 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97110     123.68
    19837 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97018      14.22
    19838 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97012      29.98
    19839 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97035      27.78
    19840 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140     111.96
    19841 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97530      79.64
    19842 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97026      12.84
    19843 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97018      14.22
    19844 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97010      15.00
    19845 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97012      29.98
    19846 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   G0283      29.70
    19847 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97110     123.68
    19848 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97026      12.84
    19849 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97112      70.18
    19850 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97010      15.00
    19851 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97010      15.00
    19852 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97035      27.78
    19853 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97140     111.96
    19854 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97110      61.84
    19855 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97026      12.84
    19856 Himes Walk In Clinic, LLC   0627776670101052   5/31/2019   Bill   6/28/2019   97535      68.70
    19857 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97140      55.98
    19858 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530     159.28
    19859 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97026      12.84
    19860 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97010      15.00
    19861 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    G0283      29.70
    19862 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97140      55.98
    19863 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97110     123.68
    19864 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97026      12.84
    19865 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97012      29.98
    19866 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97035      27.78
    19867 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97140     111.96
    19868 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530      79.64
    19869 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97018      14.22
    19870 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97012      29.98
    19871 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    G0283      29.70
    19872 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97140      55.98
    19873 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530     159.28
    19874 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97026      12.84
    19875 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97010      15.00
    19876 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97035      27.78
    19877 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530      79.64
    19878 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97018      14.22
    19879 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97112     140.36
    19880 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    99204     333.26
    19881 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    99080      15.00
    19882 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    99070      35.00
    19883 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    L0642     500.00
    19884 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    E0849   1,082.16
    19885 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97018      14.22
    19886 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97010      15.00
    19887 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97012      29.98
    19888 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97140     111.96
    19889 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97110      61.84
    19890 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97026      12.84
    19891 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97110      61.84
    19892 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97026      12.84
    19893 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97010      15.00
    19894 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    G0283      29.70
    19895 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97140      55.98
    19896 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97530     159.28
    19897 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97140      55.98
    19898 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97530     159.28
    19899 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97018      14.22
    19900 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97012      29.98
    19901 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97035      27.78
    19902 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97140     111.96
    19903 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    G0283      29.70
    19904 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97110     123.68
    19905 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97018      14.22
    19906 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97112      70.18
    19907 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97010      15.00
    19908 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    G0283      29.70
    19909 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97012      29.98
    19910 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97035      27.78
    19911 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97140     111.96
    19912 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97110      61.84
    19913 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97026      12.84
    19914 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/6/2019    97010      15.00
    19915 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97012      29.98
    19916 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    G0283      29.70
    19917 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97026      12.84
    19918 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97018      14.22
    19919 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97535      68.70
    19920 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97112     140.36
    19921 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97010      15.00
    19922 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    G0283      29.70
    19923 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97035      27.78
    19924 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97140     111.96
    19925 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530      79.64
    19926 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97018      14.22
    19927 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97012      29.98
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    19928 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530   159.28
    19929 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97026    12.84
    19930 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97018    14.22
    19931 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97112    70.18
    19932 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97010    15.00
    19933 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    G0283    29.70
    19934 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97140   111.96
    19935 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530    79.64
    19936 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97026    12.84
    19937 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    G0283    29.70
    19938 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97140    55.98
    19939 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97110   123.68
    19940 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97026    12.84
    19941 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97018    14.22
    19942 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97010    15.00
    19943 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97012    29.98
    19944 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97035    27.78
    19945 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530    79.64
    19946 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97112   140.36
    19947 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97010    15.00
    19948 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    G0283    29.70
    19949 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97140    55.98
    19950 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530   159.28
    19951 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97026    12.84
    19952 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97018    14.22
    19953 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97010    15.00
    19954 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97035    27.78
    19955 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97140   111.96
    19956 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97110    61.84
    19957 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97018    14.22
    19958 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97012    29.98
    19959 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    G0283    29.70
    19960 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530   159.28
    19961 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97026    12.84
    19962 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97112    70.18
    19963 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97010    15.00
    19964 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97035    27.78
    19965 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97140   111.96
    19966 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97530    79.64
    19967 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97018    14.22
    19968 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    97012    29.98
    19969 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/6/2019    G0283    29.70
    19970 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97026    12.84
    19971 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    G0283    29.70
    19972 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97140   111.96
    19973 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97530    79.64
    19974 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97026    12.84
    19975 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97018    14.22
    19976 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97530    79.64
    19977 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97018    14.22
    19978 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97010    15.00
    19979 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97035    27.78
    19980 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97140    55.98
    19981 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97530   159.28
    19982 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97110    61.84
    19983 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97026    12.84
    19984 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97018    14.22
    19985 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97012    29.98
    19986 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    G0283    29.70
    19987 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97140   111.96
    19988 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97035    27.78
    19989 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97140    55.98
    19990 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97530   159.28
    19991 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97026    12.84
    19992 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97010    15.00
    19993 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97140    55.98
    19994 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97012    29.98
    19995 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    G0283    29.70
    19996 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97035    27.78
    19997 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97140   111.96
    19998 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    97110    61.84
    19999 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    G0283    29.70
    20000 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/9/2019    99214   216.48
    20001 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97012    29.98
    20002 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   G0283    29.70
    20003 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140    55.98
    20004 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97530   159.28
    20005 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97018    14.22
    20006 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97530    79.64
    20007 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97026    12.84
    20008 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97110   123.68
    20009 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97018    14.22
    20010 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97112    70.18
    20011 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97010    15.00
    20012 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97012    29.98
    20013 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140   111.96
    20014 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   G0283    29.70
    20015 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140    55.98
    20016 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97110    61.84
    20017 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97026    12.84
    20018 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97010    15.00
    20019 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   G0283    29.70
    20020 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97010    15.00
    20021 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97012    29.98
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    20022 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140    55.98
    20023 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97110   123.68
    20024 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97018    14.22
    20025 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97010    15.00
    20026 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97010    15.00
    20027 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   G0283    29.70
    20028 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140    55.98
    20029 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97110    61.84
    20030 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97026    12.84
    20031 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97018    14.22
    20032 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97530    79.64
    20033 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97035    27.78
    20034 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140   111.96
    20035 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97530    79.64
    20036 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97026    12.84
    20037 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97018    14.22
    20038 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97026    12.84
    20039 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97018    14.22
    20040 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97010    15.00
    20041 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97012    29.98
    20042 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   G0283    29.70
    20043 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140    55.98
    20044 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   G0283    29.70
    20045 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140    55.98
    20046 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97110   123.68
    20047 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97035    27.78
    20048 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140   111.96
    20049 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97530    79.64
    20050 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140   111.96
    20051 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97530    79.64
    20052 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97026    12.84
    20053 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97018    14.22
    20054 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97010    15.00
    20055 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97012    29.98
    20056 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97010    15.00
    20057 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   G0283    29.70
    20058 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140   111.96
    20059 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97530    79.64
    20060 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97026    12.84
    20061 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97035    27.78
    20062 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97010    15.00
    20063 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   G0283    29.70
    20064 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97035    27.78
    20065 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97140    55.98
    20066 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97026    12.84
    20067 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   97535    68.70
    20068 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   99204   333.26
    20069 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   99080    15.00
    20070 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/15/2019   99070    35.00
    20071 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97010    15.00
    20072 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97012    29.98
    20073 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   G0283    29.70
    20074 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97110   123.68
    20075 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97140   111.96
    20076 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97140   111.96
    20077 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97010    15.00
    20078 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97012    29.98
    20079 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   G0283    29.70
    20080 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97035    27.78
    20081 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97140   111.96
    20082 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97112    70.18
    20083 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97140   111.96
    20084 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97010    15.00
    20085 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97012    29.98
    20086 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   G0283    29.70
    20087 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97112    70.18
    20088 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97140   111.96
    20089 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97110    61.84
    20090 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97026    12.84
    20091 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97010    15.00
    20092 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97012    29.98
    20093 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   G0283    29.70
    20094 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97140    55.98
    20095 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97530    79.64
    20096 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97026    12.84
    20097 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97018    14.22
    20098 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97010    15.00
    20099 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97035    27.78
    20100 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97035    27.78
    20101 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97110    61.84
    20102 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97018    14.22
    20103 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97112   140.36
    20104 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97012    29.98
    20105 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   G0283    29.70
    20106 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97012    29.98
    20107 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   G0283    29.70
    20108 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97140    55.98
    20109 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97530   159.28
    20110 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97026    12.84
    20111 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   7/22/2019   97010    15.00
    20112 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97112    70.18
    20113 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97140   111.96
    20114 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97010    15.00
    20115 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97012    29.98
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    20116 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   G0283    29.70
    20117 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97110    61.84
    20118 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97026    12.84
    20119 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97018    14.22
    20120 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97010    15.00
    20121 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97012    29.98
    20122 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   G0283    29.70
    20123 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   G0283    29.70
    20124 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97140    55.98
    20125 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97110   123.68
    20126 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97026    12.84
    20127 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97010    15.00
    20128 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97140   111.96
    20129 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97010    15.00
    20130 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97012    29.98
    20131 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97140    55.98
    20132 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97110   123.68
    20133 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97018    14.22
    20134 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97010    15.00
    20135 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97010    15.00
    20136 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97012    29.98
    20137 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   G0283    29.70
    20138 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97112    70.18
    20139 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97140   111.96
    20140 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97140   111.96
    20141 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97010    15.00
    20142 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97012    29.98
    20143 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   G0283    29.70
    20144 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97110   123.68
    20145 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97140   111.96
    20146 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97110    61.84
    20147 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97018    14.22
    20148 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97010    15.00
    20149 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97012    29.98
    20150 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   G0283    29.70
    20151 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97110   123.68
    20152 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97140    55.98
    20153 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97110   123.68
    20154 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97026    12.84
    20155 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97010    15.00
    20156 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97012    29.98
    20157 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97140   111.96
    20158 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97010    15.00
    20159 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97035    27.78
    20160 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97140   111.96
    20161 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97110    61.84
    20162 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97010    15.00
    20163 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   G0283    29.70
    20164 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97012    29.98
    20165 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   G0283    29.70
    20166 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97140    55.98
    20167 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97110    61.84
    20168 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97026    12.84
    20169 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   7/23/2019   97018    14.22
    20170 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97110   123.68
    20171 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97112    70.18
    20172 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97140    55.98
    20173 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   7/23/2019   97035    27.78
    20174 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   99204   333.26
    20175 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   99080    15.00
    20176 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   99070    35.00
    20177 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   L0642   500.00
    20178 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97012    29.98
    20179 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   G0283    29.70
    20180 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97110    61.84
    20181 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97140   111.96
    20182 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97010    15.00
    20183 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97012    29.98
    20184 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   G0283    29.70
    20185 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97035    27.78
    20186 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97140   111.96
    20187 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97010    15.00
    20188 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97140   111.96
    20189 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97010    15.00
    20190 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97012    29.98
    20191 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   G0283    29.70
    20192 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97110   123.68
    20193 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97140   111.96
    20194 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97018    14.22
    20195 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97010    15.00
    20196 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97012    29.98
    20197 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   G0283    29.70
    20198 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97035    27.78
    20199 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97112    70.18
    20200 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97026    12.84
    20201 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97018    14.22
    20202 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   G0283    29.70
    20203 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97035    27.78
    20204 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97140   111.96
    20205 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97110    61.84
    20206 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97110    61.84
    20207 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97018    14.22
    20208 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97112   140.36
    20209 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97010    15.00
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 216 of 9287 PageID 350


    20210 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97140    55.98
    20211 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97110   123.68
    20212 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97035    27.78
    20213 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97140    55.98
    20214 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97530   159.28
    20215 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97026    12.84
    20216 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97012    29.98
    20217 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   G0283    29.70
    20218 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   G0283    29.70
    20219 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97035    27.78
    20220 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97140   111.96
    20221 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97530    79.64
    20222 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97018    14.22
    20223 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97010    15.00
    20224 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97010    15.00
    20225 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97012    29.98
    20226 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   G0283    29.70
    20227 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97140    55.98
    20228 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97026    12.84
    20229 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   7/26/2019   97535    68.70
    20230 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/30/2019   97010    15.00
    20231 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/30/2019   97012    29.98
    20232 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/30/2019   G0283    29.70
    20233 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/30/2019   97112    70.18
    20234 Himes Walk In Clinic, LLC   0662861420101010   6/18/2019   Bill   7/30/2019   97140   111.96
    20235 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97140   111.96
    20236 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97010    15.00
    20237 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97012    29.98
    20238 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    G0283    29.70
    20239 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97110   123.68
    20240 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97140   111.96
    20241 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97110   123.68
    20242 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97112    70.18
    20243 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97010    15.00
    20244 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97012    29.98
    20245 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    G0283    29.70
    20246 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97112    70.18
    20247 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97110    61.84
    20248 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97140   111.96
    20249 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97010    15.00
    20250 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97012    29.98
    20251 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    G0283    29.70
    20252 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97035    27.78
    20253 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    G0283    29.70
    20254 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97530   159.28
    20255 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97140   111.96
    20256 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97010    15.00
    20257 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97012    29.98
    20258 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    G0283    29.70
    20259 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    G0283    29.70
    20260 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97035    27.78
    20261 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97112    70.18
    20262 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97140    55.98
    20263 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97010    15.00
    20264 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97012    29.98
    20265 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97010    15.00
    20266 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97012    29.98
    20267 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97110   123.68
    20268 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97140   111.96
    20269 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97010    15.00
    20270 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/5/2019    97012    29.98
    20271 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97035    27.78
    20272 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97110    61.84
    20273 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97140   111.96
    20274 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    G0283    29.70
    20275 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97110   123.68
    20276 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97140   111.96
    20277 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97010    15.00
    20278 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97012    29.98
    20279 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    G0283    29.70
    20280 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97012    29.98
    20281 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97035    27.78
    20282 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97112    70.18
    20283 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97140   111.96
    20284 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97010    15.00
    20285 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97012    29.98
    20286 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97010    15.00
    20287 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97012    29.98
    20288 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    G0283    29.70
    20289 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97110   123.68
    20290 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97140   111.96
    20291 Himes Walk In Clinic, LLC   0638636550101027   4/24/2019   Bill   8/5/2019    97010    15.00
    20292 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97140    55.98
    20293 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97010    15.00
    20294 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97012    29.98
    20295 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    G0283    29.70
    20296 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97110   123.68
    20297 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97140   111.96
    20298 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97112    70.18
    20299 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97140   111.96
    20300 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97010    15.00
    20301 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97012    29.98
    20302 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    G0283    29.70
    20303 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97110    61.84
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    20304 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    G0283    29.70
    20305 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97110    61.84
    20306 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97140   111.96
    20307 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97010    15.00
    20308 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97012    29.98
    20309 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    G0283    29.70
    20310 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97012    29.98
    20311 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    G0283    29.70
    20312 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97112    70.18
    20313 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97140   111.96
    20314 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97010    15.00
    20315 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97012    29.98
    20316 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97010    15.00
    20317 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97012    29.98
    20318 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    G0283    29.70
    20319 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97110   123.68
    20320 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97140   111.96
    20321 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    97010    15.00
    20322 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/5/2019    99214   216.48
    20323 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97530   159.28
    20324 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97140   111.96
    20325 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97035    27.78
    20326 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97530   159.28
    20327 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97140   111.96
    20328 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97010    15.00
    20329 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97012    29.98
    20330 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97035    27.78
    20331 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   G0283    29.70
    20332 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97110   123.68
    20333 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97140   111.96
    20334 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97010    15.00
    20335 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97012    29.98
    20336 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   G0283    29.70
    20337 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   G0283    29.70
    20338 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97035    27.78
    20339 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97110    61.84
    20340 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97140   111.96
    20341 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97010    15.00
    20342 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97012    29.98
    20343 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97012    29.98
    20344 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97035    27.78
    20345 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97110   123.68
    20346 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97140   111.96
    20347 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97010    15.00
    20348 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97012    29.98
    20349 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97010    15.00
    20350 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97012    29.98
    20351 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   G0283    29.70
    20352 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97026    12.84
    20353 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97112    70.18
    20354 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   8/19/2019   97140   111.96
    20355 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   G0283    29.70
    20356 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97018    14.22
    20357 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97035    27.78
    20358 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97530   159.28
    20359 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97140    55.98
    20360 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97012    29.98
    20361 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   G0283    29.70
    20362 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97110   123.68
    20363 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97140   111.96
    20364 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97010    15.00
    20365 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97012    29.98
    20366 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97012    29.98
    20367 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   G0283    29.70
    20368 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97035    27.78
    20369 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97530   159.28
    20370 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97140   111.96
    20371 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97010    15.00
    20372 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97012    29.98
    20373 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   G0283    29.70
    20374 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97035    27.78
    20375 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97112   140.36
    20376 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97140    55.98
    20377 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97010    15.00
    20378 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97010    15.00
    20379 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97012    29.98
    20380 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   G0283    29.70
    20381 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97530   159.28
    20382 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97140   111.96
    20383 Himes Walk In Clinic, LLC   0622218000101036   5/14/2019   Bill   8/19/2019   97010    15.00
    20384 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97110   123.68
    20385 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97140    55.98
    20386 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97010    15.00
    20387 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97012    29.98
    20388 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   G0283    29.70
    20389 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97012    29.98
    20390 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   G0283    29.70
    20391 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97530   159.28
    20392 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97140   111.96
    20393 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97010    15.00
    20394 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97012    29.98
    20395 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97010    15.00
    20396 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97012    29.98
    20397 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   G0283    29.70
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    20398 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97110   123.68
    20399 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97140   111.96
    20400 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97010    15.00
    20401 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97140    55.98
    20402 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97140   111.96
    20403 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97010    15.00
    20404 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97012    29.98
    20405 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   G0283    29.70
    20406 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97035    27.78
    20407 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97112   140.36
    20408 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97140   111.96
    20409 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97010    15.00
    20410 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97012    29.98
    20411 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   G0283    29.70
    20412 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97035    27.78
    20413 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97530    79.64
    20414 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97110   123.68
    20415 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97140   111.96
    20416 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97010    15.00
    20417 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97012    29.98
    20418 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   G0283    29.70
    20419 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   97110   123.68
    20420 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   8/20/2019   G0283    29.70
    20421 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97140   111.96
    20422 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97110   123.68
    20423 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97140   111.96
    20424 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97010    15.00
    20425 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97012    29.98
    20426 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    G0283    29.70
    20427 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97110    61.84
    20428 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97035    27.78
    20429 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97530   159.28
    20430 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97140   111.96
    20431 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97010    15.00
    20432 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97012    29.98
    20433 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    G0283    29.70
    20434 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    G0283    29.70
    20435 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97035    27.78
    20436 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97110   123.68
    20437 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97140   111.96
    20438 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97012    29.98
    20439 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    G0283    29.70
    20440 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97010    15.00
    20441 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97012    29.98
    20442 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    G0283    29.70
    20443 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97110   123.68
    20444 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97140   111.96
    20445 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97012    29.98
    20446 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    99214   216.48
    20447 Himes Walk In Clinic, LLC   0614050270101028   6/11/2019   Bill   9/3/2019    97112    70.18
    20448 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97110   123.68
    20449 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97112    70.18
    20450 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97140   111.96
    20451 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97110    61.84
    20452 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97112    70.18
    20453 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97140   111.96
    20454 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97010    15.00
    20455 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97012    29.98
    20456 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   G0283    29.70
    20457 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   G0283    29.70
    20458 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97110   123.68
    20459 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97140   111.96
    20460 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97010    15.00
    20461 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97012    29.98
    20462 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   G0283    29.70
    20463 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97035    27.78
    20464 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97110   123.68
    20465 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97112    70.18
    20466 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97140   111.96
    20467 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97010    15.00
    20468 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97012    29.98
    20469 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   G0283    29.70
    20470 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97035    27.78
    20471 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97110   123.68
    20472 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97140   111.96
    20473 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97010    15.00
    20474 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97012    29.98
    20475 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97010    15.00
    20476 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97012    29.98
    20477 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   G0283    29.70
    20478 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97110   123.68
    20479 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97140   111.96
    20480 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/13/2019   97012    29.98
    20481 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97110   123.68
    20482 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97140   111.96
    20483 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97110   123.68
    20484 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97112    70.18
    20485 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97140   111.96
    20486 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97010    15.00
    20487 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97012    29.98
    20488 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   G0283    29.70
    20489 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97035    27.78
    20490 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97110   123.68
    20491 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97140   111.96
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    20492 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97012    29.98
    20493 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   G0283    29.70
    20494 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97035    27.78
    20495 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97012    29.98
    20496 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   G0283    29.70
    20497 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97110   123.68
    20498 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97140   111.96
    20499 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97012    29.98
    20500 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   G0283    29.70
    20501 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97012    29.98
    20502 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   G0283    29.70
    20503 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97035    27.78
    20504 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97110   123.68
    20505 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97140   111.96
    20506 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97010    15.00
    20507 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97010    15.00
    20508 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97012    29.98
    20509 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   G0283    29.70
    20510 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97035    27.78
    20511 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97110   123.68
    20512 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   97140   111.96
    20513 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/16/2019   99214   216.48
    20514 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20515 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97035    27.78
    20516 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20517 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140   111.96
    20518 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97010    15.00
    20519 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20520 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20521 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97035    27.78
    20522 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20523 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97112    70.18
    20524 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140    55.98
    20525 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20526 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20527 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20528 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97035    27.78
    20529 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20530 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97112   140.36
    20531 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97535    68.70
    20532 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   99204   333.26
    20533 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   99080    15.00
    20534 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   99070    35.00
    20535 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   L0642   500.00
    20536 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20537 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140   111.96
    20538 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97035    27.78
    20539 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20540 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140   111.96
    20541 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97010    15.00
    20542 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20543 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20544 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20545 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20546 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20547 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140   111.96
    20548 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20549 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20550 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20551 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20552 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97035    27.78
    20553 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110    61.84
    20554 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97112   140.36
    20555 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97010    15.00
    20556 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20557 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20558 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97035    27.78
    20559 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20560 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140   111.96
    20561 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97010    15.00
    20562 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140   111.96
    20563 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97010    15.00
    20564 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20565 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20566 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20567 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140   111.96
    20568 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140   111.96
    20569 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20570 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20571 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97035    27.78
    20572 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110    61.84
    20573 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97112    70.18
    20574 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20575 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140   111.96
    20576 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97010    15.00
    20577 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20578 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20579 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20580 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20581 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97110   123.68
    20582 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97140   111.96
    20583 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97012    29.98
    20584 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   G0283    29.70
    20585 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   9/23/2019   97035    27.78
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    20586 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    G0283    29.70
    20587 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97110   123.68
    20588 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97140   111.96
    20589 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97035    27.78
    20590 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97110    61.84
    20591 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97112    70.18
    20592 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97140   111.96
    20593 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97010    15.00
    20594 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97012    29.98
    20595 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    G0283    29.70
    20596 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97035    27.78
    20597 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97530   159.28
    20598 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97140   111.96
    20599 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97012    29.98
    20600 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    G0283    29.70
    20601 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    G0283    29.70
    20602 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97035    27.78
    20603 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97110    61.84
    20604 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97112    70.18
    20605 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97140   111.96
    20606 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97012    29.98
    20607 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97010    15.00
    20608 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97012    29.98
    20609 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    G0283    29.70
    20610 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97110   123.68
    20611 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97140   111.96
    20612 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97012    29.98
    20613 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97012    29.98
    20614 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    G0283    29.70
    20615 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97035    27.78
    20616 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97110   123.68
    20617 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97112    70.18
    20618 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   9/30/2019    97140    55.98
    20619 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97140   111.96
    20620 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97012    29.98
    20621 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   G0283    29.70
    20622 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97035    27.78
    20623 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97110   123.68
    20624 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97140   111.96
    20625 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97112    70.18
    20626 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97140   111.96
    20627 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97012    29.98
    20628 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   G0283    29.70
    20629 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97035    27.78
    20630 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97110   123.68
    20631 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97110   123.68
    20632 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97140   111.96
    20633 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97010    15.00
    20634 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97012    29.98
    20635 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   G0283    29.70
    20636 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97110    61.84
    20637 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97035    27.78
    20638 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97110   123.68
    20639 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97140   111.96
    20640 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97010    15.00
    20641 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97012    29.98
    20642 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   G0283    29.70
    20643 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97012    29.98
    20644 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   G0283    29.70
    20645 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97110   123.68
    20646 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97140   111.96
    20647 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97012    29.98
    20648 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   G0283    29.70
    20649 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97010    15.00
    20650 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97012    29.98
    20651 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   G0283    29.70
    20652 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97110   123.68
    20653 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97140   111.96
    20654 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97010    15.00
    20655 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97012    29.98
    20656 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   G0283    29.70
    20657 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97035    27.78
    20658 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97110   123.68
    20659 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97112    70.18
    20660 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97140    55.98
    20661 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97010    15.00
    20662 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97012    29.98
    20663 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   G0283    29.70
    20664 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97110   123.68
    20665 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/10/2019   97140   111.96
    20666 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97012    29.98
    20667 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   G0283    29.70
    20668 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97110   123.68
    20669 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97140   111.96
    20670 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97010    15.00
    20671 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97012    29.98
    20672 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97035    27.78
    20673 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97110   123.68
    20674 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97140   111.96
    20675 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97010    15.00
    20676 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97010    15.00
    20677 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97012    29.98
    20678 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   G0283    29.70
    20679 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97110    61.84
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    20680 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97112    70.18
    20681 Himes Walk In Clinic, LLC   0548943610101065   6/26/2019   Bill   10/14/2019   97140   111.96
    20682 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   G0283    29.70
    20683 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97110   123.68
    20684 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97140   111.96
    20685 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97010    15.00
    20686 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97012    29.98
    20687 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97012    29.98
    20688 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   G0283    29.70
    20689 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97035    27.78
    20690 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97110    61.84
    20691 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97112   140.36
    20692 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97010    15.00
    20693 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97012    29.98
    20694 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   G0283    29.70
    20695 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97035    27.78
    20696 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97110    61.84
    20697 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97140   111.96
    20698 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97010    15.00
    20699 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97140   111.96
    20700 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97110   123.68
    20701 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97112   140.36
    20702 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97010    15.00
    20703 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97012    29.98
    20704 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   G0283    29.70
    20705 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97110   123.68
    20706 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   G0283    29.70
    20707 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97110   123.68
    20708 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97530   159.28
    20709 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97012    29.98
    20710 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   G0283    29.70
    20711 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97035    27.78
    20712 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   10/28/2019   97012    29.98
    20713 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97012    29.98
    20714 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   G0283    29.70
    20715 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97035    27.78
    20716 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97110   123.68
    20717 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   G0283    29.70
    20718 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97110   123.68
    20719 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97140   111.96
    20720 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97010    15.00
    20721 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97012    29.98
    20722 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   G0283    29.70
    20723 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97012    29.98
    20724 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   G0283    29.70
    20725 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97110   123.68
    20726 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97112   140.36
    20727 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97010    15.00
    20728 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97012    29.98
    20729 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97012    29.98
    20730 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   G0283    29.70
    20731 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97035    27.78
    20732 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97110   123.68
    20733 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97140   111.96
    20734 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97010    15.00
    20735 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97112   140.36
    20736 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97010    15.00
    20737 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97012    29.98
    20738 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   G0283    29.70
    20739 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97110   123.68
    20740 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97140   111.96
    20741 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97110   123.68
    20742 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/12/2019   97140   111.96
    20743 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   G0283    29.70
    20744 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97110   123.68
    20745 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97140   111.96
    20746 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97012    29.98
    20747 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   G0283    29.70
    20748 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97110   123.68
    20749 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97140   111.96
    20750 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97010    15.00
    20751 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97012    29.98
    20752 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97010    15.00
    20753 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97012    29.98
    20754 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   G0283    29.70
    20755 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97110   123.68
    20756 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97112   140.36
    20757 Himes Walk In Clinic, LLC   0609869280101019   8/26/2019   Bill   11/30/2019   97010    15.00
    20758 Himes Walk In Clinic, LLC   0517934690101056   4/21/2018   Bill   3/20/2020    97110   118.60
    20759 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97012    29.98
    20760 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97012    29.98
    20761 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97012    29.98
    20762 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     G0283    29.70
    20763 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97035    27.78
    20764 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97110   123.68
    20765 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97112   140.36
    20766 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97110   123.68
    20767 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97140   111.96
    20768 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97010    15.00
    20769 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97012    29.98
    20770 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     G0283    29.70
    20771 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97530   159.28
    20772 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     G0283    29.70
    20773 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020     97110   123.68
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    20774 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97112   140.36
    20775 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20776 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20777 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97035    27.78
    20778 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20779 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97035    27.78
    20780 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97530   159.28
    20781 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97140   111.96
    20782 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97010    15.00
    20783 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20784 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97010    15.00
    20785 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20786 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20787 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97110   123.68
    20788 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97140   111.96
    20789 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20790 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20791 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97035    27.78
    20792 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97530   159.28
    20793 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97140   111.96
    20794 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97010    15.00
    20795 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20796 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20797 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97110   123.68
    20798 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97112   140.36
    20799 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97010    15.00
    20800 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20801 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20802 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97110   123.68
    20803 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97140   111.96
    20804 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20805 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97140   111.96
    20806 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20807 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20808 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97035    27.78
    20809 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97110   123.68
    20810 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97112   140.36
    20811 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97110   123.68
    20812 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97140   111.96
    20813 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97010    15.00
    20814 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20815 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20816 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97530   159.28
    20817 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20818 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97110   123.68
    20819 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97112   140.36
    20820 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20821 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20822 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97035    27.78
    20823 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20824 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97035    27.78
    20825 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97530   159.28
    20826 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97140   111.96
    20827 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97010    15.00
    20828 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20829 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97010    15.00
    20830 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20831 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    G0283    29.70
    20832 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97110   123.68
    20833 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97140   111.96
    20834 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97012    29.98
    20835 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/7/2020    97140   111.96
    20836 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   99204   333.26
    20837 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   99080    15.00
    20838 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   99070    35.00
    20839 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   L0642   800.00
    20840 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97012    29.98
    20841 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   G0283    29.70
    20842 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97530   159.28
    20843 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97140   111.96
    20844 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97012    29.98
    20845 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   G0283    29.70
    20846 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97035    27.78
    20847 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97110   123.68
    20848 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97140   111.96
    20849 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97010    15.00
    20850 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97140   111.96
    20851 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97010    15.00
    20852 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97012    29.98
    20853 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   G0283    29.70
    20854 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97110   123.68
    20855 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97112   140.36
    20856 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97110   123.68
    20857 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97140   111.96
    20858 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97012    29.98
    20859 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   G0283    29.70
    20860 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97035    27.78
    20861 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97530   159.28
    20862 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97035    27.78
    20863 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97110   123.68
    20864 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97112   140.36
    20865 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97010    15.00
    20866 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97012    29.98
    20867 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   G0283    29.70
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    20868 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97012    29.98
    20869 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   G0283    29.70
    20870 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97530   159.28
    20871 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97140   111.96
    20872 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97012    29.98
    20873 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   G0283    29.70
    20874 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97012    29.98
    20875 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   G0283    29.70
    20876 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97035    27.78
    20877 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97110   123.68
    20878 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97140   111.96
    20879 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   8/24/2020   97010    15.00
    20880 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97140   111.96
    20881 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97110   123.68
    20882 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97112   140.36
    20883 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97012    29.98
    20884 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    G0283    29.70
    20885 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97035    27.78
    20886 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97110   123.68
    20887 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97035    27.78
    20888 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97530   159.28
    20889 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97140   111.96
    20890 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97010    15.00
    20891 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97012    29.98
    20892 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    G0283    29.70
    20893 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97012    29.98
    20894 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    G0283    29.70
    20895 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97110   123.68
    20896 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97140   111.96
    20897 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97012    29.98
    20898 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    G0283    29.70
    20899 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97012    29.98
    20900 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    G0283    29.70
    20901 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97035    27.78
    20902 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97110   123.68
    20903 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97112   140.36
    20904 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/5/2020    97010    15.00
    20905 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   99214   216.48
    20906 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97112   140.36
    20907 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97012    29.98
    20908 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   G0283    29.70
    20909 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97035    27.78
    20910 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97110   123.68
    20911 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97140   111.96
    20912 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97530   159.28
    20913 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97140   111.96
    20914 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97010    15.00
    20915 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97012    29.98
    20916 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   G0283    29.70
    20917 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97110   123.68
    20918 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   G0283    29.70
    20919 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97110   123.68
    20920 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97140   111.96
    20921 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97012    29.98
    20922 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   G0283    29.70
    20923 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97035    27.78
    20924 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   G0283    29.70
    20925 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97035    27.78
    20926 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97110   123.68
    20927 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97112   140.36
    20928 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97010    15.00
    20929 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97012    29.98
    20930 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97010    15.00
    20931 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97012    29.98
    20932 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   G0283    29.70
    20933 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97530   159.28
    20934 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97140   111.96
    20935 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   9/15/2020   97012    29.98
    20936 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    20937 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    20938 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97530   159.28
    20939 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    20940 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97110   123.68
    20941 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97112   140.36
    20942 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    20943 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    20944 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97035    27.78
    20945 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    20946 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97035    27.78
    20947 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97530   159.28
    20948 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97140   111.96
    20949 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97010    15.00
    20950 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    20951 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97010    15.00
    20952 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    20953 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    20954 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97110   123.68
    20955 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97140   111.96
    20956 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    20957 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97140   111.96
    20958 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97012    29.98
    20959 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   G0283    29.70
    20960 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97035    27.78
    20961 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97110   123.68
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    20962 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97112   140.36
    20963 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97110   123.68
    20964 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97140   111.96
    20965 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97010    15.00
    20966 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97012    29.98
    20967 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   G0283    29.70
    20968 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97530   159.28
    20969 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   G0283    29.70
    20970 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97110   123.68
    20971 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97112   140.36
    20972 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97012    29.98
    20973 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   G0283    29.70
    20974 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97035    27.78
    20975 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   G0283    29.70
    20976 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97035    27.78
    20977 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97530   159.28
    20978 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97140   111.96
    20979 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97010    15.00
    20980 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97012    29.98
    20981 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97010    15.00
    20982 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97012    29.98
    20983 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   G0283    29.70
    20984 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97110   123.68
    20985 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97140   111.96
    20986 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97012    29.98
    20987 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   99204   333.26
    20988 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   99080    15.00
    20989 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   99070    35.00
    20990 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   L0642   800.00
    20991 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    20992 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97110   123.68
    20993 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97112   140.36
    20994 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    20995 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97035    27.78
    20996 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97530   159.28
    20997 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97140   111.96
    20998 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97010    15.00
    20999 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    21000 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97010    15.00
    21001 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    21002 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    21003 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97110   123.68
    21004 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97140   111.96
    21005 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    21006 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97140   111.96
    21007 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    21008 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    21009 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97035    27.78
    21010 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97110   123.68
    21011 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97112   140.36
    21012 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97110   123.68
    21013 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97140   111.96
    21014 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97010    15.00
    21015 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    21016 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    21017 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97530   159.28
    21018 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    21019 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97110   123.68
    21020 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97112   140.36
    21021 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    21022 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    21023 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97035    27.78
    21024 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    21025 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97035    27.78
    21026 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97530   159.28
    21027 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97140   111.96
    21028 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97010    15.00
    21029 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    21030 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97010    15.00
    21031 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    21032 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    21033 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97110   123.68
    21034 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97140   111.96
    21035 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    21036 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97140   111.96
    21037 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97012    29.98
    21038 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   G0283    29.70
    21039 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97035    27.78
    21040 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97110   123.68
    21041 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97112   140.36
    21042 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97110   123.68
    21043 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97140   111.96
    21044 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   9/28/2020   97010    15.00
    21045 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   99204   333.26
    21046 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   99080    15.00
    21047 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   99070    35.00
    21048 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   L0642   800.00
    21049 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   G0283    29.70
    21050 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97035    27.78
    21051 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97530   159.28
    21052 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97140   111.96
    21053 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97010    15.00
    21054 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   97012    29.98
    21055 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020   G0283    29.70
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    21056 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97110   123.68
    21057 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97140   111.96
    21058 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97012    29.98
    21059 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97140   111.96
    21060 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97012    29.98
    21061 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    G0283    29.70
    21062 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97035    27.78
    21063 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97110   123.68
    21064 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97112   140.36
    21065 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97110   123.68
    21066 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97140   111.96
    21067 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97010    15.00
    21068 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97012    29.98
    21069 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    G0283    29.70
    21070 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97530   159.28
    21071 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    G0283    29.70
    21072 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97110   123.68
    21073 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97112   140.36
    21074 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97012    29.98
    21075 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    G0283    29.70
    21076 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97035    27.78
    21077 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    G0283    29.70
    21078 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97035    27.78
    21079 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97530   159.28
    21080 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97140   111.96
    21081 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97010    15.00
    21082 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97012    29.98
    21083 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97010    15.00
    21084 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97012    29.98
    21085 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    G0283    29.70
    21086 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97110   123.68
    21087 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97140   111.96
    21088 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   9/28/2020    97012    29.98
    21089 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97112   140.36
    21090 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97012    29.98
    21091 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    G0283    29.70
    21092 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97035    27.78
    21093 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97110   123.68
    21094 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97140   111.96
    21095 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97530   159.28
    21096 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97140   111.96
    21097 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97010    15.00
    21098 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97012    29.98
    21099 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    G0283    29.70
    21100 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97110   123.68
    21101 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    G0283    29.70
    21102 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97110   123.68
    21103 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97140   111.96
    21104 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97012    29.98
    21105 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    G0283    29.70
    21106 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97035    27.78
    21107 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    G0283    29.70
    21108 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97035    27.78
    21109 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97110   123.68
    21110 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97112   140.36
    21111 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97010    15.00
    21112 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97012    29.98
    21113 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97010    15.00
    21114 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97012    29.98
    21115 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    G0283    29.70
    21116 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97530   159.28
    21117 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97140   111.96
    21118 Himes Walk In Clinic, LLC   0538273880101016   7/10/2020   Bill   10/9/2020    97012    29.98
    21119 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97012    29.98
    21120 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   G0283    29.70
    21121 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97530   159.28
    21122 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97140   111.96
    21123 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97012    29.98
    21124 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   G0283    29.70
    21125 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97012    29.98
    21126 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   G0283    29.70
    21127 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97035    27.78
    21128 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97110   123.68
    21129 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97140   111.96
    21130 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97010    15.00
    21131 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97140   111.96
    21132 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97010    15.00
    21133 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97012    29.98
    21134 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   G0283    29.70
    21135 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97110   123.68
    21136 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97112   140.36
    21137 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97110   123.68
    21138 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97140   111.96
    21139 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97012    29.98
    21140 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   G0283    29.70
    21141 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97035    27.78
    21142 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97530   159.28
    21143 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97035    27.78
    21144 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97110   123.68
    21145 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97112   140.36
    21146 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97010    15.00
    21147 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97012    29.98
    21148 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   G0283    29.70
    21149 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97012    29.98
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    21150 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   G0283    29.70
    21151 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97530   159.28
    21152 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97140   111.96
    21153 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97012    29.98
    21154 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   G0283    29.70
    21155 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   G0283    29.70
    21156 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97530   159.28
    21157 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97140   111.96
    21158 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   G0283    29.70
    21159 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97035    27.78
    21160 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97110   123.68
    21161 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97140   111.96
    21162 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97010    15.00
    21163 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97012    29.98
    21164 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97010    15.00
    21165 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97012    29.98
    21166 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   G0283    29.70
    21167 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97110   123.68
    21168 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97112   140.36
    21169 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97012    29.98
    21170 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97140   111.96
    21171 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97012    29.98
    21172 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   G0283    29.70
    21173 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97035    27.78
    21174 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97530   159.28
    21175 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97140   111.96
    21176 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97110   123.68
    21177 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97112   140.36
    21178 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97010    15.00
    21179 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97012    29.98
    21180 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   G0283    29.70
    21181 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97110   123.68
    21182 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   G0283    29.70
    21183 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97530   159.28
    21184 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97140   111.96
    21185 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97012    29.98
    21186 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   G0283    29.70
    21187 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97035    27.78
    21188 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   G0283    29.70
    21189 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97035    27.78
    21190 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97110   123.68
    21191 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97140   111.96
    21192 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97010    15.00
    21193 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97012    29.98
    21194 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97010    15.00
    21195 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97012    29.98
    21196 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   G0283    29.70
    21197 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97110   123.68
    21198 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97112   140.36
    21199 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/13/2020   97012    29.98
    21200 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97012    29.98
    21201 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   G0283    29.70
    21202 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97035    27.78
    21203 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97110   123.68
    21204 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97140   111.96
    21205 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97010    15.00
    21206 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97035    27.78
    21207 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97110   123.68
    21208 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/13/2020   97112   140.36
    21209 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   G0283    29.70
    21210 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97035    27.78
    21211 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   G0283    29.70
    21212 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97035    27.78
    21213 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97530   159.28
    21214 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97140   111.96
    21215 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97010    15.00
    21216 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97012    29.98
    21217 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97010    15.00
    21218 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97012    29.98
    21219 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   G0283    29.70
    21220 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97110   123.68
    21221 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97140   111.96
    21222 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97012    29.98
    21223 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97140   111.96
    21224 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97010    15.00
    21225 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97012    29.98
    21226 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   G0283    29.70
    21227 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97530   159.28
    21228 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97140   111.96
    21229 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97110   123.68
    21230 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97112   140.36
    21231 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97012    29.98
    21232 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   G0283    29.70
    21233 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97035    27.78
    21234 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97110   123.68
    21235 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97035    27.78
    21236 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97530   159.28
    21237 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97140   111.96
    21238 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97010    15.00
    21239 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97012    29.98
    21240 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   G0283    29.70
    21241 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97012    29.98
    21242 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   G0283    29.70
    21243 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97110   123.68
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    21244 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97140   111.96
    21245 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97012    29.98
    21246 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   G0283    29.70
    21247 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97012    29.98
    21248 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   G0283    29.70
    21249 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97035    27.78
    21250 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97110   123.68
    21251 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97112   140.36
    21252 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   10/27/2020   97010    15.00
    21253 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97140   111.96
    21254 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97012    29.98
    21255 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   G0283    29.70
    21256 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97035    27.78
    21257 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97110   123.68
    21258 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97112   140.36
    21259 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97110   123.68
    21260 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97140   111.96
    21261 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97010    15.00
    21262 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97012    29.98
    21263 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   G0283    29.70
    21264 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97530   159.28
    21265 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   G0283    29.70
    21266 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97110   123.68
    21267 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97112   140.36
    21268 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   10/27/2020   97012    29.98
    21269 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   99214   216.48
    21270 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97012    29.98
    21271 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   G0283    29.70
    21272 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97035    27.78
    21273 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97110   123.68
    21274 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97112   140.36
    21275 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97140   111.96
    21276 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97010    15.00
    21277 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97012    29.98
    21278 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   G0283    29.70
    21279 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97530   159.28
    21280 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97140   111.96
    21281 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97026    25.68
    21282 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97110   123.68
    21283 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97012    29.98
    21284 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   G0283    29.70
    21285 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97035    27.78
    21286 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97110   123.68
    21287 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97035    27.78
    21288 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97530   159.28
    21289 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97140   111.96
    21290 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97010    15.00
    21291 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97012    29.98
    21292 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   G0283    29.70
    21293 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97012    29.98
    21294 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   G0283    29.70
    21295 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97110   123.68
    21296 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97140   111.96
    21297 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97012    29.98
    21298 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   G0283    29.70
    21299 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97012    29.98
    21300 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   G0283    29.70
    21301 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97035    27.78
    21302 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97110   123.68
    21303 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97112   140.36
    21304 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/10/2020   97010    15.00
    21305 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   99214   216.48
    21306 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97010    15.00
    21307 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97012    29.98
    21308 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   G0283    29.70
    21309 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97110   123.68
    21310 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97140   111.96
    21311 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97140   111.96
    21312 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97012    29.98
    21313 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   G0283    29.70
    21314 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97035    27.78
    21315 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97110   123.68
    21316 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97112   140.36
    21317 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97110   123.68
    21318 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97140   111.96
    21319 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97010    15.00
    21320 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97012    29.98
    21321 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   G0283    29.70
    21322 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97530   159.28
    21323 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   G0283    29.70
    21324 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97110   123.68
    21325 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97112   140.36
    21326 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97012    29.98
    21327 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   G0283    29.70
    21328 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97035    27.78
    21329 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   G0283    29.70
    21330 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97035    27.78
    21331 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97530   159.28
    21332 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97140   111.96
    21333 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97010    15.00
    21334 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97012    29.98
    21335 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97010    15.00
    21336 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97012    29.98
    21337 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   G0283    29.70
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    21338 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97110   123.68
    21339 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97140   111.96
    21340 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/11/2020   97012    29.98
    21341 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   99214   216.48
    21342 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   G0283    29.70
    21343 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97110   123.68
    21344 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97140   111.96
    21345 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   G0283    29.70
    21346 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97035    27.78
    21347 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97530   159.28
    21348 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97140   111.96
    21349 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97010    15.00
    21350 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97012    29.98
    21351 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97010    15.00
    21352 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97012    29.98
    21353 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   G0283    29.70
    21354 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97110   123.68
    21355 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97140   111.96
    21356 Himes Walk In Clinic, LLC   0592742960101023   9/1/2020    Bill   11/24/2020   97012    29.98
    21357 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97035    27.78
    21358 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97110   123.68
    21359 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97140   111.96
    21360 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97012    29.98
    21361 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   G0283    29.70
    21362 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97110   123.68
    21363 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97112   140.36
    21364 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97012    29.98
    21365 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   G0283    29.70
    21366 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97012    29.98
    21367 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   G0283    29.70
    21368 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97035    27.78
    21369 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97530   159.28
    21370 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97140   111.96
    21371 Himes Walk In Clinic, LLC   0530109790101017   8/28/2020   Bill   11/24/2020   97010    15.00
    21372 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97110    61.84
    21373 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97530    79.64
    21374 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97140    55.98
    21375 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97010    15.00
    21376 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97012    29.98
    21377 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    G0283    29.70
    21378 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97035    27.78
    21379 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97110    61.84
    21380 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97530    79.64
    21381 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97140    55.98
    21382 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97010    15.00
    21383 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97012    29.98
    21384 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    G0283    29.70
    21385 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97035    27.78
    21386 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97110    61.84
    21387 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97530    79.64
    21388 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97140    55.98
    21389 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97010    15.00
    21390 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97012    29.98
    21391 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    G0283    29.70
    21392 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97035    27.78
    21393 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97110    61.84
    21394 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97530    79.64
    21395 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97140    55.98
    21396 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97010    15.00
    21397 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97012    29.98
    21398 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    G0283    29.70
    21399 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97035    27.78
    21400 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97110    61.84
    21401 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97530    79.64
    21402 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97140    55.98
    21403 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97010    15.00
    21404 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97012    29.98
    21405 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    G0283    29.70
    21406 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97035    27.78
    21407 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97110    61.84
    21408 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97530    79.64
    21409 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97140    55.98
    21410 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    99204   333.26
    21411 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    99080    15.00
    21412 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97010    15.00
    21413 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97012    29.98
    21414 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    G0283    29.70
    21415 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97035    27.78
    21416 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97530    79.64
    21417 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97140    55.98
    21418 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97535    68.70
    21419 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97010    15.00
    21420 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97012    29.98
    21421 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    G0283    29.70
    21422 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97035    27.78
    21423 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97110    61.84
    21424 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97530    79.64
    21425 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97140    55.98
    21426 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97010    15.00
    21427 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97012    29.98
    21428 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    G0283    29.70
    21429 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97035    27.78
    21430 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97110    61.84
    21431 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021    97530    79.64
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    21432 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21433 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21434 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21435 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21436 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21437 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21438 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21439 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21440 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21441 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21442 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21443 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21444 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21445 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21446 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21447 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21448 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21449 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21450 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21451 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21452 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21453 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21454 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21455 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21456 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21457 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21458 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21459 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   99204   333.26
    21460 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   99080    15.00
    21461 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21462 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21463 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21464 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21465 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21466 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21467 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97535    68.70
    21468 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21469 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21470 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21471 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21472 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21473 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21474 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21475 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21476 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21477 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21478 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21479 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21480 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21481 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21482 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21483 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21484 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21485 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21486 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21487 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21488 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21489 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21490 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21491 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21492 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21493 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21494 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21495 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21496 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21497 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21498 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21499 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21500 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21501 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21502 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21503 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21504 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21505 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21506 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21507 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21508 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21509 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21510 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21511 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21512 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21513 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21514 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21515 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21516 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21517 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21518 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
    21519 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283    29.70
    21520 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035    27.78
    21521 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110    61.84
    21522 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530    79.64
    21523 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140    55.98
    21524 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010    15.00
    21525 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012    29.98
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    21526 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283   29.70
    21527 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035   27.78
    21528 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530   79.64
    21529 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140   55.98
    21530 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010   15.00
    21531 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012   29.98
    21532 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283   29.70
    21533 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035   27.78
    21534 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110   61.84
    21535 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530   79.64
    21536 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140   55.98
    21537 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010   15.00
    21538 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012   29.98
    21539 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283   29.70
    21540 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035   27.78
    21541 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110   61.84
    21542 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530   79.64
    21543 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140   55.98
    21544 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010   15.00
    21545 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012   29.98
    21546 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283   29.70
    21547 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035   27.78
    21548 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110   61.84
    21549 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530   79.64
    21550 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140   55.98
    21551 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010   15.00
    21552 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012   29.98
    21553 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283   29.70
    21554 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035   27.78
    21555 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110   61.84
    21556 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530   79.64
    21557 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140   55.98
    21558 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010   15.00
    21559 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012   29.98
    21560 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283   29.70
    21561 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035   27.78
    21562 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110   61.84
    21563 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530   79.64
    21564 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140   55.98
    21565 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010   15.00
    21566 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012   29.98
    21567 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283   29.70
    21568 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035   27.78
    21569 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110   61.84
    21570 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530   79.64
    21571 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140   55.98
    21572 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010   15.00
    21573 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012   29.98
    21574 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283   29.70
    21575 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035   27.78
    21576 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110   61.84
    21577 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530   79.64
    21578 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140   55.98
    21579 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010   15.00
    21580 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012   29.98
    21581 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283   29.70
    21582 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035   27.78
    21583 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110   61.84
    21584 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530   79.64
    21585 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140   55.98
    21586 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97010   15.00
    21587 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97012   29.98
    21588 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   G0283   29.70
    21589 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97035   27.78
    21590 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97110   61.84
    21591 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97530   79.64
    21592 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/20/2021   97140   55.98
    21593 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21594 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21595 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21596 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21597 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21598 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21599 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21600 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21601 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21602 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21603 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21604 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21605 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21606 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21607 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21608 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21609 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21610 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21611 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21612 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21613 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21614 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21615 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21616 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21617 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21618 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21619 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
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    21620 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21621 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21622 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21623 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21624 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21625 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21626 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21627 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21628 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21629 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21630 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21631 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21632 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21633 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21634 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21635 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21636 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21637 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21638 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21639 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21640 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21641 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21642 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21643 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21644 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21645 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21646 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21647 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21648 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21649 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21650 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21651 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21652 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21653 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21654 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21655 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21656 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21657 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21658 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21659 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21660 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21661 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21662 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21663 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21664 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21665 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21666 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21667 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21668 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21669 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21670 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97035   27.78
    21671 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97110   61.84
    21672 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97530   79.64
    21673 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97140   55.98
    21674 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97010   15.00
    21675 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   97012   29.98
    21676 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   3/25/2021   G0283   29.70
    21677 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97010   15.00
    21678 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97012   29.98
    21679 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    G0283   29.70
    21680 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97035   27.78
    21681 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97110   61.84
    21682 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97530   79.64
    21683 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97140   55.98
    21684 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97010   15.00
    21685 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97012   29.98
    21686 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    G0283   29.70
    21687 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97035   27.78
    21688 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97110   61.84
    21689 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97530   79.64
    21690 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97140   55.98
    21691 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97010   15.00
    21692 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97012   29.98
    21693 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    G0283   29.70
    21694 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97035   27.78
    21695 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97110   61.84
    21696 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97530   79.64
    21697 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97140   55.98
    21698 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97010   15.00
    21699 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97012   29.98
    21700 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    G0283   29.70
    21701 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97035   27.78
    21702 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97110   61.84
    21703 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97530   79.64
    21704 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97140   55.98
    21705 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97010   15.00
    21706 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97012   29.98
    21707 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    G0283   29.70
    21708 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97035   27.78
    21709 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97110   61.84
    21710 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97530   79.64
    21711 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97140   55.98
    21712 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97010   15.00
    21713 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97012   29.98
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    21714 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    G0283    29.70
    21715 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97035    27.78
    21716 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97110    61.84
    21717 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97530    79.64
    21718 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97140    55.98
    21719 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97010    15.00
    21720 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97012    29.98
    21721 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    G0283    29.70
    21722 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97035    27.78
    21723 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97110    61.84
    21724 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97530    79.64
    21725 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/5/2021    97140    55.98
    21726 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   G0283    29.70
    21727 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97035    27.78
    21728 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97110    61.84
    21729 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97530    79.64
    21730 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97140    55.98
    21731 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97010    15.00
    21732 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97012    29.98
    21733 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   G0283    29.70
    21734 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97035    27.78
    21735 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97110    61.84
    21736 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97530    79.64
    21737 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97140    55.98
    21738 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97010    15.00
    21739 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97012    29.98
    21740 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   G0283    29.70
    21741 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97035    27.78
    21742 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97110    61.84
    21743 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97530    79.64
    21744 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97140    55.98
    21745 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97010    15.00
    21746 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97012    29.98
    21747 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   G0283    29.70
    21748 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97035    27.78
    21749 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97110    61.84
    21750 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97530    79.64
    21751 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97140    55.98
    21752 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   G0283    29.70
    21753 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97035    27.78
    21754 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97018    14.22
    21755 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97530    79.64
    21756 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97140    55.98
    21757 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   99204   333.26
    21758 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   99080    15.00
    21759 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   99070    35.00
    21760 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   L0642   800.00
    21761 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97010    15.00
    21762 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97012    29.98
    21763 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   G0283    29.70
    21764 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97035    27.78
    21765 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97110    61.84
    21766 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97530    79.64
    21767 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97140    55.98
    21768 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97010    15.00
    21769 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97012    29.98
    21770 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   G0283    29.70
    21771 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97035    27.78
    21772 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97110    61.84
    21773 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97530    79.64
    21774 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97140    55.98
    21775 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97010    15.00
    21776 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97012    29.98
    21777 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   G0283    29.70
    21778 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97035    27.78
    21779 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97110    61.84
    21780 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97530    79.64
    21781 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97140    55.98
    21782 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97010    15.00
    21783 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97012    29.98
    21784 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   G0283    29.70
    21785 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97035    27.78
    21786 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97110    61.84
    21787 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97530    79.64
    21788 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97140    55.98
    21789 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97010    15.00
    21790 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97012    29.98
    21791 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   G0283    29.70
    21792 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97035    27.78
    21793 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97110    61.84
    21794 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97530    79.64
    21795 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97140    55.98
    21796 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97010    15.00
    21797 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97012    29.98
    21798 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   G0283    29.70
    21799 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97035    27.78
    21800 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97110    61.84
    21801 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97530    79.64
    21802 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97140    55.98
    21803 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97010    15.00
    21804 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97012    29.98
    21805 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   G0283    29.70
    21806 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97035    27.78
    21807 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97110    61.84
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    21808 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97530   79.64
    21809 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97140   55.98
    21810 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97010   15.00
    21811 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97012   29.98
    21812 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   G0283   29.70
    21813 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97035   27.78
    21814 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97110   61.84
    21815 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97530   79.64
    21816 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97140   55.98
    21817 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97010   15.00
    21818 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97012   29.98
    21819 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   G0283   29.70
    21820 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97035   27.78
    21821 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97110   61.84
    21822 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97530   79.64
    21823 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97140   55.98
    21824 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97010   15.00
    21825 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97012   29.98
    21826 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   G0283   29.70
    21827 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97035   27.78
    21828 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97110   61.84
    21829 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97530   79.64
    21830 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/10/2021   97140   55.98
    21831 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97010   15.00
    21832 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97012   29.98
    21833 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   G0283   29.70
    21834 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97035   27.78
    21835 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97110   61.84
    21836 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97530   79.64
    21837 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97140   55.98
    21838 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97010   15.00
    21839 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/10/2021   97012   29.98
    21840 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97010   15.00
    21841 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97012   29.98
    21842 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   G0283   29.70
    21843 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97035   27.78
    21844 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97018   14.22
    21845 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97530   79.64
    21846 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97140   55.98
    21847 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97010   15.00
    21848 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97012   29.98
    21849 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   G0283   29.70
    21850 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97035   27.78
    21851 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97018   14.22
    21852 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97530   79.64
    21853 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97140   55.98
    21854 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97010   15.00
    21855 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/10/2021   97012   29.98
    21856 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97140   55.98
    21857 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97010   15.00
    21858 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97012   29.98
    21859 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97035   27.78
    21860 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97110   61.84
    21861 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97530   79.64
    21862 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97140   55.98
    21863 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97010   15.00
    21864 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97012   29.98
    21865 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97035   27.78
    21866 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97110   61.84
    21867 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97530   79.64
    21868 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97140   55.98
    21869 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97010   15.00
    21870 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97012   29.98
    21871 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97035   27.78
    21872 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97110   61.84
    21873 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97530   79.64
    21874 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97140   55.98
    21875 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97010   15.00
    21876 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97012   29.98
    21877 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97035   27.78
    21878 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97110   61.84
    21879 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97530   79.64
    21880 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97140   55.98
    21881 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97010   15.00
    21882 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97012   29.98
    21883 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97035   27.78
    21884 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97110   61.84
    21885 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97530   79.64
    21886 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97140   55.98
    21887 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97010   15.00
    21888 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97012   29.98
    21889 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97035   27.78
    21890 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97110   61.84
    21891 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97530   79.64
    21892 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97140   55.98
    21893 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97010   15.00
    21894 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97012   29.98
    21895 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97035   27.78
    21896 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97110   61.84
    21897 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97530   79.64
    21898 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97140   55.98
    21899 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97010   15.00
    21900 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97012   29.98
    21901 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   G0283   29.70
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    21902 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97035    27.78
    21903 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97110    61.84
    21904 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97530    79.64
    21905 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97140    55.98
    21906 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97010    15.00
    21907 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97012    29.98
    21908 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   G0283    29.70
    21909 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97035    27.78
    21910 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97110    61.84
    21911 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97530    79.64
    21912 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97140    55.98
    21913 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97010    15.00
    21914 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97012    29.98
    21915 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   G0283    29.70
    21916 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97035    27.78
    21917 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97110    61.84
    21918 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97530    79.64
    21919 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97140    55.98
    21920 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97010    15.00
    21921 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97012    29.98
    21922 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   G0283    29.70
    21923 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97035    27.78
    21924 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97110    61.84
    21925 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97530    79.64
    21926 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97140    55.98
    21927 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97010    15.00
    21928 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97012    29.98
    21929 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   G0283    29.70
    21930 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97035    27.78
    21931 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97110    61.84
    21932 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97530    79.64
    21933 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97140    55.98
    21934 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97018    14.22
    21935 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97010    15.00
    21936 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97012    29.98
    21937 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   G0283    29.70
    21938 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97035    27.78
    21939 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97110    61.84
    21940 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97530    79.64
    21941 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97140    55.98
    21942 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97018    14.22
    21943 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97010    15.00
    21944 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97010    15.00
    21945 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97012    29.98
    21946 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   G0283    29.70
    21947 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97035    27.78
    21948 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97110    61.84
    21949 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97530    79.64
    21950 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97140    55.98
    21951 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97010    15.00
    21952 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97012    29.98
    21953 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   G0283    29.70
    21954 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97035    27.78
    21955 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97110    61.84
    21956 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97530    79.64
    21957 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97140    55.98
    21958 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97010    15.00
    21959 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97012    29.98
    21960 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   G0283    29.70
    21961 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97035    27.78
    21962 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97110    61.84
    21963 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97530    79.64
    21964 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/17/2021   97140    55.98
    21965 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   99204   333.26
    21966 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   99080    15.00
    21967 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97010    15.00
    21968 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97012    29.98
    21969 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97035    27.78
    21970 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97110    61.84
    21971 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/17/2021   97530    79.64
    21972 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97012    29.98
    21973 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   G0283    29.70
    21974 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97035    27.78
    21975 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97110    61.84
    21976 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97530    79.64
    21977 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97140    55.98
    21978 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97018    14.22
    21979 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97010    15.00
    21980 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97012    29.98
    21981 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   G0283    29.70
    21982 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97035    27.78
    21983 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97110    61.84
    21984 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97530    79.64
    21985 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97140    55.98
    21986 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97018    14.22
    21987 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97010    15.00
    21988 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97012    29.98
    21989 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97018    14.22
    21990 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97035    27.78
    21991 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97110    61.84
    21992 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97530    79.64
    21993 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   4/17/2021   97140    55.98
    21994 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   G0283    29.70
    21995 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97035    27.78
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    21996 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97110    61.84
    21997 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97530    79.64
    21998 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97140    55.98
    21999 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97010    15.00
    22000 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97012    29.98
    22001 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   G0283    29.70
    22002 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97035    27.78
    22003 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97110    61.84
    22004 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97530    79.64
    22005 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97140    55.98
    22006 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97010    15.00
    22007 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97012    29.98
    22008 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   G0283    29.70
    22009 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97035    27.78
    22010 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97110    61.84
    22011 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97530    79.64
    22012 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97140    55.98
    22013 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97010    15.00
    22014 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97012    29.98
    22015 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   G0283    29.70
    22016 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97035    27.78
    22017 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97110    61.84
    22018 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97530    79.64
    22019 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97140    55.98
    22020 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97010    15.00
    22021 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97012    29.98
    22022 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   G0283    29.70
    22023 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97035    27.78
    22024 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97110    61.84
    22025 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97530    79.64
    22026 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   4/26/2021   97140    55.98
    22027 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97010    15.00
    22028 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97012    29.98
    22029 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   G0283    29.70
    22030 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97035    27.78
    22031 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97110    61.84
    22032 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97530    79.64
    22033 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97140    55.98
    22034 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97010    15.00
    22035 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97012    29.98
    22036 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   G0283    29.70
    22037 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97035    27.78
    22038 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97110    61.84
    22039 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97530    79.64
    22040 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97140    55.98
    22041 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97010    15.00
    22042 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97012    29.98
    22043 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   G0283    29.70
    22044 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97035    27.78
    22045 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97110    61.84
    22046 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97530    79.64
    22047 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97140    55.98
    22048 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97010    15.00
    22049 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/26/2021   97012    29.98
    22050 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97010    15.00
    22051 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97012    29.98
    22052 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97035    27.78
    22053 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97110    61.84
    22054 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97530    79.64
    22055 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97140    55.98
    22056 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97010    15.00
    22057 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97012    29.98
    22058 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97035    27.78
    22059 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97110    61.84
    22060 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97530    79.64
    22061 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97140    55.98
    22062 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97010    15.00
    22063 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97012    29.98
    22064 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97035    27.78
    22065 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97110    61.84
    22066 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97530    79.64
    22067 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   4/27/2021   97140    55.98
    22068 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97035    27.78
    22069 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97110    61.84
    22070 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97530    79.64
    22071 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97140    55.98
    22072 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97010    15.00
    22073 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97012    29.98
    22074 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    G0283    29.70
    22075 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97035    27.78
    22076 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97110    61.84
    22077 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97530    79.64
    22078 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97140    55.98
    22079 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    99204   333.26
    22080 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    99080    15.00
    22081 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    99070    35.00
    22082 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    99070    95.00
    22083 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    L0642   800.00
    22084 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97010    15.00
    22085 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97012    29.98
    22086 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    G0283    29.70
    22087 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97035    27.78
    22088 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97110    61.84
    22089 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97530    79.64
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    22090 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97140    55.98
    22091 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97010    15.00
    22092 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97012    29.98
    22093 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    G0283    29.70
    22094 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97035    27.78
    22095 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97110    61.84
    22096 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97530    79.64
    22097 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97140    55.98
    22098 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97010    15.00
    22099 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97012    29.98
    22100 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    G0283    29.70
    22101 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97035    27.78
    22102 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97110    61.84
    22103 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97530    79.64
    22104 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97140    55.98
    22105 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97010    15.00
    22106 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97012    29.98
    22107 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    G0283    29.70
    22108 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97035    27.78
    22109 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97110    61.84
    22110 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97530    79.64
    22111 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97140    55.98
    22112 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97010    15.00
    22113 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97012    29.98
    22114 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    G0283    29.70
    22115 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97035    27.78
    22116 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97110    61.84
    22117 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97530    79.64
    22118 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97140    55.98
    22119 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97010    15.00
    22120 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97012    29.98
    22121 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    G0283    29.70
    22122 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97035    27.78
    22123 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97110    61.84
    22124 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97530    79.64
    22125 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/3/2021    97140    55.98
    22126 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97010    15.00
    22127 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97012    29.98
    22128 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    G0283    29.70
    22129 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97035    27.78
    22130 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97110    61.84
    22131 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97530    79.64
    22132 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97140    55.98
    22133 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97010    15.00
    22134 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97012    29.98
    22135 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97035    27.78
    22136 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97110    61.84
    22137 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97530    79.64
    22138 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97140    55.98
    22139 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97010    15.00
    22140 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97012    29.98
    22141 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97035    27.78
    22142 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97110    61.84
    22143 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97530    79.64
    22144 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97140    55.98
    22145 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97010    15.00
    22146 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97012    29.98
    22147 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97035    27.78
    22148 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97110    61.84
    22149 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97530    79.64
    22150 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97140    55.98
    22151 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97010    15.00
    22152 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97012    29.98
    22153 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    G0283    29.70
    22154 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97035    27.78
    22155 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97110    61.84
    22156 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97530    79.64
    22157 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97140    55.98
    22158 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97010    15.00
    22159 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97012    29.98
    22160 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    G0283    29.70
    22161 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97035    27.78
    22162 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97110    61.84
    22163 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97530    79.64
    22164 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97140    55.98
    22165 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97010    15.00
    22166 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97012    29.98
    22167 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    G0283    29.70
    22168 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97035    27.78
    22169 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97110    61.84
    22170 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97530    79.64
    22171 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/3/2021    97140    55.98
    22172 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97010    15.00
    22173 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97012    29.98
    22174 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    G0283    29.70
    22175 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97035    27.78
    22176 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97110    61.84
    22177 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97530    79.64
    22178 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97140    55.98
    22179 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97010    15.00
    22180 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    97012    29.98
    22181 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/3/2021    G0283    29.70
    22182 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   99213   146.60
    22183 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   98941    82.54
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    22184 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97010   15.00
    22185 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97012   29.98
    22186 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   G0283   29.70
    22187 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97035   27.78
    22188 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97110   61.84
    22189 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97530   79.64
    22190 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97140   55.98
    22191 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97010   15.00
    22192 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97012   29.98
    22193 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   G0283   29.70
    22194 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97035   27.78
    22195 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97110   61.84
    22196 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97530   79.64
    22197 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97140   55.98
    22198 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97010   15.00
    22199 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97012   29.98
    22200 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   G0283   29.70
    22201 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97035   27.78
    22202 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97110   61.84
    22203 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97530   79.64
    22204 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97140   55.98
    22205 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97010   15.00
    22206 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97012   29.98
    22207 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   G0283   29.70
    22208 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97035   27.78
    22209 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97110   61.84
    22210 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97530   79.64
    22211 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97140   55.98
    22212 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97010   15.00
    22213 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/14/2021   97012   29.98
    22214 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97035   27.78
    22215 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97110   61.84
    22216 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97530   79.64
    22217 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97140   55.98
    22218 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97010   15.00
    22219 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97012   29.98
    22220 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97035   27.78
    22221 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97110   61.84
    22222 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97530   79.64
    22223 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97140   55.98
    22224 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97010   15.00
    22225 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97012   29.98
    22226 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97035   27.78
    22227 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97110   61.84
    22228 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97530   79.64
    22229 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97140   55.98
    22230 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97010   15.00
    22231 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97012   29.98
    22232 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97035   27.78
    22233 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97110   61.84
    22234 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97530   79.64
    22235 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97140   55.98
    22236 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97010   15.00
    22237 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97012   29.98
    22238 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97035   27.78
    22239 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97110   61.84
    22240 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97530   79.64
    22241 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97140   55.98
    22242 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97010   15.00
    22243 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97012   29.98
    22244 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97035   27.78
    22245 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97110   61.84
    22246 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97530   79.64
    22247 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97140   55.98
    22248 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010   15.00
    22249 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012   29.98
    22250 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283   29.70
    22251 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035   27.78
    22252 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110   61.84
    22253 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530   79.64
    22254 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140   55.98
    22255 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010   15.00
    22256 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012   29.98
    22257 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283   29.70
    22258 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035   27.78
    22259 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110   61.84
    22260 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530   79.64
    22261 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140   55.98
    22262 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010   15.00
    22263 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012   29.98
    22264 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283   29.70
    22265 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035   27.78
    22266 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110   61.84
    22267 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530   79.64
    22268 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140   55.98
    22269 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010   15.00
    22270 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012   29.98
    22271 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283   29.70
    22272 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035   27.78
    22273 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110   61.84
    22274 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530   79.64
    22275 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140   55.98
    22276 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010   15.00
    22277 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012   29.98
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    22278 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283    29.70
    22279 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035    27.78
    22280 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110    61.84
    22281 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530    79.64
    22282 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140    55.98
    22283 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010    15.00
    22284 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012    29.98
    22285 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283    29.70
    22286 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035    27.78
    22287 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110    61.84
    22288 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530    79.64
    22289 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140    55.98
    22290 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010    15.00
    22291 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012    29.98
    22292 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283    29.70
    22293 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035    27.78
    22294 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110    61.84
    22295 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530    79.64
    22296 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140    55.98
    22297 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010    15.00
    22298 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012    29.98
    22299 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283    29.70
    22300 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035    27.78
    22301 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110    61.84
    22302 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530    79.64
    22303 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140    55.98
    22304 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010    15.00
    22305 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012    29.98
    22306 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283    29.70
    22307 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035    27.78
    22308 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110    61.84
    22309 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530    79.64
    22310 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140    55.98
    22311 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010    15.00
    22312 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012    29.98
    22313 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283    29.70
    22314 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035    27.78
    22315 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110    61.84
    22316 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530    79.64
    22317 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140    55.98
    22318 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   G0283    29.70
    22319 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97035    27.78
    22320 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97110    61.84
    22321 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97530    79.64
    22322 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97140    55.98
    22323 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97010    15.00
    22324 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/15/2021   97012    29.98
    22325 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   99213   146.60
    22326 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   98941    82.54
    22327 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97010    15.00
    22328 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97012    29.98
    22329 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   G0283    29.70
    22330 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97035    27.78
    22331 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97110    61.84
    22332 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97530    79.64
    22333 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97140    55.98
    22334 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97010    15.00
    22335 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97012    29.98
    22336 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   G0283    29.70
    22337 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97035    27.78
    22338 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97110    61.84
    22339 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97530    79.64
    22340 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97140    55.98
    22341 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97010    15.00
    22342 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97012    29.98
    22343 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   G0283    29.70
    22344 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97035    27.78
    22345 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97110    61.84
    22346 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97530    79.64
    22347 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97140    55.98
    22348 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97010    15.00
    22349 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97012    29.98
    22350 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   G0283    29.70
    22351 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97035    27.78
    22352 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97110    61.84
    22353 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97530    79.64
    22354 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97140    55.98
    22355 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97010    15.00
    22356 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97012    29.98
    22357 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   G0283    29.70
    22358 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97035    27.78
    22359 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97110    61.84
    22360 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97530    79.64
    22361 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97140    55.98
    22362 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97010    15.00
    22363 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97012    29.98
    22364 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   G0283    29.70
    22365 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97035    27.78
    22366 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97110    61.84
    22367 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97530    79.64
    22368 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/15/2021   97140    55.98
    22369 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   99213   146.60
    22370 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   98941    82.54
    22371 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97010    15.00
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    22372 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97012    29.98
    22373 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   G0283    29.70
    22374 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97035    27.78
    22375 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97110    61.84
    22376 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97530    79.64
    22377 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/15/2021   97140    55.98
    22378 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97010    15.00
    22379 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97012    29.98
    22380 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97018    14.22
    22381 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97035    27.78
    22382 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97110    61.84
    22383 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97530    79.64
    22384 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97140    55.98
    22385 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97010    15.00
    22386 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97012    29.98
    22387 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97018    14.22
    22388 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97035    27.78
    22389 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97110    61.84
    22390 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97530    79.64
    22391 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97140    55.98
    22392 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97010    15.00
    22393 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97012    29.98
    22394 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97018    14.22
    22395 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97035    27.78
    22396 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97110    61.84
    22397 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97530    79.64
    22398 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97140    55.98
    22399 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97010    15.00
    22400 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97012    29.98
    22401 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97018    14.22
    22402 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97035    27.78
    22403 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97110    61.84
    22404 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97530    79.64
    22405 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97140    55.98
    22406 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97010    15.00
    22407 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97012    29.98
    22408 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97018    14.22
    22409 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97035    27.78
    22410 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97110    61.84
    22411 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97530    79.64
    22412 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97140    55.98
    22413 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97010    15.00
    22414 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97012    29.98
    22415 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97018    14.22
    22416 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97035    27.78
    22417 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97110    61.84
    22418 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97530    79.64
    22419 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   97140    55.98
    22420 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   99213   146.60
    22421 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/17/2021   98940    57.70
    22422 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97010    15.00
    22423 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97012    29.98
    22424 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   G0283    29.70
    22425 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97035    27.78
    22426 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97110    61.84
    22427 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97530    79.64
    22428 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97140    55.98
    22429 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97010    15.00
    22430 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97012    29.98
    22431 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   G0283    29.70
    22432 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97035    27.78
    22433 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97110    61.84
    22434 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97530    79.64
    22435 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97140    55.98
    22436 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97010    15.00
    22437 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97012    29.98
    22438 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   G0283    29.70
    22439 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97035    27.78
    22440 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97110    61.84
    22441 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97530    79.64
    22442 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97140    55.98
    22443 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97010    15.00
    22444 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97012    29.98
    22445 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   G0283    29.70
    22446 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97035    27.78
    22447 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97110    61.84
    22448 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97530    79.64
    22449 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   5/22/2021   97140    55.98
    22450 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97010    15.00
    22451 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97012    29.98
    22452 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   G0283    29.70
    22453 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97035    27.78
    22454 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97110    61.84
    22455 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97530    79.64
    22456 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97140    55.98
    22457 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97010    15.00
    22458 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97012    29.98
    22459 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   G0283    29.70
    22460 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97035    27.78
    22461 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97110    61.84
    22462 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97530    79.64
    22463 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97140    55.98
    22464 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97010    15.00
    22465 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97012    29.98
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    22466 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   G0283    29.70
    22467 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97035    27.78
    22468 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97110    61.84
    22469 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97530    79.64
    22470 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   5/22/2021   97140    55.98
    22471 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97010    15.00
    22472 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97012    29.98
    22473 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97018    14.22
    22474 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97035    27.78
    22475 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97110    61.84
    22476 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97530    79.64
    22477 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97140    55.98
    22478 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   G0283    29.70
    22479 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97035    27.78
    22480 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97110    61.84
    22481 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97530    79.64
    22482 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97140    55.98
    22483 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97010    15.00
    22484 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97012    29.98
    22485 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97018    14.22
    22486 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97035    27.78
    22487 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97110    61.84
    22488 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97530    79.64
    22489 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97140    55.98
    22490 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97010    15.00
    22491 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97012    29.98
    22492 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   G0283    29.70
    22493 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97035    27.78
    22494 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97110    61.84
    22495 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97530    79.64
    22496 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/22/2021   97140    55.98
    22497 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97010    15.00
    22498 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97012    29.98
    22499 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   G0283    29.70
    22500 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97035    27.78
    22501 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97110    61.84
    22502 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97530    79.64
    22503 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97140    55.98
    22504 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97010    15.00
    22505 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97012    29.98
    22506 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   G0283    29.70
    22507 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97035    27.78
    22508 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97110    61.84
    22509 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97530    79.64
    22510 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97140    55.98
    22511 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97010    15.00
    22512 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97012    29.98
    22513 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   G0283    29.70
    22514 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97035    27.78
    22515 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97110    61.84
    22516 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97530    79.64
    22517 Himes Walk In Clinic, LLC   0611282990000001   2/17/2021   Bill   5/22/2021   97140    55.98
    22518 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97035    27.78
    22519 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97110    61.84
    22520 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97530    79.64
    22521 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97140    55.98
    22522 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97010    15.00
    22523 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97012    29.98
    22524 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   99204   333.26
    22525 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   99080    15.00
    22526 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97010    15.00
    22527 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97012    29.98
    22528 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   G0283    29.70
    22529 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97035    27.78
    22530 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97110    61.84
    22531 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97530    79.64
    22532 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97140    55.98
    22533 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97010    15.00
    22534 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97012    29.98
    22535 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   G0283    29.70
    22536 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   G0283    29.70
    22537 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97035    27.78
    22538 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97110    61.84
    22539 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97530    79.64
    22540 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97140    55.98
    22541 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97010    15.00
    22542 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97012    29.98
    22543 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   G0283    29.70
    22544 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97035    27.78
    22545 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97110    61.84
    22546 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97530    79.64
    22547 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97140    55.98
    22548 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97010    15.00
    22549 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97012    29.98
    22550 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   G0283    29.70
    22551 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97035    27.78
    22552 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97110    61.84
    22553 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97530    79.64
    22554 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97140    55.98
    22555 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97010    15.00
    22556 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97012    29.98
    22557 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   G0283    29.70
    22558 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97035    27.78
    22559 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97110    61.84
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    22560 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97530    79.64
    22561 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97140    55.98
    22562 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97010    15.00
    22563 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97012    29.98
    22564 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   G0283    29.70
    22565 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97035    27.78
    22566 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97110    61.84
    22567 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97530    79.64
    22568 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97140    55.98
    22569 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97010    15.00
    22570 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   5/22/2021   97012    29.98
    22571 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22572 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22573 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22574 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22575 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22576 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22577 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22578 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22579 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22580 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22581 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22582 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22583 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22584 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22585 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22586 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22587 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22588 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22589 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22590 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22591 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22592 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22593 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22594 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22595 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22596 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22597 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22598 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22599 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22600 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22601 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22602 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22603 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22604 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22605 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22606 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22607 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22608 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22609 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22610 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22611 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22612 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22613 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22614 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22615 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22616 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22617 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   99204   333.26
    22618 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   99080    15.00
    22619 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   99070    35.00
    22620 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   99070    95.00
    22621 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22622 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22623 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22624 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22625 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22626 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22627 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22628 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22629 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22630 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22631 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22632 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22633 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22634 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22635 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22636 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22637 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22638 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22639 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22640 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22641 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22642 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22643 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22644 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22645 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22646 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
    22647 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530    79.64
    22648 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140    55.98
    22649 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010    15.00
    22650 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012    29.98
    22651 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283    29.70
    22652 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97035    27.78
    22653 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97018    14.22
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    22654 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97530   79.64
    22655 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97140   55.98
    22656 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97010   15.00
    22657 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   97012   29.98
    22658 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   5/28/2021   G0283   29.70
    22659 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22660 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22661 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   G0283   29.70
    22662 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22663 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22664 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22665 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22666 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22667 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22668 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   G0283   29.70
    22669 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22670 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22671 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22672 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22673 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22674 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22675 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   G0283   29.70
    22676 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22677 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22678 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22679 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22680 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22681 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22682 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   G0283   29.70
    22683 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22684 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22685 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22686 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22687 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97018   14.22
    22688 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22689 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22690 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   G0283   29.70
    22691 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22692 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22693 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22694 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22695 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22696 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22697 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   G0283   29.70
    22698 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22699 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22700 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22701 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22702 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22703 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22704 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22705 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22706 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22707 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22708 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22709 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22710 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22711 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22712 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22713 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22714 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22715 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22716 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22717 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22718 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22719 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22720 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22721 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22722 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22723 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22724 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22725 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22726 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97010   15.00
    22727 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97012   29.98
    22728 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97035   27.78
    22729 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97110   61.84
    22730 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97530   79.64
    22731 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/15/2021   97140   55.98
    22732 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97112   70.18
    22733 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97530   79.64
    22734 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97140   55.98
    22735 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97010   15.00
    22736 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97012   29.98
    22737 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   G0283   29.70
    22738 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97035   27.78
    22739 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97110   61.84
    22740 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97530   79.64
    22741 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97140   55.98
    22742 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97010   15.00
    22743 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97012   29.98
    22744 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   G0283   29.70
    22745 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97035   27.78
    22746 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97110   61.84
    22747 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97530   79.64
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    22748 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97140    55.98
    22749 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97010    15.00
    22750 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97012    29.98
    22751 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   G0283    29.70
    22752 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97035    27.78
    22753 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97110    61.84
    22754 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97530    79.64
    22755 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97140    55.98
    22756 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97010    15.00
    22757 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97012    29.98
    22758 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   G0283    29.70
    22759 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97035    27.78
    22760 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97110    61.84
    22761 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97530    79.64
    22762 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97140    55.98
    22763 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97010    15.00
    22764 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97012    29.98
    22765 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   G0283    29.70
    22766 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97035    27.78
    22767 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97110    61.84
    22768 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97530    79.64
    22769 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/15/2021   97140    55.98
    22770 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97010    15.00
    22771 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97012    29.98
    22772 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   G0283    29.70
    22773 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97035    27.78
    22774 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97110    61.84
    22775 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97530    79.64
    22776 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97140    55.98
    22777 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97010    15.00
    22778 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97012    29.98
    22779 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   G0283    29.70
    22780 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97035    27.78
    22781 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97110    61.84
    22782 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97530    79.64
    22783 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97140    55.98
    22784 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97010    15.00
    22785 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97012    29.98
    22786 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   G0283    29.70
    22787 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97035    27.78
    22788 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97110    61.84
    22789 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97530    79.64
    22790 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97140    55.98
    22791 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97010    15.00
    22792 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97012    29.98
    22793 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   G0283    29.70
    22794 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97035    27.78
    22795 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97110    61.84
    22796 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97530    79.64
    22797 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97140    55.98
    22798 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97010    15.00
    22799 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97012    29.98
    22800 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   G0283    29.70
    22801 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97035    27.78
    22802 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97110    61.84
    22803 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97530    79.64
    22804 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97140    55.98
    22805 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97010    15.00
    22806 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97012    29.98
    22807 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   G0283    29.70
    22808 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/15/2021   97035    27.78
    22809 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97035    27.78
    22810 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110   123.68
    22811 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97530    79.64
    22812 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140   111.96
    22813 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22814 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22815 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   G0283    29.70
    22816 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97112    70.18
    22817 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110    61.84
    22818 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97530    79.64
    22819 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140    55.98
    22820 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22821 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97035    27.78
    22822 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97112   140.36
    22823 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97530    79.64
    22824 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140   111.96
    22825 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22826 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22827 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97035    27.78
    22828 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110    61.84
    22829 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97112    70.18
    22830 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140   111.96
    22831 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22832 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22833 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   G0283    29.70
    22834 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97112    70.18
    22835 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110    61.84
    22836 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97530    79.64
    22837 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140    55.98
    22838 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22839 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22840 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97035    27.78
    22841 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110    61.84
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    22842 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97112    70.18
    22843 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140   111.96
    22844 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22845 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22846 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   G0283    29.70
    22847 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110    61.84
    22848 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97530    79.64
    22849 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140   111.96
    22850 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22851 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22852 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97112    70.18
    22853 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110    61.84
    22854 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97530    79.64
    22855 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140    55.98
    22856 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   99213   146.60
    22857 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97010    15.00
    22858 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97012    29.98
    22859 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   G0283    29.70
    22860 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97110    61.84
    22861 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97112    70.18
    22862 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97140   111.96
    22863 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97010    15.00
    22864 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97012    29.98
    22865 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   G0283    29.70
    22866 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97112    70.18
    22867 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97530    79.64
    22868 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97140   111.96
    22869 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97010    15.00
    22870 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97012    29.98
    22871 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97035    27.78
    22872 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97110   123.68
    22873 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97530    79.64
    22874 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97140    55.98
    22875 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97010    15.00
    22876 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97012    29.98
    22877 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   G0283    29.70
    22878 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97110    61.84
    22879 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97112    70.18
    22880 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97140   111.96
    22881 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97010    15.00
    22882 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97012    29.98
    22883 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97035    27.78
    22884 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97110    61.84
    22885 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97112   140.36
    22886 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   6/21/2021   97140    55.98
    22887 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97010    15.00
    22888 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97012    29.98
    22889 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   G0283    29.70
    22890 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97035    27.78
    22891 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97110    61.84
    22892 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97140   111.96
    22893 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97010    15.00
    22894 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97012    29.98
    22895 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   G0283    29.70
    22896 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97112    70.18
    22897 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97110    61.84
    22898 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22899 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22900 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97112    70.18
    22901 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97035    27.78
    22902 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110    61.84
    22903 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97530    79.64
    22904 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140    55.98
    22905 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22906 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22907 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97035    27.78
    22908 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110    61.84
    22909 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97530    79.64
    22910 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140   111.96
    22911 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22912 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22913 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97035    27.78
    22914 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110    61.84
    22915 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97530    79.64
    22916 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140   111.96
    22917 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22918 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22919 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97112    70.18
    22920 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97110    61.84
    22921 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97530    79.64
    22922 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97140    55.98
    22923 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97010    15.00
    22924 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   97012    29.98
    22925 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   G0283    29.70
    22926 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97035    27.78
    22927 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97110    61.84
    22928 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97530    79.64
    22929 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140    55.98
    22930 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    22931 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97012    29.98
    22932 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   G0283    29.70
    22933 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97035    27.78
    22934 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97110    61.84
    22935 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97530    79.64
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    22936 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140    55.98
    22937 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    22938 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97012    29.98
    22939 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   G0283    29.70
    22940 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97035    27.78
    22941 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97110    61.84
    22942 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97530    79.64
    22943 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140    55.98
    22944 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    22945 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97012    29.98
    22946 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   G0283    29.70
    22947 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97035    27.78
    22948 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97110    61.84
    22949 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97530    79.64
    22950 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   6/21/2021   97010    15.00
    22951 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   6/21/2021   97012    29.98
    22952 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   6/21/2021   G0283    29.70
    22953 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   6/21/2021   97110    61.84
    22954 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   6/21/2021   97530    79.64
    22955 Himes Walk In Clinic, LLC   8715702100000001   3/3/2021    Bill   6/21/2021   97140    55.98
    22956 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   99213   146.60
    22957 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   6/21/2021   98940    57.70
    22958 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97530    79.64
    22959 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97140    55.98
    22960 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97010    15.00
    22961 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97012    29.98
    22962 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   G0283    29.70
    22963 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97110    61.84
    22964 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97530    79.64
    22965 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97140   111.96
    22966 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97010    15.00
    22967 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97012    29.98
    22968 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97112    70.18
    22969 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97035    27.78
    22970 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97110    61.84
    22971 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97530    79.64
    22972 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97140    55.98
    22973 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97010    15.00
    22974 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97012    29.98
    22975 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   G0283    29.70
    22976 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97112    70.18
    22977 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97110    61.84
    22978 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97530    79.64
    22979 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97140    55.98
    22980 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97010    15.00
    22981 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97012    29.98
    22982 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97035    27.78
    22983 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97110   123.68
    22984 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97140   111.96
    22985 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97010    15.00
    22986 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97012    59.96
    22987 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   G0283    29.70
    22988 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97110    61.84
    22989 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97530    79.64
    22990 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97140    55.98
    22991 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97012    29.98
    22992 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97112   140.36
    22993 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97110    61.84
    22994 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97530    79.64
    22995 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   97140   111.96
    22996 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   6/21/2021   99213   146.60
    22997 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97110    61.84
    22998 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97530    79.64
    22999 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140    55.98
    23000 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97110    61.84
    23001 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97530    79.64
    23002 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140   111.96
    23003 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    23004 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97012    29.98
    23005 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97112    70.18
    23006 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97110    61.84
    23007 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97530    79.64
    23008 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140    55.98
    23009 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    23010 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   G0283    29.70
    23011 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97112    70.18
    23012 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97112    70.18
    23013 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140   111.96
    23014 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    23015 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97012    29.98
    23016 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97112    70.18
    23017 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97035    27.78
    23018 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97112    70.18
    23019 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140    55.98
    23020 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    23021 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97012    29.98
    23022 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   G0283    29.70
    23023 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97035    27.78
    23024 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97530    79.64
    23025 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140    55.98
    23026 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    23027 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97012    29.98
    23028 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   G0283    29.70
    23029 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97035    27.78
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    23030 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140    55.98
    23031 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    23032 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97012    29.98
    23033 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   G0283    29.70
    23034 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97035    27.78
    23035 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97110    61.84
    23036 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   99204   333.26
    23037 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   99080    15.00
    23038 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    23039 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97012    29.98
    23040 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   G0283    29.70
    23041 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97035    27.78
    23042 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97110    61.84
    23043 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97530    79.64
    23044 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97140    55.98
    23045 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97010    15.00
    23046 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   6/21/2021   97012    29.98
    23047 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97110    61.84
    23048 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97112   140.36
    23049 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97530    79.64
    23050 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97012    59.96
    23051 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97035    27.78
    23052 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97110    61.84
    23053 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97112   140.36
    23054 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97530    79.64
    23055 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97012    29.98
    23056 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    G0283    29.70
    23057 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97112   140.36
    23058 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97530    79.64
    23059 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97140   111.96
    23060 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97010    15.00
    23061 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97012    29.98
    23062 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97035    27.78
    23063 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97112   140.36
    23064 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97530    79.64
    23065 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97140    55.98
    23066 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97012    29.98
    23067 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97035    27.78
    23068 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97110    61.84
    23069 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97112   140.36
    23070 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97140   111.96
    23071 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97010    15.00
    23072 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97033    41.64
    23073 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97035    27.78
    23074 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97110    61.84
    23075 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97112   140.36
    23076 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97530    79.64
    23077 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97010    15.00
    23078 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97012    29.98
    23079 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    G0283    29.70
    23080 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97112    70.18
    23081 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97530    79.64
    23082 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97140    55.98
    23083 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97010    15.00
    23084 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97012    29.98
    23085 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    G0283    29.70
    23086 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97035    27.78
    23087 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97112    70.18
    23088 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021    97140    55.98
    23089 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97010    15.00
    23090 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97012    29.98
    23091 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97033    41.64
    23092 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97035    27.78
    23093 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97112   140.36
    23094 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97530    79.64
    23095 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97012    29.98
    23096 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    G0283    29.70
    23097 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97112   140.36
    23098 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97530    79.64
    23099 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97140   111.96
    23100 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97010    15.00
    23101 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97035    27.78
    23102 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97110   123.68
    23103 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97112   140.36
    23104 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97530    79.64
    23105 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97012    29.98
    23106 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    G0283    29.70
    23107 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97033    41.64
    23108 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97110    61.84
    23109 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97112   140.36
    23110 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/6/2021    97530    79.64
    23111 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97110    61.84
    23112 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97112    70.18
    23113 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97140    55.98
    23114 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021    97010    15.00
    23115 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021    G0283    29.70
    23116 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021    97033    41.64
    23117 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021    97110    61.84
    23118 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021    97530    79.64
    23119 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021    97112   140.36
    23120 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021    97012    59.96
    23121 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021    97033    41.64
    23122 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021    97110   123.68
    23123 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021    97530    79.64
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    23124 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97140    55.98
    23125 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97010    15.00
    23126 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97012    29.98
    23127 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   G0283    29.70
    23128 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97112    70.18
    23129 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97110    61.84
    23130 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97530    79.64
    23131 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97140    55.98
    23132 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97010    15.00
    23133 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97033    41.64
    23134 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97112   140.36
    23135 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97530    79.64
    23136 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97140   111.96
    23137 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97012    59.96
    23138 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   G0283    29.70
    23139 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97033    41.64
    23140 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97110   123.68
    23141 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97530    79.64
    23142 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97010    15.00
    23143 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97035    27.78
    23144 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97110   123.68
    23145 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97112   140.36
    23146 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97530    79.64
    23147 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97010    15.00
    23148 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97110    61.84
    23149 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97112    70.18
    23150 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97530    79.64
    23151 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97140   111.96
    23152 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97010    15.00
    23153 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97012    29.98
    23154 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97035    27.78
    23155 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97110   123.68
    23156 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97112   140.36
    23157 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97012    59.96
    23158 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   G0283    29.70
    23159 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97033    41.64
    23160 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97110    61.84
    23161 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97112   140.36
    23162 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97010    15.00
    23163 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97012    29.98
    23164 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97035    27.78
    23165 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97110   123.68
    23166 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97112   140.36
    23167 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97010    15.00
    23168 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97012    29.98
    23169 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   G0283    29.70
    23170 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97110   123.68
    23171 Himes Walk In Clinic, LLC   8709643040000001   3/14/2021   Bill   7/6/2021   97140   111.96
    23172 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   G0283    29.70
    23173 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97110    61.84
    23174 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97112   140.36
    23175 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97530    79.64
    23176 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97140   111.96
    23177 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97010    15.00
    23178 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97012    59.96
    23179 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97035    27.78
    23180 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97110    61.84
    23181 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97530    79.64
    23182 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97140    55.98
    23183 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97012    59.96
    23184 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   G0283    29.70
    23185 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97110   123.68
    23186 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/6/2021   97112   140.36
    23187 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97012    29.98
    23188 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97110    61.84
    23189 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97112   140.36
    23190 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97530    79.64
    23191 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97140   111.96
    23192 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97012    59.96
    23193 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   G0283    29.70
    23194 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97112   140.36
    23195 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97530    79.64
    23196 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97140    55.98
    23197 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97010    15.00
    23198 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97033    41.64
    23199 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97110   123.68
    23200 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97530    79.64
    23201 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97140   111.96
    23202 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97012    59.96
    23203 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/6/2021   97035    27.78
    23204 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   99204   333.26
    23205 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   99080    15.00
    23206 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97010    15.00
    23207 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97012    29.98
    23208 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97112    70.18
    23209 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97035    27.78
    23210 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97110    61.84
    23211 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97530    79.64
    23212 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97140    55.98
    23213 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97010    15.00
    23214 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97012    29.98
    23215 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   G0283    29.70
    23216 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97110    61.84
    23217 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021   97530    79.64
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    23218 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97140   111.96
    23219 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97010    15.00
    23220 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97012    29.98
    23221 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97035    27.78
    23222 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97112   140.36
    23223 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97530    79.64
    23224 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97140    55.98
    23225 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97010    15.00
    23226 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97033    41.64
    23227 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97035    55.56
    23228 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97110    61.84
    23229 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97112   140.36
    23230 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97140    55.98
    23231 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97012    29.98
    23232 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97035    27.78
    23233 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97110    61.84
    23234 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97112   140.36
    23235 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97530    79.64
    23236 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97140   111.96
    23237 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    G0283    29.70
    23238 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97033    41.64
    23239 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97110    61.84
    23240 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97112    70.18
    23241 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97530    79.64
    23242 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97140   111.96
    23243 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97010    15.00
    23244 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97012    29.98
    23245 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97035    27.78
    23246 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97112   140.36
    23247 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97530    79.64
    23248 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97140    55.98
    23249 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97010    15.00
    23250 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97012    29.98
    23251 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97035    27.78
    23252 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97110    61.84
    23253 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97530    79.64
    23254 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97140   111.96
    23255 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97010    15.00
    23256 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97012    59.96
    23257 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    G0283    29.70
    23258 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97033    41.64
    23259 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97110    61.84
    23260 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97530    79.64
    23261 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97010    30.00
    23262 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97012    29.98
    23263 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97112    70.18
    23264 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97530    79.64
    23265 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97140   111.96
    23266 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97012    59.96
    23267 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    G0283    29.70
    23268 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97112   140.36
    23269 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97530    79.64
    23270 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97140    55.98
    23271 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97010    15.00
    23272 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97012    29.98
    23273 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    G0283    29.70
    23274 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/6/2021    97035    27.78
    23275 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   G0283    26.02
    23276 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112   138.00
    23277 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97530   153.24
    23278 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23279 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97012    29.58
    23280 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    57.52
    23281 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97110   119.24
    23282 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97530    76.62
    23283 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23284 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    30.00
    23285 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97012    29.58
    23286 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    28.76
    23287 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112   138.00
    23288 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23289 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97012    59.16
    23290 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    57.52
    23291 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97110   119.24
    23292 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97530    76.62
    23293 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23294 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97033    40.12
    23295 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    28.76
    23296 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97110   119.24
    23297 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140   109.88
    23298 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97012    29.58
    23299 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97035    28.76
    23300 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97110   119.24
    23301 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97112   138.00
    23302 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97530    76.62
    23303 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97010    30.00
    23304 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97012    29.58
    23305 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   G0283    26.02
    23306 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97110   119.24
    23307 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97530    76.62
    23308 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97010    15.00
    23309 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97012    59.16
    23310 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97033    40.12
    23311 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97110    59.62
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    23312 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97530   153.24
    23313 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97010    15.00
    23314 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   G0283    26.02
    23315 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97110   119.24
    23316 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97112   138.00
    23317 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   7/19/2021   97530    76.62
    23318 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   99213   182.64
    23319 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97012    29.58
    23320 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97035    28.76
    23321 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97112   138.00
    23322 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97530    76.62
    23323 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97140   109.88
    23324 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97010    15.00
    23325 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97012    29.58
    23326 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   G0283    26.02
    23327 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97110    59.62
    23328 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97530   153.24
    23329 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97140    54.94
    23330 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   G0283    26.02
    23331 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97033    40.12
    23332 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97112    69.00
    23333 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97530   153.24
    23334 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97140   109.88
    23335 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97010    15.00
    23336 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97012    29.58
    23337 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97035    28.76
    23338 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97110    59.62
    23339 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97112   138.00
    23340 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97530    76.62
    23341 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97010    15.00
    23342 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   G0283    26.02
    23343 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97112   138.00
    23344 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97530   153.24
    23345 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97140    54.94
    23346 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97010    15.00
    23347 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97012    59.16
    23348 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97035    28.76
    23349 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97110   119.24
    23350 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   7/19/2021   97530    76.62
    23351 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97035    28.76
    23352 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97112   138.00
    23353 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97530    76.62
    23354 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97140    54.94
    23355 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97010    15.00
    23356 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97033    40.12
    23357 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97035    28.76
    23358 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97110   119.24
    23359 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97112    69.00
    23360 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97530    76.62
    23361 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97012    59.16
    23362 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   G0283    26.02
    23363 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97110    59.62
    23364 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97530    76.62
    23365 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97140   109.88
    23366 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97012    29.58
    23367 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   G0283    26.02
    23368 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97033    40.12
    23369 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97110   119.24
    23370 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97530    76.62
    23371 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97140    54.94
    23372 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97010    15.00
    23373 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97012    29.58
    23374 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   G0283    26.02
    23375 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97110   119.24
    23376 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97112   138.00
    23377 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97010    15.00
    23378 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97012    29.58
    23379 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   G0283    26.02
    23380 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97110   119.24
    23381 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97112   138.00
    23382 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   99204   338.16
    23383 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   99080    50.00
    23384 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23385 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97012    29.58
    23386 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   G0283    26.02
    23387 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    28.76
    23388 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112    69.00
    23389 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97535    66.18
    23390 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23391 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23392 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97012    29.58
    23393 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   G0283    52.04
    23394 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97033    40.12
    23395 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112    69.00
    23396 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23397 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23398 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97012    29.58
    23399 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   G0283    26.02
    23400 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    28.76
    23401 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97033    40.12
    23402 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112    69.00
    23403 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23404 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23405 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97033    40.12
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    23406 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    28.76
    23407 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97110   119.24
    23408 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112    69.00
    23409 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23410 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   G0283    26.02
    23411 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97110    59.62
    23412 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112   138.00
    23413 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97530   153.24
    23414 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23415 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23416 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97033    40.12
    23417 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    28.76
    23418 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97110   119.24
    23419 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112   138.00
    23420 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97012    59.16
    23421 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   G0283    26.02
    23422 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97110   119.24
    23423 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97530    76.62
    23424 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23425 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   G0283    26.02
    23426 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97033    40.12
    23427 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112   138.00
    23428 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97530    76.62
    23429 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23430 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   99204   338.16
    23431 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   99080    50.00
    23432 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23433 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97012    29.58
    23434 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   G0283    26.02
    23435 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    28.76
    23436 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112    69.00
    23437 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97535    66.18
    23438 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23439 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23440 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97012    29.58
    23441 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   G0283    26.02
    23442 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    28.76
    23443 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97530    76.62
    23444 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140   109.88
    23445 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23446 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97012    29.58
    23447 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   G0283    26.02
    23448 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97035    28.76
    23449 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97110    59.62
    23450 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97112    69.00
    23451 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97140    54.94
    23452 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   7/19/2021   97010    15.00
    23453 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97010    15.00
    23454 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   G0283    26.02
    23455 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97018    12.16
    23456 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97112    69.00
    23457 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97530    76.62
    23458 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97140   109.88
    23459 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97012    29.58
    23460 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97035    28.76
    23461 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97110   119.24
    23462 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97112   138.00
    23463 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97530    76.62
    23464 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97010    15.00
    23465 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97012    59.16
    23466 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   G0283    26.02
    23467 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97033    40.12
    23468 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97110    59.62
    23469 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97140    54.94
    23470 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   G0283    26.02
    23471 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97110   119.24
    23472 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97112   138.00
    23473 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97530    76.62
    23474 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97140    54.94
    23475 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97010    15.00
    23476 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97012    59.16
    23477 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97033    40.12
    23478 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97035    28.76
    23479 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97140   109.88
    23480 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97010    30.00
    23481 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97035    57.52
    23482 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97110   119.24
    23483 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   7/19/2021   97530    76.62
    23484 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   99204   338.16
    23485 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   99080    50.00
    23486 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97010    15.00
    23487 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97012    29.58
    23488 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   G0283    26.02
    23489 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97035    28.76
    23490 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97112    69.00
    23491 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97535    66.18
    23492 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97140    54.94
    23493 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97010    15.00
    23494 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97012    29.58
    23495 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97033    40.12
    23496 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97112   138.00
    23497 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97530    76.62
    23498 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97140    54.94
    23499 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97035    28.76
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    23500 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97112   138.00
    23501 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97530   153.24
    23502 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97140    54.94
    23503 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97012    29.58
    23504 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   G0283    26.02
    23505 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97110   119.24
    23506 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97112   138.00
    23507 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97530    76.62
    23508 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97010    15.00
    23509 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   G0283    26.02
    23510 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97033    40.12
    23511 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97110   119.24
    23512 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97112   138.00
    23513 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97012    59.16
    23514 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97035    28.76
    23515 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97110    59.62
    23516 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97530   153.24
    23517 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   7/19/2021   97140    54.94
    23518 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97010    15.00
    23519 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   G0283    26.02
    23520 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97110   119.24
    23521 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97112   138.00
    23522 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97530    76.62
    23523 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   7/19/2021   97012    59.16
    23524 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97012    59.16
    23525 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97110    59.62
    23526 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97530    76.62
    23527 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97140    54.94
    23528 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97012    29.58
    23529 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97033    40.12
    23530 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97035    57.52
    23531 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97112    69.00
    23532 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97530    76.62
    23533 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97010    30.00
    23534 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97012    29.58
    23535 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97018    12.16
    23536 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97112   138.00
    23537 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97530    76.62
    23538 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97140    54.94
    23539 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97010    15.00
    23540 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    G0283    26.02
    23541 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97033    40.12
    23542 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97110   119.24
    23543 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97530    76.62
    23544 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97140    54.94
    23545 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97010    15.00
    23546 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97012    29.58
    23547 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97110    59.62
    23548 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97112   138.00
    23549 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97530    76.62
    23550 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97140    54.94
    23551 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97010    15.00
    23552 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97010    15.00
    23553 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97012    29.58
    23554 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    G0283    26.02
    23555 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97033    40.12
    23556 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97112   138.00
    23557 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97010    15.00
    23558 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97010    15.00
    23559 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    G0283    26.02
    23560 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97035    28.76
    23561 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97110    59.62
    23562 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97112   138.00
    23563 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97530    76.62
    23564 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97012    29.58
    23565 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97018    12.16
    23566 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97035    28.76
    23567 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97110    59.62
    23568 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97112   138.00
    23569 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/6/2021    97530    76.62
    23570 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97012    29.58
    23571 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    G0283    26.02
    23572 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97018    12.16
    23573 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97110    59.62
    23574 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97112   138.00
    23575 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97530    76.62
    23576 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97010    15.00
    23577 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97012    29.58
    23578 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97035    28.76
    23579 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97110   119.24
    23580 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97530    76.62
    23581 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97140    54.94
    23582 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97010    15.00
    23583 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97012    29.58
    23584 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97035    28.76
    23585 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97110    59.62
    23586 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97112   138.00
    23587 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97530    76.62
    23588 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97010    15.00
    23589 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97012    29.58
    23590 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    G0283    26.02
    23591 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97033    40.12
    23592 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97112   138.00
    23593 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021    97530    76.62
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    23594 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97010    15.00
    23595 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97012    29.58
    23596 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97018    12.16
    23597 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97035    28.76
    23598 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97110   119.24
    23599 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97530    76.62
    23600 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97010    15.00
    23601 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97012    29.58
    23602 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   G0283    26.02
    23603 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97110    59.62
    23604 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97112   138.00
    23605 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97530    76.62
    23606 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97010    15.00
    23607 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97012    29.58
    23608 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   G0283    26.02
    23609 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97033    40.12
    23610 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97110   119.24
    23611 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   97530    76.62
    23612 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97012    59.16
    23613 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   G0283    26.02
    23614 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97110   119.24
    23615 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530   153.24
    23616 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   G0283    26.02
    23617 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97033    40.12
    23618 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97110    59.62
    23619 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97112   138.00
    23620 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97530    76.62
    23621 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97010    15.00
    23622 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97012    29.58
    23623 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97035    28.76
    23624 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97110    59.62
    23625 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97112    69.00
    23626 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97530   153.24
    23627 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97012    29.58
    23628 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   G0283    26.02
    23629 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97033    40.12
    23630 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97110    59.62
    23631 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97112   138.00
    23632 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97530    76.62
    23633 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97010    15.00
    23634 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97012    29.58
    23635 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97035    28.76
    23636 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97110    59.62
    23637 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97112    69.00
    23638 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97530   153.24
    23639 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97010    15.00
    23640 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97012    29.58
    23641 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97110   119.24
    23642 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97112   138.00
    23643 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97530    76.62
    23644 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97010    15.00
    23645 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97012    59.16
    23646 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   G0283    26.02
    23647 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97033    40.12
    23648 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97110    59.62
    23649 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97530    76.62
    23650 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97010    15.00
    23651 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97035    57.52
    23652 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97110    59.62
    23653 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97112   138.00
    23654 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97530    76.62
    23655 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97010    15.00
    23656 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97012    59.16
    23657 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97110    59.62
    23658 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97112    69.00
    23659 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97530   153.24
    23660 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/6/2021   99213   182.64
    23661 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97010    15.00
    23662 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97012    29.58
    23663 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   G0283    26.02
    23664 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97110   119.24
    23665 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97112   138.00
    23666 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97010    15.00
    23667 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97012    29.58
    23668 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97033    40.12
    23669 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97035    28.76
    23670 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97110    59.62
    23671 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97530    76.62
    23672 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   8/6/2021   97140    54.94
    23673 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97012    29.58
    23674 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97035    28.76
    23675 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97110   119.24
    23676 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97112   138.00
    23677 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530    76.62
    23678 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97010    15.00
    23679 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97033    40.12
    23680 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97035    28.76
    23681 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97110    59.62
    23682 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97112   138.00
    23683 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530    76.62
    23684 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97010    15.00
    23685 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97012    29.58
    23686 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   G0283    26.02
    23687 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97110   119.24
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    23688 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530    76.62
    23689 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97140    54.94
    23690 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97010    15.00
    23691 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   G0283    26.02
    23692 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97033    40.12
    23693 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97112   138.00
    23694 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530    76.62
    23695 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97140    54.94
    23696 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97012    29.58
    23697 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97035    28.76
    23698 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97110   119.24
    23699 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97112   138.00
    23700 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530    76.62
    23701 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97010    15.00
    23702 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97012    29.58
    23703 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   G0283    26.02
    23704 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97110    59.62
    23705 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97112   138.00
    23706 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530    76.62
    23707 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97010    15.00
    23708 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97012    29.58
    23709 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97033    40.12
    23710 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97035    28.76
    23711 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530    76.62
    23712 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97140    54.94
    23713 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97012    59.46
    23714 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97033    40.12
    23715 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97035    28.76
    23716 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97110   119.24
    23717 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97530    76.62
    23718 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97010    15.00
    23719 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97012    29.58
    23720 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   G0283    26.02
    23721 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97110   119.24
    23722 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97112   138.00
    23723 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97010    15.00
    23724 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97012    29.58
    23725 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97035    28.76
    23726 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97110    59.62
    23727 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97112   138.00
    23728 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97530    76.62
    23729 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   G0283    26.02
    23730 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97033    40.12
    23731 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97110    59.62
    23732 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97112   138.00
    23733 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97530    76.62
    23734 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97140    54.64
    23735 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97010    15.00
    23736 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97012    29.58
    23737 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   G0283    26.02
    23738 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97110    59.62
    23739 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97530    76.62
    23740 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97112   138.00
    23741 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97010    15.00
    23742 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97012    29.58
    23743 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97110   119.24
    23744 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97530    76.62
    23745 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/6/2021   97140   109.88
    23746 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97010    15.00
    23747 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97012    29.58
    23748 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97033    40.12
    23749 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97110    59.62
    23750 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97112   138.00
    23751 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97530    76.62
    23752 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97012    59.16
    23753 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   G0283    26.02
    23754 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97110    59.62
    23755 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97112   138.00
    23756 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97530    76.62
    23757 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/6/2021   97010    15.00
    23758 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97010    15.00
    23759 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97035    57.52
    23760 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97110    59.62
    23761 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97112   138.00
    23762 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530    76.62
    23763 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97012    29.58
    23764 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   G0283    26.02
    23765 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97033    40.12
    23766 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97110   119.24
    23767 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97140   109.88
    23768 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97010    15.00
    23769 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97012    29.58
    23770 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97035    57.52
    23771 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97110    59.62
    23772 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97112    69.00
    23773 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530    76.62
    23774 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   G0283    26.02
    23775 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97018    24.32
    23776 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97033    40.12
    23777 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97110    59.62
    23778 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97112    69.00
    23779 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97530    76.62
    23780 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97010    15.00
    23781 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021   97012    29.58
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    23782 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021    G0283    26.02
    23783 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021    97110    59.62
    23784 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021    97112   138.00
    23785 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/6/2021    97530    76.62
    23786 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97033    40.12
    23787 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97112   138.00
    23788 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530   153.24
    23789 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97140    54.94
    23790 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23791 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23792 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97035    28.76
    23793 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97110    59.62
    23794 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530    76.62
    23795 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97140   109.88
    23796 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23797 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23798 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   G0283    26.02
    23799 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97033    40.12
    23800 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530    76.62
    23801 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97140   109.88
    23802 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23803 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    59.16
    23804 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97033    40.12
    23805 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97112    69.00
    23806 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530    76.62
    23807 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97140    54.94
    23808 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23809 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23810 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   G0283    26.02
    23811 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97033    40.12
    23812 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97110   119.24
    23813 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530    76.62
    23814 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23815 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23816 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97035    28.76
    23817 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97112   138.00
    23818 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530    76.62
    23819 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97140    54.94
    23820 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23821 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23822 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97110   119.24
    23823 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97112    69.00
    23824 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530   153.24
    23825 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   G0283    26.02
    23826 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97035    57.52
    23827 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97110    59.62
    23828 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97112    69.00
    23829 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530    76.62
    23830 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97140    54.94
    23831 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97112    69.00
    23832 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97140   109.88
    23833 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   99215   363.22
    23834 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   99080    50.00
    23835 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23836 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97033    40.12
    23837 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97112   138.00
    23838 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530   153.24
    23839 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97140    54.94
    23840 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    30.00
    23841 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23842 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97018    24.32
    23843 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97110    59.62
    23844 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97112    69.00
    23845 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23846 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23847 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   G0283    26.02
    23848 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97033    40.12
    23849 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97110    59.62
    23850 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97112    69.00
    23851 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97140    54.94
    23852 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23853 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23854 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   G0283    26.02
    23855 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97033    40.12
    23856 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97112    69.00
    23857 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97140   109.88
    23858 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23859 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    59.16
    23860 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97110   119.24
    23861 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530    76.62
    23862 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97140    54.94
    23863 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23864 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23865 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   G0283    52.04
    23866 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97110   119.24
    23867 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530    76.62
    23868 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    30.00
    23869 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    29.58
    23870 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97018    12.16
    23871 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97110   119.24
    23872 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530    76.62
    23873 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97010    15.00
    23874 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97012    59.16
    23875 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97035    57.52
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    23876 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97110    59.62
    23877 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   97530    76.62
    23878 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   99204   338.16
    23879 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   99080    50.00
    23880 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97010    15.00
    23881 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97012    29.58
    23882 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   G0283    26.02
    23883 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97035    28.76
    23884 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97033    40.12
    23885 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97112    69.00
    23886 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97140    54.94
    23887 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97535    66.18
    23888 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97010    15.00
    23889 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97012    29.58
    23890 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   G0283    26.02
    23891 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97035    28.76
    23892 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97033    40.12
    23893 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97112    76.62
    23894 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97140    54.94
    23895 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97010    15.00
    23896 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97012    59.16
    23897 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   G0283    26.02
    23898 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97035    28.76
    23899 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97112    69.00
    23900 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97140    54.94
    23901 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97010    15.00
    23902 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97012    29.58
    23903 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   G0283    26.02
    23904 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97033    40.12
    23905 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97035    28.76
    23906 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97110    59.62
    23907 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97140    54.94
    23908 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97010    15.00
    23909 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97012    29.58
    23910 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   G0283    26.02
    23911 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97018    12.16
    23912 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97112   138.00
    23913 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97530    76.62
    23914 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97010    15.00
    23915 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97012    29.58
    23916 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97035    28.76
    23917 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97110   119.24
    23918 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97112   138.00
    23919 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97010    15.00
    23920 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97012    29.58
    23921 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   G0283    26.02
    23922 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97035      ‐
    23923 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97110    59.62
    23924 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97530    76.62
    23925 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97010    15.00
    23926 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97012    59.16
    23927 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   G0283    26.02
    23928 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97110    59.62
    23929 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   8/20/2021   97112   138.00
    23930 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   8/20/2021   G0283    26.02
    23931 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97010    15.00
    23932 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97012    59.16
    23933 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   G0283    26.02
    23934 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97033    40.12
    23935 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97110   119.24
    23936 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97010    15.00
    23937 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97012    29.58
    23938 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97110    59.62
    23939 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97112   138.00
    23940 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97530    76.62
    23941 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97140    54.94
    23942 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97035    57.52
    23943 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97110    59.62
    23944 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97112    69.00
    23945 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97530    76.62
    23946 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97140    54.94
    23947 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97010    15.00
    23948 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97012    29.58
    23949 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   G0283    26.02
    23950 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97110    59.62
    23951 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97112   138.00
    23952 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97530    76.62
    23953 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97010    15.00
    23954 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97012    29.58
    23955 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   G0283    26.02
    23956 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97110    59.62
    23957 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97112   138.00
    23958 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   8/20/2021   97530    76.62
    23959 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97010    15.00
    23960 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97012    29.58
    23961 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97110   119.24
    23962 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97112   138.00
    23963 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97530    76.62
    23964 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97010    15.00
    23965 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97010    29.58
    23966 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97033    40.12
    23967 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97035    57.52
    23968 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97035    76.62
    23969 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97140    54.94
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    23970 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97010    15.00
    23971 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97012    59.16
    23972 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97035    57.52
    23973 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97112    69.00
    23974 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97530    76.62
    23975 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   G0283    52.04
    23976 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97110    59.62
    23977 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97112   138.00
    23978 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97530    76.62
    23979 Himes Walk In Clinic, LLC   8712034920000001   4/22/2021   Bill   8/20/2021   97140    54.94
    23980 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97010    15.00
    23981 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97012    29.58
    23982 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   G0283    26.02
    23983 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97033    40.12
    23984 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97035    28.76
    23985 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97530    76.62
    23986 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97140    54.94
    23987 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97010    15.00
    23988 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97012    29.58
    23989 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97033    40.12
    23990 Himes Walk In Clinic, LLC   0232606030101179   5/17/2021   Bill   8/20/2021   97110    59.62
    23991 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97012    29.58
    23992 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   G0283    26.02
    23993 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97035    28.76
    23994 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97110    59.62
    23995 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97112   138.00
    23996 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97010    15.00
    23997 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97012    29.58
    23998 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   G0283    26.02
    23999 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97033    40.12
    24000 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97035    28.76
    24001 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97112    69.00
    24002 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97140    54.94
    24003 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97010    15.00
    24004 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97012    59.16
    24005 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97033    40.12
    24006 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97110   119.24
    24007 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97530    76.62
    24008 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97010    15.00
    24009 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   G0283    26.02
    24010 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97110    59.62
    24011 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97112   138.00
    24012 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97530    76.62
    24013 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97140    54.94
    24014 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97010    15.00
    24015 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97012    29.58
    24016 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   G0283    52.04
    24017 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97110    59.62
    24018 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97530    76.62
    24019 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97140    54.94
    24020 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97010    15.00
    24021 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97012    29.58
    24022 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97033    40.12
    24023 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97035    28.76
    24024 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97112   138.00
    24025 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97530    76.62
    24026 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97010    15.00
    24027 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97012    59.16
    24028 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   G0283    26.02
    24029 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97110    59.62
    24030 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97530   153.24
    24031 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97010    15.00
    24032 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97110   119.24
    24033 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97112   138.00
    24034 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97530   153.24
    24035 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97010    15.00
    24036 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97012    29.58
    24037 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   G0283    26.02
    24038 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97033    40.12
    24039 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97110    59.62
    24040 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97112    69.00
    24041 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97140    54.94
    24042 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97010    15.00
    24043 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97012    29.58
    24044 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   G0283    26.02
    24045 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97035    28.76
    24046 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97110    59.62
    24047 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97112    69.00
    24048 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97140    54.94
    24049 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97010    15.00
    24050 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97012    59.16
    24051 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97035    28.76
    24052 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97110    59.62
    24053 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97112   138.00
    24054 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97010    15.00
    24055 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97012    29.58
    24056 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97033    40.12
    24057 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97035    28.76
    24058 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97530    76.62
    24059 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97140   109.88
    24060 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97010    15.00
    24061 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97012    29.58
    24062 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   G0283    26.02
    24063 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97110   119.24
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    24064 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97530    76.62
    24065 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   8/20/2021   97140    54.94
    24066 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   99203   225.62
    24067 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97010    15.00
    24068 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97012    59.16
    24069 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   G0283    26.02
    24070 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97112   138.00
    24071 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97530    76.62
    24072 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97010    15.00
    24073 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97012    29.58
    24074 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97035    28.76
    24075 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97110    59.62
    24076 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97530   153.24
    24077 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97140    54.94
    24078 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97012    29.58
    24079 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   G0283    26.02
    24080 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97033    40.12
    24081 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97110    59.62
    24082 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97112   138.00
    24083 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97530    76.62
    24084 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97010    15.00
    24085 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97012    29.58
    24086 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   G0283    26.02
    24087 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97110    59.62
    24088 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97530   153.24
    24089 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97140    54.94
    24090 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   8/20/2021   97010    15.00
    24091 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97010    30.00
    24092 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    G0283    26.02
    24093 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97035    57.52
    24094 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97112    69.00
    24095 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97530    76.62
    24096 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    59.16
    24097 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97033    40.12
    24098 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97110   119.24
    24099 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97112    69.00
    24100 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97530    76.62
    24101 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97010    30.00
    24102 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    29.58
    24103 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    G0283    26.02
    24104 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97035    57.52
    24105 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97110    59.62
    24106 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97010    15.00
    24107 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    29.58
    24108 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97033    40.12
    24109 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97035    57.52
    24110 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97110    59.62
    24111 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97112    69.00
    24112 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97010    30.00
    24113 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    29.58
    24114 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    G0283    26.02
    24115 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97110    59.62
    24116 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97112    69.00
    24117 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97530    76.62
    24118 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97010    15.00
    24119 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    29.58
    24120 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    G0283    26.02
    24121 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97033    40.12
    24122 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97110   119.24
    24123 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97530    76.62
    24124 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    G0283    26.02
    24125 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97033    40.12
    24126 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97110   119.24
    24127 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97112    69.00
    24128 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97010    15.00
    24129 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97012    29.58
    24130 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    G0283    26.02
    24131 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97033    40.12
    24132 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97110    59.62
    24133 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97530    76.62
    24134 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97140    54.94
    24135 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97012    59.16
    24136 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97112   138.00
    24137 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97530   153.24
    24138 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97010    15.00
    24139 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97012    29.58
    24140 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    G0283    26.02
    24141 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97035    28.76
    24142 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97112   138.00
    24143 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97530    76.62
    24144 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97010    30.00
    24145 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97012    29.58
    24146 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    G0283    26.02
    24147 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97033    40.12
    24148 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97110   119.24
    24149 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97010    15.00
    24150 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97012    29.58
    24151 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    G0283    26.02
    24152 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97035    28.76
    24153 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97110    59.62
    24154 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97112   138.00
    24155 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97010    15.00
    24156 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    97012    29.58
    24157 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021    G0283    26.02
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    24158 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97033    40.12
    24159 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110   119.24
    24160 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24161 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24162 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24163 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   G0283    26.02
    24164 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97035    28.76
    24165 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97112   138.00
    24166 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24167 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24168 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24169 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97035    57.52
    24170 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110   119.24
    24171 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24172 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24173 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97033    40.12
    24174 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97035    57.52
    24175 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97112   138.00
    24176 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24177 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24178 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24179 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   G0283    26.02
    24180 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110    59.62
    24181 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530   153.24
    24182 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   99203   225.62
    24183 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   99070    35.00
    24184 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24185 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24186 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110   119.24
    24187 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97112   138.00
    24188 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24189 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    59.16
    24190 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97035    57.52
    24191 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110    59.62
    24192 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24193 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97140    54.94
    24194 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24195 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24196 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   G0283    26.02
    24197 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110   119.24
    24198 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97112    69.00
    24199 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24200 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24201 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    59.16
    24202 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97033    40.12
    24203 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110   119.24
    24204 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97112    69.00
    24205 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24206 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24207 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   G0283    52.04
    24208 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110    59.62
    24209 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24210 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97140    54.94
    24211 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24212 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   G0283    26.02
    24213 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110    59.62
    24214 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97112   138.00
    24215 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24216 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97140    54.94
    24217 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    30.00
    24218 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    59.16
    24219 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   G0283    26.02
    24220 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97033    40.12
    24221 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110    59.62
    24222 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24223 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24224 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97033    40.12
    24225 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110   119.24
    24226 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97112    69.00
    24227 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24228 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24229 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24230 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   G0283    26.02
    24231 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97035    57.52
    24232 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110    59.62
    24233 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97112    69.00
    24234 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24235 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24236 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97010    15.00
    24237 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97012    59.16
    24238 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   G0283    26.02
    24239 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97110    59.62
    24240 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97112   138.00
    24241 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97010    15.00
    24242 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97012    29.58
    24243 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   G0283    26.02
    24244 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97033    40.12
    24245 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97035    57.52
    24246 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97110    59.62
    24247 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97010    15.00
    24248 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97012    59.16
    24249 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   G0283    26.02
    24250 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97110    59.62
    24251 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97530    76.62
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    24252 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97140    54.94
    24253 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97010    15.00
    24254 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97012    29.58
    24255 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97035    28.76
    24256 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97110    59.62
    24257 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97112   138.00
    24258 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021   97530    76.62
    24259 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021   99213   182.64
    24260 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021   98940    55.38
    24261 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97010    15.00
    24262 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97012    29.58
    24263 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   G0283    26.02
    24264 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97110    59.62
    24265 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97530   153.24
    24266 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97140    54.94
    24267 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97010    15.00
    24268 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97012    59.16
    24269 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   G0283    26.02
    24270 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97110    59.62
    24271 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97112   138.00
    24272 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97033    40.12
    24273 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97035    57.52
    24274 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97110    59.62
    24275 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97530   153.24
    24276 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97140    54.94
    24277 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97010    15.00
    24278 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97012    29.58
    24279 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   G0283    26.02
    24280 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97033    40.12
    24281 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97110   119.24
    24282 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97112    69.00
    24283 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97010    15.00
    24284 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97012    59.16
    24285 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   G0283    26.02
    24286 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97112    69.00
    24287 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97530    76.62
    24288 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97140    54.94
    24289 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97010    15.00
    24290 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97012    29.58
    24291 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97110    59.62
    24292 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97112   138.00
    24293 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/3/2021   97530   153.24
    24294 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97010    15.00
    24295 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97012    29.58
    24296 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   G0283    26.02
    24297 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97110   119.24
    24298 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97530    76.62
    24299 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97140    54.94
    24300 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97010    30.00
    24301 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97012    59.16
    24302 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97035    28.76
    24303 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97112   138.00
    24304 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97012    29.58
    24305 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97033    40.12
    24306 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97035    57.52
    24307 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97112   138.00
    24308 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97530    76.62
    24309 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97010    15.00
    24310 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   G0283    26.02
    24311 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97035    57.52
    24312 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97110    59.62
    24313 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97112   138.00
    24314 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97010    15.00
    24315 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97012    59.16
    24316 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97033    40.12
    24317 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97110   119.24
    24318 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97530    76.62
    24319 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97010    30.00
    24320 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97012    29.58
    24321 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97110    59.62
    24322 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97112   138.00
    24323 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/3/2021   97530    76.62
    24324 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   99203   225.62
    24325 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24326 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97012    29.58
    24327 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   G0283    26.02
    24328 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97112   138.00
    24329 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530   153.24
    24330 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24331 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   G0283    26.02
    24332 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97110   119.24
    24333 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97112    69.00
    24334 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97530    76.62
    24335 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97140    54.94
    24336 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/3/2021   97010    15.00
    24337 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021   97035    28.76
    24338 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021   97110    59.62
    24339 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021   97112   138.00
    24340 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021   97530   153.24
    24341 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021   97140    54.94
    24342 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021   97010    15.00
    24343 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021   97012    29.58
    24344 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021   G0283    26.02
    24345 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021   97032    40.12
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    24346 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97110   119.24
    24347 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97112    69.00
    24348 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97012    29.58
    24349 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    G0283    26.02
    24350 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97110   119.24
    24351 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97112    69.00
    24352 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97530    76.62
    24353 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97010    15.00
    24354 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97012    29.58
    24355 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97035    57.52
    24356 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97112   138.00
    24357 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97530    76.62
    24358 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97010    15.00
    24359 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97012    29.58
    24360 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    G0283    26.02
    24361 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97110    59.62
    24362 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97530    76.62
    24363 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97140   109.88
    24364 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97110    59.62
    24365 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97530    76.62
    24366 Himes Walk In Clinic, LLC   0543219060101032   7/21/2021   Bill   9/3/2021    97140   109.88
    24367 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97010    15.00
    24368 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97012    29.58
    24369 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97035    28.76
    24370 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97110   119.24
    24371 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97112   138.00
    24372 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97010    15.00
    24373 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97012    29.58
    24374 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    G0283    26.02
    24375 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97035    57.52
    24376 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97110    59.62
    24377 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97530    76.62
    24378 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97010    15.00
    24379 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97012    59.16
    24380 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    G0283    26.02
    24381 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97035    28.76
    24382 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97112    69.00
    24383 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97530    76.62
    24384 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97010    15.00
    24385 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97012    29.58
    24386 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    G0283    26.02
    24387 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97033    40.12
    24388 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97110    59.62
    24389 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/3/2021    97112   138.00
    24390 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    29.58
    24391 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97110    59.62
    24392 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97112   138.00
    24393 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97530   153.24
    24394 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97140    54.94
    24395 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97010    15.00
    24396 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    59.16
    24397 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    G0283    26.02
    24398 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97033    40.12
    24399 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97110   119.24
    24400 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97010    15.00
    24401 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    29.58
    24402 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97033    40.12
    24403 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97110   119.24
    24404 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97112    69.00
    24405 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97530    76.62
    24406 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97010    15.00
    24407 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    29.58
    24408 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97110    59.62
    24409 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97112   138.00
    24410 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97530    76.62
    24411 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97010    15.00
    24412 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    29.58
    24413 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    G0283    26.02
    24414 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97033    40.12
    24415 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97112   138.00
    24416 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97530    76.62
    24417 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97010    15.00
    24418 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97012    29.58
    24419 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97035    57.52
    24420 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97110    59.62
    24421 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97112    69.00
    24422 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    97530    76.62
    24423 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    99213   182.64
    24424 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/3/2021    98940    55.38
    24425 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24426 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24427 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24428 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   G0283    26.02
    24429 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24430 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24431 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24432 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24433 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24434 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97033    40.12
    24435 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    57.52
    24436 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24437 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24438 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    28.76
    24439 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110   119.24
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    24440 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24441 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530   153.24
    24442 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24443 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24444 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   G0283    26.02
    24445 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24446 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112    69.00
    24447 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24448 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97140    54.94
    24449 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24450 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24451 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   G0283    26.02
    24452 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24453 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24454 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24455 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24456 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24457 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110   119.24
    24458 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24459 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24460 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24461 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24462 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   G0283    26.02
    24463 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24464 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112    69.00
    24465 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24466 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97140    54.94
    24467 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97530    76.62
    24468 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97010    15.00
    24469 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97012    29.58
    24470 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   G0283    26.02
    24471 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97033    40.12
    24472 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97035    28.76
    24473 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97112   138.00
    24474 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97010    15.00
    24475 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97012    29.58
    24476 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   G0283    26.02
    24477 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97018    12.16
    24478 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97110    59.62
    24479 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97112    69.00
    24480 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97530    76.62
    24481 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97010    15.00
    24482 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97012    29.58
    24483 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   G0283    26.02
    24484 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97033    40.12
    24485 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97110    59.62
    24486 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97112   138.00
    24487 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97010    15.00
    24488 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97012    29.58
    24489 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   G0283    26.02
    24490 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97035    28.76
    24491 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97110    59.62
    24492 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97530    76.62
    24493 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97140    54.94
    24494 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   G0283    26.02
    24495 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97035    28.76
    24496 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97110    59.62
    24497 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97112   138.00
    24498 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97530    76.62
    24499 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97140    54.94
    24500 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97010    15.00
    24501 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97012    29.58
    24502 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97033    40.12
    24503 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97110   119.24
    24504 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97112    69.00
    24505 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97530    76.62
    24506 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97010    15.00
    24507 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97012    29.58
    24508 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97035    28.76
    24509 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97110    59.62
    24510 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97112    69.00
    24511 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97530   153.24
    24512 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97010    15.00
    24513 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97012    29.58
    24514 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97035    28.76
    24515 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97110    59.62
    24516 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97112   138.00
    24517 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/17/2021   97530    76.62
    24518 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24519 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24520 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    28.76
    24521 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110   119.24
    24522 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112    69.00
    24523 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24524 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24525 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24526 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97033    40.12
    24527 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110   119.24
    24528 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24529 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97033    40.12
    24530 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    28.76
    24531 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24532 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24533 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
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    24534 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97140    54.94
    24535 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24536 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24537 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   G0283    26.02
    24538 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97033    40.12
    24539 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110   119.24
    24540 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24541 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24542 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24543 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    57.52
    24544 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24545 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24546 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97033    40.12
    24547 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    28.76
    24548 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24549 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24550 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24551 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97140    54.94
    24552 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24553 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24554 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    28.76
    24555 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24556 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112    69.00
    24557 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24558 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97140    54.94
    24559 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    28.76
    24560 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110   119.24
    24561 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24562 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530   153.24
    24563 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   99203   225.62
    24564 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24565 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24566 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   G0283    26.02
    24567 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    28.76
    24568 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24569 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112    69.00
    24570 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   G0283    26.02
    24571 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97033    40.12
    24572 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97035    28.76
    24573 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97110    59.62
    24574 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97530    76.62
    24575 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97010    15.00
    24576 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97012    29.58
    24577 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97018    12.16
    24578 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97035    28.76
    24579 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97110    59.62
    24580 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97112   138.00
    24581 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97010    15.00
    24582 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97012    29.58
    24583 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   G0283    26.02
    24584 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97033    40.12
    24585 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97035    28.76
    24586 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97110    59.62
    24587 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97530    76.62
    24588 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97010    15.00
    24589 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97012    29.58
    24590 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97035    57.52
    24591 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97110    59.62
    24592 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97530    76.62
    24593 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97140    54.94
    24594 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97010    15.00
    24595 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97012    29.58
    24596 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97033    40.12
    24597 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97035    28.76
    24598 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97110    59.62
    24599 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97112   138.00
    24600 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97010    15.00
    24601 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   G0283    26.02
    24602 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97018    12.16
    24603 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97110    59.62
    24604 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97112   138.00
    24605 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97530    76.62
    24606 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97010    15.00
    24607 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97012    29.58
    24608 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24609 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97018    12.16
    24610 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97035    28.76
    24611 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97112    69.00
    24612 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97530    76.62
    24613 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97010    15.00
    24614 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97012    29.58
    24615 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24616 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97033    40.12
    24617 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97110    59.62
    24618 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97530    76.62
    24619 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97140    54.94
    24620 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97010    15.00
    24621 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97012    29.58
    24622 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24623 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97035    28.76
    24624 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97110    59.62
    24625 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97112   138.00
    24626 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97010    15.00
    24627 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97012    29.58
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    24628 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24629 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97033    40.12
    24630 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97110    59.62
    24631 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97112    69.00
    24632 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97530    76.62
    24633 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24634 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97018    12.16
    24635 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97035    28.76
    24636 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97110    59.62
    24637 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97112   138.00
    24638 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97530    76.62
    24639 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97010    15.00
    24640 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97012    29.58
    24641 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24642 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97033    40.12
    24643 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97035    28.76
    24644 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97110    59.62
    24645 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97112    69.00
    24646 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   99203   225.62
    24647 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97010    15.00
    24648 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97012    29.58
    24649 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97033    40.12
    24650 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97110    59.62
    24651 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97112   138.00
    24652 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97530    76.62
    24653 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97010    15.00
    24654 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97012    29.58
    24655 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   G0283    26.02
    24656 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97018    12.16
    24657 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97110   119.24
    24658 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97530    76.62
    24659 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97010    15.00
    24660 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97012    29.58
    24661 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97035    57.52
    24662 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97110    59.62
    24663 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97112    69.00
    24664 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97530    76.62
    24665 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97010    15.00
    24666 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97012    29.58
    24667 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   G0283    26.02
    24668 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97018    12.16
    24669 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97035    28.76
    24670 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/17/2021   97110    59.62
    24671 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97010    15.00
    24672 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97012    29.58
    24673 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24674 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97033    40.12
    24675 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97112   138.00
    24676 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97530    76.62
    24677 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24678 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97033    40.12
    24679 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97035    28.76
    24680 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97110    59.62
    24681 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97112   138.00
    24682 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97530    76.62
    24683 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97010    15.00
    24684 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97012    29.58
    24685 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97035    57.52
    24686 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97110    59.62
    24687 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97530    76.62
    24688 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97140    54.94
    24689 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97010    15.00
    24690 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97012    29.58
    24691 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24692 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97033    40.12
    24693 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97110    59.62
    24694 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97112    69.00
    24695 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97530    76.62
    24696 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97010    15.00
    24697 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97012    29.58
    24698 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24699 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97033    40.12
    24700 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97035    28.76
    24701 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97112    69.00
    24702 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97530    76.62
    24703 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97010    15.00
    24704 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97012    29.58
    24705 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   G0283    26.02
    24706 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97033    40.12
    24707 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97035    28.76
    24708 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/17/2021   97112   138.00
    24709 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97010    15.00
    24710 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   G0283    26.02
    24711 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97033    40.12
    24712 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97110   119.24
    24713 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97530    76.62
    24714 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97010    15.00
    24715 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97012    29.58
    24716 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97110    59.62
    24717 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97112   138.00
    24718 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97530    76.62
    24719 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97140    54.94
    24720 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97010    15.00
    24721 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97012    29.58
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    24722 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97033    40.12
    24723 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97035    57.52
    24724 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97112    69.00
    24725 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97530    76.62
    24726 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97010    15.00
    24727 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97012    29.58
    24728 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   G0283    26.02
    24729 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97035    28.76
    24730 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97110    59.62
    24731 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97112   138.00
    24732 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97010    15.00
    24733 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97012    29.58
    24734 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   G0283    26.02
    24735 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97033    40.12
    24736 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97110    59.62
    24737 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97530    76.62
    24738 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97140    54.94
    24739 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97010    15.00
    24740 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97012    29.58
    24741 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97033    40.12
    24742 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97110    59.62
    24743 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97112   138.00
    24744 Himes Walk In Clinic, LLC   0583611570101014   6/10/2021   Bill   9/17/2021   97530    76.62
    24745 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97010    15.00
    24746 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/17/2021   97012    29.58
    24747 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24748 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24749 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97140    54.94
    24750 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24751 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24752 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97033    40.12
    24753 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24754 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112    69.00
    24755 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24756 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97140    54.94
    24757 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   99203   225.62
    24758 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24759 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24760 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    57.52
    24761 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24762 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112    69.00
    24763 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24764 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24765 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24766 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    28.76
    24767 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24768 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24769 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24770 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   G0283    26.02
    24771 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    57.52
    24772 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24773 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24774 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24775 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24776 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24777 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   G0283    26.02
    24778 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97033    40.12
    24779 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24780 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24781 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97010    15.00
    24782 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97012    29.58
    24783 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    57.52
    24784 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24785 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112    69.00
    24786 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24787 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   G0283    26.02
    24788 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    57.52
    24789 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24790 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97112   138.00
    24791 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97530    76.62
    24792 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97035    57.52
    24793 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/17/2021   97110    59.62
    24794 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   G0283    26.02
    24795 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97033    40.12
    24796 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97035    28.76
    24797 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97110    59.62
    24798 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97112    69.00
    24799 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97010    15.00
    24800 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97012    29.58
    24801 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97035    28.76
    24802 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97110    59.62
    24803 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97112   138.00
    24804 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97140    54.94
    24805 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97010    15.00
    24806 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97012    29.58
    24807 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   G0283    26.02
    24808 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97033    40.12
    24809 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97035    28.76
    24810 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97112   138.00
    24811 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   G0283    26.02
    24812 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97018    12.16
    24813 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97035    28.76
    24814 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97110    59.62
    24815 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97112    69.00
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    24816 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97530    76.62
    24817 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97140    54.94
    24818 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97010    15.00
    24819 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97012    29.58
    24820 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   G0283    26.02
    24821 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97110   119.24
    24822 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97112    69.00
    24823 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97530    76.62
    24824 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   99204   338.16
    24825 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   99080    50.00
    24826 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97010    15.00
    24827 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97012    29.58
    24828 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   G0283    26.02
    24829 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97110    59.62
    24830 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97112   138.00
    24831 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97530    76.62
    24832 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97010    15.00
    24833 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/17/2021   97012    29.58
    24834 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   9/20/2021   99213   182.64
    24835 Himes Walk In Clinic, LLC   8670560500000002   3/29/2021   Bill   9/20/2021   99213   182.64
    24836 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97010    15.00
    24837 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97012    29.58
    24838 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   G0283    26.02
    24839 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97035    28.76
    24840 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97110    59.62
    24841 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97112   138.00
    24842 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97010    15.00
    24843 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97012    29.58
    24844 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   G0283    26.02
    24845 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97033    40.12
    24846 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97110    59.62
    24847 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97112    69.00
    24848 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97530    76.62
    24849 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97033    40.12
    24850 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97035    28.76
    24851 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97110    59.62
    24852 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97112   138.00
    24853 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97530    76.62
    24854 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97140    54.94
    24855 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97010    15.00
    24856 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97012    29.58
    24857 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97035    28.76
    24858 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97110    59.62
    24859 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97112   138.00
    24860 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97530    76.62
    24861 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97010    15.00
    24862 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97012    29.58
    24863 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   G0283    26.02
    24864 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97035    57.52
    24865 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97110    59.62
    24866 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97530    76.62
    24867 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97010    15.00
    24868 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97012    29.58
    24869 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   G0283    26.02
    24870 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97033    40.12
    24871 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97112   138.00
    24872 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/22/2021   97530    76.62
    24873 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97010    15.00
    24874 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012    29.58
    24875 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   G0283    26.02
    24876 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97035    28.76
    24877 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97110   119.24
    24878 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97112    69.00
    24879 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97010    15.00
    24880 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012    59.16
    24881 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   G0283    26.02
    24882 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97110    59.62
    24883 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97112    69.00
    24884 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97140    54.94
    24885 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24886 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24887 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    24888 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    24889 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24890 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    24891 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24892 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24893 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24894 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    24895 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24896 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112   138.00
    24897 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24898 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24899 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24900 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    24901 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    24902 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24903 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    24904 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24905 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24906 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24907 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    24908 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    24909 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112   138.00
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    24910 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24911 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24912 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24913 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    24914 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    24915 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24916 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    24917 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24918 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24919 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24920 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    24921 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    24922 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24923 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    24924 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24925 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24926 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24927 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    24928 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24929 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112   138.00
    24930 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24931 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24932 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24933 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    24934 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    24935 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    24936 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112   138.00
    24937 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24938 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    24939 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    24940 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24941 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    24942 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24943 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24944 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24945 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    24946 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    24947 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24948 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    24949 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24950 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    24951 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    24952 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24953 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112   138.00
    24954 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24955 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97140    54.94
    24956 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24957 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24958 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    24959 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    24960 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    24961 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24962 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24963 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24964 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24965 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    24966 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24967 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112   138.00
    24968 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    24969 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    24970 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    24971 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    24972 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    24973 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    24974 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    24975 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97033    40.12
    24976 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110    59.62
    24977 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97530    76.62
    24978 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    24979 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    24980 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    24981 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97033    40.12
    24982 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97035    28.76
    24983 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110    59.62
    24984 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97112    69.00
    24985 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    24986 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    24987 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    24988 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110    59.62
    24989 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97112   138.00
    24990 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97530    76.62
    24991 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    24992 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    24993 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    24994 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97033    40.12
    24995 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110    59.62
    24996 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97112   138.00
    24997 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    24998 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    24999 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    25000 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110    59.62
    25001 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97112    69.00
    25002 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97530    76.62
    25003 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97035    28.76
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    25004 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110   119.24
    25005 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97140    69.00
    25006 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97530   153.24
    25007 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97140    54.94
    25008 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    25009 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    25010 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    25011 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97033    40.12
    25012 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97035    28.76
    25013 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110    59.62
    25014 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97530    76.62
    25015 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   99213   182.64
    25016 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   98940    55.38
    25017 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97010    15.00
    25018 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012    29.58
    25019 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97018    12.16
    25020 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97033    40.12
    25021 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012   138.00
    25022 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97530    76.62
    25023 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97010    15.00
    25024 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012    29.58
    25025 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   G0283    26.02
    25026 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97033    40.12
    25027 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97035    28.76
    25028 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97110    59.62
    25029 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97112    69.00
    25030 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97010    15.00
    25031 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012    29.58
    25032 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   G0283    26.02
    25033 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97033    40.12
    25034 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97035    28.76
    25035 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97112   138.00
    25036 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97010    15.00
    25037 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012    29.58
    25038 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   G0283    26.02
    25039 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97018    12.16
    25040 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97035    28.76
    25041 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97110    59.62
    25042 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97112    69.00
    25043 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97010    15.00
    25044 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012    29.58
    25045 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   G0283    26.02
    25046 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97033    40.12
    25047 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97110    59.62
    25048 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97112    69.00
    25049 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97140    54.94
    25050 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97010    15.00
    25051 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012    29.58
    25052 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   G0283    26.02
    25053 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97033    40.12
    25054 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97110   119.24
    25055 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97530    76.62
    25056 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97010    15.00
    25057 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012    29.58
    25058 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   G0283    26.02
    25059 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97035    28.76
    25060 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97110    59.62
    25061 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97112   138.00
    25062 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97033    40.12
    25063 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97035    28.76
    25064 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97110    59.62
    25065 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97112   138.00
    25066 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97530    76.62
    25067 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97140    54.94
    25068 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97010    15.00
    25069 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97012    29.58
    25070 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   G0283    26.02
    25071 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97033    40.12
    25072 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97110   119.24
    25073 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   9/30/2021   97112    69.00
    25074 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97140    54.94
    25075 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    25076 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    25077 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    25078 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97033    40.12
    25079 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97035    28.76
    25080 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97112   138.00
    25081 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    25082 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    25083 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    25084 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97035    28.76
    25085 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110    59.62
    25086 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97112   138.00
    25087 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97033    40.12
    25088 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97035    28.76
    25089 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110    59.62
    25090 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97112   138.00
    25091 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97530    76.62
    25092 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97140    54.94
    25093 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    25094 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    25095 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    25096 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97035    28.76
    25097 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110    59.62
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    25098 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97112   138.00
    25099 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    25100 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    25101 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    25102 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97033    40.12
    25103 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110   119.24
    25104 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97112    69.00
    25105 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    25106 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    25107 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    25108 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97033    40.12
    25109 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110   119.24
    25110 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97530    76.62
    25111 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   99213   182.64
    25112 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   98940    55.38
    25113 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25114 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    25115 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    25116 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    25117 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    25118 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    25119 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    25120 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25121 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    25122 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    25123 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    25124 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    25125 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    25126 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    25127 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25128 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    25129 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    25130 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    25131 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    25132 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112   138.00
    25133 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25134 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    25135 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    25136 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    25137 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    25138 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    25139 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    25140 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25141 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    25142 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    25143 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    25144 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    25145 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    25146 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    25147 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25148 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    25149 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    25150 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    25151 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    25152 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    25153 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97140    54.94
    25154 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25155 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    25156 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    25157 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    25158 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    25159 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112   138.00
    25160 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25161 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    25162 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    25163 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    25164 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    25165 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    25166 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    25167 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25168 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    25169 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   G0283    26.02
    25170 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    25171 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    25172 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112   138.00
    25173 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    25174 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    25175 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97018    12.16
    25176 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97010    15.00
    25177 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97012    29.58
    25178 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   G0283    26.02
    25179 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97110    59.62
    25180 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97112    69.00
    25181 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   9/30/2021   97530    76.62
    25182 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97010    15.00
    25183 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97012    29.58
    25184 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   G0283    26.02
    25185 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97033    40.12
    25186 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97110   119.24
    25187 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97140    54.94
    25188 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97010    15.00
    25189 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97012    59.16
    25190 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   G0283    26.02
    25191 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97035    28.76
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    25192 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97112    69.00
    25193 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97140    54.94
    25194 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97010    15.00
    25195 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97012    59.16
    25196 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   G0283    26.02
    25197 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97110    59.62
    25198 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97112    69.00
    25199 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97140    54.94
    25200 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97010    15.00
    25201 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97012    29.58
    25202 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   G0283    26.02
    25203 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97110   119.24
    25204 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97112    69.00
    25205 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97530    76.62
    25206 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97010    15.00
    25207 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97012    29.58
    25208 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   G0283    26.02
    25209 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97033    40.12
    25210 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97035    28.76
    25211 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97110    59.62
    25212 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97112    69.00
    25213 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97010    15.00
    25214 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97012    29.58
    25215 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   G0283    26.02
    25216 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97033    40.12
    25217 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97110   119.24
    25218 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   9/30/2021   97530    76.62
    25219 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97110    59.62
    25220 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97530    76.62
    25221 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97140    54.94
    25222 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97010    15.00
    25223 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97012    29.58
    25224 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   G0283    26.02
    25225 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97033    40.12
    25226 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97035    28.76
    25227 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97110    59.62
    25228 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97112    69.00
    25229 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97010      ‐
    25230 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97012    29.58
    25231 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   G0283    26.02
    25232 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97033    40.12
    25233 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97035    28.76
    25234 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97112   138.00
    25235 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97012    29.58
    25236 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97033    40.12
    25237 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97035    28.76
    25238 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97110    59.62
    25239 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97112    69.00
    25240 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97530    76.62
    25241 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021   97140    54.94
    25242 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   99204   338.16
    25243 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   99080    50.00
    25244 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97010    15.00
    25245 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97012    29.58
    25246 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   G0283    26.02
    25247 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97035    28.76
    25248 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97110    59.62
    25249 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97112   138.00
    25250 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97010    15.00
    25251 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97012    29.58
    25252 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   G0283    26.02
    25253 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97033    40.12
    25254 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97035    28.76
    25255 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97110    59.62
    25256 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97530    76.62
    25257 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97010    15.00
    25258 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97012    29.58
    25259 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   G0283    26.02
    25260 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97033    40.12
    25261 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97110    59.62
    25262 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97112    69.00
    25263 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97530    76.62
    25264 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97010    15.00
    25265 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97012    29.58
    25266 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97035    28.76
    25267 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97110    59.62
    25268 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97112   138.00
    25269 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97530    76.62
    25270 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97010    15.00
    25271 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97012    29.58
    25272 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   G0283    26.02
    25273 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97033    40.12
    25274 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97035    28.76
    25275 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   9/30/2021   97112   138.00
    25276 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    25277 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25278 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
    25279 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97033    40.12
    25280 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97035    28.76
    25281 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97110    59.62
    25282 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97112    69.00
    25283 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97530    76.62
    25284 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97010    15.00
    25285 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021   97012    29.58
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    25286 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97033    40.12
    25287 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97035    28.76
    25288 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97110    59.62
    25289 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97112   138.00
    25290 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97010    15.00
    25291 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97012    29.58
    25292 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97033    40.12
    25293 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97035    28.76
    25294 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97110   119.24
    25295 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97530    76.62
    25296 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97010    15.00
    25297 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97012    29.58
    25298 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97035    28.76
    25299 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97110    59.62
    25300 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97112   138.00
    25301 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   9/30/2021    97530    76.62
    25302 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    99204   338.16
    25303 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    99080    50.00
    25304 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97010    15.00
    25305 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97012    29.58
    25306 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    G0283    26.02
    25307 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97033    40.12
    25308 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97035    28.76
    25309 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97112   138.00
    25310 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97010    15.00
    25311 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97012    29.58
    25312 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    G0283    26.02
    25313 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97033    40.12
    25314 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97110    59.62
    25315 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97112    69.00
    25316 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97530    76.62
    25317 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97010    15.00
    25318 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97012    29.58
    25319 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    G0283    26.02
    25320 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97033    40.12
    25321 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97035    28.76
    25322 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97112   138.00
    25323 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97010    15.00
    25324 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97110    59.62
    25325 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97112   138.00
    25326 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97530    76.62
    25327 Himes Walk In Clinic, LLC   0537160320101047   9/15/2021   Bill   9/30/2021    97140    54.94
    25328 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    99213   182.64
    25329 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    98940    55.38
    25330 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97010    15.00
    25331 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97012    29.58
    25332 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    G0283    26.02
    25333 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97033    40.12
    25334 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97035    28.76
    25335 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97112   138.00
    25336 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97010    15.00
    25337 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97012    29.58
    25338 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    G0283    26.02
    25339 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97018    12.16
    25340 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97110    59.62
    25341 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97112    69.00
    25342 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97530    76.62
    25343 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97010    15.00
    25344 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97012    29.58
    25345 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    G0283    26.02
    25346 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97018    12.16
    25347 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97035    28.76
    25348 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97110    59.62
    25349 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97530    76.62
    25350 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97010    15.00
    25351 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97012    29.58
    25352 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    G0283    26.02
    25353 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97018    12.16
    25354 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97035    28.76
    25355 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97110    59.62
    25356 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   9/30/2021    97112    69.00
    25357 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97010    15.00
    25358 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97012    29.58
    25359 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    G0283    26.02
    25360 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97033    40.12
    25361 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97035    28.76
    25362 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97110    59.62
    25363 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97530    76.62
    25364 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97010    15.00
    25365 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97012    29.58
    25366 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97035    28.76
    25367 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97110    59.62
    25368 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97112   138.00
    25369 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97530    76.62
    25370 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97010    15.00
    25371 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97012    29.58
    25372 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    G0283    26.02
    25373 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   9/30/2021    97033    40.12
    25374 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97010    15.00
    25375 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97012    29.58
    25376 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   G0283    26.02
    25377 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97018    12.16
    25378 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97033    40.12
    25379 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
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    25380 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110    59.62
    25381 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97010    15.00
    25382 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97012    29.58
    25383 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   G0283    26.02
    25384 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97033    40.12
    25385 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
    25386 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110   119.24
    25387 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97010    15.00
    25388 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97012    29.58
    25389 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   G0283    26.02
    25390 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97033    40.12
    25391 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110    59.62
    25392 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97112   138.00
    25393 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97018    12.16
    25394 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97033    40.12
    25395 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
    25396 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110    59.62
    25397 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97112    69.00
    25398 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97530    76.62
    25399 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97140    54.94
    25400 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97010    15.00
    25401 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97033    40.12
    25402 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
    25403 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110    59.62
    25404 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97112    69.00
    25405 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97530    76.62
    25406 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97140    54.94
    25407 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97010    15.00
    25408 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97012    29.58
    25409 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   G0283    26.02
    25410 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97033    40.12
    25411 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
    25412 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110    59.62
    25413 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97112    69.00
    25414 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   99214   259.42
    25415 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97010    15.00
    25416 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97012    29.58
    25417 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   G0283    26.02
    25418 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97035    28.76
    25419 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97110    59.62
    25420 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97112    69.00
    25421 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97530    76.62
    25422 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97033    40.12
    25423 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97035    28.76
    25424 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97110    59.62
    25425 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97112    69.00
    25426 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97530   153.24
    25427 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97140    54.94
    25428 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97010    15.00
    25429 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97012    29.58
    25430 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   G0283    26.02
    25431 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97035    28.76
    25432 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97110    59.62
    25433 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97112   138.00
    25434 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97010    15.00
    25435 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97012    29.58
    25436 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   G0283    26.02
    25437 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97033    40.12
    25438 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97035    28.76
    25439 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97112   138.00
    25440 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97010    15.00
    25441 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97012    29.58
    25442 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   G0283    26.02
    25443 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97033    40.12
    25444 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97035    28.76
    25445 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97110   119.24
    25446 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97033    40.12
    25447 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97035    28.76
    25448 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97110    59.62
    25449 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97112   138.00
    25450 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97530    76.62
    25451 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97140    54.94
    25452 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97010    15.00
    25453 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25454 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   G0283    26.02
    25455 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97018    12.16
    25456 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97035    28.76
    25457 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97110    59.62
    25458 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97112    69.00
    25459 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97010    15.00
    25460 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97012    29.58
    25461 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   G0283    26.02
    25462 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97033    40.12
    25463 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97035    28.76
    25464 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97110    59.62
    25465 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97112    69.00
    25466 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97010    15.00
    25467 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97012    29.58
    25468 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   G0283    26.02
    25469 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97033    40.12
    25470 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97110   119.24
    25471 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97140    54.94
    25472 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97010    15.00
    25473 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97012    29.58
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    25474 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   G0283    26.02
    25475 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97033    40.12
    25476 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97110   119.24
    25477 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97530    76.62
    25478 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97010    15.00
    25479 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97012    29.58
    25480 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   G0283    26.02
    25481 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97033    40.12
    25482 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97110   119.24
    25483 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97530    76.62
    25484 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97010    15.00
    25485 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97012    29.58
    25486 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   G0283    26.02
    25487 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97033    40.12
    25488 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97035    28.76
    25489 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97110    59.62
    25490 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97112    69.00
    25491 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97010    15.00
    25492 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97012    29.58
    25493 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   G0283    26.02
    25494 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97035    28.76
    25495 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97110    59.62
    25496 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97112    69.00
    25497 Himes Walk In Clinic, LLC   0601139830000002   8/31/2021   Bill   10/14/2021   97140    54.94
    25498 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97010    15.00
    25499 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97012    29.58
    25500 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   G0283    26.02
    25501 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97033    40.12
    25502 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
    25503 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110    59.62
    25504 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97530    76.62
    25505 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
    25506 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110   119.24
    25507 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97112   138.00
    25508 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97530    76.62
    25509 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97140    54.94
    25510 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97010    15.00
    25511 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97012    29.58
    25512 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   G0283    26.02
    25513 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97033    40.12
    25514 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
    25515 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110   119.24
    25516 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97012    29.58
    25517 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97033    40.12
    25518 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
    25519 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110    59.62
    25520 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97112    69.00
    25521 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97530    76.62
    25522 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97140    54.94
    25523 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97010    15.00
    25524 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97012    29.58
    25525 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   G0283    26.02
    25526 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97033    40.12
    25527 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
    25528 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97112    69.00
    25529 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97530    76.62
    25530 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97010    15.00
    25531 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97012    29.58
    25532 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   G0283    26.02
    25533 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97035    28.76
    25534 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97110    59.62
    25535 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97112    69.00
    25536 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   97530    76.62
    25537 Himes Walk In Clinic, LLC   0528555020000002   6/28/2021   Bill   10/14/2021   99214   259.42
    25538 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97530    76.62
    25539 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97010    15.00
    25540 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97012    29.58
    25541 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   G0283    26.02
    25542 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97033    40.12
    25543 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97035    28.76
    25544 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97110    59.62
    25545 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97530    76.62
    25546 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97010    15.00
    25547 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97012    29.58
    25548 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   G0283    26.02
    25549 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97018    12.16
    25550 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97033    40.12
    25551 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97112   138.00
    25552 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97010    15.00
    25553 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97012    29.58
    25554 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   G0283    26.02
    25555 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97110    59.62
    25556 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97112    69.00
    25557 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97530    76.62
    25558 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97140    54.94
    25559 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97018    12.16
    25560 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97033    40.12
    25561 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97035    28.76
    25562 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97110    59.62
    25563 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97112    69.00
    25564 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97530    76.62
    25565 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97140    54.94
    25566 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97010    15.00
    25567 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97012    29.58
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    25568 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   G0283    26.02
    25569 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97018    12.16
    25570 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97033    40.12
    25571 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97112   138.00
    25572 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110    59.62
    25573 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97112    69.00
    25574 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97530    76.62
    25575 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97010    15.00
    25576 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97012    29.58
    25577 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   G0283    26.02
    25578 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97033    40.12
    25579 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97035    57.52
    25580 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110   119.24
    25581 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97033    40.12
    25582 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97035    28.76
    25583 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110    59.62
    25584 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97112   138.00
    25585 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97530    76.62
    25586 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97140    54.94
    25587 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97010    15.00
    25588 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97012    29.58
    25589 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   G0283    26.02
    25590 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97033    40.12
    25591 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110    59.62
    25592 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97112    69.00
    25593 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97530    76.62
    25594 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97010    15.00
    25595 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97012    29.58
    25596 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   G0283    26.02
    25597 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97035    28.76
    25598 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110    59.62
    25599 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97112    69.00
    25600 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97530    76.62
    25601 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97010    15.00
    25602 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97012    29.58
    25603 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   G0283    26.02
    25604 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97033    40.12
    25605 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97035    28.76
    25606 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97110    59.62
    25607 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97112    69.00
    25608 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97010    15.00
    25609 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97012    29.58
    25610 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   G0283    26.02
    25611 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97033    40.12
    25612 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97035    28.76
    25613 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97112   138.00
    25614 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97010    15.00
    25615 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97012    29.58
    25616 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   G0283    26.02
    25617 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97033    40.12
    25618 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97035    28.76
    25619 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97110    59.62
    25620 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97112    69.00
    25621 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97012    29.58
    25622 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97033    40.12
    25623 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97035    28.76
    25624 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97110    59.62
    25625 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97112    69.00
    25626 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97530    76.62
    25627 Himes Walk In Clinic, LLC   8679641470000001   6/28/2021   Bill   10/14/2021   97140    54.94
    25628 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97010    15.00
    25629 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97012    29.58
    25630 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   G0283    26.02
    25631 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97033    40.12
    25632 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110    59.62
    25633 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97112    69.00
    25634 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97530    76.62
    25635 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97010    15.00
    25636 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97012    29.58
    25637 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   G0283    26.02
    25638 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97035    28.76
    25639 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110   119.24
    25640 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97112    69.00
    25641 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97010    15.00
    25642 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97012    29.58
    25643 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   G0283    26.02
    25644 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97033    40.12
    25645 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97035    28.76
    25646 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110   119.24
    25647 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97010    15.00
    25648 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97012    29.58
    25649 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97035    28.76
    25650 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110    59.62
    25651 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97112   138.00
    25652 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97530    76.62
    25653 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97010    15.00
    25654 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97012    29.58
    25655 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   G0283    26.02
    25656 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110    59.62
    25657 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97112    69.00
    25658 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97530    76.62
    25659 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97140    54.94
    25660 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97010    15.00
    25661 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97012    29.58
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    25662 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   G0283    26.02
    25663 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97033    40.12
    25664 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97035    28.76
    25665 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97110    59.62
    25666 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021    Bill   10/14/2021   97112    69.00
    25667 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97010    15.00
    25668 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97012    29.58
    25669 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97018    12.16
    25670 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97035    28.76
    25671 Himes Walk In Clinic, LLC   8692534120000002   7/29/2021   Bill   10/14/2021   97110   119.24
    25672 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97010    15.00
    25673 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25674 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   G0283    26.02
    25675 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97033    40.12
    25676 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97110    59.62
    25677 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97112    69.00
    25678 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97530    76.62
    25679 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97010    15.00
    25680 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25681 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   G0283    26.02
    25682 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97018    12.16
    25683 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97035    28.76
    25684 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97110    59.62
    25685 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97112    69.00
    25686 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97010    15.00
    25687 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25688 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97018    12.16
    25689 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97033    40.12
    25690 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97110   119.24
    25691 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97530    76.62
    25692 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97010    15.00
    25693 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25694 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   G0283    26.02
    25695 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97033    40.12
    25696 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97035    28.76
    25697 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97112    69.00
    25698 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97530    76.62
    25699 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97010    15.00
    25700 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25701 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   G0283    26.02
    25702 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97018    12.16
    25703 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97033    40.12
    25704 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97035    28.76
    25705 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97110    59.62
    25706 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97010    15.00
    25707 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97012    29.58
    25708 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97033    40.12
    25709 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97035    28.76
    25710 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97110   119.24
    25711 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97112    69.00
    25712 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97010    15.00
    25713 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97012    29.58
    25714 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97035    28.76
    25715 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97110    59.62
    25716 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97112    69.00
    25717 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97530    76.62
    25718 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97140    54.94
    25719 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97035    28.76
    25720 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97110   119.24
    25721 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97112   138.00
    25722 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97530    76.62
    25723 Himes Walk In Clinic, LLC   0301386770101137   8/18/2021   Bill   10/14/2021   97140    54.94
    25724 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97010    15.00
    25725 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25726 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   G0283    26.02
    25727 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97035    28.76
    25728 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97110   119.24
    25729 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97112    69.00
    25730 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97010    15.00
    25731 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25732 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   G0283    26.02
    25733 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97033    40.12
    25734 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97035    28.76
    25735 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97110    59.62
    25736 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97112    69.00
    25737 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25738 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97035    28.76
    25739 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97110    59.62
    25740 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97112   138.00
    25741 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97530    76.62
    25742 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97140    54.94
    25743 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97010    15.00
    25744 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25745 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   G0283    26.02
    25746 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97033    40.12
    25747 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97035    28.76
    25748 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97112   138.00
    25749 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97010    15.00
    25750 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97012    29.58
    25751 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   G0283    26.02
    25752 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97033    40.12
    25753 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97110    59.62
    25754 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97112    69.00
    25755 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021    Bill   10/14/2021   97140    54.94
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    25756 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021   Bill   10/14/2021   97010    15.00
    25757 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021   Bill   10/14/2021   97012    29.58
    25758 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021   Bill   10/14/2021   97033    40.12
    25759 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021   Bill   10/14/2021   97035    28.76
    25760 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021   Bill   10/14/2021   97110   119.24
    25761 Himes Walk In Clinic, LLC   0097496320101053   8/5/2021   Bill   10/14/2021   97112    69.00
    25762 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021   Bill   10/14/2021   97010    15.00
    25763 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021   Bill   10/14/2021   97012    29.58
    25764 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021   Bill   10/14/2021   G0283    26.02
    25765 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021   Bill   10/14/2021   97035    28.76
    25766 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021   Bill   10/14/2021   97110    59.62
    25767 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021   Bill   10/14/2021   97112   138.00
    25768 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021   Bill   10/14/2021   97010    15.00
    25769 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021   Bill   10/14/2021   97012    29.58
    25770 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021   Bill   10/14/2021   G0283    26.02
    25771 Himes Walk In Clinic, LLC   8707778790000003   9/1/2021   Bill   10/14/2021   97033    40.12
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 279 of 9287 PageID 413
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 281 of 9287 PageID 415
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1546 of 9287 PageID 1680
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1547 of 9287 PageID 1681
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1548 of 9287 PageID 1682
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1549 of 9287 PageID 1683
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1550 of 9287 PageID 1684
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1551 of 9287 PageID 1685
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1552 of 9287 PageID 1686
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1554 of 9287 PageID 1688
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1555 of 9287 PageID 1689
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1556 of 9287 PageID 1690
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1577 of 9287 PageID 1711
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1582 of 9287 PageID 1716
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1583 of 9287 PageID 1717
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1637 of 9287 PageID 1771
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1645 of 9287 PageID 1779
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1646 of 9287 PageID 1780
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1647 of 9287 PageID 1781
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1648 of 9287 PageID 1782
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1649 of 9287 PageID 1783
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1650 of 9287 PageID 1784
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1651 of 9287 PageID 1785
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1652 of 9287 PageID 1786
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1653 of 9287 PageID 1787
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1654 of 9287 PageID 1788
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1655 of 9287 PageID 1789
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1656 of 9287 PageID 1790
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1657 of 9287 PageID 1791
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1658 of 9287 PageID 1792
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1659 of 9287 PageID 1793
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1660 of 9287 PageID 1794
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1661 of 9287 PageID 1795
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1662 of 9287 PageID 1796
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1663 of 9287 PageID 1797
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1664 of 9287 PageID 1798
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1665 of 9287 PageID 1799
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1666 of 9287 PageID 1800
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1667 of 9287 PageID 1801
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1668 of 9287 PageID 1802
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1669 of 9287 PageID 1803
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1670 of 9287 PageID 1804
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1671 of 9287 PageID 1805
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1672 of 9287 PageID 1806
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1673 of 9287 PageID 1807
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1674 of 9287 PageID 1808
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1675 of 9287 PageID 1809
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1676 of 9287 PageID 1810
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1677 of 9287 PageID 1811
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1678 of 9287 PageID 1812
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1680 of 9287 PageID 1814
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1681 of 9287 PageID 1815
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1682 of 9287 PageID 1816
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1683 of 9287 PageID 1817
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1684 of 9287 PageID 1818
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1685 of 9287 PageID 1819
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1688 of 9287 PageID 1822
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1689 of 9287 PageID 1823
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1697 of 9287 PageID 1831
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1699 of 9287 PageID 1833
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1700 of 9287 PageID 1834
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 1755 of 9287 PageID 1889
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2456 of 9287 PageID 2590
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2460 of 9287 PageID 2594
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2472 of 9287 PageID 2606
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2479 of 9287 PageID 2613
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2484 of 9287 PageID 2618
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2485 of 9287 PageID 2619
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2572 of 9287 PageID 2706
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2574 of 9287 PageID 2708
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2580 of 9287 PageID 2714
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2581 of 9287 PageID 2715
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2585 of 9287 PageID 2719
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2677 of 9287 PageID 2811
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2678 of 9287 PageID 2812
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2679 of 9287 PageID 2813
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2680 of 9287 PageID 2814
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2681 of 9287 PageID 2815
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2684 of 9287 PageID 2818
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2685 of 9287 PageID 2819
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2693 of 9287 PageID 2827
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2694 of 9287 PageID 2828
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2695 of 9287 PageID 2829
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2697 of 9287 PageID 2831
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2698 of 9287 PageID 2832
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2716 of 9287 PageID 2850
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2775 of 9287 PageID 2909
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2776 of 9287 PageID 2910
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2801 of 9287 PageID 2935
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2802 of 9287 PageID 2936
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2846 of 9287 PageID 2980
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2847 of 9287 PageID 2981
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2873 of 9287 PageID 3007
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2874 of 9287 PageID 3008
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2875 of 9287 PageID 3009
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2876 of 9287 PageID 3010
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2877 of 9287 PageID 3011
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2878 of 9287 PageID 3012
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2879 of 9287 PageID 3013
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2880 of 9287 PageID 3014
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2881 of 9287 PageID 3015
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2882 of 9287 PageID 3016
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2883 of 9287 PageID 3017
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2884 of 9287 PageID 3018
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2885 of 9287 PageID 3019
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2886 of 9287 PageID 3020
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2887 of 9287 PageID 3021
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2888 of 9287 PageID 3022
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2889 of 9287 PageID 3023
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2890 of 9287 PageID 3024
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2891 of 9287 PageID 3025
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2892 of 9287 PageID 3026
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2893 of 9287 PageID 3027
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2894 of 9287 PageID 3028
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2895 of 9287 PageID 3029
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2896 of 9287 PageID 3030
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2897 of 9287 PageID 3031
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2898 of 9287 PageID 3032
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2899 of 9287 PageID 3033
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2900 of 9287 PageID 3034
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2901 of 9287 PageID 3035
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2902 of 9287 PageID 3036
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2903 of 9287 PageID 3037
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2904 of 9287 PageID 3038
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2905 of 9287 PageID 3039
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2906 of 9287 PageID 3040
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2907 of 9287 PageID 3041
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2908 of 9287 PageID 3042
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2909 of 9287 PageID 3043
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2910 of 9287 PageID 3044
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2911 of 9287 PageID 3045
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2912 of 9287 PageID 3046
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2913 of 9287 PageID 3047
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2914 of 9287 PageID 3048
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2915 of 9287 PageID 3049
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2916 of 9287 PageID 3050
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2917 of 9287 PageID 3051
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2918 of 9287 PageID 3052
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2921 of 9287 PageID 3055
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2922 of 9287 PageID 3056
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2923 of 9287 PageID 3057
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2924 of 9287 PageID 3058
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2925 of 9287 PageID 3059
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2926 of 9287 PageID 3060
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2927 of 9287 PageID 3061
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2928 of 9287 PageID 3062
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2929 of 9287 PageID 3063
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2930 of 9287 PageID 3064
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2931 of 9287 PageID 3065
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2932 of 9287 PageID 3066
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2933 of 9287 PageID 3067
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2934 of 9287 PageID 3068
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2935 of 9287 PageID 3069
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2936 of 9287 PageID 3070
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2937 of 9287 PageID 3071
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2938 of 9287 PageID 3072
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2939 of 9287 PageID 3073
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2940 of 9287 PageID 3074
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2941 of 9287 PageID 3075
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2942 of 9287 PageID 3076
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2943 of 9287 PageID 3077
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2944 of 9287 PageID 3078
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2945 of 9287 PageID 3079
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2946 of 9287 PageID 3080
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2947 of 9287 PageID 3081
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2948 of 9287 PageID 3082
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2950 of 9287 PageID 3084
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2951 of 9287 PageID 3085
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2952 of 9287 PageID 3086
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2953 of 9287 PageID 3087
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2954 of 9287 PageID 3088
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2955 of 9287 PageID 3089
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2956 of 9287 PageID 3090
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2957 of 9287 PageID 3091
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2958 of 9287 PageID 3092
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2959 of 9287 PageID 3093
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2960 of 9287 PageID 3094
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2961 of 9287 PageID 3095
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2962 of 9287 PageID 3096
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2968 of 9287 PageID 3102
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2969 of 9287 PageID 3103
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2970 of 9287 PageID 3104
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2971 of 9287 PageID 3105
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2972 of 9287 PageID 3106
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2973 of 9287 PageID 3107
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2974 of 9287 PageID 3108
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 2975 of 9287 PageID 3109
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3001 of 9287 PageID 3135
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3002 of 9287 PageID 3136
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3003 of 9287 PageID 3137
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3004 of 9287 PageID 3138
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3005 of 9287 PageID 3139
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3006 of 9287 PageID 3140
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3526 of 9287 PageID 3660
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3537 of 9287 PageID 3671
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3538 of 9287 PageID 3672
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3539 of 9287 PageID 3673
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3547 of 9287 PageID 3681
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3555 of 9287 PageID 3689
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3557 of 9287 PageID 3691
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3558 of 9287 PageID 3692
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3561 of 9287 PageID 3695
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3562 of 9287 PageID 3696
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3565 of 9287 PageID 3699
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3566 of 9287 PageID 3700
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3567 of 9287 PageID 3701
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3568 of 9287 PageID 3702
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3569 of 9287 PageID 3703
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3570 of 9287 PageID 3704
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3571 of 9287 PageID 3705
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3572 of 9287 PageID 3706
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3575 of 9287 PageID 3709
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3576 of 9287 PageID 3710
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3577 of 9287 PageID 3711
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3578 of 9287 PageID 3712
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3580 of 9287 PageID 3714
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3581 of 9287 PageID 3715
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3596 of 9287 PageID 3730
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3598 of 9287 PageID 3732
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3600 of 9287 PageID 3734
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3622 of 9287 PageID 3756
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3630 of 9287 PageID 3764
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3641 of 9287 PageID 3775
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3644 of 9287 PageID 3778
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3645 of 9287 PageID 3779
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3734 of 9287 PageID 3868
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3735 of 9287 PageID 3869
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3736 of 9287 PageID 3870
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3746 of 9287 PageID 3880
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3747 of 9287 PageID 3881
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3750 of 9287 PageID 3884
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3751 of 9287 PageID 3885
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3752 of 9287 PageID 3886
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3753 of 9287 PageID 3887
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3755 of 9287 PageID 3889
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3756 of 9287 PageID 3890
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3757 of 9287 PageID 3891
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3760 of 9287 PageID 3894
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3761 of 9287 PageID 3895
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3762 of 9287 PageID 3896
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3763 of 9287 PageID 3897
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3764 of 9287 PageID 3898
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3765 of 9287 PageID 3899
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3766 of 9287 PageID 3900
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3768 of 9287 PageID 3902
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3772 of 9287 PageID 3906
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3774 of 9287 PageID 3908
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3775 of 9287 PageID 3909
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3776 of 9287 PageID 3910
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3780 of 9287 PageID 3914
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3801 of 9287 PageID 3935
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3802 of 9287 PageID 3936
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3803 of 9287 PageID 3937
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3805 of 9287 PageID 3939
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3942 of 9287 PageID 4076
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3945 of 9287 PageID 4079
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3949 of 9287 PageID 4083
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3950 of 9287 PageID 4084
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3951 of 9287 PageID 4085
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3952 of 9287 PageID 4086
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3953 of 9287 PageID 4087
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3954 of 9287 PageID 4088
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3955 of 9287 PageID 4089
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3956 of 9287 PageID 4090
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3957 of 9287 PageID 4091
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3961 of 9287 PageID 4095
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3962 of 9287 PageID 4096
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3966 of 9287 PageID 4100
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3967 of 9287 PageID 4101
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3968 of 9287 PageID 4102
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3969 of 9287 PageID 4103
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3970 of 9287 PageID 4104
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3971 of 9287 PageID 4105
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3972 of 9287 PageID 4106
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3981 of 9287 PageID 4115
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3982 of 9287 PageID 4116
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 3983 of 9287 PageID 4117
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 4003 of 9287 PageID 4137
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 4015 of 9287 PageID 4149
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 4569 of 9287 PageID 4703
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 4602 of 9287 PageID 4736
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 4868 of 9287 PageID 5002
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5202 of 9287 PageID 5336
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5628 of 9287 PageID 5762
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5637 of 9287 PageID 5771
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5638 of 9287 PageID 5772
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5648 of 9287 PageID 5782
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5660 of 9287 PageID 5794
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5662 of 9287 PageID 5796
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5668 of 9287 PageID 5802
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5670 of 9287 PageID 5804
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5671 of 9287 PageID 5805
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5672 of 9287 PageID 5806
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5673 of 9287 PageID 5807
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5675 of 9287 PageID 5809
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5853 of 9287 PageID 5987
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5854 of 9287 PageID 5988
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5855 of 9287 PageID 5989
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5856 of 9287 PageID 5990
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5857 of 9287 PageID 5991
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5860 of 9287 PageID 5994
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5867 of 9287 PageID 6001
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5868 of 9287 PageID 6002
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5869 of 9287 PageID 6003
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5870 of 9287 PageID 6004
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5871 of 9287 PageID 6005
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5872 of 9287 PageID 6006
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5873 of 9287 PageID 6007
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5874 of 9287 PageID 6008
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5878 of 9287 PageID 6012
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5881 of 9287 PageID 6015
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5882 of 9287 PageID 6016
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5883 of 9287 PageID 6017
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 5918 of 9287 PageID 6052
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6037 of 9287 PageID 6171
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6038 of 9287 PageID 6172
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6039 of 9287 PageID 6173
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6047 of 9287 PageID 6181
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6048 of 9287 PageID 6182
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6051 of 9287 PageID 6185
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6052 of 9287 PageID 6186
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6053 of 9287 PageID 6187
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6311 of 9287 PageID 6445
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6449 of 9287 PageID 6583
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6451 of 9287 PageID 6585
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6463 of 9287 PageID 6597
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6464 of 9287 PageID 6598
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6465 of 9287 PageID 6599
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6466 of 9287 PageID 6600
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6469 of 9287 PageID 6603
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6470 of 9287 PageID 6604
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6472 of 9287 PageID 6606
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6473 of 9287 PageID 6607
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6475 of 9287 PageID 6609
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6481 of 9287 PageID 6615
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6514 of 9287 PageID 6648
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6516 of 9287 PageID 6650
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6533 of 9287 PageID 6667
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6538 of 9287 PageID 6672
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6539 of 9287 PageID 6673
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6641 of 9287 PageID 6775
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6643 of 9287 PageID 6777
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6644 of 9287 PageID 6778
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6645 of 9287 PageID 6779
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6649 of 9287 PageID 6783
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6652 of 9287 PageID 6786
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6655 of 9287 PageID 6789
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6657 of 9287 PageID 6791
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6658 of 9287 PageID 6792
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6659 of 9287 PageID 6793
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6660 of 9287 PageID 6794
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6661 of 9287 PageID 6795
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6662 of 9287 PageID 6796
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6663 of 9287 PageID 6797
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6664 of 9287 PageID 6798
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6665 of 9287 PageID 6799
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6666 of 9287 PageID 6800
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6667 of 9287 PageID 6801
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6668 of 9287 PageID 6802
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6669 of 9287 PageID 6803
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6670 of 9287 PageID 6804
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6671 of 9287 PageID 6805
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6672 of 9287 PageID 6806
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6673 of 9287 PageID 6807
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6674 of 9287 PageID 6808
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6675 of 9287 PageID 6809
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6676 of 9287 PageID 6810
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6677 of 9287 PageID 6811
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6678 of 9287 PageID 6812
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6679 of 9287 PageID 6813
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6680 of 9287 PageID 6814
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6681 of 9287 PageID 6815
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6683 of 9287 PageID 6817
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6684 of 9287 PageID 6818
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6685 of 9287 PageID 6819
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6688 of 9287 PageID 6822
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6689 of 9287 PageID 6823
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6691 of 9287 PageID 6825
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6698 of 9287 PageID 6832
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6700 of 9287 PageID 6834
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6709 of 9287 PageID 6843
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6720 of 9287 PageID 6854
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6729 of 9287 PageID 6863
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6730 of 9287 PageID 6864
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6738 of 9287 PageID 6872
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6739 of 9287 PageID 6873
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6748 of 9287 PageID 6882
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6749 of 9287 PageID 6883
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6764 of 9287 PageID 6898
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6765 of 9287 PageID 6899
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6766 of 9287 PageID 6900
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6767 of 9287 PageID 6901
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6770 of 9287 PageID 6904
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6771 of 9287 PageID 6905
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6773 of 9287 PageID 6907
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6774 of 9287 PageID 6908
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6775 of 9287 PageID 6909
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6776 of 9287 PageID 6910
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6777 of 9287 PageID 6911
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6781 of 9287 PageID 6915
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6782 of 9287 PageID 6916
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6789 of 9287 PageID 6923
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6792 of 9287 PageID 6926
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6793 of 9287 PageID 6927
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6796 of 9287 PageID 6930
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6803 of 9287 PageID 6937
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6807 of 9287 PageID 6941
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6809 of 9287 PageID 6943
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6810 of 9287 PageID 6944
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6811 of 9287 PageID 6945
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6819 of 9287 PageID 6953
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6828 of 9287 PageID 6962
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6834 of 9287 PageID 6968
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6835 of 9287 PageID 6969
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6836 of 9287 PageID 6970
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6837 of 9287 PageID 6971
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6838 of 9287 PageID 6972
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6839 of 9287 PageID 6973
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6840 of 9287 PageID 6974
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6841 of 9287 PageID 6975
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6843 of 9287 PageID 6977
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6844 of 9287 PageID 6978
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6845 of 9287 PageID 6979
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6846 of 9287 PageID 6980
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6847 of 9287 PageID 6981
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6848 of 9287 PageID 6982
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6849 of 9287 PageID 6983
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6850 of 9287 PageID 6984
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6851 of 9287 PageID 6985
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6852 of 9287 PageID 6986
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6853 of 9287 PageID 6987
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6854 of 9287 PageID 6988
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6855 of 9287 PageID 6989
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6856 of 9287 PageID 6990
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6857 of 9287 PageID 6991
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6858 of 9287 PageID 6992
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6859 of 9287 PageID 6993
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6860 of 9287 PageID 6994
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6861 of 9287 PageID 6995
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6862 of 9287 PageID 6996
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6863 of 9287 PageID 6997
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6864 of 9287 PageID 6998
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6865 of 9287 PageID 6999
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6866 of 9287 PageID 7000
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6867 of 9287 PageID 7001
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6868 of 9287 PageID 7002
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6869 of 9287 PageID 7003
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6870 of 9287 PageID 7004
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6871 of 9287 PageID 7005
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6872 of 9287 PageID 7006
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6873 of 9287 PageID 7007
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6874 of 9287 PageID 7008
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6875 of 9287 PageID 7009
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6876 of 9287 PageID 7010
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6877 of 9287 PageID 7011
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6878 of 9287 PageID 7012
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6879 of 9287 PageID 7013
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6880 of 9287 PageID 7014
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6881 of 9287 PageID 7015
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6882 of 9287 PageID 7016
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6883 of 9287 PageID 7017
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6884 of 9287 PageID 7018
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6885 of 9287 PageID 7019
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6886 of 9287 PageID 7020
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6887 of 9287 PageID 7021
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6888 of 9287 PageID 7022
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6889 of 9287 PageID 7023
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6890 of 9287 PageID 7024
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6891 of 9287 PageID 7025
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6892 of 9287 PageID 7026
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6893 of 9287 PageID 7027
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6894 of 9287 PageID 7028
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6895 of 9287 PageID 7029
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6896 of 9287 PageID 7030
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6897 of 9287 PageID 7031
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6898 of 9287 PageID 7032
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6899 of 9287 PageID 7033
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6900 of 9287 PageID 7034
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6901 of 9287 PageID 7035
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6902 of 9287 PageID 7036
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6905 of 9287 PageID 7039
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6906 of 9287 PageID 7040
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6907 of 9287 PageID 7041
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6908 of 9287 PageID 7042
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6909 of 9287 PageID 7043
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6910 of 9287 PageID 7044
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6911 of 9287 PageID 7045
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6912 of 9287 PageID 7046
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6913 of 9287 PageID 7047
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6914 of 9287 PageID 7048
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6915 of 9287 PageID 7049
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6916 of 9287 PageID 7050
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6917 of 9287 PageID 7051
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6918 of 9287 PageID 7052
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6919 of 9287 PageID 7053
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6920 of 9287 PageID 7054
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6921 of 9287 PageID 7055
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6924 of 9287 PageID 7058
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6925 of 9287 PageID 7059
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6926 of 9287 PageID 7060
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6927 of 9287 PageID 7061
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6928 of 9287 PageID 7062
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6929 of 9287 PageID 7063
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6930 of 9287 PageID 7064
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6931 of 9287 PageID 7065
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6932 of 9287 PageID 7066
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6933 of 9287 PageID 7067
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6934 of 9287 PageID 7068
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6935 of 9287 PageID 7069
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6936 of 9287 PageID 7070
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6937 of 9287 PageID 7071
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6938 of 9287 PageID 7072
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6939 of 9287 PageID 7073
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6941 of 9287 PageID 7075
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6942 of 9287 PageID 7076
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6943 of 9287 PageID 7077
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6946 of 9287 PageID 7080
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6949 of 9287 PageID 7083
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6950 of 9287 PageID 7084
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6951 of 9287 PageID 7085
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6952 of 9287 PageID 7086
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6953 of 9287 PageID 7087
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6954 of 9287 PageID 7088
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 6955 of 9287 PageID 7089
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 7062 of 9287 PageID 7196
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 7073 of 9287 PageID 7207
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 7364 of 9287 PageID 7498
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 7365 of 9287 PageID 7499
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 7760 of 9287 PageID 7894
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 7762 of 9287 PageID 7896
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 7933 of 9287 PageID 8067
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 7954 of 9287 PageID 8088
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 8738 of 9287 PageID 8872
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 8739 of 9287 PageID 8873
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 8934 of 9287 PageID 9068
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 8936 of 9287 PageID 9070
Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 8937 of 9287 PageID 9071
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Case 8:21-cv-02556-VMC-J_S Document 1-1 Filed 11/01/21 Page 8946 of 9287 PageID 9080
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